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             EXHIBIT 209 TO DECLARATION OF VALERIE SCHUSTER
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                              EMANUEL GROSS


                THE STRUGGLING OF DEMOCRACY
                AGAINST TERRORISM: LEGAL AND
                      MORAL DIMENSIONS




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                       obligations in a suit at law, everyone shall be entitled to a fair and public
                       hearing by a competent, independent and impartial tribunal established by
                       law...

                       (2) Everyone charged with a criminal offence shall have the right to
                       presumed innocent until proved guilty according the law.

                       (3) In the determination of any criminal charge against him, everyone
                       shall be entitled to the following minimum guarantees, in flI equality...".


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                       LEGAL AND MORAL DIMENSIONS




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                               EMANUEL GROSS


                    THE STRUGGLE OF DEMOCRACY
                   AGAINST TERRORISM: LEGAL AND
                         MORAL DIMENSIONS




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*0                                                     Chapter Four

                          Convictions Based on Confessions under Interrogation

      A.      in Israel

      In order to accept defendants' confessions, as already clarified above, it must be proven that the
      confession was collected freely and willingly.' Thus, for example, on March 9, 1994, the district court
      judge disqualified an interrogee's confession after the GSS interrogators admitted that the interrogee had
      been denied sleep for 72 hours.2
               Because interrogations were not documented, the judges were obliged to rely on the testimony of
      the GSS interrogators regarding the manner in which the confession was collected, in order to determine
      whether this was admissible. Following the Landau Commission, however, it emerged that GSS
      interrogators had for years customarily committed perjury before the court regarding the manner in which
      the confession was collected, as already noted above.

                      'When the confession of a defendant in his interrogation is the principal evidential
                      matter against him, the defendant's denial of guilt in court naturally implies the
                      claim that his confession before the interrogators was obtained from him in
                      improper ways and, accordingly, is invalid and not to be admitted as evidence
                      against him. Such a claim requires the pursuit of a 'trial within a trial' regarding the
                      admissibility of the confession. It will be obvious that, in these circumstances, the
                      trial within a trial forms the entire essence of the trial itself, and the determination
                      therein is effectively a determination in the entire trial, whether of acquittal or
                      conviction... Since the earliest times, the interrogators of the Service have not
                      engaged in the recording and collections of confessions... The interrogators
                      engage in the interrogation of the defendant in their interrogation facilities... Once
                      this stage has been completed successfully and the interrogee is ready to confess,
                      he is transferred to a police interrogator, and the latter records the confession
                      properly. That same confession is later presented before the court by the
                      policeman who recorded it, who appears as a witness for the prosecution... This
                      policeman may testify confidently and with a clean conscience that, in the
                      framework of the stage in which he was involved, viz, the recording of the
                      confession, everything proceeded calmly, and the defendant indeed delivered the
                      confession freely and willingly...




              Evidence Ordinance [New Version], 5731-1971, section 12
      2       The description of the outcome of the trial (atrial within atrial inCriminal Case 201/93 was mentioned in
      Ginbar (aforementioned note 81), p.19.
          3 See the Report of the Landau Commission (aforementioned note 31), pp. 17-18
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         Over time, an increasing number of defense counsels began to claim that the improper means
 were used not during the collection of the confession, but during the stages of the preceding interrogation.
 This claim required the GSS interrogators themselves to testify in court regarding the manner of the
 interrogation. The Service insisted on the total compartmentalization of the operations of its personnel.
 Accordingly, nothing that happened in the framework of the Service was brought to the knowledge of any
 person external thereto:

                 "... Now, for the first time, the interrogation personnel found themselves faced with
                a difficult dilemma: As they stood on the witness stand in the court, they were
                asked numerous questions about the processes of interrogation, which they were
                required to answer under oath or warning. The law required them, of course, as
                any witness testifying before the court, to testify the whole truth and nothing but the
                truth. Conversely, true testimony might violate the sacred rule of the total
                compartmentalization that had been ingrained and repeated to every interrogator
                from the moment he was accepted to the Service... Hence, as he stood on the
                witness stand, the interrogator saw a double danger in telling the truth: bath the
                exposure of the methods of interrogation and physical pressure and the
                disqualification of the admission and acquittal of the defendant. From the
                standpoint of the Service, either of these outcomes was difficult and undesirable,
                when the Service personnel were convinced, on the basis of reliable information,
                that the defendant was guilty of that as charged.

                The solution the interrogators found themselves to this dilemma was, from their
                standpoint, the simplest and easiest: They preferred the principle of the total
                compartmentalization over the obligation to tell the truth in court, and on the
                witness stand they denied using any physical pressure whatsoever against the
                interrogees. Inmore forceful language - they simply lied...
           Interrogators who testified before the Landau Commission were unable to indicate with certainty
 the moment at which the Service began to behave in this manner. The method of perjury was created ex
 nihilo, as it were, drawing the interrogators into it as a matter of course. Perjury rapidly became an
 unchallenged norm. In a memorandum from a discussion between the head of the Service and the head
 of the Interrogations Unit, which was brought before the commission, it was explicitly stated that in the
 trials within trials, the interrogators were to deny any use of an interrogation method including physical
 pressure, and were to claim that they acted customarily in accordance with the procedures of the prison
 or detention center. Thereby, not only was an explicit instruction given to lie, but also guidance as to what
 lie was to be uttered. The Report of the Landau Commission notes that the first and principal reason why
 the GSDS interrogators lied was the practical need not to reveal the interrogation methods. The second
 reason lies in the fact that the trial will generally stand or fall on the admissibility of the confession. The
 GSS envisioned a situation in which a defendant, whom the Service believed was indeed guilty, would be
 released if the method used to extract the confession from him were revealed. The third reason is that the




         See ibid., pp. 18-19
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*     method simply worked well. For years, the interrogators enjoyed the full trust of the judges, and,
      accordingly, no need arose to search for another method.5
               The Commission determined that this procedure or perjury in court must stop immediately. It was
     also determined that the senior echelon of the Service had failed to understand that its personnel are not
     above the law, and that the vital task with which the Service has been charged is one that justifies some
     means, but not all means, and certainly not the means of committing perjury. The Commission further
     recommended that the matter of the maintenance of records of the interrogation file in the GSS be
     reconsidered. Inthe past, the practice was that, after the interrogation itself, the interrogator would record
     matters that seemed relevant to him from the entire interrogation. They did not maintain interrogation logs
     during the course of the interrogation, and they did not document the interrogation comprehensively and
     in its entirety. After the interrogator submitted the concluding report, the entire interrogation file was
     routinely destroyed. 6
              Conversely, there are those who generally justify the interrogation methods of the GSS. The use
     of moderate physical pressure in interrogations has become an accepted tool, and is considered the sole
     tool by which future attacks on innocent persons may be prevented and those responsible for violent
     activity seized. According to this approach, terrorism is likened to a war without rules. Moreover, the
     torture that is ostensibly practiced by the GSS cannot even be compared to the torture of suspects in
     Arab states. In a democratic and civilized state, however, there is no room for interrogation using
     moderate physical pressure of any degree, regardless of the terror situation in that state. Accordingly, at
     the least, inspection should be imposed on interrogations, and the boundary between moderate physical
     pressure and torture should be maintained. 8
              There are those who argue that, in a democratic state, the approach that any means must be
     applied to interrogees in order to extract the truth is unacceptable. There is a price that a democratic
*    society is unwilling to pay. A reasonable interrogation is one free of torture. Indeed, a democracy must
     sometimes fight with one hand tied behind its back, and this makes it harder for it; however, without
     observance of the law and respect for the rights of defendants, the democracy that such means seek to
     protect will ultimately be harmed. 9




         5     See ibid., pp. 20-26
     6         See ibid., pp. 34-37
          7    it should be noted that in astate of war, human rights are subject to additional restrictions that apply in
     other crises during peacetime. See: G.J. Alexander, "The Illusory Protection of Human Rights by National Courts
     during Periods of Emergency" 5Hum. Rts. L.J. (1984) 1,p.7.
     8         Editorials "Moderate Torture" 149 N.J. L.J. (1997) 26, p.46

    .9         .R. Schmertz "Citing International Human Rights Conventions, Supreme Court
                                                                                                   of Israel Bars Use of
     Several Interrogational Pressure Techniques Sometimes Used by General Security Service when questioning
     terrorist suspects such as vigorous shaking and 'Shabach' Position" 6(3) International L.Update (2000).
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                                               and Human Rights


   differences in terms of the law between different types of offenders, All those who break the law are equal
   before it and expect the same treatment from ajudicial system: to enjoy due legal process.
            In other words, a democratic state derives the structure of its courts from the principle of equality
   - a single body, and not separate bodies according to different types of offenders/offenses!
           The establishment of special tribunals for specific types of offenses violates another key principle
   forming a foundation of any democratic state: the principle of the separation of powers,' and, particularly,
   the importance of the independence of the judicial system in a democratic state. Accordingly, the general
   courts are concerned over the establishment of specialist tribunals:

                   "The standing and constitutional role of the Court as 'third and independent arm' of
                   government are in process of being diminished. The creation by the Executive
                   through Parliament of these new specialist tribunals can impair judicial
                   independence in the widest sense, that is to say, as distinct from thew [sic]
                   independence of judges as such, inasmuch as it serves to prevent the operation of
                   the judicial process according to law in the widest sense for the administration of
                   justice."2
            The danger posed by the creation of specialist tribunals to basic principles of a proper democratic
   regime may be illustrated by the example of a special military tribunal :3 Not all the judges who sit on the
   panel are professional judges; some are army officers. The prosecutors are not private attorneys, but
   serve in the army, as do the judges together with them. The separation between the judicial arm and the
   executive arm is impaired: the independence of the judicial arm from the executive arm is weakened,
   leading to a concomitant decline in the independence of the judicial arm. Moreover, the separation within
   the judicial arm itself between judges and prosecutors, which is maintained in any proper legal system
   with the goal of preventing bias and conflict of interests, does not exist in a special military tribunal.
            The principle of equality before the law, which, as noted, requires the establishment of a uniform
   court system for all, mandates the granting of equal treatment to equal persons. In the absence of
   equality of data, different treatment does not constitute improper discrimination. In other words, improper
                                                  4
   discrimination is unequal treatment of equals.




   1        HCJ 3267/97 Rubinstein v Minister of Defense, PD 52(5) 481, p.515
   2        "Victorian Supreme Court's concern over development of specialist tribunals" 64 The Australian L.J.
   (1990) 385-386.
        3    For an extensive discussion of this subject, see Chapter Four below
        4    B. Bracha "Equality of All before the Law" Studies in Civil Rights in Israel (the Association for Civil Rights in
   Israel, 1988), 3.
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            Thus, it can be argued that the establishment of a special judicial system for a specific type of
  offense is not improper discrimination. A specific type of offense is tantamount to a different datum and,
  hence, permits different treatment. This treatment is the permitted distinction between types of offenses,
  and a permitted distinction is not contrary to democratic values.
            This type of argument may be justified if, indeed, different treatment for different types of offenses
  truly constitutes a permitted distinction. After all, it is untenable that a difference between offenders
  amounting to the fact that they are accused of committing a specific type of offense will make them
  different in such a manner that it will be justified to prosecute them before a different tribunal from that
  which judges "general" offenders. Each offense differs from its fellows and, accordingly, different offenses
  exist in the criminal law of each state (offenses of robbery and fraud, offenses against state security, etc.)
  - is a difference between offenses sufficient to justify judgment before different tribunals?
            The question is not whether a difference exists between offenses, but whether the difference
  justifies different treatment. If the difference is not relevant for the purpose of the arrangement under
  discussion, relying on this difference before the purpose of imposing a different law violates the principle
  of equality and causes improper discrimination. Only a relevant difference justifies different treatment and
  will be considered a substantive distinction:5

                  "The principle of equality, which is nothing more than the obverse side of the coin
                  of discrimination, and which, on the grounds of justice and fairness, the law of any
                  democratic state seeks to concretize implies that, for the purpose of the goal under
                  discussion, all persons among whom there are no substantive differences relevant
                  to that goal are to be treated equally.6
            Different types of criminal offenses do not justify different treatment, viz, the establishment of
  separate judicial tribunals. The reason for this, firstly, as we have explained, is that there are not different
  types of criminal offenses; rather, there are different criminal offenses, all of which are collected together
  under a single criminal code. Secondly, and more importantly, the search for a relevant difference
  justifying different treatment depends on the system of accepted values of civilized societies. An
  expression of this value system, particularly in democratic states, may be found in the constitutions
  created by each state and, especially, in the universal declarations of human rights, which are the product
  of encouragement by democratic states. While these declarations do not explicitly prohibit discrimination
  on the basis of different criteria of offenses, the cumulative effect of the different articles of these
  declarations, and the emphasis on due process of law, particularly in criminal proceedings, creates the
   impression that, in democratic societies, drawing on the criterion of the type of criminal offense in order to
   substantiate different treatment of an offender for the purpose of prosecution may be considered improper
  discrimination.




       5ibid.,    p.4
  6          AH 10/69 Boronovsky v Chief Rabbis of Israel, PD 25(1) 7,p.35
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            Thus, for example, Article 14 of the Covenant on Civil and Political Rights reiterates, regarding
                            7
   the criminal proceeding :

                  "(1) All persons shall be equal before the courts and tribunals. In the determination
                  of any criminal charge against him, or of his rights and obligations in a suit at law,
                  everyone shall be entitled to a fair and public hearing by a competent, independent
                  and impartial tribunal established by law...
                  (2) Everyone charged with a criminal offence shall have the right to presumed
                  innocent until proved guilty according the law.
                  (3) In the determination of any criminal charge against him, everyone shall be
                  entitled to the following minimum guarantees, in full equality ...".
             The article subsequently details basic procedural rights enjoyed by any defendant subject to
   criminal prosecution, such as the right to be aware of the charge against him in a language he
   understands; the right to consult with an attorney of his choice; the right to be present in court; and the
   right to cross-questioning. 8 These guarantees constitute an essential minimum for any criminal
   proceeding, whatever the offense. Inother words, when the goal is criminal prosecution and management
   of a criminal trial, there is no relevant difference between offenders. All are accused of violating specific
   articles of the criminal code, and the law treats all equally, i.e. it will prosecute them before the same
   court/tribunal without distinction according to the type of offense.
             The combination of the underlying principles of a democratic state - the separation of powers, the
   rule of law, and human rights - leads to the conclusion that the rule is that of judgment before a single
   central forum for all offenders and for all offenses. All rules have exceptions, but anyone wishing to
   deviate from the rule and interested in specifying a judicial tribunal for a specific type of offense must
   explain the grounds that justify making an exception to the rule. Should it not be stated that, today, in a
   reality in which we live under high threat of destructive terror attacks, the security considerations of the
   citizens of the state constitute grounds justifying the creation of a specialist judicial forum for a specific
   criminal offense - terror, and that such grounds justify deviating from the rule and underlying principle of
   the legal system in a democratic state - equality before the law?!

                  "It must not be forgotten that security is not just the army. Democracy is also
                  security. Our strength lies in our moral might and in our adherence to the principles
                  of democracy, precisely when there is great danger around us. Indeed, security is
                  not a goal that stands on its own.




       7    Article 14 of the international Covenant on Civil and Political Rights (March 23, 1976)
   8        Ibid., Article 14(3)

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                 Security is a means. The goal isthe democratic system, which is the system of the
                 people and emphasizes individual liberties...9
           Below in this chapter, I shall attempt to prove that the offense of terror is no different from any
  other criminal offense. Setting aside ajudicial forum for this offense is improper, and no direct connection
  can be proven between such a step and the goal for which state security was established. The influence
  of a specialist forum for the judgment of terrorists on the security of the state and its citizens is limited, at
  best, to enhancing the sense of security of citizens, and not to strengthening actual security on the
  ground.
           To prove this, I shall first turn to an examination of the impact on procedural rights enjoyed by a
  defendant of deviations from the principled approach customarily employed for the pursuit of legal
  proceedings in a democratic state, and from the proper perception of procedural justice therefore.




       9   HCJ 680/88 Schnitzer v Chief Military Censor, PD 42(4) 623
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                                                     Chapter Three

   The Ramifications of the Character of a Judicial Forum for the Procedural Rights Enjoyed
                                       by the Defendant

            It is difficult to understand the extensive criticism heard in the United States regarding the
   presidential order establishing specialist military tribunals for the judgment of terrorists without examining
   whether the character of a judicial forum influences the procedural rights of the defendant. As I shall show
   below, the answer to this question is positive. For the purpose of illustration, I shall draw on the military
   tribunal responsible for judging Israeli soldiers, showing how a separatist ideology that emphasized the
   divergence of the military system from its civilian peer led to the creation of a separate military judicial
   system. I shall then show that the separate system sought to justify the use of different judicial
   procedures than those established in the civil criminal system. Almost inevitably, these different judicial
   procedures led to injury to the procedural rights of the soldiers and, particularly, to their constitutional right
   to due process.

   A.         The Character of a Military Judicial Forum
            A military judicial system can maintain one of three forms of affinity to a civilian judicial system:
   1.       A system embedded within the civilian system which, inter alia, judges soldiers.
   2.       A system integrated in the civilian system while maintaining a certain degree of unique character
            in the judgment of soldiers.
   3.       A separate system, without any organizational affinity to the civilian system, although, in most
            cases, appeals proceedings from the highest military judicial level may be submitted to the
            supreme civilian level in the state. 10
            Our discussion will focus on the military judicial system in Israel, where the military judicial system
   is separate from the civilian judicial system." 1
            The military judicial system has double judicial authority, combining sole judicial authority in
   military offenses 12with parallel judicial authority to that of the civilian judicial system in other criminal
   offenses.'13




   10         E. Modrik "Military Judgment in Israel, from a'Command Orientation' to a 'Court'" Plilim A(1990) 83, p.
   84.
         11   On this aspect, see the Military Justice Law, 5715-1955 (hereinafter - the Military Justice Law)
   12         Article 1 of the military Justice Law
   13         Article 14 of the Military Justice Law
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            The military judicial system differs from its civilian counterpart in two principal areas: Firstly, the
  different judicial procedures established explicitly in the Military Justice Law 14 (regarding the laws of
  evidence and defense in a military trial, it should be noted that these procedures were drawn from civilian
  criminal law and, in most cases, were applied by way of reference to general law; 15) and, secondly, in the
  composition of the judicial panel. While in the civilian legal system the judges are professionals, in the
  military legal system, one also sees judges serving who are not professional jurists..
            The desirable democratic perspective indeed holds that a soldier, like any citizen, bears civil
  obligations, and is entitled to enjoy protection of all civil rights. However, the fact that a soldier forms part
  of a mechanism charged with state security and the protection of the state renders him different from a
  civilian who is not a soldier. By virtue of his function, he faces a greater danger to his life and,
  accordingly, he is required implicitly to waive the basic right of any person: the right to life.16 In contrast to
  a civilian, a soldier must perform his function in almost all conditions, whereas a civilian is permitted to
  abandon his function if he so wishes. An army is marked by mutual dependence and mutual trust - all
  trust all, and all are dependent on all. The military system cannot function without such trust. In order to
  maintain the relations of trust and mutual dependence, and to demand certain behavioral standards, there
  is a need for a separate judicial system from the civilian system. The principal grounds justifying a
  separate judicial system for soldiers are mainly practical considerations, or ones of efficiency - the fact
  that the military system must be capable of meeting its needs without any conditioning; it cannot be
  dependent on any aspect; it must be flexible and take into account schedules that reflect a training plan
  and specific tasks. Moreover, a separate military judicial system enables the utilization of personnel
  potential, since a person penalized by a military tribunal remains within the military framework, and the
                                                                                                               17
  army can continue to extract from him such matters as are required for it in accordance with its needs.
            The most important grounds justifying a separate judicial system are the need to regulate
  soldiers' behavior in a particular manner for the army, as an essential condition for securing the army's
  objectives - it is essential that soldiers be tried by commanders who are army personnel, rather than
  professional judges, since army personnel can properly evaluate the quality of the soldiers behavior and
  bear overall responsibility for actions in the army, including the maintenance of discipline therein.
  Furthermore, the army's interest may sometimes be superior to that of the individual soldier and,
  accordingly, while the civilian judicial system emphasizes the protection of individual rights in a




  14        Article 461 of the Military Justice Law
       15   Article 476 of the Military Justice Law
  16        Article 9 of the Basic Law: Human Dignity and Liberty
  17        Modrik (aforementioned note 71), pp. 87-90
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   criminal trial, the military legal system restricts such protection insofar as a superior and important military
   interest pertains that dictates the army's actions.1
             One of the possible justifications for a separate military judicial system is that the army forms a
   comprehensive system whose unique domain of behavior extends over the most diverse range of
   matters. This is compounded by the unique character of the army. These considerations ostensibly justify
   a specific and separate judicial system. However, it must be examined whether the existence of a
   separate judicial system inevitably incurs different judicial procedures and different rules of evidence
   liable to injure the defendant's procedural rights.
             In Israel, "a general evaluation shows that the scales largely tip in favor of a substantive proximity
   (of the military judicial system) to a court forming part of the judicial authority." 19 The judicial procedures
   and rules of evidence are similar 20 as is the function played by the military prosecution and defense
   system. Most importantly, the civilian system maintains review by means of an appeal to the Supreme
          2
   Court. '
             Nevertheless, the existing "lack" in the military judicial system may not be overlooked; neither
   may be the difference in the composition and character of a tribunal, which may influence the procedural
   rights of the defendant before this tribunal. In applying the test of the practical outcome in terms of the
   impact on substantive rights, the soldier's dignity and liberty are injured, although no-one would deny that
   human rights are also the rights of the soldier as a human. 2
             Thus, for example, although the Military Justice Law establishes the principle that the trial before
   a military tribunal is held in camera, and establishes the authority to close the proceedings on grounds
   established by law, similarly to an ordinary court,2 it does not confine itself to this, but also adds the
   authority of the command echelon to order a discussion in camera on grounds of injury to state security.2
   There can be no doubt that the inclusion of this authority may have injurious and unnecessary
   ramifications in terms of the defendant's right to a public proceeding, since the authority is not required to
   give grounds for its decision and the military tribunal before which the defendant isjudged will not review
   this decision. Judicial review rests solely with the High Court of Justice, which does not customarily
                                                                        25
   intervene inthe discretion of the command echelon inthe army.




   18        Westmoreland & Prough "Military Justice" 3 Har. J.of L.and Pub. Policy (1970) 1,p. 50
        19   Modrik (aforementioned note 71), p.116
   20        Article 476 of the Military Justice Law establishes: "The binding rules of evidence in criminal matters in
   the state courts are also binding in a military court and before an investigative judge, when the Law includes no
   other provision."
   21        Article 440 of the Military Justice Law (Amendment No. 17), 5746-1986
   22        E. Modrik Military Judgment (Ministry of Defense 5753), p. 56
   23        Article 325 of the Military Justice Law
   24        Article 324 of the Military Justice Law
   25        See, for example, HCJ 2888/99 Hollander v Attorney General (unpublished)
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            In my opinion, this injury is not essential; it is possible and desirable to confine such instances to
  the exceptions to a public hearing established by the Military Justice Law at the discretion of the tribunal,
 without granting separate authority to the command echelon. Concern at the abuse of authority of the
  command echelon, and accompanying concern of injury to the defendant's constitutional guarantees of
 due process, require that the rule of public hearings, and the exceptions thereto, as current in the civilian
 judicial system be identical to those in the military judicial system.
            I have explained elsewhere the gap that exists between the laws of detention in the army and the
  laws of detention in the general criminal legal system .2 Thus, for example, while considerations of
 deterrence and efficiency are negated in the civilian laws of detention and have been declared unlawful 2,
 the essence and character of military service apparently continue in themselves to justify the detention of
 a soldier merely out of considerations of deterrence or the efficiency of the legal system .28 The same
 justifications that were found for the establishment of a separate judicial system are now employed to
 justify detention pending completion of the trial proceedings of defendants accused of offenses on
                                                                                  29
 account of which they would not have been detained by the civilian courts.
            In my opinion, the justifications for a separate military judicial system cannot also serve as
 justifications for the gaps between the laws of arrest and the judicial procedures applying in the civilian
 legal system and those applying in the military legal system.
           The procedural rights of any defendant in a legal proceeding not to be detained pending
 completion of the proceeding merely because he is charged of a serious offense, for the purpose of
 general deterrence, also apply with regard to a military legal system: Detention on the basis of
 considerations of deterrence contradicts the basic assumption of innocence enjoyed by all citizens of the
 state; detention prior to a judicial ruling is justified solely on preventative grounds. The justification that
 detention pending completion of the trial proceedings constitutes an expression of the army's distaste for
 offenses that injure discipline, which is a vital condition for the proper functioning of the army, is an
 outrageous one, conveying a message of failure regarding the criminal proceeding in the army. It implies
 that, despite the considerable power granted to the judicial authorities by the criminal proceeding, this is
 not in itself effective in conveying the message of deterrence, and that soldiers are incapable of
 understanding the significance of prosecution and the inherent deterrence embodied in the presence of
 the punitive provision in law.30




  26       E. Gross "Constitutional Aspects of the Laws of Detention in the Army" Mish pat U-Mimnshal E(5760), p.
  437
  27       On this aspect, see Sundry Crim. App. 537/95 Ghaneimat v State of Israel, PD 49(3) 355; Sundry Crim.
  App. 8087/95 Zada vState of Israel, PD 50(2) 133
  28       Gross (aforementioned note 87), p.450
  29       Adm. Appeal 15/97 Private Yaacov Damari vChief Military Prosecutor (unpublished)
       30 Gross (aforementioned note 87), p.437
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          Accordingly, the detention of a soldier merely because of the suspicion that he committed a grave
  offense, in the absence of any personal danger, constitutes grave injury to the liberty of a human who
  may be found innocent in his trial after the completion of the legal clarification.
          I do not believe that the restriction of a soldier's liberty should be examined on the basis of the
  expectations of army sources regarding a means that will assist them in promoting discipline and
  deterrence in the army. The proper test must be whether the proposed injury is essential, and whether it
  is consonant with basic societal attitudes. As noted, my answer to this test is in the negative.
          A further difference that deserves mention relates to the right of a suspect to be brought before a
  judge after his initial arrest. In the civilian system, the duration of detention prior to the detainee's being
  brought before a judge is not to exceed 24 hours,3 1 while in the military system the period of time was first
   reduced from eight days3 to 96 hours. 33 and finally to 48 hours.3 I cannot conceive of any substantive
   reason relating to the specific nature of military service that can convince us of this difference between
   the two judicial systems. The difference exists merely because it is intended to serve the needs of only
   one side, namely, the convenience of the system, but this convenience cannot justify the failure to bring a
   soldier before a judge within 24 hours, and instead waiting 48 hours. The obvious conclusion is that the
   character of the judicial forum may indeed influence the constitutional guarantees of those prosecuted
   before this forum.

   B.       A Special Judicial Forum for Terror Offenses
             We have found that society justifies rapid judgment since it seeks to realize another purpose that
   is no less proper than the defendant's rights, namely - the security of the state and its citizens, this by
   securing maximum procedural efficiency and deterrence. Thus, for example, in the case of a soldier
   suspected of betraying his comrades in wartime, it is important that the system respond quickly and
   prosecute the soldier rapidly in order to secure efficiency, even if this efficiency erodes the constitutional
   guarantees enjoyed by the defendant. Similarly, President Bush believed that the rapid judgment of
   terrorists would constitute a quick and efficient response in the war on terror .35 This rapid judgment - akin
   to a field court - will, it isfelt, realize the goal, since it will deter those involved in terror, insofar as they will
   see what becomes of those suspected of terrorist activity and be duly fearful. Does the injury indeed




   31      Article 29(A) of the Criminal Procedures Law (Enforcement Authorities - Detentions), 5756-1996
   32      Military Justice Law (Amendment No. 32), 5756-1996, SB 366
       33 Military Justice Law (Amendment No. 32) (Amendment), 5756-1998, SB 278
       34 HC 6055/95 Tzemach v Minister of Defense, PD 53(5) 241
       35 A. Woolner "Model Trial? 1942 Tribunal Hid More than State Secrets" American Lawyer Media, L.P.

   (December 5,2001)
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  In Article 66 of the Fourth Geneva Convention subject to which courts are to be properly constituted, non-
  political in character and to sit for deliberation in the lower court in the occupied area.
           The following Articles of the Convention have a cumulative effect of a broad defense in the
  existence of criminal proceedings: thus for example, military courts are required to apply only provisions
  of law which were applicable prior to the offense, and which are in accordance with general principles of
  law. The extent of the penalty shall be proportional to the offense, and the military court shall take into
  consideration the fact that the accused is not a national of the occupying country.136 The conduct of the
  trial must be proper and the accused shall be promptly informed, in writing, in a language he understands,
  of the details of the charges. 137 The accused shall have the right to bring evidence for his defense and to
  be assisted by a lawyer and interpreter. 138 The accused shall be allowed the right of appeal or petition to
                                                   39
  a competent authority of the occupying country.i1

          Further instructions on this topic appear in Article 11 and 75 of the Additional Protocol1 40 The
  presumption of innocence according to which every person is presumed innocent until proven guilty by
  law, a trial in the presence of the accused, and immunity from self incrimination according to which a
  person shall not be compelled to testify against himself or to confess guilt.
  B.            System of Judgment Established by the State of Israel In the Occupied Territories
           The State of Israel is a contracting party to the Geneva Convention and therefore the agreement
  applies to all the territories that were occupied by it in the Six Day War and that remained under its
  control. With that said, it should be pointed out that the Government of Israel took a position that it does
  not acknowledge the applicability of the Convention to these territories, because it never recognized the
  rights of Egypt and Jordan to any part of the land of Israel. 141 However this position is not consistent with
  the provisions of the Fourth Geneva Convention that does not make its applicability conditional on the
  recognition of property rights but applies it to every case of partial or full occupation of territories by a
  Contracting Party. 12And in 1971, in an international symposium for human rights, the official legal
  advisor to the government announced that the State of Israel decided (without retreating from its legal
  position in principle) to behave in practice in accordance with the humanitarian provisions of the Fourth
  Geneva Convention. 143




  136 Atce6ofFurth Geneva Convention.
    13    b ,Article 1.F
            7
  138    Ibid., Article 71.
  138 Ibid., Article 72.

  1
  40The First Additional Protocol (aforementioned note 45).
  14 1
         M. Shamrgar, "The Observance of International Law in the Administered Territories" 1 .Isr Y.B. Hum. Rts (1971)
  262, p.263
  142 Article 2 of the Fourth Geneva Convention (aforementioned note 33).
  143 Sha mgar, (aforementioned note 141), p.266.
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           Together with that it should be mentioned that most of the provisions of the Fourth Geneva
  Convention are constitutive; indeed as long as there is no legislation that absorbs the agreement into the   1
  internal law, the constitutive provisions do not have automatic applicability at the international level. "4
  Despite that, the Supreme Court cited that "It is a mistake to think.., that the Geneva Convention does145not
  apply to Judea and Samaria. It applies, even though... it is not subject to jurisdiction in Israeli courts."
           And so, after the State of Israel occupied the areas of Judea and Samaria and the Gaza Strip in
  1967, it established a system of military courts in accordance with the recognition of international law for
  the purpose of guaranteeing the rule of law from the aspect of also obeying the law when under
  conditions of conquest and military occupation.

           The existence of an enlightened and proper legal judicial organization, which would serve as an
  independent tool for imposing the law to ensure security, public order, and the good of the population and
  its welfare, also eventually led to the existence of local courts in the area.

           In other words, in accordance with the principles of international law that we have discussed, with
  the entrance of the ODF into the areas of Judea, Samaria and the Gaza Strip, the local judicial system,
  with its judicial responsibilities, according to the local legal system, was preserved - just as it was
  immediately before the occupation of the areas by the IDF. In parallel to that system a system of military
  courts was established in every area in the hands of an ODF officer in the area - the Commanding
  General who constitutes, as said, according to the rules of International Law, the supreme authority in the
  occupied area, and in that role has governmental powers, the legislation and its execution beginning from
  the minute the occupation began. Thus, in the manifest on government and legal procedure, which was
  published in Judea, Samaria and in the Gaza Strip by two commanding officers in the areas at that time, it
  was determined 146 : "Every authority of government, legislation, appointment and administration regarding
  the area or its residents will from now on be placed in my hands alone, and will be handled by me or by
  whoever will be appointed for that purpose by me or whoever will act on my behalf."

      In the framework of legislative powers, two commanding officers, each one in his area, published the
  directive regarding security instructions in 1970'147 according to which military courts of the first instance
  were established in every area. Later a military court of appeals was established.

  1. Powers of the Military Courts
          The decree regarding security instructions gave the military courts authority to sit in judgment on
  every violation that was defined in the Security Legislation and every violation defined in the law (the local
  law) as it existed immediately before the entrance of




  144 R. Lapidlot "International Law in Domestic Law' Mishpatlm (1990 5750) 807, p.826.
  145 High Court of Justice 390/79 Dwikat v. Government of Israel, 34(1) P.D. 1,p. 29

  W"0. Gross "The Military Courts' System in Judea, Samaria and the Gaza Strip" Monthly Review: Journal for IDN
  officers 36(5) (1989) 12, p.13.
  14 This directive replaced the earlier directive that was published in 1967, in the first days of the IDF's rule in these

  areas.
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   IOF forces into the area) subject to the said security legislation. 148 Inother words, regarding violations, the
  military courts have a parallel judgment authority to the local courts that continued operating in the area
  after the entrance of the INF forces.'149 The choice therefore where a criminal who violated the local law
  will be tried is in the hands of the authorized prosecution authorities.150 Ingeneral when a violation has a
  security issue an indictment will be presented in the military court. This relates to violations that harm,
  according to their nature and the nature of the security in the area, the public order of the area, the
  security forces or different factors operating in cooperation with security factors, Israeli citizens or any
  other important interests of the military government in the area. 151

           It should be emphasized that the powers of the military courts also extend under certain
  circumstances beyond the area, for example in a case that took place outside of the area and would have
  constituted a violation according to the security legislation if it had been carried out within the area or
  according to the local law that applies there, and that same act harmed or was intended to harm the
  security of the area or the public order there, it would fall under the authority of the military court!

  2. Composition of the Military Courts
           At the head of every one of them is a court president, and at his side presides a president on
  duty, who substitutes for the president when he is absent. These judges are appointed by the IDF
                                                                                                            152
  command forces in the area in accordance with the recommendation of the Military Advocate General.
  As a judge, a jurist in the military court can be appointed by an ODF officer with the rank of Captain and
  higher, when he has judicial training, and as president of the court ajudicial judge whose rank is no lower
  than lieutenant-colonel. Presidents of the courts and the presidents on duty are judges in the regular
  army, while the main part of the judicial force, from the point of view of quantity, is based on lawyers who
                                                             153
  are in the reserve army of the military attorney's office.

            The judgment of the indictments presented to these courts takes place before three judges whose
  composition includes at least one judicial judge who serves as head of the court, and two other judges
  are INF officers who do not necessarily have judicial triin'r or in front of a lone judge who is ajudicial
  judge 15 : From the point of view of authority on the issues there is no difference, in both cases the military
  court has the authority to judge



  14  Sparagraph 7 of the Decree Regarding Security Instructions (hereinafter - the Decree)
  149 M. Drori "Parallel Criminal Judgment Powers in the Occupied Areas" HaPraklit 32 (1979) 386.
  150 High Court of Justice 412/71 Nasirat v IDF Command Forces in Gaza Strip and Northern Sinai (not published).

  25 1Gross (the aforementioned note 146), p.14. See also High Court of Justice 481/76 Liptovy vSecurity Service, PR

  31 (1)266.
  152 See paragraph 3 of the Decree.
  153 Gross (the aforementioned note 146), p.14.

  154We will pay attention that this arrangement is similar to an arrangement that applies in the military courts

  according to the Military Judgment Law, 1955, as I presented in the first section.
  15 See paragraphs 3a, 4 of the Decree
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  all the violations that have been defined in the security legislation and in the local law subject to the
  security legislation. The difference is in the penalty authority, a lone judge's authority is more restricted -
  a lone judge cannot sentence the accused to a death penalty. This authority is found only in a
  composition of three judges when two of them are judicial judges and the sentence is given unanimously!

          The choice before which composition (lone judge or three) the indictment will be judged is only
  granted to the military prsctin5

  3. Judgment and Evidence Arrangements
       The rules of judgment are those that were determined in the injunction regarding security issues or
                                                                                                               15 7
  according to judgment arrangements that seem to the court the most appropriate for a just judgment.
  Specific instructions pertaining to the principle of holding a public trial158,to the right of the accused to be
  present during all the proceedings of the trial159, to the provision of an interpreter for a defendant who
  doesn't understand Hebrew were established 60, for the right of the defendant to be assisted by an
  attorney of his choice' 61 were determined. Furthermore, if there was a serious violation and the defendant
  did not select an attorney himself and a defense attorney was not appointed to him by the judicial adviser
  in the area, the military court with the agreement of the accused (and the intended defense attorney) will
  appoint a defense attorney for him.

  4.   The Right of Appeal

       Until April 1, 1989, there was no way to appeal a verdict of the military court for any kind of judicial
  proceeding 6 . Whoever was accused could turn to the commander of the ODF forces in the area with
  various requests




  156 High Court of Justice 372/88 Fox v the Military Advocate General,     PR42(3) 154: Inthis petition it was claimed
  that the decision of the military prosecution to bring to trial the accused before a lone judge was extremely lacking
  in reasonability. The petition was postponed on grounds that the choice of the charge and the judicial court that
  sits in judgment has been passed into the hands of the military prosecution.
  157 Separagraphs 9, 10 of the Decree.

     18Paragraph 11 of the Decree determines: "(A) A military court will hold the trials brought before with open

  doors, but the military court isentitled to order that the trial before it will take place, entirely or partially, behind
  closed doors, if it thinks that it isbest to do this due to for the sake of the security of ODF forces, the security of the
  public, the protection of morality or of the peace of a minor, or if it thinks that apublic trial might prevent a future
  witness of giving free testimony or giving testimony at all." We will pay attention that we have a principle of public
  trial, while in the United States today the rule isa closed trial
  159 Paragraph 35 of the Decree.

  160 Paragraph 12 of the Decree.
  161 Paragraph 8 of the Decree.

  162 As I explained the international law in Article 73 of the Fourth Geneva Convention did not establish an

  obligation for an appeal proceeding, it made it possible to turn to the responsible authority of the occupying
  power, and that responsible authority isnot an additional judicial proceeding.
 462
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  in relation to the verdict. The area commander has the authority to intervene in the verdict by acquitting
  the accused or cancelling the verdict and fixing a new trial.
            Establishing an additional appeal proceeding comes as a result of a deliberation in the High Court
   of Justice in Israel in a petition presented by two people who were convicted in a military court in
   Ramallah 163 -- there despite the fact that the high court rejected the petition and did not find a place to
   interfere in light of the fact that the rules of international law do not obligate an appeals proceeding, the
   Supreme Court presented its position in support of establishing a military appeals proceeding in the area
  of Judea and Samaria and Gaza Strip. This position came from the contribution of the right of appeal to
   reinforce the foundations of fairness and reasonability that are in the legal proceeding. The factor of
  appeal is considered in enlightened systems as a basic and essential part of fair judgment. Bringing it into
  the military judicial system will raise its capital and highlight its lack of dependence. Likewise, in light of
  "the doctrine of a long occupation" according to which the longer the occupation goes on the more weight
  has to be given to the needs of the society that changes with the passing of time President Shamgar
  determined: "Instituting the right of appeal expresses the disappearance of extreme emergency
  measures, which are obligatory in the main period of military government, but are not justified in a military
  government existing already twenty years and more ... no reason or logic can be found in it, that the
  military system of justice, that is to say the tool for carrying out justice on behalf of the Israeli government,
  more than any other system of government, continues to carry the hallmark of the war, the temporariness,
  the limitations that arise from the emergency time, whose expression in the absence of the traits that
  complement its essence and show the face of a decent and complete system of justice. ,164.

          As a result of this ruling, the injunction regarding security instructions' 6 s was corrected; beginning
  from 1 April 1989 one military court of appeals was added to serve the two areas. For the purpose of
  appeal a distinction should be made between verdicts given by a lone judge and verdicts given by a
  composition of three. With the latter the appeal is a right, while in the case of a lone judge the appeal is
  by permission '6. The right of appeal or a request from the authority to appeal is given both to whomever
  was found guilty and to the military prosecution. Automatic appeal will exist when a verdict that imposes
  the death penalty is given, even if an appeal was not presented by the accused167 .

            This institution has the utmost importance and strengthens as said the fair judicial proceeding that
  enables judicial decisions to be passed that were given by the lower court in another melting pot, where in
  the end, decisions that were found to be flawed will be disqualified, and those decisions that stand this
  additional test will come out stronger. This new proceeding strengthens the independence of the military
  judicial system and the lack of dependence on external factors.




  163 High Court of Justice ARJOV (aforementioned note 97)
  164 Ibid., pp. 375-376 (the emphasized places are mine - AG

  165 See paragraph 4B in the Decree.

  166 Paragraph 40B in the Decree.
  167 Paragraph 40 inthe Decree.
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                                    Democracy's Struggle Against Terrorism - Legal and Moral Aspects

              Many see the judicial proceedings that the State of Israel conducts in the occupied territories as a
      genuine effort and attempt to negate the well known adage that "Military justice is to justice as military
                         68
      Music isto music."'1

                 I suppose that the State of Israel really made a serious effort to establish a fair system of justice
      in the occupied territories. The fact that it established a special judicial system for security violations - the
      military judicial system 169 -- does not raise a real suspicion, that judgment of security violations by the
      local judicial system in the occupied area was affected by a clear conflict of interest and prejudice, there
      is no reasonable hypocrisy from the local courts in objectively judging violations against the security of the
      area!

               Furthermore, the State of Israel chose to preserve the legislative guarantees of the accused
     standing trial and to constrict as much as possible the influence of the judicial forum upon the procedural
     rights of the accused.

                The question is why did the State of Israel work to reduce the influence of the judicial forum and
     not to neutralize this influence absolutely, why is there still a gap? It cannot be ignored that this influence
      still exists because the judges are not professional judges - the composition is a mix of a professional
     judge and army officers with no judicial training.

               True, the State of Israel chose to preserve the same constitutional safeguards to a defendant in a
     military court in the occupied territories in the same ways as constitutional guarantees are provided to a
*    defendant in a military court in Israel, this even though it could have conducted the criminal proceedings
     in a military tribunal according to the rules of procedure and evidence that apply in local criminal courts in
     the territories. We note that the State of Israel determined that the laws of evidence that apply in a military
     court are the same laws that apply in an Israeli court. 170 On the other hand the right of the detainee
     according to the Decree to be brought before a judge is different from the right of an Israeli citizen in the
     areas of the State of Israel to be brought before a judge. While in Israel the detainee must be brought
     before a judge within 24 hours of the arreSt 171, the fact is that according to the Decree, in the military
                                                                                                             172
     system it is possible to arrest a person and only to obtain the warrant of arrest after 96 hours. . The
                                                                                                           173
     more serious harm is that a police officer is authorized to issue an arrest warrant within 7 days . There
     is nothing similar in the laws that apply in Israel - there an arrest warrant is only issued by a judge.




     16     Ti saying is attributed to the Frenchman Clemenceau, See Gross (aforementioned note 146), p.21.
     169 We explained that the judicial authority of the military courts isparallel to the local courts but regarding
     security violations the authority generally belongs to the military courts.
     170 Paragraph 9 of the Decree instructs: "inthe laws of evidence the military courts will act according to the

     obligatory rules for criminal cases inthe judicial courts of the State of Israel."
    .172
     171 Section 29(A) of the Criminal Procedure Law (Enforcement Authority - Arrests) 1996 (5756)


      173
            Paragraph 78(3) of the Decree
            Paragraph 78(4)(1) of the Decree
     464
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*    Another gap exists between the procedures of law that apply in the courts in Israel and the Decree
     regarding Security Provisions about the right of a detainee to meet with a lawyer: the law that applies in
     the courts in Israel allows postponement of the meeting between the detainee suspected of security
     violations and his lawyer up to 10 days with the authorization of the officer in charge 74 and up to 21 days
     with the authorization of the president of the district court subject to a right of appeal to the Supreme
     Court'. On the other hand according to the Decree about Security Provisions the person in charge of
     investigations is permitted to postpone the meeting between the detainee and his lawyer up to 15 days on
     grounds of the security needs in the region or for the needs of the investigation and the authority is
     entitled to extend this period by another 15 days. Therefore, it is possible that the meeting can be delayed
     up to 30 days' 7 6

               These discrepancies and their ramifications as we will see immediately, certainly emphasize the
     existence of a departure from the balance between security needs and the rights of a accused to a fair
     trial and to the protection of constitutional safeguards that guarantee a fair trial: the organization B'Tselem
      presented in 1989 a report that was based on observations made by lawyers for the organization
     concerning trials in the military courts. The report's findings reflect the dangers discussed here: "The
      serious situation, in which a majority of hearings are delayed by about a month because of the failure to
      bring accused detainees or due to the failure of witnesses for the prosecution to appear violates the basic
      right of a person not to be punished by prolonged detention prior to his guilt being established in a fair
     judicial proceeding. The punishment therefore precedes the conviction and the court seems to only
     determine the date of the end of the punishment, and does not act as the decision-maker on the question
                            ni77
     of guilt or innocence"

              The words of the reserve duty military judge Aryeh Cox emphasize even more the danger within
0    the military judicial system: "It's clear that this court is not a natural and regular court, but some kind of
     solution that the military government found for the purpose of enforcing the government of occupation.
     The work that is done there is not purely judicial: in practice, the entire situation in the military courts in
     Gaza seems like something that is not from this world. Hundreds of family members outside, dozens of
     prisoners inside, most of them very young, and the impression is that they have lost faith in the system
     and do not even try to defend themselves. They confess to everything. Their defense attorneys, who in
     many cases are pathetic figures, also resign themselves to the situation and in fact do the work of
     middlemen for purposes of punishment. I found a complete symbiosis between the prosecution, the
     judges and the lawyers. With the accused on the sidelines, everything is handled with stoic resignation.
     We found accused, we also found suitable         offenses for them, and what's left to do now is to find even
                                              178
     more suitable   punishments  for  them. "


     There is no more doubt that evidence in the field has shown that the primary influence exerted by the
     character of the judicial forum on the rights of the accused is a result of its composition - in the military
     court, where the judges in it are appointed by a military officer, it follows that the judges and the

     27    Section 35(3) of the Criminal Procedure Law (Enforcement Authority - Arrests) 1996 (5756).
     175
           Section 35 (4), ibid.
     176 Paragraph 78G (3)of the Decree
     177 "Report from the Backyard" Subjudiciary 1 (1992) 30.

     178   Shay Leibowitz-Dr. "No Just Trial in the Territories, Word of a Judge" Hadashot Supplement (11 Oct. 1991) 6.
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*    prosecutors who serve in the Military Advocate's Unit are subordinate to one commander and are
     dependent on one authority for their advancement, and likewise, the whole system of the separation of
     powers between the judges and the prosecutors that exists in regular civil courts disappears when it
     comes to a military court: "In military courts, for example, the ties between the judge and the prosecutor
     are close, sometimes only a thin wall separates between the prosecutors room and the judge's room.
     They are really enmeshed. Because the separation of powers is a basic principle of every judicial system,
     its absence constitutes one of the main reasons for the fact that the element of adjudication in the
                              179
     territories is not pure. "

               From observations that the organization B'Tselem conducted during the same time period it
      appears that the majority of the trials are not based on witness testimony while convictions are based on
      confessions by the accused. This finding casts great doubt on the conclusion that proceedings before
      military courts indeed lead to a just trial, notwithstanding the provisions we have already discussed that
      apply the rules of procedures and evidence prevailing in Israeli law to the military courts. "Contrary to the
     civil court system, the ability of a military judge in the territories to check whether he indeed carries out a
     just trial and whether the accused committed all the violations that were carried out, is nil, because
     generally there is a total and wholesale confession for each violation. This deprives the judge of the ability
     to examine whether the person standing in front of him committed the violations, in whole or in part, or
     whether he is innocent. That is,the judge cannot actually unearth the truth and conduct a just trial. In this
     area of violations there is another factor, fundamental and no less complex from those that follow it. The
      investigators discover most of the violations using 'informers.' People confess everything, and from
     confession to confession they incriminate other people. This is very dangerous and uncertain to decide
     the fate of a person on the basis of an 'informer.' And indictments are presented on the basis of these
*     informers. This is a chain reaction: informer, indictment, confession, punishment. And if we mention
     punishment, the level of punishment too does not give rise to equal justice. When a Jew kills an Arab he
     can receive a year in prison. When 18       an0 Arab throws a stone and no damage is caused, he receives a
     similar penalty. This is not a just trial."

              This is the practical result of a military trial that is different in composition from a regular civil trial,
     even when it purports to apply procedures that are similar to the procedures that apply in the regular civil
     courts - the outcome is deep erosion in the basic right of every defendant to a fair trial. Such an outcome
     contradicts the tenets of a democratic state.

              What will be the result in a case where not only is the component that is judged (terrorists)
     different from the component that sits in the regular civil system, but also where the law allows application
     of different judgment and evidence arrangements that work for the good of only one side - the
     prosecution - as the president of the USA teaches? This result will not be able to stand against the basic
     rules of a genuine democratic government that seeks justice and truth, and the result will be known in
     advance and the chasm between it and something that's close to the truth is deep.

              To complete the picture of the system of judgment for security violations as it was determined by
     the State of Israel it should be noted that alongside the judgment of suspects of security violations in
     military courts in the occupied territories, the courts of the State of Israel have the authority to try those



    .8  Ibid.
      179
      10Ibid.
     466
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  accused of security violations, among them terrorists as defined by Israeli law,181 and in these cases the
   internal local courts of the State of Israel rule and not international law. But it is important to emphasize,
  that in spite of the fact that the State of Israel issubject to many frequent and shocking terrorist attacks, it
  has not found it right to establish special tribunals with unique authority to judge them. The authority for
  judgment is given to the regular courts that judge every other criminal violation. Alongside this there exists
  the parallel judicial authority of the special military courts - the military court in Lod.

         The military court in Lod was established and operates by virtue of the 1945 Defense
                        1 82
  (Emergency) RegulationS ,

           Most of the accused who enter its gates are Arab residents of Israel and its citizens who
  committed violations of the defense regulations or Arab residents of the territories who committed
                                                        183
  violations as said in the area of the State of Israel. 3

            The fact of there being a court with parallel authority and not unique to the judgment of terrorists
  (by virtue of their violation of the defense regulations) somewhat lessens the power of the suspicion that
  would grip us if it had unique authority, but the suspicion does not go away completely - why was the
  judicial authority of the regular judicial system not sufficient?

            As said, I explained that I do not find justification for the existence of a separate tribunal unless
  the matter requires a certain expertise that is not held by every judge in the regular court or that the
  motive for establishing a separate tribunal is to further the conduct of justice. It seems that neither one of
  these two justifications constitutes a basis for establishing a military court in Lod, which explains the lack
  of activity and the absence of referral of these indictments - in practice the judgment of terrorists within
  the areas of the State of Israel is in accordance with the criminal law that resides in the hands of the
  regular judicial system, and the way to the erasure of the military court in Lod from the Book of Laws in
  the State of Israel is short.




  18 See, freape, Sign Band Dof section 7of the Penal Law 1977-5737 and also paragraphs 146-147 of the said
  law: regulations 58, 59, 62, 64, 66, 67, 84, 85, of the 1945 Defense (Emergency) Regulations; paragraphs 4-2 of the
  order for the Prevention of Terror, 1948-5708.
  182
      Paragraphs 12-15 of the Regulations.
  183 A. Ben Hayimn "Capital Punishment inthe Verdicts of the Military Courts in Israel and in the Occupied

  Territories" The Law and the Army 10 (1989 5749) 35, p.42
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             EXHIBIT 210 TO DECLARATION OF VALERIE SCHUSTER
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                             Expert Report
                                           Of

                        Evan F. Kohlmann
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             Strauss v. Crédit Lyonnais, S.A. 06 CV 702 (CPS)(MDG)
       Applebaum v. National Westminster Bank, Plc 07 CV 916 (CPS)(MDG)
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      I.       Professional Background and Qualifications
              My full name is Evan Francois Kohlmann. I am a private International Terrorism
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      of Foreign Service (Georgetown University), and a Juris Doctor (professional law degree)
      from the University of Pennsylvania Law School. I am also the recipient of a certificate
      in Islamic studies from the Prince Alwaleed bin Talal Center for Muslim-Christian
      Understanding (CMCU) at Georgetown University. I currently work as an investigator
      with the Nine Eleven Finding Answers (NEFA) Foundation and as an on-air analyst for
      NBC News in the United States. I also run an Internet website Globalterroralert.com that
      provides information to the general public relating to international terrorism. I am author
      of the book Al-Qaida’s Jihad in Europe: the Afghan-Bosnian Network (Berg/Oxford
      International Press, London, 2004), which has been used as a teaching text in graduate-
      level terrorism courses offered at such educational institutions as Harvard University’s
      Kennedy School of Government, Princeton University, and the Johns Hopkins School of
      Advanced International Studies (SAIS).

              As part of my research beginning in approximately 1997, I have traveled overseas
      to interview known terrorist recruiters and organizers (such as Abu Hamza al-Masri) and
      to attend underground conferences and rallies; I have reviewed thousands of open source
      documents; and, I have amassed one of the largest digital collections of terrorist
      multimedia and propaganda in the world. The open source documents in my collection
      include sworn legal affidavits, original court exhibits, video and audio recordings, text
      communiqués, eyewitness testimonies, and archived Internet websites. I have testified on
      ten occasions as an expert witness in jurisdictions beyond the United States—including
      the United Kingdom, Denmark, Australia, and Bosnia-Herzegovina. I have testified once
      as an expert witness in a U.S. civil case, Gates v. Syrian Arab Republic, before the U.S.
      District Court for the District of Columbia. I have additionally testified as an approved
      expert witness in United States federal and military courts in fifteen criminal cases:

              United States v. Sabri Benkhala (Eastern District of Virginia, 2004)
              United States v. Ali Timimi (Eastern District of Virginia, 2005)
              United States v. Uzair Paracha (Southern District of New York, 2005)
              United States v. Ali Asad Chandia (Eastern District of Virginia, 2006)
              United States v. Yassin Aref (Northern District of New York, 2006)
              United States v. Sabri Benkhala (Eastern District of Virginia, 2007)
              United States v. Rafiq Sabir (Southern District of New York, 2007)
              United States v. Emaddedine Muntasser (District of Massachusetts, 2007)
              United States v. Hassan Abu Jihaad (District of Connecticut, 2008)
              United States v. Mohammed Amawi et al. (Northern District of Ohio, 2008)
              United States v. Salim Hamdan (Guantanamo Bay Military Commissions, 2008)
              United States v. Ali Hamza al-Bahlul (Guantanamo Bay Military Commissions,
               2008)
              United States v. Mohamed Shnewer et al. (District of New Jersey, 2008)



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            United States v. Oussama Kassir (Southern District of New York, 2009)
            United States v. Syed Haris Ahmed (Northern District of Georgia, 2009)

             In United States v. Uzair Paracha, Federal District Judge Sidney Stein held a
      Daubert hearing on my qualifications as an expert witness and issued a ruling,
      concluding:

             Evan Kohlmann has sufficient education, training, and knowledge to be
             qualified as an expert, and… Kohlmann’s methodology—that is, his
             process of gathering sources, including a variety of original and secondary
             sources, cross-checking sources against each other, and subjecting his
             opinions and conclusions to peer review—is sufficiently reliable to meet
             the standards for admissibility of expert testimony set by the Federal Rules
             of Evidence.

              Likewise, in United States v. Hassan Abu Jihaad, Federal District Judge Mark
      Kravitz held a Daubert hearing on my qualifications as an expert witness and issued a
      ruling, concluding:

             Mr. Kohlmann is certainly qualified to provide expert testimony… Mr.
             Kohlmann is qualified by means of his education, training, background,
             and experience to testify as an expert on terrorism… Mr. Kohlmann has
             conducted first-hand interviews of several leaders of terrorist
             organizations and has reviewed reams of information about al Qaeda…
             and the other subjects on which he will offer testimony. Indeed… it is
             apparent that these subjects are Mr. Kohlmann’s life work, and he has,
             therefore, acquired a considerable amount of information and
             documentation on these subjects… Mr. Kohlmann’s work receives a
             considerable amount of peer review from academic scholars and others,
             and by all accounts, Mr. Kohlmann’s work is well regarded.

              Similarly, in United States v. Syed Haris Ahmed, Federal District Judge William
      S. Duffey Jr. held a Daubert hearing on my qualifications as an expert witness, and noted
      in his published ruling:

             Kohlmann has developed an understanding of terrorist organization
             structures, operations, and membership, allowing him to speak with
             authority about Al-Qaeda in Iraq, Lashkar-e-Taiba, and Jaish-e-
             Mohammed. His research and experience have provided him a base of
             understanding far greater, and far more sophisticated, than of the Court or
             of jurors... A person lacking Kohlmann's advanced knowledge of JeM and
             LeT essentially would not be able to recognize the information on Khan's
             hard drive as information that might link a person to JeM or LeT.




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              I am being compensated by Plaintiffs in these cases according to an hourly
      billable rate of $350.00.

              I confirm that I have no previous professional or personal connection or
      relationship with any of the parties or witnesses in this case that would preclude my
      giving impartial evidence.

      II.    Research and Archival Methodology
              The methodology employed in formulating this report is derived from techniques
      taught to me by the late Dr. Joseph Lepgold, a senior faculty member from the
      Department of Government of the Edmund A. Walsh School of Foreign Service (SFS) at
      Georgetown University, as part of official coursework towards the completion of my
      Georgetown University Senior Honors Thesis, “The Legacy of the Arab-Afghans: A Case
      Study.” Sources of research in the field of terrorism and terrorist organizations can
      loosely be divided into three sub-categories: primary sources, secondary sources, and
      tertiary sources. Primary sources are generally considered to be the most credible and
      most authentic sources of information for objective analysis. Examples of primary
      sources would include a face-to-face interview with the leader of a terrorist organization,
      an in-person visit to a training camp, or directly witnessing a terrorist attack. However,
      because international terrorist organizations are, by their very nature, secretive
      organizations which operate clandestinely, access to primary sources is rare and
      inconsistent. As such, frequently, terrorism analysts must instead turn to secondary
      sources in order to gain a deeper understanding of these groups. Examples of secondary
      sources would include an original video or audio recording of a terrorist leader, published
      written communiqués, or an official magazine/website created by a terrorist organization.
      Secondary sources can occasionally be self-authenticating (i.e. a high-resolution video of
      an unmasked individual speaking) or can require deductive reasoning in order to
      determine their authenticity. Beyond primary and secondary sources, there is one further
      category of research: tertiary sources. Examples of tertiary sources would include a
      newspaper article, a television news report, or a book or magazine published by a
      reputable third party. However, because the information offered in tertiary sources often
      comes through a convoluted or unclear chain of custody, I limit my own use of tertiary
      sources to add additional context to information already confirmed by primary or
      secondary sources.

               In order to determine the provenance of particular secondary or tertiary sources, I
      engage in a traditional social science method known as “comparative analysis.” This
      requires me to compare and contrast particular sources in question with other analogous
      sources contained in my digital archive, searching for common threads and themes. By
      drawing from a wide assortment of primary and secondary sources, I establish a single,
      objective narrative—while simultaneously noting any significant factual discrepancies or
      conflicting data. During a May 2009 Daubert hearing before Judge William S. Duffey Jr.
      in the Northern District of Georgia, I explained the process of “comparative analysis” and
      how I rely upon it when making determinations of fact. This testimony was subsequently
      summarized by Judge Duffey in his own published ruling qualifying me as an expert:


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               The basis for Kohlmann’s testimony, generally, is his years of research
               and tracking of terrorist information, through websites, primary
               interviews, books, news articles and journals, and other information. His
               testimony essentially synthesizes these concepts, and through the use of
               the comparative analysis methodology, Kohlmann has developed an
               understanding of terrorist organization structures, operations, and
               membership… Kohlmann testified in detail regarding the methodology of
               comparative analysis, how it is relied upon by experts in social sciences,
               and how the particular information he gathers allows him to perform
               reliable analysis. He specifically testified to how he gathers and analyzes
               information from primary, secondary, and tertiary sources, and he
               explained the difference between the sources and why and how he relies
               on each differently. He further explained how comparative analysis is
               performed: assimilating the relevant information and comparing and
               contrasting sources against one another to form a cohesive whole. The
               sources Kohlmann uses and the methodology he employs to analyze those
               sources, are identical to those used by other experts in his field.
               Kohlmann explained his methodology and how he used the methodology
               to arrive at his opinions in this case. The defendants did not offer any
               evidence at the hearing or subsequent to it to suggest that Kohlmann’s
               methodology is not sound or is not the same methodology typically relied
               upon by other social scientists… Mr. Kohlmann’s ability to synthesize
               that information through comparative analysis establishes his qualification
               as an expert.

      III.     Applying Research Methodology to Plaintiffs’ Cases

              In May 2009, Plaintiffs’ counsel requested that I provide an expert opinion on the
      use of the Internet and other media by the Islamic Resistance Movement (Hamas, a/k/a
      “the Martyr Ezzadeen al-Qassam Brigades”)1 in order to disseminate propaganda, claim
      responsibility for various terrorist attacks, and/or glorify deceased or imprisoned
      members of its organization. I have specifically been requested to:

              Identify key websites which, in my expert opinion, are directly controlled by
               Hamas, set forth their provenance, and summarize their agenda and purpose.




      1
        As used in this report, “Hamas” refers to Harakat al-Muqawama al-Islamiya, a Palestinian Islamist
      movement that is an outgrowth of the Palestinian branch of the Egypt-based Muslim Brotherhood. The
      United States designated Hamas a Specially Designated Terrorist (SDT) in 1995, a Foreign Terrorist
      Organization (FTO) in 1997 and a Specially Designated Global Terrorist (SDGT) in 2001. The official
      name of the military wing of Hamas, spelled herein as “the Ezzedeen al-Qassam Brigades,” can also be
      transliterated from Arabic into English in a variety of other spellings, including “the Izzadeen al-Qassam
      Brigades” and “the Izz al-Din al-Qassam Brigades.”


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            Describe how Hamas and its co-conspirators use the Internet and other media,
             including specific websites and Internet discussion forums, to facilitate Hamas’s
             terrorist operations.

            Explain and opine upon the meaning and significance of certain texts, websites,
             videos, audio files and other media used by Hamas (including Hamas-controlled
             or related persons, organizations, or entities).

            Offer an expert opinion regarding whether Hamas has claimed responsibility
             through its websites and other media for the following specific terrorist attacks
             from 2001-2004 (the “Attacks”), and—if so—to provide an expert opinion on the
             reliability and credibility of those claims:

                o   March 28, 2001 – Gas Station Bombing near Kfar Saba
                o   August 9, 2001 – Sbarro Pizzeria Bombing, Jerusalem
                o   December 1, 2001 – Ben Yehuda Bombings in Jerusalem
                o   March 27, 2002 – Park Hotel Bombing, Netanya
                o   May 7, 2002 – Sheffield Club Bombing, Rishon Letzion
                o   July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem
                o   January 29, 2003 – Shooting Attack on Route 60
                o   March 5, 2003 – Haifa Bus #37 Bombing
                o   March 7, 2003 – Shooting in Kiryat Arba
                o   April 30, 2003 – Mike’s Place Bombing, Tel Aviv
                o   May 18, 2003 – Commuter Bus #6 Bombing
                o   June 11, 2003 – Jaffa Road Bus 14A Bombing, Jerusalem
                o   June 20, 2003 – Shooting Attack on Route 60
                o   August 19, 2003 – Jerusalem Bus #2 Bombing
                o   September 9, 2003 – Bombing at Café Hillel in Jerusalem
                o   October 22, 2003 – Tel Romeida Shooting Attack
                o   January 29, 2004 – Jerusalem Bus #19 Bombing
                o   September 24, 2004 – Mortar Strike in Neve Dekalim

              In order to apply my research and analytical methodology to Plaintiffs’ cases, I
      have reviewed my own stored archive of Hamas websites and relevant propaganda
      materials (accessed from 2001 until the present). Both on a manual basis and
      simultaneously using automated web spidering software known as “WinHTTrack,” I
      have gradually compiled an open source historical record of now-defunct Hamas-related
      websites and e-mail lists. Those materials stored on my own information server have
      been supplemented by other available online archives of those same websites and
      materials (primarily hosted by the Internet Archive, www.archive.org). To provide
      further context, I have also thoroughly examined the current iteration of the official
      Hamas Internet website, Alqassam.ps, and its accompanying web discussion forum
      Almoltaqa.ps. On a logistical level, in order to address any issues concerning original
      documents written in the Arabic language, I have been directly assisted in reviewing
      these documents and formulating the subsequent report by my researcher, a graduate




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      student and native of Jordan who is fluent in modern standard Arabic and has worked in
      the past as an Arabic-English language tutor.

              After identifying the array of official websites used by Hamas over time, I have
      systematically reviewed copies of communiqués (or “bayans”) stored in their online
      archives, comparing the style, language, and content of those statements to official
      assessments from the Ministry of Foreign Affairs of the State of Israel, and to other
      documents published by Hamas—such as the infamous al-Qassam “Glory Record”—
      video-recorded “martyrdom” wills, photographs, and biographical information about the
      alleged perpetrators of attacks. This review was conducted both to determine whether
      Hamas had ever issued legitimate claims of credit for particular terrorist attacks, and
      equally, whether Hamas had specifically denied involvement in other terrorist attacks. It
      is a reasonable assumption that the more occasions Hamas claims responsibility for an
      individual operation, and the more specific detail Hamas can provide about the planning
      and execution of that operation, the more likely it is that its claims are legitimate.

      IV.    Summary of Conclusions

             Based upon the information, research, and analysis presented in this report, I have
      reached several key conclusions:

            Since at least 2001, the Palestinian Hamas organization—a designated Foreign
             Terrorist Organization (FTO) otherwise known as the “Islamic Resistance
             Movement” and “the Ezzedeen al-Qassam Brigades”—has maintained a regular
             presence on the Internet through the use of fixed websites, online newsletters, and
             virtual discussion forums. The most notable of these entities are the Palestine-
             info.net website, the Alqassam.ps website (also formerly known as
             Qassamiyoon.com, Kataeb-ezzeldeen.net, Ezzedeen.net, etc.), and the
             Almoltaqa.ps social networking forum. Hamas has employed these venues to
             disseminate its propaganda, to conduct public interviews with senior Hamas
             officials, to facilitate communication and coordination among Hamas supporters,
             and to assist in illicit terrorist financing schemes. Hamas’s web presence is one of
             its most vital material resources, serving as a massive “force multiplier” for its
             membership.

            Since 2001, Hamas, together with persons or entities controlled by, or related to
             Hamas, has utilized certain texts, websites and other media (many of which will
             be discussed and analyzed infra) for the purpose of advertising its involvement
             and responsibility in various violent “operations,” including attacks that are
             alleged to have injured the Plaintiffs in these actions. In my expert opinion, these
             texts, websites and media can be attributed to Hamas and have particular
             significance to Hamas on both a symbolic and operational level, including their
             use in connection with acknowledging Hamas’s involvement and/or contribution
             to particular violent acts.




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              Using the above-mentioned means (namely websites, newsletters, and forums),
               Hamas has distributed authentic claims of responsibility—accompanied by other
               evidence in the form of high-resolution photographs, original video recordings,
               and the personal accounts of eyewitnesses—which demonstrate its culpability in
               the execution of particular terrorist attacks identified by Plaintiffs that have
               occurred between 2001 and 2004. Those attacks include (but are not limited to)
               the:

                  o   March 28, 2001 – Gas Station Bombing near Kfar Saba
                  o   August 9, 2001 – Sbarro Pizzeria Bombing, Jerusalem
                  o   December 1, 2001 – Ben Yehuda Bombings in Jerusalem
                  o   March 27, 2002 – Park Hotel Bombing, Netanya
                  o   May 7, 2002 – Sheffield Club Bombing, Rishon Letzion
                  o   July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem
                  o   January 29, 2003 – Shooting Attack on Route 60
                  o   March 5, 2003 – Haifa Bus #37 Bombing
                  o   March 7, 2003 – Shooting in Kiryat Arba
                  o   April 30, 2003 – Mike’s Place Bombing, Tel Aviv
                  o   May 18, 2003 – Commuter Bus #6 Bombing
                  o   June 11, 2003 – Jaffa Road Bus 14A Bombing, Jerusalem
                  o   June 20, 2003 – Shooting Attack on Route 60
                  o   August 19, 2003 – Jerusalem Bus #2 Bombing
                  o   September 9, 2003 – Bombing at Café Hillel in Jerusalem
                  o   October 22, 2003 – Tel Romeida Shooting Attack
                  o   January 29, 2004 – Jerusalem Bus #19 Bombing
                  o   September 24, 2004 – Mortar Strike in Neve Dekalim

      With regard to the above-mentioned means (namely websites, newsletters, and forums),
      neither Hamas nor any of its sub-branches (such as the Ezzedeen al-Qassam Brigades)
      has ever issued any rejection or credible denial of its culpability in executing the
      aforementioned series of eighteen terrorist attacks that occurred between 2001 and 2004.

      V.       The Role of the Internet for the Islamic Resistance Movement
               (Hamas)

              Prior to the emergence of the Internet and the modern digital frontier,
      international terrorist organizations such as Hamas faced serious obstacles in matters of
      communication, coordination, and media access. A fixed television channel or radio
      station is an easy target for an organized military force, as the Israeli government has
      proven with its repeated strikes on the Hezbollah broadcast company known as “Al-
      Manar” in Lebanon. Years of effort and hard-earned financing channeled to build the
      physical infrastructure necessary to support traditional media and communications
      methods can be obliterated in an instant by a single laser-guided missile dropped from an
      enemy aircraft. Even inviting mainstream media to do their own independent interviews
      and reporting can present some serious risks. On various occasions, journalists have been
      secretly employed as spies (or assassins, as in the case of the late Afghan warlord Ahmad


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      Shah Massoud), and terrorist groups like Hamas have little control over the message of
      the media once journalists leave the conflict zone. Propaganda videos that take Hamas
      months to film, edit, and create are boiled down into 30-second cable news segments that
      present an incomplete picture of what the organization is attempting to achieve.

              As such, the advent of the Internet has caused a revolutionary democratization of
      media, especially among Foreign Terrorist Organizations with limited fixed resources
      like Hamas. The leaders of Hamas can now speak directly to a broad, globalized
      audience without worrying about imminent security dangers or the filtering effect of Al-
      Arabiya, Al-Jazeera, and Western news agencies. Potential recruits and would-be donors
      can be solicited far from the narrow confines of mosques and Islamic universities in the
      West Bank and Gaza Strip. Hamas can re-shape its own public image, and present raw
      information about its ongoing endeavors. It can even use social networking forums in
      order to facilitate communication between and among Hamas members operating within
      the borders of Gaza—allowing them to instantly pool their intelligence, resources, and
      experience. Charging forward on the frontline of information technology, Hamas has
      also experimented with other innovative strategies such as themed video games and
      online children’s literature in order to expand the potential reach of its recruitment drives.

              Much like other urbanized populations at large, the Internet and the World Wide
      Web have pervaded every aspect of the lives of Hamas members, whether on a personal
      or political level. The Internet has become an integral communications tool and a critical
      low-cost force multiplier for Hamas. The sudden absence of that tool would be
      catastrophic, and perhaps the best testament to that fact is how quickly Hamas has
      resurrected its primary website following various attacks over time by hackers and law
      enforcement agencies. It is no longer simply a curiosity or a sideshow—rather, the
      Internet has now evolved into serving as the primary mouthpiece to the world for Hamas.

      VI.    The Web Footprint of Hamas
              The Islamic Resistance Movement (“Hamas”) is divided into several operational
      sub-branches and wings, each of which maintains its own unique presence on the
      Internet.

          The Hamas Political Wing (www.palestine-info.net, et. al)
              Like other analogous terrorist groups, Hamas has both a political and military
      wing. Though there are frequent cross-overs in terms of their leadership and activities,
      the general purpose of the Hamas political wing is to spread the ideological doctrine of
      Hamas, to recruit new activists and members, to negotiate relationships with foreign
      governments and other outside parties, and to help solicit material resources needed to
      finance the military operations of Hamas. On December 1, 1997, Hamas supporters
      based in Beirut, Lebanon established a new organization on the Internet, the Palestinian
      Information Center (PIC). The website of the group—alternatively located at Palestine-
      info.net, Palestine-info.com, Palestine-info.org, Palestine-info.info, and elsewhere—was



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      initially published in Arabic only, but later was complemented with an English-language
      version starting on January 1, 1998.

              Though the PIC has never explicitly acknowledged being affiliated with Hamas, it
      has been identified as such by senior Hamas officials, the U.S. government, and other
      Western governments. In an online interview in May 2003, Hamas senior spokesman
      Ismail Abu Shanab stated, “on the internet there are many websites and pages that
      represent Hamas activities. You can find them on www.palestine-info.info.”2 Likewise,
      in March 2004, federal prosecutors in Idaho filed a second superseding criminal
      indictment against Sami Omar al-Hussayen, alleging that an Internet website under his
      administration was soliciting donations to Hamas: “Participate with money, and this is
      [via] The Palestinian Information Center (the official mouthpiece of the Islamic
      Resistance Movement, HAMAS), which opens the door of donations for all Muslims to
      assist their brothers in their honorable jihad against the dictatorial Zionist Jewish
      enemy.”3 The Open Source Center (OSC)—a U.S. government open-source intelligence
      service, formerly known as the Foreign Broadcast Information Service (FBIS)—refers to
      Palestine-info.net in its official database as a “HAMAS-affiliated site.” This affiliation
      has correspondingly been recognized by European law enforcement authorities. The
      2003 annual “Report of the Office for the Protection of the Constitution” from the
      German Interior Ministry addressed the website under a section titled “Means of agitation
      and communication,” explaining: “The Palestinian Information Centre (PIC) provides
      daily reports and news from the Palestinian perspective. The Palestinian Hamas also
      posts its communiqués and other articles on this site. It [Hamas] no longer has its own
      website and now publishes its material exclusively on the PIC’s site.”4 Finally, it should
      be noted that, at the time of the writing of this report in June 2009, a Google web search
      for the phrase “hamas website” turned up www.palestine-info.com in Arabic among its
      top five results.

              The Internet domain name “Palestine-info.net” was first registered with Network
      Solutions Inc. in November 1998 on behalf of the Palestinian Information Center in
      Beirut by U.S. resident Ziyad Helmi Khaleel.5 While living in the United States, Khaleel
      was a public activist for the Hamas front group Islamic Association for Palestine (IAP)
      and an associate of Ahmed Abu Marzouq, nephew of the Deputy Chief of the Hamas
      Political Bureau, Musa Abu Marzouq. Shortly thereafter, in December 1999, Ziyad
      Khaleel was arrested by authorities in Jordan as an alleged “procurement agent” for Al-
      Qaida leader Usama Bin Laden.6 Khaleel was later identified in documents exhibited



      2
        “Interview with Ismail Abu Shanab, Senior Spokesman and Policymaker of the Islamic Resistance
      Movement (Hamas) on “The Roadmap and the Palestinians’ Right of Return.” IslamOnline. May 28,
      2003. http://www.islamonline net/livedialogue/english/Browse.asp?hGuestID=BH3h8q.
      3
        Second Superseding Indictment. United States v. Sami Omar al-Hussayen. No. 03-040 (D.
      Idaho, 2004). Page 9.
      4
        “Means of agitation and communication.” German Federal Ministry of the Interior. Annual Report
      of the Office for Protection of the Constitution: 2003. Page 224.
      5
        Internet domain records. (http://www networksolutions.com/cgi-bin/whois/whois/)
      6
        Lorch, Donatella and Daniel Klaidman. “The Plot Thickens.” Newsweek. February 7, 2000.


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      during United States v. Usama Bin Laden et al. as having purchased a satellite telephone
      and accessories for Bin Laden’s personal use in Afghanistan.7

              Visitors to the Palestinian Information Center Internet homepage were
      immediately offered access to a number of sub-sections, one of which is labeled
      “Hamas.” The “Hamas” sub-section offered a number of options—including access to
      profiles and photos of senior Hamas leaders, copies of official Hamas communiqués (in
      English and Arabic), Hamas propaganda posters, and the Hamas “Glory Record.”8 The
      infamous “Glory Record” serves as an annual tally of operations undertaken by the
      Hamas military wing (the Ezzadeen al-Qassam
      Brigades).     It includes such entries as the
      following:

             “Al-Affouleh Operation: It was the first
              operation in a series of revenge operations
              for the Al-ibraheemy Holy Shrine massacre
              on 6 April 1994. The militant Ra’ed
              Abdallah Zakarneh, a member of Al
              Qassam Brigades, drove a booby-trapped
              vehicle with an Israeli registration plate
              into Al:affouleh bus station at 12:25 p.m.
              and detonated it. Nine Israelis were killed
              and more than 150 were injured. A
              statement revealed that the car was
              carrying 57 kilograms of explosives.”9

             “Dezenkov Street Operation: In an
              immediate reaction to the previous
              operation, the militant Saleh Abdelraheem
              Sawy bombed an Israeli bus at Dezenkof
              Street in downtown Tel Aviv on 19
                                                              http://www.palestine-info.org/photo/resistance_photo/images_respho/1a.gif
              October 1994. The explosion was rather                  Sample image from Hamas’s website
              violent, leaving 22 Israelis dead, 47 injured and seriously damaging many shops.
              Israelis were confused and shocked by this operation, causing Yitzhak Rabin to
              shorten his visit to London.”10

              The Palestine-info.net website contained substantial information on senior Hamas
      leaders, including numerous photographs and extensive personal biographies available in

      7
        United States v. Usama Bin Laden et al. (SDNY, 2001). Trial Transcript, Pages 3028-3038, 3478-3480,
      3482, and 3485.
      8
        http://web.archive.org/web/19990202113708/http://www.palestine-info.org/hamas/index-h html and
      http://web.archive.org/web/19990826043235/http://www.palestine-info.net/hamas/. As of July 2009, the
      PIC website appears to have quietly removed much of its once-flourishing Hamas content.
      9
        http://web.archive.org/web/20000109170449/http://www.palestine-info.net/hamas/glory/index htm.
      January 2000.
      10
         http://web.archive.org/web/20000109170449/http://www.palestine-info.net/hamas/glory/index htm.
      January 2000.


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      both Arabic and English. In fact, the website dedicated more than one sub-section to
      profiling Hamas leaders and extolling their resumes.11 The following individuals are
      some of those identified by the Palestinian Information Center website as senior Hamas
      leaders, along with relevant information from their personal profiles posted on Palestine-
      info.net:

              Shaykh Ahmed Yassin12

                  o The late Shaykh Ahmed Yassin heads the list of Hamas leaders and is
                    credited by Palestine-info.net as a “Founder of Hamas.” The website also
                    acknowledges that Yassin was convicted by an Israeli military court in
                    1991 of involvement in various crimes, “including inciting others to
                    kidnap and murder Zionist soldiers and the establishment of Hamas and its
                    military and security apparatus.”

              Khalid Meshaal13

                  o Syria-based Hamas leader Khalid Meshaal is referred to by Palestine-
                    info.net as the “President” of “the Hamas Political Bureau.” The website
                    also describes him as “one of the founders of the Islamic Resistance
                    Movement (Hamas),” a “Member of [the] Hamas Political Bureau since it
                    was established,” and “Chairman of the Bureau” since 1996.

              Musa Abu Marzouq14

                  o Syria-based Hamas leader Musa Abu Marzouq is identified by Palestine-
                    info.net as a “member of [the] Hamas Political Bureau” who was “elected
                    as Chairman of [the] Hamas Political Bureau in 1991.” The website also
                    acknowledges that Marzouq was “arrested by the U.S. authorities at New
                    York’s JFK International Airport” in 1995 based upon evidence that Abu
                    Marzouq was responsible for “issuing commands and transferring money
                    to the military wing of Hamas.”



      11
         See: http://web.archive.org/web/19981205033122/http://www.palestine-info.org/hamas/romooz html,
      http://web.archive.org/web/20040619112356/http://www.palestine-
      info.com/arabic/hamas/leaders/leaders htm, and
      http://web.archive.org/web/20000818174847/http://www.palestine-info.net/hamas/leaders/index htm.
      12
         See: http://web.archive.org/web/20001030024835/http://www.palestine-
      info.org/hamas/leaders/yaseen htm and http://web.archive.org/web/20040814181502/http://www.palestine-
      info.com/arabic/hamas/leaders/yaseen htm.
      13
         See: http://web.archive.org/web/19981203071355/http://www.palestine-
      info.org/hamas/leaders/mashal html and
      http://web.archive.org/web/20040626095003/http://www.palestine-
      info.com/arabic/hamas/leaders/khalid htm.
      14
         See: http://web.archive.org/web/19981201042041/http://www.palestine-
      info.org/hamas/leaders/mosa html and http://web.archive.org/web/20040626095413/http://www.palestine-
      info.com/arabic/hamas/leaders/abomarzouq.htm.


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                   o The website further notes, “An American federal court ordered to extradite
                     him to the Zionist occupation authorities. In January 1997, Dr. Abu
                     Marzook decided not to appeal the extradition order against him after
                     having spent 18 months in a solitary confinement cell at a New York
                     federal jail.” The Palestine-info.net website includes several photos of
                     Musa Abu Marzouq being held prisoner in the United States while
                     awaiting extradition.

              Ibrahim Ghousheh15

                   o According to the Palestine-info.net website, Ibrahim Ghousheh is a
                     “Hamas Spokesman” and has served in this role since 1992. The site also
                     indicates that Ghousheh is a “Member of [the] Hamas Political Bureau.”
                     Ghousheh, normally based in Jordan, was deported by the Jordanian
                     government for eighteen months in 1999 for his ties to Hamas.

              Abdelaziz al-Rantisi16

                   o According to the Palestine-info.net website, the late Abdelaziz al-Rantisi
                     is identified as the “Hamas Spokesman in Gaza” who was one of those
                     responsible for “found[ing] the Islamic Resistance Movement, Hamas, in
                     1987.” Al-Rantisi was killed in a targeted Israeli military airstrike on
                     April 17, 2004.

              Mohammed Nazzal17

                   o Amman-based activist Mohammed Nazzal was one of the founders of the
                     Hamas political office in Jordan. According to the Palestine-info.net
                     website, Nazzal has served as the “Hamas Representative in Jordan” since
                     1992 and is a “Member of Hamas Political Bureau.” In August 1999, the
                     Jordanian government temporarily closed the Hamas office in Amman and
                     issued an arrest warrant (later rescinded) for Nazzal.




      15
         See: http://web.archive.org/web/20001214155000/http://www.palestine-
      info.org/hamas/leaders/ghoshe html and
      http://web.archive.org/web/20040814181530/http://www.palestine-
      info.com/arabic/hamas/leaders/ghosheh htm.
      16
         See: http://web.archive.org/web/19981203144807/http://www.palestine-
      info.org/hamas/leaders/ranteesi html and
      http://web.archive.org/web/20040517064728/http://www.palestine-
      info.com/arabic/hamas/leaders/rantisi htm.
      17
         See: http://web.archive.org/web/20001207082600/http://palestine-info.org/hamas/leaders/nazzal html
      and http://web.archive.org/web/20040626100049/http://www.palestine-
      info.com/arabic/hamas/leaders/nazzal.htm.


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              Jamal Mansour18

                  o According to the Palestine-info.net website, the late Jamal Mansour was
                    “a Hamas leader in the West Bank”, “a Hamas spokesman in the West
                    Bank,” and a “Spokesman of Hamas delegation to the dialogue with the
                    Palestinian Authority.” In 1992, Israel deported Mansour along with more
                    than 400 other Palestinian extremists to refugee camps in southern
                    Lebanon. Mansour’s violent opposition to the Oslo peace accords led to
                    his imprisonment in a Palestinian Authority-run jail for at least two years
                    and more than five years in Israeli jails in total. Mansour was eventually
                    killed in a targeted Israeli military airstrike in July 2001 for his role in
                    militant activities.

              Imad al-Alamy19

                  o According to the Palestine-info.net website, Imad al-Alamy is a “Member
                    of Hamas Political Bureau.” After being deported from the Gaza Strip in
                    1991 and moving his base of operations to Damascus, Syria, al-Alamy has
                    served as a critical link between Hamas, its various state sponsors, and
                    other Islamic militant organizations active in the region.

              Salah Shehadeh20

                  o According to the Palestine-info.net website, Salah Shehadeh was a
                    “Founder of Hamas’ military apparatus.” Shehadeh was killed in a
                    targeted Israeli military airstrike in July 2002 for his role in terrorist
                    activities. At the time of his death, Shehadeh was the supreme
                    commander of the Hamas military wing, the Ezzadeen al-Qassam
                    Brigades.

              Ismail Haniya21

                  o Based in the Gaza Strip, Ismail Haniya is the Prime Minister of the Hamas
                    government in Gaza and is a senior political leader of Hamas. Haniya’s
                    recent Hamas speeches and biography are cited on Palestine-info.com.

      18
         See: http://web.archive.org/web/19981203100225/http://www.palestine-
      info.org/hamas/leaders/jamalmans.html and
      http://web.archive.org/web/20040626095818/http://www.palestine-
      info.com/arabic/hamas/leaders/jamal.htm.
      19
         See: http://web.archive.org/web/20001207034900/http://palestine-info.org/hamas/leaders/emadalmy.html
      and http://web.archive.org/web/20040626095643/http://www.palestine-
      info.com/arabic/hamas/leaders/alalami htm.
      20
         See: http://web.archive.org/web/19981202120441/http://www.palestine-
      info.org/hamas/leaders/salah.html and http://web.archive.org/web/20040814181418/http://www.palestine-
      info.com/arabic/hamas/leaders/salah.htm.
      21
         http://web.archive.org/web/20060213060854/http://www.palestine-
      info.net/arabic/hamas/leaders/2005/haneya.htm.


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              Shaykh Khaled al-Haj22

                   o Operating in the West Bank, Khaled al-Haj has allegedly served as a
                     senior Hamas leader and coordinator between Hamas and other terrorist
                     organizations in and around the town of Jenin. As a result of his militant
                     activities, Al-Haj has spent nearly three years in Palestinian Authority
                     prisons and additional time as a prisoner in Israeli jails. According to
                     Palestine-info.net, al-Haj is listed as a “spokesman for the Islamic
                     Resistance Movement, Hamas, in the Jenin district.”

              Rifat Nasif23

                   o Rifat Nasif is a top Hamas political leader in the town of Tulkarem. He
                     has served jail terms in both Israeli and Palestinian Authority-run prisons
                     for his role in militant activities. According to Palestine-info.net, Nasif
                     “joined the ranks of the Islamic Resistance Movement, Hamas, at the
                     beginning in 1987, and since then has been one of the most prominent
                     Hamas leaders in the city of Tulkarem.”

              In addition to these individual profiles and biographies, the Palestine-info.net
      website run by the Palestinian Information Center also regularly carried general news
      updates, both in Arabic and in English, concerning the recent activities (and legal
      predicaments) of senior Hamas leaders. For example, in 1999, when the Jordanian
      government arrested and eventually expelled a number of locally-based Hamas leaders
      (including Khalid Meshaal, Ibrahim Ghousheh, Ezzat Risheq, and Sami Khater), an entire
      new Arabic-language sub-section was created at www.palestine-info.net/jordanissue in
      order to identify the Hamas leaders affected by the arrests and expulsions, address the
      underlying issues, and appeal for support from others.24 Individual Hamas leaders were
      also identified in official Hamas statements (published in Arabic and in English) on the
      Palestine-info.net website.25




           Banner image taken from Palestine-info.net promoting the cause of Hamas leaders facing expulsion from Jordan


      22
         See: http://web.archive.org/web/20041102211459/http://www.palestine-
      info.net/arabic/hamas/leaders/khaled_Haj.htm and
      http://web.archive.org/web/20040626095847/http://www.palestine-
      info.com/arabic/hamas/leaders/khalidalhag htm.
      23
         http://web.archive.org/web/20041102211347/http://www.palestine-
      info.net/arabic/hamas/leaders/rafat1.htm.
      24
         http://web.archive.org/web/20000309021136/http://palestine-info.com/jordanissue/index.html.
      25
         For example: http://web.archive.org/web/20001217020600/http://www.palestine-
      info.net/hamas/communiques/comm_text/1999/24_11_99 htm. November 14, 1999.


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            The Ezzadeen al-Qassam Brigades
              The “Ezzadeen al-Qassam Brigades” (in Arabic, “Kataeb Ezzedeen al-Qassam”)
      is the military wing of the Hamas movement. According to the April 2003 edition of the
      U.S. State Department Publication Patterns of Global Terrorism:

               Various HAMAS elements have used both political and violent means,
               including terrorism, to pursue the goal of establishing an Islamic
               Palestinian state in place of Israel… HAMAS activists, especially those in
               the Izz al-Din al-Qassam Brigades, have conducted many attacks—
               including large-scale suicide bombings—against Israeli civilian and
               military targets… The group has not targeted US interests—although
               some US citizens have been killed in HAMAS operations.26

                   o Qassamiyoon.com

              In approximately July 2001, the Ezzadeen al-Qassam Brigades established its first
      Internet website located at the domain http://www.qassamiyoon.com. The emergence of
      the Arabic-language website was announced, among other places, on an online discussion
      forum run by the Muslim Brotherhood27, http://www.ikhwan.net.28 In early July, users
      on the Ikhwan.net forum began posting messages with corresponding links to
      qassamiyoon.com under the title, “The Kataeb al-Qassam online website will soon
      appear, God willing.”29 Once ready for the public, under its main series of sub-sections,
      the Qassamiyoon.com website listed two initial offerings for first time visitors: “Who Are
      We?” and “Who Are You?” Those who selected “Who Are We?” were told, “this is the
      path – this is the voice of Hamas… the Brothers from the Martyr Ezzadeen al-Qassam
      Brigades.”30 With regards to “Who Are You?” the website beseeched:



      26
         Office of the Secretary of State and Office of the Coordinator for Counterterrorism. Patterns of Global
      Terrorism 2002. U.S. Department of State. Released April 2003. Page 107.
      27
         The “Muslim Brotherhood” refers to Jamiat al-Ikhwan al-Muslimeen, a religious and political
      organization founded by Hassan al-Banna in 1928. It opposed the movement toward secularism that was
      occurring in the Muslim world at the time and encouraged a return to Islamic societies predicated on
      Quranic precepts.
      28
         “The Muslim Brotherhood Websites are a group of websites launched by the Muslim Brotherhood of
      Egypt or any organization around the world claiming to be endorsing the Muslim Brotherhood ideology.
      These websites are announced by a Muslim Brotherhood entity as an official representative of the
      organization or one of its branches. They are either run by individuals or groups affiliated with the Muslim
      Brotherhood… The Muslim Brotherhood began using cyberspace as a new and effective means of
      communication at a time when most attempts to have a media outlet have failed to find their way into
      official recognition… The ikhwan.net website, http://ikhwan.net, was launched on Jan, 21st, 2001. The
      domain information showed it was registered in the name a person in Al-Rayah street , Jiddah, Kingdom of
      Saudi Arabia. The ikhwan net website expanded its network and launched Saraya Al-Ikhwan Al-
      Muslimeen room on the Middle East domain on the well-known PalTalk program.”
      http://www.ikhwanweb.com/Article.asp?ID=18865&SectionID=0.
      29
         http://www.ikhwan net/archive/showthread.php?t=2648. July 8, 2001.
      30
         http://web.archive.org/web/20011027084734/http://www.qassamiyoon.com/we/index.htm. December
      2001.


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              …Are you among those who spend their wealth in the path of Allah?
              …Are you among those who sacrifice their lives in the cause of Allah?
              …Are you prepared to leave your wife, your parents, your children, and
              follow the lions on the path of glory and martyrdom? …Have you decided
              yet???!!!31

              The Qassamiyoon.com website offered another sub-section, labeled
      “Communiques,” which was described as “devoted to the publications of the Martyr
      Ezzadeen al-Qassam Brigades, which record the glorious history of these steadfast
      brigades.”32 Also available for download were lengthy insider biographies of the late
      Hamas master bomb-maker Yahya Ayyash33 and a Palestinian Arab-Afghan commander
      credited with having helped establish Hamas in the late 1980s, Shaykh Abdullah
      Azzam.34 Demonstrating the authenticity of its credentials, the Qassamiyoon.com site
      even carried an “exclusive interview” with Saleh Shehadeh, the chief of the Ezzadeen al-
      Qassam military wing in Gaza.35 During his interview, Shehadeh appealed for website
      readers to personally render their support to the cause of Hamas:

              We call upon people to donate their time and money to aid in the
              smuggling of weapons into Palestine—as here in Palestine, the bullet for a
              Kalashnikov can cost three dollars and that of an M-16 costs $1.50,
              perhaps even up to two dollars. However, with regards to defensive
              weapons, we have no weapons to counter tanks or jets. If they ever
              become available to us, this is a rare occurrence and they fetch
              unimaginable prices… So, I tell all the Muslims and Arabs—and I believe
              in the goodness in them—to be generous with their wealth and weapons,
              or to facilitate or ease the smuggling of weapons, as we are in the frontline
              of those who are defending Jerusalem, Al-Aqsa, and the soil of occupied
              Palestine.36

              Further material published on the Qassamiyoon.com website contained detailed
      technical analyses of weapons and tactics used by the Ezzadeen al-Qassam Brigades—
      information that appeared to come directly from those Brigades. On November 13, 2001,
      the site published a report on “remotely-detonated explosive devices… a new tactic that
      has been developed in the war with the occupation.”37 A day later, on November 14,


      31
         http://web.archive.org/web/20011110055154/http://www.qassamiyoon.com/you/index.htm. November
      2001.
      32
         http://web.archive.org/web/20011221003349/qassamiyoon.com/byanat/center htm. November 2001.
      (See e.g.: http://web.archive.org/web/20011212023310/qassamiyoon.com/byanat/26-11-2001 htm)
      33
         http://web.archive.org/web/20011027195233/http://www.qassamiyoon.com/document/ayash/index htm.
      October 2001.
      34
         http://web.archive.org/web/20011016085158/http://www.qassamiyoon.com/shohadaa/center.htm.
      October 2001.
      35
         http://www.qassamiyoon.com/chat/salah htm. October 2001. See also:
      http://web.archive.org/web/20020623074026/http://www.qassam.net/chat/salah.htm.
      36
         http://www.qassamiyoon.com/chat/salah htm. October 2001. See also:
      http://web.archive.org/web/20020623074026/http://www.qassam.net/chat/salah.htm.
      37
         http://web.archive.org/web/20011212094911/http://qassamiyoon.com/tagrer/index htm. November 2001.


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      Qassamiyoon.com released a second “special report” on “the ingenuity of the mujahideen
      in developing weaponry to resist the occupation.”38 According to that report:

              Over the past few years, the military wing of the Hamas Movement has
              been able to develop its own weapons and home-grown fighting methods
              that were previously unattainable, and the mujahideen were able to utilize
              them during the al-Aqsa Intifada. The [Hamas] Movement has shown
              particular advancement in its techniques of preparing and detonating
              explosive devices. This is one of the weapons born from the ingenuity of
              the mujahideen, despite their lack of resources and capabilities, especially
              by utilizing mobile phones to serve as an electric circuit to detonate the
              explosive from a distance just by dialing the phone number of the
              device—in addition to changing the shapes of the devices, which are
              known as ‘smart bombs’… Sources from the military wing of the Hamas
              Movement confirm that the engineers of our movement were also able to
              build hand grenades of unique quality [made] of plastic and iron to make
              the intensity of explosions more powerful than the Mills and F1-type
              Grenades. And that’s not all—the mujahideen were also able to develop a
              launcher for these devices, an idea based on the principle of a teargas
              launcher, and the scope of the launched device extends at least 150
              meters… It is fair to say that the [Hamas] Movement has been able to
              setup workshops which have turned into factories for producing light
              weapons and for the purpose of inventing new weapons suiting its present
              needs, or to add modifications on weapons designed for special missions
              such as building expanded ammunition clips, and explosive belts.39

              Underscoring the authenticity of the Qassamiyoon.com website as the online
      voice for Hamas’s al-Qassam Brigades, over the period of its year-long existence, it was
      frequently cited as such in regional mainstream media and by Palestinian non-
      governmental organizations. On December 26, 2001, the Al-Rai newspaper in Amman,
      Jordan published a list of Internet websites serving as the official mouthpieces for
      terrorist organizations. The article identified the official website of the Ezzadeen al-
      Qassam Brigades as www.qassamiyoon.com. Likewise, on several instances, the
      Palestinian Human Rights Monitoring Group (PHRMG) has re-published copies of
      Arabic-language communiqués from the Ezzadeen al-Qassam Brigades, crediting them to
      Qassamiyoon.com.40




      38
         http://web.archive.org/web/20011211204612/http://qassamiyoon.com/tagrer/tagrer14_11_01.htm.
      December 2001.
      39
         http://web.archive.org/web/20011211204612/http://qassamiyoon.com/tagrer/tagrer14_11_01 htm.
      December 2001.
      40
         http://www.phrmg.org/PHRMG%20Documents/Suicide%20bombers/kata%27ib%20al-qassam.htm;
      http://www.phrmg.org/arabic/documents/assassination/Testimonies/mahmoud_abu_hnoud htm.


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                  o Qassam.org

              In the spring of 2002, the Qassamiyoon.com website suddenly came to a halt for
      unknown reasons. Visitors to the site were eventually greeted with a short message in
      Arabic: “Brothers and sisters ... Dear visitors, we invite you to follow up on our new
      address, http://www.qassam.org. You can contact us via email: qassam@qassam.org and
      webmaster@qassam.org.”41 Along with the qassam.org web domain, the administrators
      of the new site also registered a host of other parallel domains—such as qassam.net and
      qassam.ps—that served as mirror locators to reach the same website. Every message on
      the Qassam.org site “welcoming visitors” was signed in Arabic by “the brothers from the
      Martyr Ezzedeen al-Qassam Brigades, the military wing of the Islamic Resistance
      Movement, Hamas.”42 Under its main series of sub-sections, the qassam.org/qassam.net
      website listed the same two initial offerings for first time visitors as had
      Qassamiyoon.com: “Who Are We?” and “Who Are You?” Those who selected “Who
      Are We?” were told, “this is the path – this is the voice of Hamas… the Brothers from the
      Martyr Ezzadeen al-Qassam Brigades.”43

             In the same tradition of its Qassamiyoon.com predecessor, the Qassam.org site
      contained a wide range of original content published by the Ezzadeen al-Qassam
      Brigades that was either highly unusual or entirely unique. The website included a main
      sub-section reserved for the systematic distribution of official Hamas communiqués:
      “This section is devoted to the publications of the Martyr Izzadeen al-Qassam Brigades,
      which record the glorious history of these steadfast brigades.”44 At its zenith, the
      qassam.net/qassam.org website offered visitors the opportunity to download copies of all
      Qassam Brigades communiqués issued from March 2001 through the late spring of
      2002.45 In May 2002, the Qassam website distributed exclusive “documents from the
      archives of the Martyr Ezzadeen al-Qassam Brigades in Jenin. These are identity cards
      belonging to the well-known [Israeli] soldiers who were killed during the battle in the
      Jenin refugee camp.”46 No other website in operation at that time offered anything
      approximating the quality and range of Hamas-related content available for download on
      qassam.net and qassam.org.

             In April 2002, a new announcement in Arabic was posted on the Qassam website
      under the “Hamas – Communiqués” sub-section.47 According to that document:

              The great country of terrorism, America… America has declared that it
              will provide the Zionist entity with $200 million urgently, from an original
              sum of $72 billion, to kill more Palestinian, scatter them, and quash their

      41
         http://web.archive.org/web/20020524231122/http://qassamiyoon.com/. May 2002.
      42
         http://web.archive.org/web/20011213134358/http://www.qassam.org/. December 2001.
      43
         http://web.archive.org/web/20020803105011/www.qassam.net/we/index htm. August 2002.
      44
         http://web.archive.org/web/20020206105419/http://www.qassam.org/byanat/center htm. February 2002.
      45
         http://web.archive.org/web/20020206105419/http://www.qassam.org/byanat/center htm. February 2002.
      46
         http://www.qassam.org/qassam_story/jeneen/index.htm. May 2002. See also:
      http://web.archive.org/web/20020619184901/www.qassam net/qassam_story/jeneen/index.htm.
      47
         http://web.archive.org/web/20020425102224/http://www.qassam.org/hamas/bayanat/tabar3.htm. April
      2002.


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              resistance to the occupation. Meanwhile, the mujahideen in Palestine
              barely have the money to pay for some bullets and explosives to destroy
              the Zionist-American project. The Ezzedeen al-Qassam Brigades give
              their thanks to everyone who has contributed and who are still
              contributing supplies in support of the mujahideen in Palestine. To
              support the mujahideen in Palestine: contact us on address:
              support@qassam.org. An important advertisement to those who would
              like to donate: to our dear brothers and sisters, we have discovered that
              several account numbers have been published in the forums, and we—the
              website of the Ezzedeen al-Qassam Brigades—do not have any knowledge
              of this, and we declare that they do not have any connection with us… in
              any way. Accordingly… whoever would like to donate must directly go
              through the website and to contact at support@qassam.org. We ask you to
              spread this news in all forums.48

      The Arabic page described above contained a single link to yet another page hosted on
      the Qassam website. This second page offered a similarly-themed message in English:

              The Martyr Ezzadeen el-Qassam Brigades, your own defending brigades,
              the military wing of Hamas movement in Palestine, is calling upon you to
              donate with what you can to assist the cause of Jihad and resistance until
              the occupation is eliminated and every span of the Muslim Palestine is
              liberated. While the Martyr Ezzadeen el-Qassam Brigades are calling
              upon you for donation, we put between your hands some of the difficulties
              that your mujahideen brothers are facing to get the equipments and
              logistics. The price of Kalashnikov bullet is $3 and the price of the
              Kalashnikov gun itself now is $2,000 and it was $3,500 couple of months
              ago, and do you know that the the price of R-B-G is $12,000 and the price
              of T.N.T that’s used by your mujahideen brothers is $100 a kilo, also the
              Martyr Ezzadeen el-Qassam Brigades now manufacture Al-Qassam
              surface-to-surface missiles in different sizes and also the anti-shields Al-
              Banna bomber. The Martyr Ezzadeen el-Qassam Brigades also supervise
              the development of fighting, defensive and attacking weapons and other
              much projects mustn't be elaborated for confidentiality purposes. Martyr
              Ezzadeen el-Qassam Brigades after getting you informed of what
              Palestine is facing, we call upon all Muslims all over the world to give a
              hand to their mujahideen brothers in Palestine who sacrifice their bloods
              and persons for your dignity and guard the front line to defend the Arab
              and Muslim Ummah… My Mujahideen brothers all over the world: now
              you can contribute to building a strong Islamic army. Thousands and
              thousands of mujahid youth in Palestine long for carrying any kind of
              weapons to defend the Ummah's dignity, but no one is giving a hand.
              Now you can contribute in providing weapons to the mujahideen whose
              ammunition run out while facing the Zionists. Hundreds of men sold the

      48
        http://web.archive.org/web/20020425102224/http://www.qassam.org/hamas/bayanat/tabar3.htm. April
      2002.


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               jewelry of their wives and sisters to equip as many fighters as possible to
               defend your honor and dignity. My mujahideen brothers ... you'll have no
               excuse in front of Allah, So contribute with what you can. The Martyr
               Ezzadeen el-Qassam Brigades is calling upon the righteous people from
               the Arab and Muslim Ummah to collect donations in Mosques, and from
               those who are financially able to donate, then send these donations to the
               mujahideen in Palestine. Dear donator brother, send us at the e-mail
               available at Martyr Ezzadeen el-Qassam Brigades’ web site and send us a
               fake name and the amount that you want to donate and we will secure
               handing this money to the mujahideen. You can send any inquiries to
               (support@qassam.org).49

              The decision of the Qassam website to post a copy of its fundraising appeal in
      English was, no doubt, aimed at broadening the pool of potential donors. However, it
      also attracted the attention of mainstream Western journalists and bloggers intent on
      shutting down the Hamas infrastructure on the Internet. An article subsequently
      published in USA Today reported that potential donors who attempted to contact the
      Qassam website in response were told to wire their funds to “Ahmed Mohammed Ali,
      Elbatech Bank, account no.: 38926/9/510 Arab Bank -- Gaza branch -- Palestine…
      Please tell us the field in which you prefer your money to be spent on such as: martyrdom
      attacks; buying weapons for the mujahadeen; training the youth; or inventing and
      developing missiles, mortars (and) explosives.” According to USA Today, “the account
      name and number appear to change every 48 to 72 hours.”50 Likewise, an American
      blogger who contacted the Qassam website at the time reported receiving similar
      instructions: “Dear donor, We assure you that all the money will be given to nobody but
      to all the Mujahideen in Palestine. This is the bank account: Name: Ayman ataya
      Mansoor. Bank account no.: 38924/2/510 Arab bank- Gaza branch- Palestine.”51

                   o Kataeb-ezzeldeen.com

             During the fall of 2002, the Qassam.net/Qassam.org website began to experience
      service outages, allegedly due to pressure from U.S. law enforcement agencies and
      cybervigilantes. In due course, the site was replaced with a new web domain registered
      as www.kataeb-ezzeldeen.com. A note added to the sidebar of the revamped website in
      October 2002 explained, “the website administrators thank everyone who helped in
      completing the website with its new look, and those who labor to provide assistance,
      support, and continuous fruitful work. They have worked long nights for nothing more
      than the grace of Allah… We also wish to mention the brother from our hosting
      company who put priceless efforts into keeping the website online for you.”52 Like its
      Qassam.org predecessor, the Kataeb-ezzeldeen.com website included sub-sections for
      sermons by senior Hamas leaders (such as Dr. Abdelaziz al-Rantisi) and a complete

      49
         http://www.qassam net/tabaro3.htm. April 2002.
      50
         Kelley, Jack. “Militants wire Web with links to jihad; Islamic groups using Internet to recruit, solicit
      money, send terrorism instructions.” USA Today. July 10, 2002.
      51
         http://www.enterstageright.com/archive/articles/0502/0502terrbankacct htm.
      52
         http://web.archive.org/web/20021017082932/http://www.kataeb-ezzeldeen.com/. October 2002.


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      database of official Ezzedeen al-Qassam communiqués issued from September 24, 2002
      onwards.53 Underscoring the official relationship between Kataeb-ezzeldeen.com and
      Hamas, on November 18, 2002, the website posted a new official communiqué from the
      Ezzedeen al-Qassam Brigades titled, “Beware of Rogue Publications, and Protect the
      Unity of our People and our Struggle.”54 According to that statement, “recently, deceitful
      forces have attempted to publish false statements and attribute them to our Ezzedeen al-
      Qassam Brigades… and al-Qassam Brigades would like against this to assure that… the
      official communiqués which originate from us are published on the Internet website of
      the al-Qassam Brigades. Any statements from now on that contradict our policies and are
      not published on our website are considered illegitimate and inaccurate statements, and
      we consider this a clear statement of our unchanging position.”55

             Days later, on November 28, 2002, the Kataeb-ezzeldeen.com website posted a
      new announcement titled, “An Appeal for Contributions from the Martyr Ezzadeen al-
      Qassam Brigades, the military wing of the Islamic Resistance Movement (Hamas).”56
      Akin to previous appeals posted on the Qassam.org site, the statement called on “you
      Muslim brothers and Muslim sisters to allocate a part of your money for the mujahideen
      who are fighting to protect the honor and pride of the Muslim nation. If you cannot do
      jihad with us, then the least you can do is to donate from the money Allah trusted you
      with. At a time when forces are waging a war against Islam in order to destroy it, we call
      upon you to support your brothers in Palestine. For more inquiries contact us at our e-
      mail address: support@kataeb-ezzeldeen.com.”57

                  o Ezzedeen.net

              In January 2003, the reigning Qassam website hosted at the domain Kataeb-
      ezzeldeen.com experienced another mysterious fatal meltdown. Once again, in a matter
      of only days, the site was resurrected at a new Internet domain, www.ezzedeen.net. The
      domain name itself was first registered on January 28, 2003 by “Ahmed Salim”
      (vip_man999@hotmail.com) with the contact address: “Ezzedeen.net, Gizaa Bomar
      Cyrcl 59, Cairo, Egypt 41211, 056582895.”58 A notice in Arabic, posted in the website
      sidebar, addressed “our dear brothers, supporters, and frequent visitors to the al-Qassam
      website”:

              We celebrate with you the news of our return despite the great hardships
              and tribulations that aimed to shut down this Hamas platform in order to

      53
         http://web.archive.org/web/20021211191827/http://www.kataeb-ezzeldeen.com/bayanat/index.asp.
      December 2002.
      54
         http://www kataeb-ezzeldeen.com/bayanat/Bayan.asp?BayanID=158. December 2002. See also:
      http://www.alqassam.ps/arabic/statments.php?id=164.
      55
         http://www kataeb-ezzeldeen.com/bayanat/Bayan.asp?BayanID=158. December 2002. See also:
      http://www.alqassam.ps/arabic/statments.php?id=164.
      56
         http://web.archive.org/web/20021201101143/http://www.kataeb-ezzeldeen.com/Ads/Tabar3.asp.
      November 28, 2002.
      57
         http://web.archive.org/web/20021201101143/http://www.kataeb-ezzeldeen.com/Ads/Tabar3.asp.
      November 28, 2002.
      58
         WHOIS search on EZZEDEEN.NET. March 10, 2004.


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              bury the words of truth, power, and freedom. We vow to Allah never to
              forgo any effort in order to preserve this shining monument. It draws the
              Islamic nation towards jihad, fires up its determination, and pushes it
              towards victory and power, Allah-willing. On behalf of your brothers, the
              administrators of the al-Qassam Website.59

      Unlike its relatively short-lived predecessor Kataeb-ezzeldeen.com, the Ezzedeen.net
      website remained active and online from January 2003 until at least May 2004.

              As with previous Qassam domains, the Ezzedeen.net website offered users a
      meticulously-organized library of Hamas propaganda content and even the opportunity to
      interact directly with Hamas operatives in the field. On March 25, 2004, the
      Ezzedeen.net website posted an announcement of the “martyrdom” of Hamas spiritual
      leader Shaykh Ahmad Yassin “who ascended to the rank of the righteous martyrs after he
      was bombarded in a Zionist attack shortly after dawn prayers on Monday morning… To
      participate in the celebration and mourning of the Mujahid Shaykh, please e-mail the
      following address: news_ezz01@hotmail.com.”60 As a result of their continuing efforts,
      the Ezzedeen.net web team received the dubious honor of being recognized by the U.S.
      Foreign Broadcast Information Service (FBIS)—the open source arm of the Central
      Intelligence Agency (CIA)—as the official “web site of Izz-al-Din al-Qassam Brigades,
      HAMAS military wing.”61

              The emergence of the Ezzedeen.net incarnation of the Qassam website also
      heralded a series of new developments on the site itself—eventually including an
      English-language section for visitors originating from outside the Arab world. In fact,
      the English-language section of the Ezzedeen.net site was prominently labeled,
      “Copyrights © 2004, Ezzedeen Al-Qassam Brigades Official Website.”62 According to
      an “About Us” page on the English section of the website, “we are the grandsons of the
      former Mujahideen and the Companions of Prophet Mohammed… We carried our
      weapons to defend the Ummah honour, its bright history, and its holy sites and
      mosques… Therefore, the most difficult and painful path was adopted: the path of
      resisting the well-armed and well-equipped Israeli occupation till we achieve either
      splendid victory or martyrdom and paradise… Jihad is our path and martyrdom for the
      sake of Allah is our best wishes. We do not mind even if our blood is the price since it is
      in the cause of Allah, al-Aqsa, Palestine, defending our women, kids and properties.”63
      The English-language version of the Qassam website hosted at Ezzedeen.net also offered
      visitors content on the topics of “the Hamas Movement”, “Jihad & Terrorism”, and
      “Martyrdom Bombing.”64 According to the administrators of Ezzedeen.net, “this home
      page was constructed to renew the energies and to inflame and revive hearts, which were
      about to be stained with the sickness of loving life and hating death.”65
      59
         http://web.archive.org/web/20030204152954/http://www.ezzedeen.net/. February 2003.
      60
         http://web.archive.org/web/20040328112250/ezzedeen net/. March 24, 2004.
      61
         E.g.: United States Foreign Broadcast Information Service (FBIS) daily update. August 21, 2003.
      62
         http://web.archive.org/web/20040315171106/www.ezzedeen net/english/aboutus.htm. March 2004.
      63
         http://web.archive.org/web/20040315171106/www.ezzedeen net/english/aboutus.htm. March 2004.
      64
         http://web.archive.org/web/20040315171106/www.ezzedeen net/english/aboutus.htm. March 2004.
      65
         http://web.archive.org/web/20040315171106/www.ezzedeen net/english/aboutus.htm. March 2004.


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              Over the length of its existence, the Ezzedeen.net website also saw a dramatic
      expansion of the online video library available to Hamas supporters. Broadening their
      range beyond a scattered handful of low-resolution rocket launches, Ezzedeen.net
      administrators added their first (exclusive) live recording of a suicide car bomb attack on
      an Israeli military checkpoint in Gaza by 23-year old Palestinian Tareq Hmeid.66 On
      March 8, 2004, the online video library hosted on the Ezzedeen.net site received yet
      another new addition: “martyrdom” wills read in English by two British nationals who
      had executed a suicide bomb attack on April 30, 2003 at “Mike’s Place,” a waterfront bar
      in Tel Aviv popular with English-speaking Israelis and Western visitors.67 Though one
      of the bombers failed to detonate, the attack nonetheless killed three people and wounded
      55 others. According to 22-year old Asif Mohamed Hanif’s speech in the video, because
      the “dirty Jews” were eligible for service in Israel’s military, they deserved to be
      murdered: “It’s a great honour to kill one of these people… We have problems and we
      ask Tony Blair and George Bush to help us. Who is Tony Blair and George Bush? I
      wish God either to guide them or for his wrath to come upon these people.” The failed
      bomber, 27-year old Omar Khan Sharif, laughs at the comments of his British companion
      and then proceeds to threaten, “We will take revenge and we will get the Jews and the
      Crusaders out of the land of Islam. Fellow Muslims, we left Britain to look for
      martyrdom.”68 This video is, at least in part, an effort to convince other Muslims from
      Europe—and particularly the United Kingdom—to travel to conflict zones in the Islamic
      world and join extremist organizations, with the intention of becoming unlawful
      combatants and suicide bombers. At the close of the video of the two British suicide
      bombers, the official logo of the Ezzadeen al-Qassam Brigades is shown, alongside the
      URL: “www.ezzedeen.net.”69

                  o Alqassam.com/Alqassam.ps

              The final and current iteration of the Qassam website, alqassam.com (a.k.a.
      alqassam.net, alqassam.com, alqassam.info, alqassam.ws, qassam.info, qassam.ps),
      emerged in early June 2004 when the old Ezzedeen.net domain finally was knocked
      offline by unknown parties. By particularly registering a .PS (Palestinian Territories)
      domain, the Ezzedeen al-Qassam Brigades web administrators have established greater
      insurance against digital hijackings and de-registrations by law enforcement agencies and
      cybervigilantes. Nonetheless, the content of the mirrored “Alqassam” websites are
      virtually indistinguishable from the former and now defunct Ezzedeen.net domain. Even
      the English-language pages created by Ezzedeen.net administrators were simply subtly
      edited to read instead, “Copyrights © 2004. Ezzedeen Al-Qassam Brigades Official


      66
         http://web.archive.org/web/20040511011338/http://www.ezzedeen.net/movies/mpg/tareq.WMV. April
      2004. See also: http://ezzedeen net/movies/open.php?cat=1&book=53.
      67
         “Bomb Britons appear on Hamas tape.” BBC News. March 8, 2004.
      http://news.bbc.co.uk/2/hi/uk_news/3543269.stm.
      68
         http://www.ezzedeen net/movies/mpg/part2.wmv. March 2004. (A copy of this video is attached as an
      Appendix to this report.)
      69
         http://www.ezzedeen net/movies/mpg/part2.wmv. March 2004. (A copy of this video is attached as an
      Appendix to this report.)


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      Website, english@alqassam.ws.”70         Later, in 2006, the attribution was further
      appropriately modified to read, “Copyrights © 2006. Ezzedeen Al-Qassam Brigades
      Official Website, english@alqassam.ws.” In December of that year, the Alqassam.ws
      website published an exclusive English-language “interview with one of the Ezzedeen al-
      Qassam Brigades Field Troops,” “Abu al-Mu’tasim”—“a man who is working in the
      field and on the frontlines.” When asked if he had a message for readers, Abu al-
      Mu’tasim replied, “First of all, I would like to thank the readers for following up on the
      Palestinian issue through this web site. And I hope that each and everyone will be an
      ambassador for Palestine.”71

              As a result, the current series of Alqassam.ws/.info/.com/.ps domains have been
      accepted by virtually all parties as, without question, the official Internet frontend of the
      Ezzedeen al-Qassam Brigades. In a February 2006 article titled “Hamas Web site says
      group received Hizbollah money,” the Reuters news service described the website
      Alqassam.ws as “run by the group’s armed wing, Izz el-Deen al-Qassam.”72 Likewise,
      according to an official report from the Office of the National Coordinator for
      Counterterrorism (NCTb) in the Netherlands, “the majority of jihadi groups have a
      presence on the Internet and, of course, they do their very best, in a number of ways, not
      only to win over souls but also to persuade individuals that they will be ready to
      participate in the violent jihad. Thus, the military arm of Hamas has its own site, entitled
      alqassam.com, aimed at recruitment.”73 As of the time of the writing of this report, the
      principle active Hamas web domain is http://www.alqassam.ps, registered on April 11,
      2005 to “Ehab Ahmad” in the Gaza Strip.74

              In April 2009, the Ezzadeen al-Qassam Brigades issued the second edition of its
      online English-language magazine. The magazine contained, among other things, a
      detailed Q&A about the website alqassam.ps:

              Q: “Why you decided to have a site?”
              A: “As you know, during the last ten years there was a revolution on the
              internet, we began to notice that international opinion formed by reading
              news or analyzing texts, etc. the site became an important mean to the
              propaganda against the Zionist aggression. We want the people in the
              West to know our cause and to support us… Our voice didn’t reach to the
              entire world. Every language in the world takes information from the
              English sites so the pronounced people became wider. The number of the
              people who is using the internet is getting larger and larger…”
              Q: “What is the purpose of your site?”
              A: “It is not one purpose; we have many purposes: defending the
              resistance name from the Zionist media, which described it as ‘terrorism’;
      70
         http://web.archive.org/web/20050718080234/http://www.alqassam.ws/english/aboutus.htm. July 2005.
      71
         http://www.alqassam.ps/english/?action=showinet&inid=1. June 2009.
      72
         Al-Mughrabi, Nidal. “Hamas Web site says group received Hizbollah money.” Reuters. February 15,
      2006.
      73
         “Jihadis and the Internet.” Report issued by the Office National Coordinator for Counterterrorism
      (NCTb); Ministry of Justice, Netherlands. January 16, 2007.
      74
         WHOIS search on ALQASSAM.PS. May 2009.


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              exposing the Zionist crimes and massacres against the Palestinian
              civilians; providing researchers with some real facts about the Palestinian
              resistance; keeping readers in the picture of the ongoing matters in the
              OPT; make communications with the intellectuals; exposing our suffering
              in the Zionist jails, torture, and humiliation; and, explaining why we fight
              the Zionist entity… This Website mainly aims at justifying our resistance
              against the Zionist occupation forces according to the international
              laws…”
              Q: “Did this site bring you advantages?”
              A: “Of course.”
              Q: “Do you have blocked by the ‘Israelis’?”
              A: “We succeeded to foil several electronic attacks on our site. They tried
              but they failed till now. They realize the important of it. So they will keep
              trying and we will keep defending.”
              Q: “Last thing; tell me how I can donate.”
              A: “If you want to donate, send us your details and we will deal with you
              very well. You can contact us on: english@alqassam.ps. For donations:
              fund@alqassam.ps.”75

      This information is likewise reflected in Arabic on the alqassam.ps website under the
      “Contact Us” content subsection: “The Brigades of the Martyr Izz el-Deen al-Qassam,
      the military wing of Islamic Resistance Movement, Hamas, in Palestine—to contact us
      please e-mail to the following addresses: info@alqassam.ps (management of the site and
      general correspondence), press@alqassam.ps (for media), design@alqassam.ps (for
      technical contributions), and fund@alqassam.ps (for providing support and donations).”76

                  o Almoltaqa.ps

               The second edition of the al-Qassam Brigades’ online English magazine released
      in April 2009 also included a prominent advertisement, urging readers, “for more
      information, visit our forum: www.almoltaqa.ps.”77 Almoltaqa.ps is a multi-lingual
      discussion and social networking web forum which operates using database-driven
      commercial software known as “VBulletin.” It is hosted by the same Internet provider in
      Saudi Arabia, Shabakah.net, as the official Ezzadeen al-Qassam website (qassam.ps); in
      fact, their Internet Protocol addresses are almost sequential. The IP address of Qassam.ps
      is 89.144.96.68, while the IP for Almoltaqa.ps is 89.144.96.37. Both web domains were
      leased using the same registrar service in Gaza, “mektab.”78 Likewise, there are
      prominent hyperlinks to the almoltaqa.ps discussion forum on the Ezzadeen al-Qassam
      Brigades main site (http://www.alqassam.ps/arabic), and vice versa. The front page of
      the Arabic-language section of the almoltaqa.ps forum is clearly labeled with a footnote

      75
         “Ask Us … about the Palestinian cause, you’ll have weekly reports.” Ezzedeen Al Qassam Brigades
      Newsletter. Issue: April 2007. http://www.alqassam.ps.
      76
         http://www.alqassam.ps/arabic/contact_us.php. May 2009.
      77
         “Ask Us … about the Palestinian cause, you’ll have weekly reports.” Ezzedeen Al Qassam Brigades
      Newsletter. Issue: April 2007. http://www.alqassam.ps.
      78
         WHOIS and DNS searches on Qassam.ps and Almoltaqa.ps.


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      in Arabic, “Copyright, the Media Office of the Martyr Ezzadeen al-Qassam Brigades.”79
      Conversely, the front page of the English-language section of the almoltaqa.ps forum is
      labeled with a footnote in English, “Copyright 2000-2009, Jelsoft Enterprises Ltd. The
      Media Office of the Izzadeen al-Qassam Brigades.”80 Users who attempt to register as
      forum participants in the English-subsection of almoltaqa.ps are asked to first review a
      series of guidelines and rules for the forum. According to the first rule in that list, “this is
      the official forum of the Al-Qassam Brigades; however, the opinions expressed here are
      entirely personal and do not necessarily express the views of the Brigades of Hamas.”81

      VII. The Culpability of Hamas and its Operational Sub-Branches in
           Executing Terrorist Attacks Identified by Plaintiffs

              March 28, 2001 – Gas Station Bombing near Kfar Saba

              On March 28, 2001, a suicide bomber detonated himself at
      the Mifgash Hashalom gas station, east of Kfar Saba, killing two
      bystanders. On April 12, 2001, the Ezzedeen al-Qassam Brigades
      published an Arabic-language statement claiming responsibility for a
      series of ten suicide operations, including the March 28 attack near
      Kfar Saba—a document which has been posted, among other places,
      on Hamas’s alqassam.ps website. The communiqué identified the
      bomber as 23-year old Fadi Attallah Yusif Omar (pictured at right),
      and a photo of Omar was likewise later added to the Alqassam.ps website. 82

              The statement released by the Ezzedeen al-Qassam Brigades directly addressed
      the unexpected delay in claiming credit for the blast: “at the time, we refrained from
      mentioning the name of our courageous martyr, the third in the chain of ten martyrs who
      have delivered good news to the media, for security reasons imposed on us by the nature
      of the battle in our blessed land. We have vowed to Allah and to you to avenge the death
      of our martyr Fadi and the other martyrs before him… and we have shown Sharon and
      his miserable council of swine that our operations and the actions of our mujahideen will
      shake their beds until they leave our country defeated and humbled.”83 A copy of the
      identical Arabic-language communiqué was also posted on the Hamas website Palestine-
      info.net.84

             Alongside the Hamas communiqué and a photo of the bomber, the Alqassam.ps
      website has also printed a detailed personal biography of Fadi Omar and a summary of
      his relationship with Hamas.85 According to that document, in the wake of his
      martyrdom, Hamas organized “a symbolic event mourning [him]. People gathered in

      79
         http://www.almoltaqa.ps. June 2009.
      80
         http://www.almoltaqa.ps/english. June 2009.
      81
         http://almoltaqa.ps/english/register.php. June 2009.
      82
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101. June 2009.
      83
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=101. June 2009.
      84
         http://web.archive.org/web/20040810063327/www.palestine-info.info/arabic/hamas/glory/bayant.htm
      85
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101. June 2009.


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      front of the residence of the family of the martyr Fadi Omar, the comrade from the
      Ezzedeen al-Qassam Brigades, and the house was draped in green banners. Also on them
      were banners for the Islamic Resistance Movement Hamas, which declared that Hamas
      mourned its fallen comrade Fadi.” In a public ceremony, the director of the Hamas
      Political Bureau, Khalid Meshaal, cited the importance of the Kfar Saba bombing: “I
      send my greetings to our people in Qalqiliya for this Martyr Fadi, whose name carries the
      highest meanings of courage and sacrifice.”86

              August 9, 2001 – Sbarro Pizzeria Bombing, Jerusalem

              In the early afternoon of August 9, 2001, a suicide bomber entered a Sbarro
      pizzeria at the corner of King George Street and Jaffa Road in downtown Jerusalem, and
      detonated a guitar case packed with 5-10kg of explosives—killing 15
      and wounding at least 130 others.87 On the same day, the Ezzedeen
      Al-Qassam Brigades released an official communiqué claiming
      responsibility for the Sbarro restaurant attack, a copy of which was
      later posted on the Alqassam.ps website operated by Hamas.
      According to that statement, “By the grace of Allah and his support,
      on the afternoon of Thursday August 9, 2001, this mujahid from al-
      Qassam executed the martyrdom operation in the middle of the
      Sbarro Restaurant in the heart of occupied Jerusalem, causing a large
      number of dead and wounded among the ranks of the Zionists, and this was revenge for
      the bloodshed of our women, children, and the elderly—and in defense of Jerusalem and
      Palestine, as a tribute to the souls of our righteous martyrs.”88 The communiqué further
      threatened that the Sbarro attack would only be the beginning of “a chain of attacks by al-
      Qassam that will teach the Jews a lesson they will never forget, as a punishment for their
      cowardly actions in assassinating mujahideen and members of the Palestinian
      resistance.”89

              In addition to the Hamas statement itself, the Alqassam.ps website also offered a
      detailed personal biography of the bomber behind the Sbarro explosion, 22-year old
      Ezzedeen Shuhail Ahmad al-Masri (pictured above). According to that biography,
      Ezzedeen’s “jihadi journey” began when he “joined the Martyr Ezzedeen al-Qassam
      Brigades under the command of the al-Qassam Engineer Qais Adwan Abu Jabal, and
      began working in total secrecy… The Brigades had begun preparations for a revenge
      operation… and the martyrs began preparing to rise up to the paradise virgins—and
      Ezzedeen al-Masri was amongst them.”90 Alongside the biography, the Hamas website
      Alqassam.ps also published a high-resolution photo spread showing Ezzedeen al-Masri
      dressed in what appears to be a suicide bomb vest and carrying an assault rifle, wearing


      86
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=101. June 2009.
      87
         http://www mfa.gov.il/MFA/MFAArchive/2000_2009/2000/10/Suicide%20bombing%20at%20the%20
      Sbarro%20pizzeria%20in%20Jerusale
      88
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=250. June 2009.
      89
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=250. June 2009.
      90
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=250. June 2009.


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      the green headband of Hamas and with a similarly-themed Hamas banner hanging on the
      wall behind him (as depicted in the images below).91




              December 1, 2001 – Ben Yehuda Bombings in Jerusalem

             Late on the evening of Saturday, December 1, 2001, a pair of suicide bombers
      entered a pedestrian mall on Ben Yehuda Street in central Jerusalem and detonated
      explosive devices that killed 11 young bystanders and wounded over 188 others. The
      suicide attack was followed by a nearby car bombing approximately 20 minutes
      afterward.92 On the same day, an Arabic-language statement was published by the
      Ezzedeen al-Qassam claiming responsibility for the twin suicide bombings on Ben
      Yehuda Street. Matching copies of that communiqué, titled “The Blood of Our Martyrs’
      is Not Water,” were distributed online through both the Palestine-info.net and the
      Alqassam.ps websites.93      The document identified the two bombers as Usama
      Muhammed Eid Bahr and Nabeel Mahmud Jameel Halabiyyah and explained that the two
      men had “carried out… a courageous, painful attack against one of the enemy’s dens in
      occupied west Jerusalem, and this was revenge for the blood of our martyrs.”94 In the

      91
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=250. June 2009.
      92
         http://www mfa.gov.il/MFA/MFAArchive/2000_2009/2001/12/Suicide%20bombing%20at%20the%20
      Ben-Yehuda%20pedestrian%20mall
      93
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=115. June 2009.
      94
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=115. June 2009.


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      communiqué, Hamas threatened further suicide attacks aimed at “punishing the reckless
      officials from our enemy’s military and government ministries.”95

             Aside from the statement itself regarding the Ben Yehuda bombings, the
      Alqassam.ps website also offered visitors a series of high-resolution photographs of
      Usama Bahr and Nabeel Halabiyyah (as seen below) and biographies of the two men
      issued as part of an “Al-Qassam Special Report.”96 This “special report” likewise noted
      that “on the website of the Hamas movement, the al-Qassam Brigades declared their
      responsibility for the Jerusalem operation” executed by Bahr and Halabiyyah.97




               Images of Usama Muhammed Eid Bahr and Nabeel Mahmud Jameel Halabiyyah, the Hamas suicide bombers responsible for the December 2001 Ben Yehuda bombings.




              March 27, 2002 – Park Hotel Bombing, Netanya

              On March 27, 2002, a suicide bombing at the Park Hotel in the city of Netanya
      killed thirty and wounded at least 140 others in the midst of celebrations for the Passover
      holiday. On April 14, 2003, an Israeli court sentenced four alleged Hamas members to
      29 life terms and an additional 20 years in prison for helping to plan the attack.98 On
      several occasions in the wake of the bombing, the Ezzadeen al-Qassam Brigades have
      claimed responsibility for it and have provided personal details about the bomber and his
      mission. On the same day as the bombing, the website Palestine-info.net published an
      official English-language communiqué signed by Hamas and watermarked with its logo
      describing the Park Hotel bombing as a “modest gift” to Ariel Sharon, timed to occur in
      the midst of a regional summit of Arab leaders in Beirut, Lebanon. Furthermore,
      according to that document:


      95
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=115. June 2009.
      96
         http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=115. June 2009.
      97
         http://www.alqassam.ps/arabic/shohdaa5.php?sub_action=sera&id=115. June 2009.
      98
         http://www mfa.gov.il/MFA/MFAArchive/2000_2009/2002/3/
      Passover%20suicide%20bombing%20at%20Park%20Hotel%20in%20Netanya.


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              …What the Zionist entity and its ally America call ‘innocent civilians’ are
              called in our Brigades and our Palestinian people’s lexicon settlers and
              usurpers of our lands. They will only receive death and displacement and
              if they wish to save their lives they have to pack up and leave before they
              regret it. Our operation… is a clear message to our Arab rulers that our
              Mujahid people have chosen their road and known how to regain lands
              and rights in full depending on Allah only. Our people do not accept other
              than Jihad and resistance as the main path to regain usurped rights…
              occupation crimes against our people that are struggling for regaining
              usurped rights will not pass unpunished and we will spread death in lines
              of the Zionists everywhere in the streets, buses, hotels, restaurants and
              discos. They will not find a safe place until they leave our lands, cities and
              villages.99

             The statement posted on the Palestine-info.net website was confirmed by a second
      Arabic-language communiqué—titled “The Zionists Will Not Enjoy Security Until Our
      People Enjoy it in Practice”—posted separately on the Ezzadeen al-Qassam Brigades’
      website (which can still be found on the present iteration of the al-Qassam website).100
      That website identified the bomber as 25-year old Tulkarem resident Abdel Baset
      Mohammed Qassem Odeh, and offered an in-depth biography of Odeh and exclusive
      photos (attached below) of him holding an automatic weapon while standing in front of
      Hamas propaganda posters and wearing a Hamas headband.101 A copy of the Arabic-
      language communiqué is presented in the appendix to this report, along with a selection
      of photos of Odeh released on the Ezzadeen al-Qassam website.




      99
         http://www.palestine-info.co.uk/hamas/communiques/comm_text/2002/27mar02.htm. December 2002.
      100
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=99. June 2009.
      101
          http://www.alqassam.ps/arabic/sohdaa5.php?id=99. June 2009.


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                           Images of Abdel Baset Odeh, the Hamas suicide bomber responsible for the Park Hotel bombing in Netanya, March 2002




      In February 2008, the Media Office of the Ezzadeen al-Qassam Brigades published a
      special issue of their Arabic-language online magazine to mark the 20th anniversary of
      the military wing of Hamas. It summarizes the twenty-year history of the al-Qassam
      Brigades, and offers data and many statistics regarding Hamas military operations.102
      One of the operations covered in the magazine issue was the bombing of the Park Hotel.
      According to that document:

                The Martyr Abdel Baset Odeh was able to break through all the Zionist
                security cordons and reached the Park Hotel in the city of Netanya,
                exploding his pure body amongst a crowd of settlers, and his operation
                resulted in the deaths of 25 Zionists and wounding more than 190 others.
                Of them, forty are in critical condition and of ten of them are comatosed.
                Zionist sources have reported that, at the time of the explosion, there were
                more than 300 settlers in the hall, that the intensity of the explosion caused
                the ceiling to collapse, and that there were injuries to those outside the
                hall. This operation is considered one of the most devastating martyrdom
                operations that has tormented the enemy and [they] still talk about it and
                its aftermath.103

               May 7, 2002 – Sheffield Club Bombing, Rishon Letzion

             Late in the evening of May 7, 2002, a suicide bomber entered an unlicensed
      casino in Rishon Letzion known as the “Sheffield Club” and detonated “a suitcase of
      explosives, spiked with shrapnel and nails to cause maximum injury”—killing 15 and
      wounding 55 others.104 More than six years later, the Ezzedeen al-Qassam Brigades
      issued a communiqué (dated June 7, 2008) claiming credit for a series of past operations,
      including the attack on the Sheffield Club.105 The statement identified the bomber as
      Nablus-resident Mohammed Jameel Nabil Muammar and added, “in claiming

      102
          http://www.alqassam.ps/arabic/upload/qassamion_5.pdf. June 2009. Page 20.
      103
          http://www.alqassam.ps/arabic/upload/qassamion_5.pdf. June 2009. Page 20.
      104
          http://www.mfa.gov.il/MFA/Terrorism-+Obstacle+to+Peace/Memorial/2002/2/Rahamim+Kimhi htm.
      105
          http://www.alqassam.ps/arabic/statments.php?id=3921. June 2009.


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      responsibility for these heroic operations years after their execution, the al-Qassam
      Brigades has demonstrated that—despite purported claims for the operations by others—
      we chose to remain silent until the appropriate time in order to preserve the integrity of
      the mujahideen, and this is only the tip of the iceberg of our undeclared operations.”106

               July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem

              On July 31, 2002, a bomb exploded without warning in the Frank Sinatra cafeteria
      at the Mt. Scopus campus of Hebrew University in the middle of a crowded lunch, killing
      nine people and wounding 85 others, fourteen of them seriously.107 Shortly thereafter,
      the Palestine-info.net website published an official English-language communiqué signed
      by Hamas and watermarked with its logo claiming responsibility for the attack: “Here we
      surface again from the ruins and debris to plant terror in hearts of the Zionists… [and]
      teach Sharon and Ben Eliezer the only lesson that they understand. The Qassam Brigades
      declare with the grace and strength of Allah full responsibility for the blast in the
      cafeteria of the Hebrew University’s Law Faculty.”108 The statement further described
      the bombing as one of:

                …a series of Qassam destructive retaliatory strikes to the Gaza massacre
                and liquidation of general commander Sheikh Salah Shehada… The
                Qassam Brigades have decided that avenging the assassination of any
                leader of our Jihad Movement the Islamic Resistance Movement, Hamas,
                or any commander of our Brigades the Qassam Brigades would be: killing
                100 Zionist usurpers at least… Terrorist statements by the American
                administration, topped by criminal Bush, that backed the Zionist enemy
                would not terrorize people loving and yearning for martyrdom and not
                caring less about those who describe our legitimate resistance as
                terrorism.109

              The English statement posted on the Palestine-info.net website was confirmed by
      a second Arabic-language communiqué—titled “The Zionists Will Not Enjoy Security
      Until Our People Enjoy it in Practice”—posted separately on the Ezzadeen al-Qassam
      Brigades’ website (which can still be found on the present iteration of the al-Qassam
      website).110 The latter document identified the bomber as Mohammed Odeh, a former
      painter at the university, who placed the bomb with the assistance of accomplice Wael
      Qassim, and who later detonated the bomb remotely with a cell phone-activated
      detonator.111 According to the communiqué, “It is not a coincidence that this device was
      used in this particular cafeteria. This was a device built with careful forethought,
      gathered intelligence, and precise preparation.”112

      106
          http://www.alqassam.ps/arabic/statments.php?id=3921. June 2009.
      107
          http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2002/7/
      Terrorist%20bombing%20at%20Hebrew%20University%20cafeteria htm.
      108
          http://www.palestine-info.co.uk/hamas/communiques/comm_text/2002/31jul02 htm. December 2002.
      109
          http://www.palestine-info.co.uk/hamas/communiques/comm_text/2002/31jul02 htm. December 2002.
      110
          http://www.alqassam.ps/arabic/operations2.php?id=23. June 2009.
      111
          http://www.alqassam.ps/arabic/operations2.php?id=23. June 2009.
      112
          http://www.alqassam.ps/arabic/operations2.php?id=23. June 2009.


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               January 29, 2003 – Shooting Attack on Route 60

              On January 29, 2003, unknown assailants fired automatic weapons at an Israeli
      vehicle traveling on Route 60 near the town of Ofra, wounding two Israeli civilians.113
      Approximately 10 months later, in December 2003, the Hamas website Palestine-info.net
      published a new document titled, “The Zionists admit: The arrested Hamas cells in
      Ramallah stand out in terms of their great expertise, superior planning, conduct, and
      complete secrecy.”114 The report released on Palestine-info.net detailed the activities of
      several Hamas terror cells in the area of Ramallah, including one cell in particular based
      in the town of Silwad comprised of approximately five local Palestinian youths all
      between the ages of 27-28—most of whom were already known as Hamas operatives.
      Among the various attacks attributed to the Silwad terror cell by Palestine-info.net was
      the January 29, 2003 Route 60 attack near Ofra.115

              Further specifics about the incident near Ofra were revealed in another separate
      document later posted on the official Ezzedeen al-Qassam Brigades website Alqassam.ps,
      titled “Special Reports: The Most Complex Cell in the History of the [Zionist] Entity in
      Ramallah.”116 The document labeled the January 2003 Route 60 attack as “the Sinjal
      Junction Operation” and narrated the events that took place in remarkable detail:

                The Mujahidun Muayad Hamad, Yaser Hamad, Farah Hamad, and Khaled
                al-Najjar - after observing the Sinjal Junction on Route 60, where settlers
                used to pass by - went to action and waited for the target, a car carrying
                four settlers. When the proper target emerged on the horizon, the cell
                leader gave instructions to the other Mujahidin to get ready to begin their
                mission. When the car reached the appropriate landmark, the Mujahidin
                began firing their weapons relentlessly on the vehicle at a very close range
                from a distance of no more than a few meters. This operation resulted in
                the injury of one settler, shot in the spine and permanently paralyzed,
                called Dvir Kinarti, and serious injuries to another settler when his arm
                was shattered from the elbow down and another was injured and he is
                Jacob Steinmetz.117

               March 5, 2003 – Haifa Bus #37 Bombing

             On March 5, 2003, a suicide bomber detonated an
      explosive vest aboard Egged Bus #37 in the Carmel
      neighborhood of Haifa, en route to Haifa University—killing
      seven passengers and wounding 53 others.118 The Ezzedeen al-
      Qassam Brigades have issued at least two communiqués (both
      113
          http://www.israelemb.org/articles/2003/December/2003122400 htm.
      114
          http://www.palestine-info.info/arabic/hamas/glory/ramalah htm. July 2009.
      115
          http://www.palestine-info.info/arabic/hamas/glory/ramalah htm. July 2009.
      116
          http://www.alqassam.ps/arabic/special.php?id=2102. July 2009.
      117
          http://www.alqassam.ps/arabic/special.php?id=2102. July 2009.
      118
          http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2004/1/
      Suicide%20bombing%20of%20Egged%20b us%20No%2037%20in%20Haifa%20-%205-Ma.


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      dated March 7, 2003) claiming responsibility for the bombing, which are still available
      on the Alqassam.ps website. While the first statement merely references the Haifa
      bombing amid a series of other Hamas military operations, the second communiqué
      offers specific details of the attack and the bomber, identified as 20-year old Mahmoud
      Imran Salim al-Qawasmi (pictured above), a resident of the Hebron suburbs.119 The
      latter document threatens follow-up terrorist attacks in “Haifa, Jaffa, Jerusalem”: “We
      emphasize that this response is only the first in a series of strikes by the Al-Qassam
      [Brigades] which will teach the Jews a lesson they won’t forget for their crimes against
      our defenseless people.”120 The Ezzedeen al-Qassam Brigades have also published a
      lengthy biography of “the Martyr” al-Qawasmi, which notes, “After the bombing,
      occupation authorities found parts of Martyr Mahmoud’s ID card and a piece of paper
      with his handwriting stating that the al-Qassam Brigades, to which he belongs, was
      responsible for the attack.”121

               March 7, 2003 – Shooting in Kiryat Arba

             On March 7, 2003, two assailants disguised as Jewish Yeshiva students infiltrated
      Kiryat Arba through an electronic checkpoint and broke into an Israeli household during
      Shabbat dinner, firing their weapons on the family they found inside. The attack killed
      two and wounded five others.122 On the same day, March 7, 2003, the Ezzedeen al-
      Qassam Brigades claimed responsibility for “successfully infiltrating the… Kiryat Arba
      settlement occupying the former territory of Hebron in retaliation for the spilling of the
      blood of innocents and the defenseless, safe in their homes in Gaza and the West Bank—
      and in response to the policies of home demolition and arrests carried out by this
      cowardly and arrogant enemy.”123 A copy of the Hamas communiqué was later posted,
      among other places, on the Alqassam.ps website.124

               April 30, 2003 – Mike’s Place Bombing, Tel Aviv

              On April 30, 2003, a suicide bomber blew himself up at the entrance to Mike's
      Place, a British-themed bar near the waterfront in Tel Aviv, killing three civilians and
      wounding over 50 others.125 In an Arabic-language statement released through the
      Palestine-info.net website, the Ezzedeen al-Qassam Brigades claimed joint responsibility
      for the attack in cooperation with the Al-Aqsa Martyrs Brigades.126 While the
      communiqué did not name the bomber himself, Hamas reassured its supporters that “this
      martyr” was indeed part of the al-Qassam Brigades and further details would be provided

      119
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=bayan&id=274. July 2009. See also:
      http://www.alqassam.ps/arabic/statments.php?id=245. July 2009.
      120
          http://www.alqassam.ps/arabic/statments.php?id=245. July 2009.
      121
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=274. July 2009.
      122
          http://www.mfa.gov.il/MFA/Government/Communiques/2003/
      Senior+Hamas+terrorists+killed+in+Hebron+-+9-Sep-2 htm.
      123
          http://www.alqassam.ps/arabic/statments.php?id=246. July 2009.
      124
          http://www.alqassam.ps/arabic/statments.php?id=246. July 2009.
      125
          http://www.mfa.gov.il/MFA/Government/Communiques/2003/Details+of+April+30-
      +2003+Tel+Aviv+suicide+bombing.htm.
      126
          http://www.palestine-info.net/arabic/hamas/statements/2003/30_4_03.htm. September 2003.


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      in the future.127 The same Arabic-language statement claiming credit for the “Mike’s
      Place” bombing—titled, “Our Weapons Will Not Go Down Until the Occupation Goes
      Down”—was also released directly through the website of the al-Qassam Brigades, and
      can still be found on the present iteration of the official al-Qassam website.128 The
      communiqué threatened, “our resistance will continue and escalate, and our weapons will
      continue to target those who have usurped our lands and stolen our wealth… The popular
      masses today are ready to respond with full force against anyone who tries to stand in the
      way of the resistance in order to appease their Zionist and American masters.”129

              Almost a year later, on March 8, 2004,
      the online video library hosted on the Qassam
      Brigades website Ezzedeen.net was modified
      to include a new addition: “martyrdom” wills
      read in English by two British nationals who
      had executed the suicide April 2003 bomb
      attack at “Mike’s Place.”130 According to 22-
      year old Asif Mohamed Hanif, “It’s a great
      honour to kill one of these people… We have
      problems and we ask Tony Blair and George
      Bush to help us. Who is Tony Blair and
      George Bush? I wish God either to guide
      them or for his wrath to come upon these
      people.” A second failed bomber, 27-year old
      Omar Khan Sharif, laughs at the comments of
      his British companion and then proceeds to
      threaten, “We will take revenge and we will
      get the Jews and the Crusaders out of the land
      of Islam. Fellow Muslims, we left Britain to look for martyrdom.”131

              This video is, at least in part, an effort to convince other Muslims from Europe—
      and particularly the United Kingdom—to travel to conflict zones in the Islamic world and
      join extremist organizations, with the intention of becoming unlawful combatants and
      suicide bombers. At the end of the video of the two British suicide bombers, the official
      logo of the Ezzadeen al-Qassam Brigades is shown, alongside the URL:
      “www.ezzedeen.net.”132




      127
          http://www.palestine-info.net/arabic/hamas/statements/2003/30_4_03.htm. September 2003.
      128
          http://www.alqassam.ps/arabic/statments.php?id=266. June 2009.
      129
          http://www.alqassam.ps/arabic/statments.php?id=266. June 2009.
      130
          “Bomb Britons appear on Hamas tape.” BBC News. March 8, 2004.
      http://news.bbc.co.uk/2/hi/uk_news/3543269.stm.
      131
          http://www.ezzedeen.net/movies/mpg/part2.wmv. March 2004.
      132
          http://www.ezzedeen.net/movies/mpg/part2.wmv. March 2004.


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               May 18, 2003 – Commuter Bus #6 Bombing

               On May 18, 2003, seven people were killed and 20 others
      wounded in a suicide bombing attack on Egged Bus #6 near the French
      Hill neighborhood of Jerusalem.133 On the same day, the Ezzedeen al-
      Qassam Brigades issued a statement claiming credit for the French Hill
      bombing and identifying the assailant as 19-year old Basim Jamal al-
      Takruri.134 According to a detailed biography posted on Alqassam.ps,
      Palestine-info.net, and other Hamas websites, the Bus #6 attack was the
      response of the Ezzedeen al-Qassam Brigades to “the massacres of the
      Zionist occupiers in Gaza … This was a painful Qassami triple response to the Israeli
      Minister’s statements, according to which the Jews would soon be permitted to desecrate
      the courtyards of the noble Al-Aqsa mosque and to perform prayers in it. As a result,
      three al-Qassam soldiers seized their [explosive] belts, disguised themselves, wearing
      settlers’ clothes and crossed through the gates of glory and immortality.”135 Al-Takruri’s
      resume posted online by Hamas suggested that he had been part of a trio of closely-linked
      bombers, all of whom wore the traditional clothing of Israeli settlers while carrying out
      their operations.136

               June 11, 2003 – Jaffa Road Bus 14A Bombing, Jerusalem

              On June 11, 2003, a suicide bomber detonated himself aboard Egged Bus #14A
      on Jaffa Road in central Jerusalem, killing seventeen and wounding over 100 others.137
      Days later, on June 13, the Ezzedeen al-Qassam Brigades published a statement claiming
      responsibility for the suicide bombing in Jerusalem, which it labeled a revenge mission
      for the failed assassination of senior Hamas leader Dr. Abdelaziz al-Rantisi.138
      According to the communiqué, the bomber responsible for “the Jerusalem operation” was
      18-year old Abdel Muti Mohammed Saleh Shabaneh, of Hebron.139 It also threatened
      that “the Jerusalem operation is only the beginning of a new series of attacks which will
      avenge the Zionist effort to grab all of our country.”140 On the Hamas website
      Alqassam.ps, the statement claiming credit for the Jaffa Road bombing is accompanied



      133
          http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2003/5/Palestinian+Terrorism-
      +A+Wave+of+Suicide+Bombings.htm.
      134
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=309. See also:
      http://www.alqassam.ps/arabic/statments.php?id=284.
      135
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=308. See also: http://www.palestine-
      info.info/arabic/hamas/shuhda/2003/takrory/syrah.htm. See also: http://www.palestine-
      info.com/arabic/spfiles/suhada_2005/shuhda_khaleel/basim.htm.
      136
          http://www.alqassam.ps/arabic/sohdaa5.php?id=308.
      137
          http://www.mfa.gov.il/MFA/Terrorism-
      %20Obstacle%20to%20Peace/Palestinian%20terror%20since%202000/Suicide%20and%20Other%20Bom
      bing%20Attacks%20in%20Israel%20Since.
      138
          http://www.alqassam.ps/arabic/statments.php?id=295. June 2009.
      139
          http://www.alqassam.ps/arabic/statments.php?id=295. June 2009.
      140
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=315. June 2009.



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      by several high-resolution images of Abdel Muti Shabaneh (as seen below)141 and a
      lengthy personal biography.142

              Though the website did not offer a copy for download, the biography posted on
      Alqassam.ps described a “recorded video of the martyr reading his will to his people and
      to the military leaders and politicians.” It further boasted of “claims by enemy
      intelligence of prior planning for the operation by the Al-Qassam Brigades, especially
      since the response came so quickly to the attempted assassination of [Abdelaziz] Rantisi.
      This was merely to justify the failure of military intelligence… Abdel Muti, a simple
      student who knew little of the streets in the city of Jerusalem successfully infiltrated
      through all the military cordons, despite the high state of alert.”143




                      Images of Abdel Muti Mohammed Saleh Shabaneh, the Hamas suicide bomber responsible for the June 2003 Jaffa Road bus bombing




               June 20, 2003 – Shooting Attack on Route 60

              On June 20, 2003, another Israeli vehicle was fired upon by unknown assailants
      while it was traveling on Route 60 near Ofra. According to the Israeli government, the

      141
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=picture&id=315. June 2009.
      142
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=315. June 2009.
      143
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=315. June 2009.


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      same Silwad-based Hamas cell involved in the January 29, 2003 “Sinjal Junction
      Operation” was also implicated in this remarkably similar follow-up attack.144 Though
      Hamas does not appear to have released a separate and distinct communiqué regarding
      this attack, it has nonetheless expressed a claim of responsibility. In the “Glory Record”
      of the Ezzedeen al-Qassam Brigades—a yearbook recording the group’s military
      achievements—Hamas reported carrying out an attack on June 20, 2003 “targeting a car
      with settlers, resulting in the death of one settler and wounding others.”145 The Hamas
      “Glory Record” also appeared to confirm that the Route 60 attack had indeed been
      carried out by a Silwad-based cell from the Ezzedeen al-Qassam Brigades, corroborating
      the account of the Israeli government.146


               August 19, 2003 – Bombing of Bus #2, Jerusalem

              On August 19, 2003, a suicide bomber
      aboard Egged Bus #2 detonated a 5kg
      explosive device packed with ball bearings in
      the Shmuel Hanavi neighborhood of
      Jerusalem, killing 23 and wounding more
      than 130 others.147 The Ezzedeen al-Qassam
      Brigades website Alqassam.ps later published
      a copy of a communiqué from the group
      claiming responsibility for the bombing, and
      explaining that the attack had been carried out
      as revenge for the killing of Hamas leaders by
      the Israeli military despite calls for a cease-
      fire:

              In memory of the burning of the
      blessed al-Aqsa Mosque; in response to the
      Jewish desecration of the Masra of the
      beloved [Prophet]; to avenge the soul of the
      courageous martyr Abdullah Abdul-Qader
      Qawasmeh (Abu Ayman), and the al-Qassam martyrs in Nablus, for the assassination of
      the Saraya al-Quds commander martyr Mohammed Ayyub Sadr; and, in light of the
      continuous Sharon-Israeli violations of the announced truce by the Palestinian resistance
      factions, with the help and grace of Allah, the martyr-cell of Abdullah al-Qawasmeh
      carried out this modest reaction in the Islamic city of Jerusalem… With divine power,
      Quranic determination, and Qassami-steadfastness, the Martyr Ezzedeen al-Qassam
      Brigades present to the paradise virgins of eternity the Martyr and the one who


      144
          http://www.israelemb.org/articles/2003/December/2003122400 htm.
      145
          http://www.palestine-info.info/arabic/Hamas/glory/ramalah htm. July 2009.
      146
          http://www.palestine-info.info/arabic/Hamas/glory/ramalah htm. July 2009.
      147
          http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2003/8/
      Suicide%20bombing%20of%20No%202%20Egged%20bus%20in%20Jerusalem%20-%201.


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      memorized the book of Allah, the mujahid teacher Raed Abdulhamid Mesk (Abu al-
      Mumin).148

             The statement concluded, “we assure everyone that we are still abiding by the
      announced truce, and every crime committed by the enemy will result in a painful
      response, so expect nothing from us other than the language of blood and bullets.”149 The
      websites Ezzedeen.net and Alqassam.ps both also published a biography and final will of
      the bomber, identified as 29-year old schoolteacher Raed Mesk (pictured to the right and
      below), a series of intimate photos of Mesk, and a propaganda poster for the Ezzedeen al-
      Qassam Brigades featuring Mesk.150

              In February 2008, the Media Office of the Ezzadeen al-Qassam Brigades
      published a special issue of their Arabic-language online magazine to mark the 20th
      anniversary of the military wing of Hamas. It summarizes the twenty-year history of the
      al-Qassam Brigades, and offers data and many statistics regarding Hamas military
      operations.151 One of the operations covered in the magazine issue was the August 2003
      bombing of Bus #2 in Jerusalem. According to the magazine, “Hafiz Quran Raed Mesk
      carried out this martyrdom operation in occupied Jerusalem inside of an articulated bus,
      killing 23 and wounding 125 others.”152




               September 9, 2003 – Bombing at Café Hillel in Jerusalem

              On September 9, 2003, a suicide bomber detonated an explosive just before
      midnight in a restaurant, the Café Hillel, in the German Colony neighborhood in
      Jerusalem, killing seven bystanders and wounding over 50 others.153 The Ezzedeen al-
      Qassam Brigades have issued at least two communiqués (dated respectively September 9
      and September 10, 2003) claiming responsibility for the bombing, which are still

      148
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=750. June 2009.
      149
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=750. June 2009.
      150
          http://www.ezzedeen.net/shohada/2003/raed_mesk/raed_mesk htm. December 2003. See also:
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=750. June 2009.
      151
          http://www.alqassam.ps/arabic/upload/qassamion_5.pdf. June 2009. Page 20.
      152
          http://www.alqassam.ps/arabic/upload/qassamion_5.pdf. June 2009. Page 20.
      153
          http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2003/9/Suicide%20Bombings-
      %20Tzrifin%20and%20Jerusalem%20-%20Septembe.


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      available on the Alqassam.ps website. While the first statement merely references the
      bombing in brief along with an accompanying attack in Tel Aviv, the second
      communiqué offers specific details of the attack and the bomber, identified as 22-year old
      Ramez Fihmi Ezzedeen Abu Saleem.154 According to the latter document, the Café
      Hillel bombing was only “the beginning of our response to the crimes committed by the
      enemy on our people, especially the assassination of Engineer Commander Ismail Abu
      Shanab, and the attempted assassinations on… Shaykh Ahmed Yassin, Mr. Ismail
      Haniyeh, and dozens of other leaders and field commanders from the Martyr Ezzedeen
      al-Qassam Brigades.” It continued, “We affirm to all our resistance cells that, from now
      on, it is permissible to target Israeli homes and residential buildings… in response to the
      enemy policy of targeting the homes of our people in Khan Younis, Hebron, and
      Nablus—which have escalated until the latest incident that occurred today, when they
      targeted the house of Dr. Mahmud al-Zahar.”155 The Alqassam.ps website also features a
      detailed biography of Ramez Abu Saleem, which notes, “Hamas succeeded in carrying
      out twin simultaneous operations (one at five in the afternoon, and the other at half past
      eleven in the evening), confirming that all of the Zionist procedures and policies designed
      to prevent martyrdom operations—a weapon of the Intifada and the primary method of
      greatest impact—have failed to achieve their objectives.”156

               October 22, 2003 - Tel Romeida Shooting Attack

              On October 22, 2003, a single assailant launched a
      shooting attack on two Israeli nationals at the entrance to the
      Tel Romeida neighborhood of Hebron, moderately wounding
      both.     Though Hamas has never released an explicit
      communiqué or statement claiming responsibility for the Tel
      Romeida attack, it has nonetheless posted the “martyr”
      biography of the assailant—23-year old Rafiq Mohammed
      Ziyad Qanibi—multiple times on multiple iterations of the
      official Hamas website.157 The biography includes an original
      photograph of Qanibi (shown at right) and describes him as
      both an “al-Qassam mujahid” and “an al-Qassam martyr.”158
      According to the biography posted online by Hamas, Qanibi was carrying a rifle hidden
      under his jacket while walking near Tel Romeida. When he reached “Jewish soil,” he
      began firing on a group of soldiers gathered in the settlement until he was cut down in the
      cross-fire.159 The document also noted that Qanibi’s bedroom was decorated with images
      of other “martyrs” from Hamas’s Ezzedeen al-Qassam Brigades and he would often
      “close the door on himself and spend long hours meditating there.”160

      154
          http://www.alqassam.ps/arabic/statments.php?id=340. July 2009. See also:
      http://www.alqassam.ps/arabic/statments.php?id=336. July 2009.
      155
          http://www.alqassam.ps/arabic/statments.php?id=340. July 2009.
      156
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=477. July 2009.
      157
          http://www.palestine-info.info/arabic/Hamas/shuhda/2003/rafeeq/syrah htm. July 2009. See also:
      http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=362. July 2009.
      158
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=362. July 2009.
      159
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=362. July 2009.
      160
          http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=362. July 2009.


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                January 29, 2004 – Jerusalem Bus #19 Bombing

               In the morning hours of January 29, 2004, a suicide bomber
       wearing an explosive vest detonated himself on Egged Bus #19 at the corner of Gaza and
       Arlozorov streets in Jerusalem, killing 11 and wounding over 50 others.161 The Hamas
       website Palestine-info.net later published an Arabic-language communiqué claiming
       credit for the Bus #19 bombing titled “He Who Fails to
       Protect Himself, Fails to Protect Others” and identifying the
       bomber as 25-year old Bethlehem resident and former
       Palestinian policeman Ali Muneer Yusif Jaarah (shown at
       right and below).162 The statement posted on Palestine-
       info.net repeatedly boasted of the “advanced planning and
       preparation” carried out by “the martyr Jaarah and his al-
       Qassam Brigades.”163

               A second Arabic-language communiqué published
       on the Alqassam.ps website likewise claimed credit for the
       bombing and indicated that the attack was targeted near the
       personal residence of Israeli Prime Minister Ariel Sharon in
       order to avenge a massacre of Palestinians at Hayy al-Zaytun.164 The statement took
       pains to address an apparently conflicting claim of responsibility for the same bombing
       issued by the al-Aqsa Martyrs Brigades, a military wing of the Palestinian Fatah
       movement: “We condemn the hasty way in which our brothers from the al-Aqsa Martyrs
       Brigades claimed credit [for this operation], which is why we have delayed our own
       declaration until the correct brothers responsible could be identified. Images of the
       Martyr and his connection to the al-Qassam Brigades were provided to the media and
       were… displayed on the website of the al-Qassam Brigades.”165

               The Hamas website Alqassam.ps also features a wealth of
       material relating to Bus #19 bomber Ali Jaarah, including a special
       report on the attack, Jaarah’s last will and testament, and an in-
       depth biography.166 In that biography published online, Hamas
       once again addressed the issue of the conflicting claims for the
       attack from the Al-Aqsa Martyrs Brigades: “On Friday, the
       spokesman for the Fatah movement appeared on Al-Manar
       television and apologized for his group claiming credit for the
       operation and apologized to the al-Qassam Brigades, rejecting any



       161
           http://www.mfa.gov.il/MFA/MFAArchive/2000_2009/2004/1/
       Suicide%20bombing%20of%20Egged%20bus%20no%2019%20in%20Jerusalem%20-.
       162
           http:// www.palestine-info.info/arabic/hamas/shuhda/2004/ali/syrah.htm. August 2004.
       163
           http:// www.palestine-info.info/arabic/hamas/shuhda/2004/ali/syrah.htm. August 2004.
       164
           http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=378. June 2009.
       165
           http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=byan&id=378. June 2009.
       166
           http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=378. June 2009.


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       links to the Fatah movement. This has also been confirmed by a Fatah spokesman in the
       Gaza Strip.”167

                September 24, 2004 – Mortar Strike in Neve Dekalim

                On September 24, 2004, a surprise mortar bombardment from assailants in Khan
       Younis targeted the Gush Katif settlement of Neve Dekalim, killing a 24-year old Israeli
       woman.168 The Ezzedeen al-Qassam Brigades have issued at least two communiqués
       (both dated September 24, 2004) claiming responsibility for the mortar attack, which are
       still available on the Alqassam.ps website.169 The first document simply claims credit for
       “launching three 100mm mortar shells towards the Neve Dekalim settlement at exactly
       10:30 in the morning.”170 The second document repeats this information and adds that
       the attack “had the impact of killing an enemy soldier and moderately wounding two
       others.”171

       VIII. Conclusions
               Based upon the information, research, and analysis presented heretofore in this
       report, I have reached several key conclusions:

                Since at least 2001, the Palestinian Hamas organization—a designated Foreign
                 Terrorist Organization (FTO) otherwise known as the “Islamic Resistance
                 Movement” and “the Martyr Ezzedeen al-Qassam Brigades”—has maintained a
                 regular presence on the Internet through the use of fixed websites, online
                 newsletters, and virtual discussion forums. The most notable of these entities are
                 the Palestine-info.net website, the Alqassam.ps website (also formerly known as
                 Qassamiyoon.com, Kataeb-ezzeldeen.net, Ezzedeen.net, etc.), and the
                 Almoltaqa.ps social networking forum. Hamas has employed these venues to
                 disseminate its propaganda, to conduct public interviews with senior Hamas
                 officials, to facilitate communication and coordination among Hamas supporters,
                 and to assist in illicit terrorist financing schemes. Hamas’ web presence is one of
                 its most critical material resources, serving as a massive “force multiplier” for its
                 membership.

                Since 2001, the Hamas movement—together with persons or entities controlled
                 by, or related to Hamas—has utilized certain texts, websites and other media
                 (many of which have been discussed and analyzed herein) for the purpose of
                 advertising its involvement and responsibility in various violent “operations,”
                 including attacks that are alleged to have injured the Plaintiffs in these actions. In
                 my expert opinion, these texts, websites, and media can be attributed to Hamas

       167
           http://www.alqassam.ps/arabic/sohdaa5.php?sub_action=sera&id=378. June 2009.
       168
           http://www.mfa.gov.il/MFA/Terrorism-+Obstacle+to+Peace/Memorial/2004/Tiferet+Tratner htm.
       169
           http://www.alqassam.ps/arabic/statments.php?id=755. July 2009. See also:
       http://www.alqassam.ps/arabic/statments.php?id=754. June 2009.
       170
           http://www.alqassam.ps/arabic/statments.php?id=754. June 2009.
       171
           http://www.alqassam.ps/arabic/statments.php?id=755. July 2009.


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              EXHIBIT 211 TO DECLARATION OF VALERIE SCHUSTER
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      Exhibit 1 To Expert Report
         Of Evan Kohlmann



              Curriculum Vitae Of
               Evan Kohlmann
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                                             8392
                                                  Evan Francois Kohlmann
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EDUCATION
University of Pennsylvania Law School, Philadelphia, Pennsylvania
       J.D. (Juris Doctor) 2004; James Wilson Scholarship Recipient.
Georgetown University, Washington, DC
       Edmund A. Walsh School of Foreign Service, BSFS 2001, Magna Cum Laude
   •   Major: International Politics, concentration in International Security Studies.
               o Minor: Islamic Studies (Center for Muslim Christian Understanding, Georgetown University)
   •   Honors & Awards: Honors in International Politics; Georgetown University Rhodes Scholar Nominee, 2000.
   •   Research assistant for Dr. Mamoun Fandy in the Center for Contemporary Arab Studies (CCAS) (Fall 2000).
EXPERIENCE
Senior Investigator                                                                            August 2005 – present
The Nine/Eleven Finding Answers (NEFA) Foundation, New York, NY
   •   The NEFA Foundation is a non-profit organization created after the attacks of September 11, 2001. The Foundation strives to help prevent
       future tragedies in the U.S. and abroad by independently tracking those responsible for planning, funding, and executing terrorist activities,
       with a particular emphasis on Islamic militant organizations. The Foundation plays a role in the fight against terror through cohesive and
       comprehensive efforts to research, analyze, and disseminate information pertaining to past and current terrorist activities.

On-Air Terrorism Analyst                                                                       October 2004 – present
NBC News / MSNBC, New York, NY
   •   NBC News is the news division of the U.S. television network NBC Universal. It has ranked as the top-rated broadcast news division in the
       United States for over ten years. MSNBC is NBC Universal’s 24-hour cable news and information network. Provided frequent on-air
       analysis and discussion regarding ongoing news stories relating to international terrorism. Assisted in the production of both evening news
       segments and full-length television documentaries relating to international terrorism.

Founder, President                                                                             February 2004 – present
Globalterroralert.com, New York, NY
   •   Globalterroralert.com was founded in early 2004 as an exclusive information clearinghouse on international terrorism.
       Globalterroralert.com is regularly cited as a source by prominent worldwide media outlets—including NBC News, the BBC, the
       Washington Post, the Los Angeles Times, and the Associated Press.
   •   Researched terrorist fundraising and recruitment networks using sources including declassified intelligence documents, exhibits submitted
       in terror-related legal cases, Lexis-Nexis, the World Wide Web, the Foreign Broadcast Information Service (FBIS), and other information
       retrieval sources. Interviewed alleged terrorist recruiters, terrorist facilitators, and cooperating defendants in criminal cases. Drafted public
       news articles and unclassified memoranda for international law enforcement and intelligence agencies examining international terrorism, its
       sponsors, and its causes.

Consultant                                                                                     May 2005 – June 2005
Office of the High Representative (OHR), Sarajevo, Bosnia-Herzegovina
   •   The OHR is the chief civilian peace implementation agency in Bosnia-Herzegovina. I was hired as a short-term consultant by OHR to
       personally travel to Sarajevo and give briefings to intelligence analysts based at Camp Butmir on the status of foreign mujahideen veterans
       in the Balkans and the ongoing role of foreign charitable organizations. Assisted in the analysis of confidential intelligence documents, and
       provided original documentation to add to their records. Gathered firsthand intelligence data in various regions of central Bosnia-
       Herzegovina concerning suspect corporate entities under criminal investigation by local authorities.

Senior Terrorism Consultant                                                                    February 1998 – January 2004
Investigative Project, Washington, DC
   •   The Investigative Project is an open source counterterrorism think-tank and policy group founded in 1995.
   •   Researched terrorist fundraising and recruitment networks using sources including Lexis-Nexis, the World Wide Web, FOIA requests,
       Foreign Broadcast Information Service (FBIS), etc. Interviewed alleged terrorist recruiters and terrorist facilitators for Al-Qaida, Hamas,
       and other groups (including notorious UK-based clerics Abu Hamza Al-Masri and Shaykh Omar Bakri Mohammed).
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INVOLVEMENT IN U.S. LEGAL CASES:                HIRED AS EXPERT   TESTIFIED AS FACT   TESTIFIED AS
                                                  CONSULTANT          WITNESS           EXPERT
U.S. V. JEFFREY BATTLE ET AL.
(DISTRICT OF OREGON, 2003)                            X
U.S. V. MASOUD KHAN ET AL.
(EASTERN DISTRICT OF VIRGINIA, 2004)                  X                  X
U.S. V. RANDALL ROYER
(EASTERN DISTRICT OF VIRGINIA, 2004)                  X
U.S. V. SABRI BENKHALA
(EASTERN DISTRICT OF VIRGINIA, 2004)                  X                                    X
U.S. V. ALI TIMIMI
(EASTERN DISTRICT OF VIRGINIA, 2005)                  X                                    X
U.S. V. UZAIR PARACHA
(SOUTHERN DISTRICT OF NEW YORK, 2005)                 X                                    X
U.S. V. AHMED OMAR ABU ALI
(EASTERN DISTRICT OF VIRGINIA, 2005)                  X
U.S. V. HAMID HAYAT
(EASTERN DISTRICT OF CALIFORNIA, 2006)                X
U.S. V. ALI ASAD CHANDIA
(EASTERN DISTRICT OF VIRGINIA, 2006)                  X                                    X
U.S. V. YASSIN AREF ET AL.
(NORTHERN DISTRICT OF NEW YORK, 2006)                 X                                    X
U.S. V. SABRI BENKHALA
(EASTERN DISTRICT OF VIRGINIA, 2007)                  X                                    X
U.S. V. RAFIQ SABIR
(SOUTHERN DISTRICT OF NEW YORK, 2007)                 X                                    X
U.S. V. JOSE PADILLA ET AL.
(SOUTHERN DISTRICT OF FLORIDA, 2007)                  X
U.S. V. NURADIN ABDI
(SOUTHERN DISTRICT OF OHIO, 2007)                     X
U.S. V. EMADEDDINE MUNTASSER ET AL.
(DISTRICT OF MASSACHUSETTS, 2007)                     X                                    X
U.S. V. HASSAN ABU JIHAAD
(DISTRICT OF CONNECTICUT, 2008)                       X                                    X
U.S. V. MOHAMMED AMAWI ET AL.
(NORTHERN DISTRICT OF OHIO, 2008)                     X                                    X
U.S. V. CHRISTOPHER PAUL
(SOUTHERN DISTRICT OF OHIO, 2008)                     X
U.S. V. SALIM HAMDAN
(GUANTANAMO BAY MILITARY COMMISSIONS, 2008)           X                                    X
U.S. V. ALI HAMZA AL-BAHLUL
(GUANTANAMO BAY MILITARY COMMISSIONS, 2008)           X                                    X
U.S. V. MOHAMED SHNEWER ET AL.
(DISTRICT OF NEW JERSEY, 2008)                        X                                    X
U.S. V. ZUBAIR AHMED ET AL.
(NORTHERN DISTRICT OF OHIO, 2009)                     X
U.S. V. WESAM DELAEMA
(DISTRICT OF COLUMBIA, 2009)                          X
U.S. V. OUSSAMA KASSIR
(SOUTHERN DISTRICT OF NEW YORK, 2009)                 X                                    X
U.S. V. MOHAMMED ABDULLAH WARSAME
(DISTRICT OF MINNESOTA, 2009)                         X
U.S. V. SYED HARIS AHMED
(NORTHERN DISTRICT OF GEORGIA, 2009)                  X                                    X
U.S. V. EHSANUL SADEQUEE
(NORTHERN DISTRICT OF GEORGIA, 2009)                  X                                    X
U.S. V. ABDUL TAWALA IBN AL-ISHTARI
(SOUTHERN DISTRICT OF NEW YORK, 2009)                 X
U.S. V. SYED HASHMI
(SOUTHERN DISTRICT OF NEW YORK, 2009)                 X                      (UPCOMING)
U.S. V. ISLAMIC AFRICAN RELIEF AGENCY ET AL.
(WESTERN DISTRICT OF MISSOURI, 2009)                  X                      (UPCOMING)
U.S. V. AL-HARAMAIN FOUNDATION ET AL.
(DISTRICT OF OREGON, 2009)                            X                      (UPCOMING)
U.S. V. BABAR AHMED
(DISTRICT OF CONNECTICUT, 2010)                       X                      (UPCOMING)
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INVOLVEMENT IN INTERNATIONAL LEGAL CASES:                                       HIRED AS EXPERT   TESTIFIED AS FACT   TESTIFIED AS
                                                                                  CONSULTANT          WITNESS           EXPERT
INTERNATIONAL PROSECUTORS V. ABDULADHIM MAKTOUF
(SUPREME COURT OF BOSNIA-HERZEGOVINA, 2005)                                               X                                X
REGINA V. MOHAMMED AJMAL KHAN AND PALVINDER SINGH
(SNARESBROOK CROWN COURT, U.K., 2006)                                                     X                                X
REGINA V. AL BASHIR MOHAMMED AL-FAQIH
(WOOLWICH CROWN COURT, U.K., 2007)                                                        X
REGINA V. TSOULI, DAOUR, AND MUGHAL
(WOOLWICH CROWN COURT, U.K., 2007)                                                        X              X
REGINA V. RAJA, MALIK, IQBAL, ZAFAR, AND BUTT
(OLD BAILEY, U.K., 2007)                                                                  X
H.M.A. V. MOHAMMED ATIF SIDDIQUE
(GLASGOW HIGH COURT, SCOTLAND, 2007)                                                      X                                X
REGINA V. SAMINA MALIK
(OLD BAILEY, U.K., 2007)                                                                  X                                X
REGINA V. HASSAN MUTEGOMBWA
(OLD BAILEY, U.K., 2007)                                                                  X                                X
REGINA V. DITTA AND BILAL
(LEEDS CROWN COURT, U.K., 2008)                                                           X
PROSECUTOR FOR SERIOUS ECONOMIC CRIMES V. AL-AQSA ASSOCIATION
(THE HIGH COURT, COPENHAGEN, DENMARK, 2007)                                               X                                X
REGINA V. BILAL KHAZAAL
(SUPREME COURT OF NEW SOUTH WALES, AUSTRALIA, 2008)                                       X                                X
REGINA V. AABID KHAN ET AL.
(BLACKFRIARS CROWN COURT, U.K., 2008)                                                     X
REGINA V. IMAD SHOUBAKI ET AL.
(SOUTHWARK CROWN COURT, U.K., 2008)                                                       X                                X
PUBLIC PROSECUTOR V. HAMMAD KHURSHID ET AL.
(COURT OF GLOSTRUP, COPENHAGEN, DENMARK, 2008)                                            X                                X
INTERNATIONAL PROSECUTORS V. RASIM DELIC
(INTERNATIONAL CRIMINAL TRIBUNAL FOR THE FORMER YUGOSLAVIA, 2008)                         X
REGINA V. ABDUL NACER BENBRIKA ET AL.
(SUPREME COURT OF VICTORIA, AUSTRALIA, 2009)                                              X
PUBLIC PROSECUTOR V. HAMMAD KHURSHID ET AL. (RETRIAL)
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INTERNATIONAL PROSECUTORS V. RIJAD RUSTEMPASIC ET AL.
(SUPREME COURT OF BOSNIA-HERZEGOVINA, 2010)                                               X


BOOKS AND PAPERS

    •    Author - Al-Qaida’s Jihad in Europe: The Afghan-Bosnian Network, (Berg Publishers, September 2004)
                  o [Dr. Marko Hoare, History Faculty, University of Cambridge and author of How Bosnia Armed]: “Written by a genuine
                      expert in the subject...this is a lucid and informed account of the involvement of the mujahedin in Bosnia, one that lays the
                      myths to rest... This excellent book is essential reading for anyone wishing to understand the truth about an episode of the
                      Bosnian war that is so frequently misrepresented by those with a political motive for doing so.”1
                  o [Political Science Quarterly (PSQ)]: “About [Al-Qaida’s] operations in Europe, Evan F. Kohlmann has written an
                      illuminating book… Kohlmann is at his best in exhaustively reporting the details of such terrorist episodes. He has compiled
                      prodigious research about the perpetrators and their support networks. Moreover, he never loses sight of the strategy behind
                      the individual attacks… [a] genuine historical analysis.”2
                  o [Studies in Conflict and Terrorism]: “This book is a pathbreaking piece of research… Kohlmann addresses the issue in
                      unprecedented detail, exploiting a wide variety of available sources to piece together a largely neglected segment of
                      contemporary Bosnian history… [which] provide critical insights into terrorist preferences, motives, and interests… The
                      book… is descriptive and empirically rich.”
                  o Al-Qaida’s Jihad in Europe has consistently been used as a required or recommended course text in numerous
                      undergraduate and graduate courses in North America, Europe, and Australia, including the following courses:
                            (Spring 2005) - “Terrorism, Security, and Intelligence”
                                     • Course taught by former NSC counterterrorism czar Richard Clarke and former White House Senior Director for
                                             Combating Terrorism Rand Beers at Harvard University’s Kennedy School of Government.3
                                  (Fall 2006) - “South Asia, Al Qaeda and the Rise of International Terrorism”
                                        • Course taught by Peter Bergen at the School of Advanced International Studies at Johns Hopkins University.4
                                  (Spring 2007) – “Terrorism and Modern Society”
                                        • Course taught by Dr. Keith Hayward and Professor Frank Furedi at the School of Social Policy, Sociology, and
                                             Social Research at the University of Kent (Canterbury campus).5

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         2
           http://www.ciaonet.org/olj/psq/psq_fal05/
         3
           http://ksgnotes1.harvard.edu/degreeprog/courses.nsf/webnumber/ISP213
         4
           http://eres.sais-jhu.edu/coursepage.asp?cid=165
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                  (Fall 2007) – “Jihad and the End of the World.”
                                       • Course taught by Dr. David Cook (author of Understanding Jihad) at Rice University.
                                 (Spring 2008) – “Militant Islamism.”
                                       • Course taught by Dr. Thomas Hegghammer (currently a fellow at Harvard’s Kennedy School of Government) at
                                           Princeton University.

•   Major Papers:
        o    “Trends in Anti-American Terrorism.” Co-authored with John Eubanks. Journal of Counterterrorism and Security
            International. January 1999.
        o “The Legacy of the Arab-Afghans: A Case Study.” Georgetown University International Politics Honors Thesis, April 2001.
        o “Arabian Gulf Financial Sponsorship of Al-Qaida via U.S.-Based Banks, Corporations, and Charities.” Testimony before the
            U.S. House Committee on Financial Services, Subcommittee on Oversight and Investigations. March 11, 2003.
        o “Gulbuddin Hekmatyar and Ahmad Shah Massoud: Islamic Patriots or Ambitious Opportunists?” Final course paper for Dr.
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        o “The Afghan-Bosnian Mujahideen Network in Europe.” Paper presented before the Swedish National Defence College Center
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        o “The Real Online Terrorist Threat.” Foreign Affairs. Vol. 85; No. 5. September/October 2006.
        o “The North African Mujahideen Network of the Western Balkans.” Bosnian Security After Dayton: New Perspectives. Edited
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        o “An Interview with Ahmad Said al-Hamed, Spokesman for the Political Wing of ‘Hamas al-Iraq.’” Exclusive NBC News
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              EXHIBIT 212 TO DECLARATION OF VALERIE SCHUSTER
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                              IN THE UNITED STATES DISTRICT COJRT FOR THE
                                      EASTERN DISTRICT OF VIRG NIA
                                         . Alexandria Division

                 UNITED STATES OF AMERICA,

                             Plaintiff,                          CR. NO.      05-53

                       vs.

                 AHMED OMAR ABU ALI,

                                      Defendant.
                                                                         ~     EXHIBIT

                                   TRANSCRIPT OF MOTIONS                 i Ilob\ Ntii) 0 q
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                                                                                   f)
                                      October 28,    2005




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                 BEFORE:           THE HONORABLE GERALD BRUCE tEE
                                   UNITED STATES DISTRICT JUDGE


                 APPEARANCES:

                 FOR THE GOVERNMENT: OFFICE OF THE UNITED STATES ATTORNEY
                                     BY: DAVID LAUFMAN, EfQ.
                                         STEPHEN CAMPBELL ESQ.
                                         MARLA TUSK, ESQ.
                                         JERRY DEMAIO, ESQ. (DOJ)
                                     2100 Jamieson Ave.   :
                                     Alexandria, Virginial 22314


                 FOR THE DEFENDANT:        AS~RAF   NUBANI, ESQ.




                 OFFICIAL COURT REPORTER: REN:::A A. SNIT -WILSON,RNR,CRR
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                                          U.S. District            c~urt
                                          401 Courthouse ~quare
                                          Alexandria, VA . 22314
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                                   RENECIA A. SMITH-WILSON, RMR,     ~RR
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        1                   THE COURT:        So,   the evidence you have that

        2   this is al-Qaeda cell is just through Mr. Kohlmann?

        3                   MR.    LAUFMAN:     No,   sir.   We are going to rely

        4   on the confession evidence,             if that comes into evidence,

        5   his own confessions that he knew and                              that

        6   these individuals were al-Qaeda.

        7                   But,    we don't take anything ~or granted with

        8   this jury.

        9                   The defense

       10                   THE COURT:        No,   I guess if   -i I'm not trying
       11   to pry into your tr ial strategy , but I'm! trying to

       12   understand why Mr. Kohlmann is necessarYI'

       13                   If I've read what has been sbbmitted to me

       14   correctly,     he's never been to Saudi Arabia.             And even if

       15   he has,    he hasn't met with terrorist or ~een involved

       16   with any al-Qaeda activities.

       17                   So the fact he read about it in my view

       18   doesn't make him an expert on al-Qaeda,               bust that he
                                                                  i


       19    read about it.

       20                   MR.    LAUFMAN:     Well,   I would disagree with

       21    the Court respectfully with respect to              w~ether      scholarly

       22   work is a basis for qualifying an expert! in the field of

       23    assessing terrorist organizations.
                                                                  I
       24                   But,    setting aside his        acade~ic   and

       25   professional work that he now services a!s a consultant,




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       1    October 24th letter,       I can give you a ruling right n o w . .

       2                   If you would like to have an opportunity to

       3    present some evidence,       I ' l l b e happy to do that perhaps

       4    next Friday.      But I don't -- at this moment,          there's no

       5    way I'm going to let him to come in testify about what

        6   he read about,       what he wrote in his own -- his book that

       7    he probably published himself and that he works for the

        8   government,    and the government pays him to testify,             to

        9   do things for them.

      10                   That to me doesn't make him an expert in

      11    al-Qaeda.

      12                   MR.    LAUFMAN:     Your Honor -- pardon.       He's

      13    been qualified by this court as an expert on al-Qaeda.

      14    I   understand that Your Honor hasn't qualified him.

      15                   THE COURT:        The judgment of a district judge

      16    concerning expert witnesses is governed by Rule 702 of

      17    the Federal Rules of Evidence.

      18                   And the judge has to make a         judgment whether

      19    a person is qualified by experience,           education or

      20    training to offer reliable testimony about a subject

      21    matter that's beyond the kin of the average juror.

      22                   If what you've shown me            if what you've

      23    shown me is your proffer,          I'm prepared to make a

      24    judgment right now.

      25                   I've invited you to present some evidence,




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        1    but I -- I have difficulty with the idea. that someone

        2    who has never done any real law enforce~ent
                                                     I
                                                         or

        3    intelligence work where he has             infiltra~ed        terrorist

        4    cells or worked with terrorists or had dontact with                       the~
                                                                     i
        5    is going to come in here and tell the                  j~ry   that based

        6    upon what he's read on the Internet and his -- his own

        7    writings that he thinks that this al-Fa~'asi cell and

        8    Qahtani cell belong to al-Qaeda,                if   tha~'s   all you have,

        9    it's not going to happen in this courtroom.                     Maybe it

       10   ·happened in another courtroom,             but not in this one.

       11                   MR.    LAUFMAN:     May I       continue, please.

       12                   THE COURT:        Well,   I'm asking you to make a

       13    judgment now.        Do you want me to rule or do ·want to have

       14    a chance to put on some testimony?

       15                   MR.    LAUFMAN:     Well,       I'd like to have a

       16    chance to proffer to the Court some additional

       17    information that I       plan to proffer.

       18                   THE COURT:        Okay.     I    can go forward with the

       19    proffer if you'd like.

       20                   MR.    LAUFMAN:     First of all,            I want to make

       21    clear for the record that Mr. Kohlmann has twice been

       22    qualified as·an expert in this court on

       23                   THE COURT:        Expert in what?            Tell me --

       24                   MR.    LAUFMAN:     As an expert en al-Qaeda among

       25    other subjects.        Based on the Sqme qualifications we




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        1   an ability to bring in more reliable evidence on how

        2   these groups relate without being a part of those groups

        3   than to get things on the Internet.

        4                  Of course,    I don't think that it's          rel~able


        5   at all.

        6                  THE COURT:     All right,     Mr.   Nubani,    I   think I

        7   have what I    need to make a judgment now.

        8                  All right.      This matter is before the Court

        9   on the defense motion to exclude the testimony of

      10    Mr.   Evan Kohlmann,    who has been proffered by the

      11    government.

      12                   And I'm reading from the October 24th letter

      13    of the prosecutor to Mr.        Nubani which says,      "Evan F.

      14    Kohlmann will testify as an expert witness concerning

      15    the history and structure of al-Qaeda,             its organization

       16   and operations in the Arabian Peninsula and the basis

       17   for concluding that the terrorist cell headed by Ali

       18   Abdi Alramian,     al-Fak'asi al~Ghami and Sultan Jubran,

       19   Sultan Al Qahtani was an al-Qaeda cell and I provide the

       20   court reporter with a copy of the letter so they can

       21   spell the names.

       22                  The Court has reviewed the          resum~    of

       23   Mr.   Kohlmann which has been proffered,           and the

       24   transcript proffered by the government of a March 8,

       25   2004 hearing before Judge Brinkema in the Benkahla case.




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             2    you tending Mr.
                                 And on page 195,      she says at line nine,

                                      Kohlmann as an expert in modern Afghan
                                                                                         "Are



             3   politics?      Mr. Kromberg:      Yes".    Answer,        line 12,    "All

             4    right.    I'm going to accept him.          And,    I ve accepted him

             5   as an expert in the other trial.             And    cl~arly    he's

             6   written enough and studied enough on thiS.                   I'm going to

             7   accept him as an expert,        so you can get pn with your

             8   questions "       That's line 15.

             9                   I recognize that Judge        Brink~ma       has tried

            10    the Benkahla case and the Al-Tamimi easel.                 What I'm

            11   being asked to do today is to make a jud6ment about

            12   whether or not Mr. Kohlmann is qualified, to render an

            13   opinion within the meaning of the Federa~ Rule of
                                                                       I



            14   Evidence 702.

            15                   I've also been provided withl the

            16    cross-examination of Mr.        Kohlmann,    transl.riPts from

            17   pages 672 to 683.        And, what -- what strikes me in

            18    reviewing this question is Federal Rule pf Evidence 702
                                                                       I

            19    says that the trial judge is to make a dbtermination and

            20    I'm going to read what the rule says,              "Iif scientific,

            21    technical or other specialized knowledge will assist the

            22    trier of fact to understand the evidence or to determine

            23    a fact in issue,     a witness qualified as an expert" and

            24    I'm going to underline,       "by knowledge,        s~ill,
                                                                       I

            25    experience,    training or education",        and    tt underline all



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       1    four of those,     "may testify thereto in forming an

       2    opinion or otherwise,       if,   one,   the testimony is based

        3   upon sufficient facts or data;           two,   the testimony is the

        4   product of reliable principles and methods,             and three,

        5   the witness has applied the principles and methods

        6   reliably to the facts of the case".

        7                  This Judge is not persuaded that

        8   Mr.   Kohlmann's study of subject matter of terrorism,

        9   whatever that is in terms of if it's a global subject

      10    matter,   but I believe it has to do with groups that are

      11    organized to carry out political acts of violence

       12   against governments but that are not organized

       13   government or entities themselves.              That's what I    think

       14   a terrorist is and that they're designated foreign

       15   terrorist organization al-Qaeda.            There's no contest in

       16   this trial what al-Qaeda is.

       17                   The question is whether Mr.         Kohlmann,

       18   because he has a law degree from Penn which he earned in

       19   2004 and because he graduated from Georgetown in 2001

       20   with a major in politics and international security

       21   studies and a minor in Islamic studies,             in and of itself

       22   makes him a person who could assist the jury with

       23   reliable information about the operation of al-Qaeda.

       24                   I note that first of all,         as far as we

       25   can -- been proffered here today,           Mr.   Evan Kohlmann has




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        1    never meet anyone from al-Qaeda,          has not infiltrated
                                                                I
        2    al-Qaeda,   has not done any research where he's had

        3    contact with someone who was in al-Qaeda to know just

        4    what they do or do not do.

        5                   He's read about it on the In~ernet and

        6    scholarly books.       And certainly a personl can qualify

        7   based upon reading and education.

        8                   He's never been to Pakistan,            never been to

        9    Saudi Arabia,     does not speak Arabic,       doe~     not speak
                                                                i

       10    Urdu,   can't read Urdu or Lakishur websit~s, can't read

       11   Arabic websites and has to have them trahslated for him.

       12                   He has read many books about! the subj ect

       13   matter of terrorism,       and he reads and      ha~     collected

       14   many, many websites from the Internet.              And this is a·

       15   part of his basis for his conclusions abput how al-Qaeda

       16    and other terrorist groups operates.

       17                   The Court does not think tha             the Internet,

       18   particularly the postings that he has described here,                   in

       19    and of themselves have any -- there's no! way to test the

       20    reliability of them.        There's no way to      ~now    who post
                                                                I
                                                                I

       21    them.    There's no way to knows who maint~ins them.
                                                                I
                                                                I

       22    There is no way to know whether the info~mation there is

       23    accura te or not.

       24                   And that he has published a book,            self

       25    published a book,      I note,   in and of itse f does not make




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        1   him an expert.      And,   the fact that the government has

        2   hired him to testify as an expert witness in cases

        3   including U.S.      versus Battleford,     Benkahla,    Randall

        4   Royer,   Massoud,    AI-Tamimi does not with this Judge sit

        5 a s a basis to qualify him as an expert in al-Qaeda,

        6   particularly where he has had no contact with someone

        7   from al-Qaeda.

        8                  All he has done is to read about it.             My

        9   jury could do an Internet search on Google and read

      10    about al-Qaeda.

      11                   I'm sure that Mr.      Kohlmann could probably

      12    summarize i t for them in a way that could be very

      13    helpful,    but I'm not of the opinion that Mr.           Kohlmann is

       14   an expert because he is not qualified by training,

       15   because he has none other than what he is self taught.

       16                  He has not qualified because of the methods

       17   that he's gathered his information,           reading the Internet

       18   and reading books in and of itself may be a way to learn

       19   engineering, but at some point,          the engineer has to

       20   actually handle a device.

       21                   Here we have a person who has just read

       22   about these things and is being offered to tell the

       23   Court about a cell,        the Ali Abdi Alramian al-Fak'asi

       24   cell and the Sultan Jubran cell.            He is going to make a

       25   judgment that these cell were al-Qaeda cells.




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        1                   He'd never been to Saudi Arabia,               never

        2    interviewed anyone from either of these cells,                   has no

        3   personal knowledge about whether these c 11 were

        4   affiliated with al-Qaeda or anyone else.

        5                   So for all those reasons,          th     motion to

        6   exclude Mr.     Kohlmann's testimony will be granted.

        7   Exception's preserved.

        8                   I    think that that covers wha           we have for

        9   trial,    so I ' l l see you all on Monday at            o o'clock.
       10                   We're in recess.        Thank you.

       11                   (Proceeding concluded at 1:0              p.m.)

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                                RENECIA A.   SMITH-WILSON,   RMR,   ICRR
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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
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                     UNITED STATES OF AMERICA,
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                 4                 v.                              03 CR 01197
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                 5   UZAIR PARACHA,
                 5
                 6                      DEFENDANT.
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                     ------------------------------x
                 8                                                 New York, N.Y.
                 8                                                 November 9, 2005
                 9                                                 11:15 a.m.
                 9
                10
                10   Before:
                11
                11                            HON. SIDNEY H. STEIN,
                12
                12                                                 District Judge
                13
                13
                14                                   APPEARANCES
                14
                15   MICHAEL J. GARCIA
                15        United States Attorney for the
                16        Southern District of New York




•
                16   KARL METZNER
                17   ERIC B. BRUCE
                17        Assistant United States Attorneys
                18
                18   ANTHONY L. RICCO
                19   EDWARD DAVID WILFORD
                19        Attorneys for Defendant Uzair Paracha
                20
                20   ALSO PRESENT:       JANELLE MILLER, Special Agent, FBI
                21
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                25
                                   SOUTHERN DISTRICT REPORTERS (212) 805-0300




                     EXHIBIT

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                                                                                      OHLMANN002376
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                                      8410




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                  5b90par2                     Kohlmann - direct
              1   A.   I left the Investigative Project in early 2004            ntinue

              2   pursuing my work, really, on an independent basis.        So   ow I
              3   work as an independent consultant to parties that are

              4   interested in studying virtually the same thing I was          ing
              5   there.
              6   Q.   Do you operate a website, currently?
              7   A.   Yes I do.
              8   Q.   What is that website?
              9   A.   Globalterroralert.com.
             10   Q~   Describe the website, please.
             11   A.   I set up the website in early 2004 to be an informa ion
             12   clearinghouse to international terrorism.        I felt that   here
             13   was a major lack of original material out there from te rorist
             14   groups, video audio recordings, translations of terror! t
             15   communication, the kind of material that is very compel ing.
             16   And that is in short supply.     And I felt that there nee ed to
             17   be somewhere on the internet to help disseminate this k'nd of
             18   information to the public at large, to policymakers, to law
             19   enforcement, to che same audience that I produced my ot er
             20   material for.
             21   Q.   And your website focuses on original sources?
             22   A.   Yeah, it primarily publishes original audio and
             23   recordings from terrorist groups.
             24   Q.   And does your present work focus on any particular
             25   terrorist organization?
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                                                                                 KOHLMANN002389
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                                      8411
                                                                                                       "




                                                                                    87
                  5b90par2                   Kohlmann - direct

              1   A.   Yeah.   Again, I mean I focused on a wide variety of Arab

              2   Afghan groups, but virtually all of them are either al Qaeda al

              3   Qaeda affiliates.

              4   Q.   Do you do any consulting work for any media organizations?

              5   A.   Yeah.   I work as on-air terrorism analyst for NBC MSNBC.
              6   Q.   What do you do in that capacity?

              7   A.   I go on television, talk about ongoing terrorism issues.     I

              8   discuss what is going on in the news.    I reflect upon past

              9   history, pretty much the same analysis and distillation that

             10   goes into the products that I -- other products I put out, such

             11   as memorandums and material on my website.

             12   Q.   Approximately how long have you been on-air consultant for

             13   NBC and MSNBC.

             14   A.   I have been on television since about 2003, but I have been

             15   employed by NBC MSNBC since October 2004.

             16   Q.   During the course of your career, have you written any
             17   books on terrorism-related subjects?
             18   A.   Yes, I have.

             19   Q.   What is the name of the book you have written?

             20   A.   I'm author of al Qaeda Jihad in Europe, the Afghan Bosnian

             21   network.

             22   Q.   Can you briefly described the thrust of that work for us?

             23   A.   Sure.   My book was meant to take off somewhere where my

             24   thesis had left off in analyzing the roots of the Arab Afghans

             25   and al Qaeda and Afghan assistance in 19805, and try to trace

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4t                                                                                    992

          1   matters.

         2                And from what I know of his CV and of what he

         3    wrote, he has no e~perience, background or training in
         4    military matters whatsoever.         H@ has never served in the

         5    military, he has never been a military expert or official.
         6    He has written on--
         7                THE COURT;      Well,   t have alrea.dy ruled that he is
         8    qualified to testify in this area.

         9                NOTE:     The side-bar discussion is concluded:

              whereupon the case continues before the jury as follows:
              BEFDRE THE JURY

                          MR.     LAU~:     Evan Kohlmann.

                          NOTE:     The witness is sworn.

                          EVAN F. KOHLMANN, called by counsel for the United




•             States, first being dUly sworn, testifies and states:
                    DIRECT EXAMINATION

              8Y MR. LAUFMAN:

                    Q.    Good morninq.
                    ~.    Good morning.

                    Q.    Would you please state your name and spell it.
                    A.    My name 1s Evan F. Kohlmann.        E-v-a-n, F.,
              K-o-h-l-m-a-n-n.

                    Q.    Mr. Kohlmann, where you do you reside?

                    A.    New York, New York.
                    Q.    What is your current occupation?

                                                                                        ,




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           recruiters who wa~ responsible for helping found
           Lashkar-e-Taiba.
                Q.   And have you previously been qualified as an eKpert
                                                                                            995


                                                                                                                    •
       4   in this court on the subject of Lashkar-e-Taiba and Islamic
       5   extremist orqanizat1ons?
       6        A.   Yes. I have.

       1             MR. LAUFMAN:     Okay.    Your Honor, I understand there
       8   is no challenge to Mr. Kohlmann's qualifications.                   We would
       9   move into evidence Government's Exhibit 108, which is his
     10    curriculum vitae.
      11             MR. MILLER:     Your Ronor, there is the issue that
     12    was raised previously, of course.
     13              THE COORT:     Nell, of course.        It is admitted.
      14             MR. LAOFMAN:     Thank you,     You~   Honor.        We proffer
      15

      16
      17
      18
           Mr. Kohlmann then as an e~pert on Islamic extremism,
           Lashkar-e-Taiba and the use of the Intecnet to track the
           activltles of Islamic terrorist organizations.
           BY MR. LAUFMAN:    (Continuing)
                                                                                                                    •
     19        Q.    Mr. Rohlmann, when did India obtain its
     20    independence from Great Britain?
     21         A.   In approximately 1949.
     22         Q.   What i~ the dominant religion in India?
     23         A.   The dominant religion is Hinduism.
     24         Q.   And what country to the west of India was

     25    established in 1947 at or around the time that rndia became



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             *   *   *   *   *    *
             UNITED STATES OF AMERICA,
                            Plaintiff
                                      UNITED STATES DISTRICT COURT


                                      *
                                         DISTRICT OF CONNECTICUT

                                           *   *   *   *     * Criminal Docket
                                                             *   No. 3:07CR57 (MRK)
                                                             *
        4              vs.                                   * February 14, 2008
             HASSAN ABUJlHAAD,                               * 10:47 o'clock a.m
        5                   Defendant                        *
             *   *   *   *   *    *   *    *   *   *   *     * New Haven, Connectiicut
        6

        7                                      DAUBERT HEARING

        8                        BEFORE THE HONORABLE MARK R. KRAVITZ
                                     UNITED STATES DISTRICT JUDGE
        9
             Appearances:
       10    For the Plaintiff:           STEPHEN BENJAMIN REYNOLDS, ESQ.
                                          Assistant U.S. Attorney
       11                                 915 Lafayette Boulevard
                                          Bridgeport, CT 06604
       12                                 WILLIAM J. NARDINI, ESQ.
                                          Assistant U.S. Attorney
       13                                 157 Church Street



•      14

       15

       16
                                          New Haven, CT 06510
                                          ALEXIS L. COLLINS, ESQ.
                                                                           i

                                                                           I

                                          U.S. Dept. Of Justice Counterterrorism Sect on
                                          950 Pennsylvania Avenue, NW Room 12649
                                          Washington, DC 20530

             For the Defendant:           DAN E. LABELLE, ESQ.
       17                                 Halloran & Sage
                                          315 Post Rd. West
       18                                 Westport, CT 06880
                                          ROBERT GERARD GOLGER, ESQ.
       19                                 Quatrella & Rizio
                                          One Post Rd., PO Box 320019
       20                                 Fairfield, CT 06432

       21
             Court Reporter:              Thea Finkelstein RMR, CRR
       22                                 141 Church Street
                                          New Haven, CT 06510
       23                                 TheaFinkelstein@aol.com

       24

       25    Proceedings recorded by mechanical stenography, transcript
             produced by computer .




•                                          ~       EXHIBIT

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                                                                            .Page 41




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        3
            Honor.
                        MS. COLLINS:



                        THE COURT:
                                         -- submit something else?



                                       I mean, it's a lengthy report.
                                                                       Yeis, your



                                                                          A lot of

        4   it is history and background.        But if there are particular

        5   opinions beyond that that you are going to elicit from him, I

        6   would just as soon get that out so I know what it is.

        7               MS. COLLINS:    Your Honor, I'm not sure that that's

        8   possible because the way the government plans to put on Mr.

        9   Kohlmann is to use him to explain what the jurors may see in a

       10   particular exhibit.

       11               THE COURT:     I see.   Which exhibits are we talking

       12    about?

       13               MS. COLLINS:     These would be exhibits from web pages



•      14

       15

       16
             from Azzam Publications, perhaps the videos.         Just to! put

             those in context so the jurors understand what they are and

            what it is they're looking at.

       17               THE COURT:     Okay.    I see.   So I guess if he! says

       18    that Azzam is the premier provider of information, I Isuppose

       19    that's an opinion in a sense but you are principally providing

       20   Mr. Kohlmann to provide sort of context and background about

       21    the various players in this movement?

       22               MS. COLLINS:     Yes, your Honor.     For example, just

       23    taking--

       24               THE COURT:     I guess I should also ask, is there

       25    anything in his report that you actually now decide you are




•                                                                      KOHLMANN000047
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     3
         not going to go into?

                   MS. COLLINS:
                                   Because we should know that, too.

                                     Well, I think, your Honor, a lot of

         the detail we may not go into.
                                                                                      •
     4              THE COURT:     Okay.

     5              MS. COLLINS:     You know,   for example, with one of the

     6   exhibits on our list is the "The Declaration of War:         Expel

     7   the Polytheists from the Arabian Peninsula," by Usama Bin

     8   Laden, we would ask him to explain who is Usama Bin Laden,

     9   just explain the context of that so the jurors understand what

    10   it is.   That's my understanding.

    11              May I have one moment?

    12              THE COURT:     Sure.

    13              MS. COLLINS:     Your Honor, the way we picture

    14

    15

    16
         structuring his testimony is using the web pages that we are

         admitting in the particular exhibits and grounding whatever he

         says about that, because I doubt that any juror has any idea
                                                                                      •
    17   about the nature of the Chechnian conflict.       So you put a

    18   document that talks about the fight in Chechnya before them

    19   and they won't understand what that is.

    20              THE COURT:     So he would explain what is going on in

    21   Chechnya, the role of the mujahideen.

    22              MS. COLLINS:     In very summary fashion,   just to

    23   provide a basic education for the jury.       The detail that's

    24   contained in the expert report, the purpose of that was,

    25   number one, to show that his body of knowledge about it and




                                                                 KOHLMANN000048
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            also to educate the defense, but we have no intentioti of going

             into each and every detail that's in here.

                         THE COURT:     Okay.   All right.   I guess since his

        4    focus is going to be,      I take it, on these materials,   ~he   focus

        5    of which I gather is principally the Arab-Afghan areals,

        6    Chechnya, Bosnia, Afghanistan, you know, other than a passing

        7    reference to 9/11,    I take it you do not intend to hav1e him

        8    talking about 9/11?

        9                MS. COLLINS:     I don't anticipate that, no.   I




       10                THE COURT:     I think we should stay away   fro~   that,   I
                                                                         I


       11    guess I would say, is a good guide.        All right, Mr. Nohlmann?

       12                THE WITNESS:     Of course, your Honor.

       13                THE COURT:     Mr. LaBelle .



•      14

       15

       16
             CROSS-EXAMINATION

             BY MR. LaBELLE:

             Q    Mr. Kohlmann, starting at the end of your testimony, you

       17    were asked whether the opinions expressed in the report that

       18    you issued for this case have been reviewed by your colleagues

       19    or other scholars.       Do you recall that question?

       20    A    Yes,   I   do.

       21    Q    And you indicated that the opinions had been reviewed?

       22    A    That's correct, they have been.

       23    Q    Has the actual report been reviewed?         Did you give this

       24    report to other scholars and ask them to take a look at it and

       25    get feedback?




•                                                                     KOHLMANN000049
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                         1                                                                                                              2             ~VAN f.   KOHLMANN                             I               'DB
                         :I
                                                        trHlTI!D B'tA"US DISTaIC'I' COURT
                                                                                                                                        3             DIRECT EXAMINATION Of        ~lR. KOHLMJN BY MR.               SOlI
                         :I                                                  Q' 'al"
                                                       FUR 'TJII!I DUlTn"1"~l'      i1Il:.IUUST                                         4             FITZPATRICK                                    I

                                                                                                                                        5             CROSS EXAMINATION OF MR. KOHLMANN III MR.                      50B9
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                                                                                                                                        7             CROSS-EXAMINATION OF EVAN KOHLMAt'lN BY MIl. HUFF              5918
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                           DIUTNI DUut..                                                                                                8             CROSS-EXAMINATION OF EVAN KOHLMAtfN BY MR. ARCHIE 5955
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                              &11ADl Dun. ~                                                                                             9             CROSS-EXAMINATION OF EVAN KOHLMANN BY MR. RILEY                ,972
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                                                     ASSISTANT VUrrBP ITAT2$ A"T.fQRNBYS
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                       23                           I\ttorney for oc=t:endilrlt                                                 l!2
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                                     MICHAEL N. HUFF, ESQUIRE
                                                                                                                                    1                                    (Opon Cllurl)
                                     Attorney for Defendant Dntan Duka
                2                                                                                                                   2                       llIE OEPUTY COURT CLERK: All rl.e.
                                    TROY A. ARCHIE, ESQUIRE                                                                         3                       llIE COURT: Are we ready? GDO~ morning.
                3                    Attomey rmr Derendant Eljvlr Dutil                                                             4                       MR. HAMMER: Yes, sir.
                                                                                                                    D9:211AM        5                       MR. FITZPATRICK: Yes.
                4                    MICHAEL E. RILEY, ESQUII\E
                                    Attorney for Derenda~t Shain Duka
                                                                                                                                    6                       THE COURT: Let's get ths jury.
                5                                                                                                                   7                           (Brier pause)
                                     RICHARD SPARACO, ESQUIRE                                                                       8                      THE OEPUTY COURT CLERK: All rli;e.
                6                   Attorney fer Defendant Sertlar Tatar                                                            9                           (Jury present)
                                                                                                                    D!l:JDAM   10                          TH E COURT: Hove a seat, ladles ~nd genllemon. Next
                7
                B                                                                                                              11            Witness, please.
                9                                                                                                              12                          MR. FITZ~ATRlCK: Your Honor, the United States rail!
               10                                                                                                              13            E~.n Kohlmann.
               11
                                                                                                                               14                          THE COURT: Vou want to corne up here? Right u~ here
               12
               13
                                                                                                                    09:J2AIl   15            In front Df the bench. Right up hero. The dark will

               14                                                                                                              11            administer iIlI oath to you.
              15
                                                          EXHIBIT                                                              17                          IHE WITNESS: Thank vmu, Vmur Honmr. Evan F.
              18                                                                                                               18           Kohlmann. K-a-h-I-m-a-n-n.
              17
                                                                                                                               19                          THI: COURT: Mr. Kohlmann, came over and have 0 5 ... t
              18
              19                                                                                                   • ':J2AIl   20           please•
              20                                                                                                               21                          THE WITNESS: Thank you, Your Honor.
              21                                                                                                               22                          THE COURT: lappredate ft If you would try to speak
              22                                                                                                               23           Inlo that mlcraphone so everyone can hear w~at you nave to
              23
              24
                                                                                                                               24           !Iilll·
              25                                                                                                   O!:3V,M     25                         THE WITNESS: Thank vou.
                                            Un/tl!d Slates DM"ct CQurt                                                                                             Unlh!d States District Court
                                                    Camden, New Jersey                                                                                                    Camden. New J.",ay
              sheets                                                                                  Page 5617 to 5B20 of 6025                                                                          12/10/200B 07:48:28 AM

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                                                                                  5/l29                                                                                          5831

           1               MR. FITZPATR[CK: Your Honor, at this time I would                              1 A. Again, you hllv.. II combinatIon of both the vIdeos
           2     offer Mr. Kohlmann to tile Court as an e~pert In tile field of                           2 themselves and also evldenr;e or links to the videos, th.. same,


(
       4
       5
       6
       7
       8
           3     t5laml~ terrorism and the use of digital media to promote

                 terrorlsm.
                           THE COURT: Counsel have any questions?
                           MR. OPPARONE: No, your Honor.
                           THE COURT: Any obJections?
                           MR. apPARONE: No, your Honor.
                                                                                           ll'HOAM
                                                                                                          3 billilally -In salTl.. Cllses the very same vIdeos. You have a
                                                                                                          4 I:ollectlon again or propaganda style vIdeos frem al Qaeda
                                                                                                          5 centralle;lldershlp In Afghllnl~n extolling the virtues of
                                                                                                          6
                                                                                                          7
                                                                                                          8
                                                                                                              ,ehad, extolling the virtues at the mUJahldeen, explaining
                                                                                                               that It Is one's obligatory duty to jllll1 In this 5trUgllle,
                                                                                                              And then as well as that yOIl have the shorter cllps frOIll
                                                                                                                                                                                              •
       9                   THE COURT: All right, you may 50 proceed to his                                9   groups primarily In Iraq where you have Impnlvlsed explosive
OHM'" 10         findings and his opinIons.                                                094S.1oI      10   devIce attacks, you have suicide bombing attacks, sniping
           11    6V MR.. FITZPATRICK;                                                                    11   attacks. Mast or the time the targets here are elthllr U. S.
           12    Q.   Mr. Kohlm..nn, In preparing for your testimony today did                           12   senllc;e men or Iraqi securIty forces.
           13    you review a mirror hard drIve re~overed from defendant                                 13   Q.    Mr. Kohlmann, what If any conclusion were you able to
           14    Mohamed Shnewer's ~omlluter1                                                            14   draw regarding the use of these materials In a /lotentlal
"~V\M 15         A.   Yes, 1 to.                                                           OQ4SAM        15   domestic terrorist act1
       16        Q.   And preparation for vour testimony today did you also                              16   A.    Well, It's belln   mv experience that these videos,
       17        review a mirrored liard drive recovered [rom defendant E~vl;                            17   particularly the videos that were selected on these computers,
       18        Duka's desktop ~()mputer?                                                               18   that I found on thoe computers, In my opinIon are the kind of
       19        A.   Yes, J did.                                                                        19   vIdeos that would be usei'ul to en Ind[vldual or Individuals
OUlA'" 20        Q.   Old yeu also review ~ertaln transcripts 111 whIch Videos             1l1l:4WI 20        seekIng to either prepare or Cllrry alit a home-grown act of
       21        from those ~omputer5 well! dls~US5ed1                                                   21   terrorism. I say th[s not just because this Is my opinion but
       22        A.   That·s correct, yes.                                                               22   beCDUSB In several cases the people Who hilv'l c;reilted lI1es..
           23    Q.   Having revll!wed thl! Shnewer comlluter, can you just gIve                         23   vIdeos have speclflcallV created them with the steted Intent
           24    the Jury a general description of the tYpes of materials that                           24   that we want people to watch this and we want to Incite people
",;qJ.'"   25    you Found?                                                                IlQ:411A.\l   25   Into I:arrylng out their own mIssIons liS a result or watching
                                   Un/led Slales Dlslrial Court                                                                Uniled States Dlstricl Court
                                          Camden, New Jersey                                                                           Camden. New Jersey




                                                                                                                                                                                              •
                                                                                  6830                                                                                          6832
            1    A.   Yeah. I would describe It liS a falr[y large compendium                             1   thill, study this and then le;llrn how to do thlll yourself.
            2    end II very wide compendium of Jllhadl prDp;llgandil Vldll!Os, of                        2   Q.    Lars just take a qUick second and just define a few
            3    terrorist propaganda videos put out by a varIety of different                            3   terms thet we've heard and a few names that we've haend
            4    orgilnlZillfons. you have VIdeos, everything from al Qaeda's                             4   rgutlnalv. FIrst of all, just for the record, really what Is
1K14JAM:    5    central commimd In Afghilnlstiln to shofter clips put out by al          1li.<IlIAM      5   al Qaeda7
            6    Q.... dil In Iraq, [n Iraqllnsurg..nt groups of actual ;IIrm..d                          6   A.    AI Qileda Is an Al1lblc word whIch means the base. It's;lln
            7    confrontations with U. S. military forces In Iraq and                                    7   organization that was foundetS In September of 19B8 In
            8    elseWhere. It rallges everywhere from. propaganda videos                                 8   Mghanlstan by a Saudi exile Dsama Bin laden alone with
            9    extolling tho vlrtllo. of al Qaeda, of jBhad, of the mujahldeen                          9   primarily a group of Egyptians and other Muslim exiles from
           10    the holy Wilrrlors, to again actual militilry operiltlons                1l9;4SA!I      10   different pam of the Middle ~ast. The purpolle of
           11    targeting and killing U. S. senllce men.                                                11   efliIbflshlng this organization WIIS to quote-unquote decapltilte
           12    Q.    And how would you ch;llracterlze the volume of those                              12   the regimes of the MIddle East whIch al Qaeda lind Its
           13    materials?                                                                              13   leadership viewed as being apostate, as being too Dverly
           14    A.   It's a faIrly substantial Volume. 1 actually remarked                              14   western oriented. Bill, al Qileds's ph f1osophy Is that YOIl can
           15    that 1-- If you take a very partIcular perIod of time In                 Qll;4r.!1      15   decapitate tile apostate regimes of the Middle East and remove
           16    which these videos were Issued, this Is ;II large cross-section                         16   of thll statll of bl1lel wlthgut first getting rId of their
           17    of the total number af videos that wall reillased durIng this                           11   primary foreign benefar;tDr. And In al Qeeda's view, the
           18    time. In fact, you could describe the colllletlon reallv on                             18   primary foreIgn benefar;tDr of the apostete reglmBIJ In tblil
           19    both these ccmputers 115 being some or the classIcs that have                           19   Middle East as weD as Israelis the Unlbld States. So until
OU~.M 20         been put out by these organlntfons In this time, 110 me or               09;~7M1        20   you get rid or the United States, until you evict the U.S.
        21       theIr best vIdeos, 50me of theIr most hnpaetful vIdeos, both                            21   from !hll MUlilim world you can't Dch[eve Bny forward progrllSs
        22       mllltilry opClratlon. and al.o propaganda.                                         22        or any of their other goals. So that's their primary missIon
        23       Q.   And with respect to the Eljvlr Duka computer, the desk                        23        right now.
        24       tep computer, can you des~rlbe the types of materials that you                     24        Q.   And Osama Illn Laden just brleny, who Is he, what 15 hI.!;
og-44AM 25       Viewed th ere?                                                           l!!hf7Al1 25




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                                                                                                              role within el Qaeda?
                                   Ullited Stalll$ DI.strlcl Coult                                                            Unlled Siales District Coult
                                          Camden, New Jersey                                                                          Camden. New Jersey
.2/1012008 0?:48;28 AM                                                       Page 5829 to 5632 of 5025                                                                       4 of 9S sheets


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                  941Wkasl
              1   UNITED STATES DISTRICT COURT
              1   SOUTHERN DISTRICT OF NEW YORK
              2   ------------------------------x
              2
              3   UNITED STATES OF AMERICA,
              3
              4              v.                                 04 CR 356 (JFK
              4
              5   OUSSAMA ABDULLAH KASSIR,
              5   a/k/a "Abu Abdullah,"
              6   a/k/a "Abu Khadija,"
              7                  Defendant.
              7
              8   ------------------------------x
              8
              9                                                 New York, N.Y.
              9                                                 April 21, 2009
             10                                                 10:10 a.m.
             10
             11
             11   Before:
             12
             13                          HON. JOHN F. KEENAN,
             14
             14                                                 District Judge
             15
             15




•
             16                               APPEARANCES
             16
             17   LEV L. DASSIN
             17        Acting United States Attorney for
             18        the Southern District of New York
             18   MICHAEL FARBIARZ
             19   ERIC BRUCE
             19        Assistant United States Attorneys
             20
             20    DAY PITNEY,   LLP
             21         Attorneys for Defendant
             21    EDGARDO RAMOS
             22         -and-
             22    MARK DeMARCO
             23
             24   ALSO PRESENT:
             25   SIMA NABULSI, Interpreter (Arabic)
             25   FOUAD ELSHIEKH, Interpreter (Arabic)
                                 SOUTHERN DISTRICT REPORTERS, P.C.
                                           (212) 805-0300




                                                  $      EXHIBIT

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                                                                                704
                  94L3KAS4                  Kohlmann - direct
              1   Q. When did you start doing that, roughly?
              2   A. Approximately 1997.
              3   Q. Have you ever been admitted as an expert to testif about
              4   your investigation of terrorist Web sites?
              5   A.  Yes. Very frequently so, yes.
              6            MR. BRUCE: Your Honor, at this point the gov rnment
              7   will tender Mr. Kohlmann as an expert witness in the f~llowing
              8   subject matters: The history, structure and leadershi of al
              9   Qaeda; recruiting and training methods used by al Qaed ; al
             10   Qaeda trade craft and operational methodology; the use of the
             11   Internet by al Qaeda; and certain computer forensic te hniques.
             12            THE COURT:   I'll permit Mr. Kohlmann to give is
             13   opinion in those areas.
             14            MR. BRUCE: Thank you, your Honor.
             15   Q. Mr. Kohlmann, let's start very basic. What is al aeda?
             16   A. Al Qaeda is an Arabic word that means the base or he solid
             17   foundation.  It is a military or a paramilitary organi ation
             18   which was founded in approximately September of 1988 b a group
             19   of Islamic activists along the Afghan Pakistani border
             20   Q.  In your opinion, what is the single most important
             21   historical event that eventually led to the creation Of  al
             22   Qaeda?                                                 I

             23   A. Well, the single most important or the single most critical
             24   historical event was almost certainly the December of 979
             25   invasion of Afghanistan by the Army of the former Sovi t Union.
                                  SOUTHERN DISTRICT REPORTERS, P.C.
                                             (212) 805-0300




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                   ~....iU:: ~ ~~l t,. .....,.J,:lJ '""'~ ':":;-j~ J~I P ...~_~ ~~~~
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                                                          oJ,..)1 ~);:-..... ,;s J.Jl ...-L.oo


          i{j"     .;JU.:r ~I -4-" ..;..;!S ~ ~ ~.l.o ..h....J ..... iJu:JI .;r- rs ~ .)1 ,JY."'''! .kJ\ l.A~ ~~
          J.iL-: . :...i\s' ......LiI1 ~.l.o .,) ~ i)~ ..;s. .u~\ 4 .lA; Ij.ul (,..u ';81 f."".11 ~ .j~1 t~'jl
          ':;1u.Jh;r ,,;..ol~' ~tS; ,~,-!J .:.,...." 'jJ oj-"?~ .i..,.:.,Io....1..:.lL..,.oWIJ ..:.oI..lJ.,lIJ 0:....Al\ J,ki J.u:Jl ;'..::oll




•         J r ~ i~ r-S' U;)o.:..;1S' J.iJ ,)1.;,11 ~Jlj';'~ Y.!? 'iJ IJ~ J'J- y ~.L.l\ J! ~1 ~.:f...;; ~
                                                                                                                .1#'" d'-?r' '<f-.J'

          lSr-1 J..;o.;J 'i~.J.a...:l ~\.Lll ~)\J '"'i.t~1 .:..J1;.s- <'sJ-" ~ 'iJ Jb.Wu ,,;..o'j..pIYJ i..L:a! ......;.

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          lS.iJ .:r-~, .r:'J"'" ~ iJl tl.h:..-\ ~l y:.\..l.1I; ... v,-J\ ...... L;.!l ... :SJ\.fJ1 J-b.,.Illl.fi ... ~I L.:-Ij .LiI

           r-"".,Js. )...;1oWl J..-.J' .,,;\f , 0JJWo J.r- rLoI ~» ~~ js rUI .iJl....; J-" ...~ J..........." ,~~I
           yl ,;,\5 .Lil 'f 1979/1/30 t:'..J~ J.=L'J' ~.... ,jS- ~9 ..l.a.:.! ",.ill .....,.".-1, ~ ~I,...:r (iJ~ .....i--J!.
                                                                                                     .~I~' ....,-uJ ~~'J iUI....l\
           ~I u.J"'~.Jt j~ J-"dl ,,):'"I..-.! ~I 4hLJl ~ .I.AoJ j-.IJ ~., ~ t""1:!\ ~l .r ~ ..ry

           ~ J""'J ~1 ;,1,.rJI j\..r':""; J-1l b-\,.-o>...--~ ,;,I..;s- .)\.;&.I..u, 'r1y 16 .i.o..LA)IJo!"; J-< ~J
                                            .r-J ~ 4LJ ~~\ ..r:J1 J ~ Ij.ul, ~"J,l i-4\$. ~ j ~ j! ,I.-Jl
           ..; ~":;"';IS"OoJJ,;}JJ \;.u Jl-J \,;r~ r"l Jll ,~~ ~J.;;if.,J ~ Lfj!           (Js- fl) .....1J~J
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           l.i.aJ!~~ l~l ~l ~ rJ l.:i) ~ J tol.!. "1 ~\Sj .....1...Ao'- ol.!: ulS" h ~ Js }y'-ulS"4il Js- rl J~J
                                       .,~II.a       J! ~Wl -"~ 4--4i J"'J [.bwl l J! ~ J l,.o,;u... 1.0 Ift5 '::IS"J .';,}ll
           ~I ..;..t ) JLt ~\S' ~ ",I .)! ~~J                       '\fJl ~\..,....o r!J I;! .11 j! iy-u11""'\') .::15 ""l..;s. rl ~J
           ~J jW:lI ~ ~.}-:\ ~ 'J \..La..,t"i '" J J~ "IS" jlildl r1.o1...-1':-1 ;i-\.ll~ ,;,IS'I.oJ.o.C.J (i"J,...AJIJ                                                    ~             EXHIBIT
           ul.;rliJ r>'WJI.;fl1.S' ...,...u,.,Jl iJ!..l,;.I-.:.,5.ill ~I';"~ 1.01 '~J JII .Jfj; ~l ~ t'Wll.o ... .,ill ~

           I.,iJJ\ .:rfl JI..iJ ..r.~.jll$jh ~ ~rl 4i1 iJfJ.u .;r"\~!  Js ~ ..:,..ojJ US'" ...,..~\ ...-..u .:.,...yol.!.,;,1S' ~                                          ~ Wh\ooQon' Js
           ~ iJlS" ... l.js- ri J.ti'J ,...,..Lo:uJI \~ ,:,5.-:... JJ-"J ~y. J-.-. -*1 ~I J.iJ jT"~\ . j ~ J                                                               i Ilbho SC
•          ~ ~~ I; Jr uta.. .sr) \;1 ~'.Sj .:.,../~\ 1.1$-\-o ..; ~\~ "/J """\,)~\J J'}V:-~IJ .;1-.1..11 .} ..r'JJ,) J .!As.\.,.J\




        http://www.alqassam.ps/arabic/sohdaa5.php?snb_action=sera&id=3 78
                                                                                                 .i.1$-\......J\J uy.\1 ..l.:!: .IS .Lo.! ulS" J!)kh .)s




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      ,+' iJL.. ~ J."...,         4.;,0
                                                            .u.......JI.oi"\....cJ'js ..A! ......
      "'l-".lt ~lS d ~ rl J.,tliJ ~,..} ~! i";....oJI ..J-a-- 'oJ 0l5j F-lJ'J i~1 I""'\~ ~\ ~ ~ iJl5
      JJ i~ ....-.iL. J"y ~ l!y .lfJl ~ J~"J\~.Y" c: ";"lp.-l,.J\ JJ .;.,.•..411..;...w1 .;..I,jJI i~
                                                                      ..I''-t 'I, ..:.1J; r~.:,Ji ..:.o,..Jl .J ~ ,;r •.u-I ~
                                        iA1d \f'ts' .? ~I_,••h" .....w ~ ':'1Sj ... r\oil' 'Y- J-i J5'" j.i i)~"J\ ~ vlSj
                                                                                                                                                                  •
      J-ls 4.i1 J."..., 'I rl ..... \l:J1j ~, 1.)1 \flLJ 4.ljw 4.1 J.il ~ ol.J..l.o: ~~.} ~~ .'~I j.i ....... 1.:1
                                                                                                                 .,;..< ,., .....I.1luJ ,..1
                .~l       u-J' u.,)sl~ ~.:r..;s. r JJ, cit,J ~.:r ~1 J ;"",.w, ~jP vWJ ~ vI i J..... J.ti',
      L..f '.'''\=,P· ~ • ~ ":i! ~1J. ,i W-L.. J! ~ J,.uJ' ..!..All~! l.i,i» ~WJ lip ':'IS'" .js ,J~ 'j,s) ~                             J,..,
                                                                                                                             "~J~~.J!

      J) \# 4~ .,;...;lj.a ol;,\W .'~"J ..,Jl~' ~\J.;s ~ .:....... l:oJlfJl,.:Jl:i .wJIui ci.,.i.:oul

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      .JlS.ill 2004/1128 cl,."J'~\ fJ'! c\""'&.}".W.:Jl.lSj c\.llw,,) ~J ~ ...L..i!,jl WI, J\;,c.I4i1 js rl Jji>
      ~I r:J: .,i, (.u.Jl .r ~ ) ~ ,:,l IT-" ~ ...1~) ci,U J,.,iiJ .;...,.,l\ .; ';l.ld! JJ'~J W\,.,oI

      .......~ ..sJ.Jh JrJ' J!'Is"; ~1 J i')l...,illls~ UJ ~\ JJ'.:i ~ Ip.i ~I)I u.LJI J.1U,:....1
                        ,\..l.o: I.:!JIs- vlS'l.>'" .:J,,>:..:Jl ~~ J~ ~f ~ ~.)s,)I",..:.J, 4JJIs ~ js ~ J)"o"lI .;''''"J

      ,jolt Y'..,..uI' 4..:.t:.l.o ~   o-li.r:--i ",.uII.P~"1I.Jf..:,...o....... ~ c,.r.&l'J ~~..;.,~ ~I iJL. J,....,
                                     \.IIl:.J wu. ~I iJ~.h Jli ~'j c}J1J ~'J ,jT J J.luJ "'J~I"'~ ~l .~

      U1aoi oj.iJl r~1 jA:.-J ~~ ~ WI,) ~1.Sj ~                              r3 ~ ~I i~ ~J!. .:>I .....u;- JSj ..,;1 ....""'1, J"tAij
                                                                                                                       .ft"J' o,l, .Ill f' J

      :r' ~)l"J i-4ls, .....    ,...J' ~..} i.l..a~l, '.L-L,Ah .;!j.;1...h ~..,.. iJI»: ll,;1&-.:>1 ~ ~l ~I..,. ~)~
      ,)lj ..;s. u~ Jj-i; iJ~ ,;,i .r-S- ~ r..ull.o ~ ..;s. r~.:>1 ~.,:.! ~ ~ .u.-I .:>l <oj! Ifll.k~\ <s,)t.p.JI ~.,l\:JI

      ~ ..:.olr~...ll ~ J~~l..:.oll.a.L. .....,r#~ ."soUl ')Lu:,)4o:" J..a.,..Jl .ulo,..JI tr lJ-!1..Hi' l.......,u, Ijro WWI

      ~ -~.:.# JJj rJ.llI                 vl i~ ~L#I.;r ",Lat ~1.5j (2002) u'-.> ~~..}.\.foJI ~.; .J!"U'\.t:o.ool1
      r: ~ J..,N vi r"Js"j1 r,,1,,~,.:r- i)l.-. )-ou,..:JJ.i5 JIj<oj, l,iWI.)l ~:r" d'pi)!,)~..l.a.!1~ Jl..ouJ 1
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        .~ ~~ ~I.la! ~ I;'W, ~1:>..i...P ..:.o~'J ~""'I ~ IjW J.L-.:;, r~"jl i.p.-I, J! ..:r..L.,.JI 4,jly!

                                .':>W"jl 1;W! .... ;'1:...J.i,.. j).:r J'-'! iJlSj.w. J1) Js,;s. ~l;.llI ~j

                          .~ I,)J o..L. 4-1'" r\i oIo,il "':"..........1 <oj, ij- J .Jpjllj'" i~ '.rP ~u oIo,il ul J.,a;,

                     .:,..J:, ..,..l!1.i, ij'- J...,5.Jj":"";1S.;I' »~I ulr-,.:r-b-.l.t ~;l..;s. J:aL ~ ..IS rJJ r'l;.llI



      J5" ~ 'rU1 ..:.o~ J.o:o-- ';! ~"'..f-~" ~l .j" '-4.u:- !,;.y ib...!, ...,....lJlI J ij'- e"u, ~ .,;..;w.l
      tills.:r- U,)l.Jl   Jor- J"fi iJI.a>:-..;s.~! ~'" J~\..:JJ.LS' ,4..f.J1 ~j or.,!l~, ~I,)~ ~
      r.LI~ t.o,lW' J,L- ~y,. 4-U /"T J.I..a.:.lI.o& ~'$"-'.Jj ~ 4S'f J! 4'~" <s,)lf.>:Jl 4Ao~ 4i J;N
      ~\:J' ~':iI...-'\5~ a...!,J' ~ ~ ..:S~I, i.LI.,Jl                                 r'__ih ~I ~l.J' r".J..:...iUu1 W"t.-w i~;'J
      ~'Ii.iJ' ,))WI '.i+. y..I IJ,)\,);I I"1'1~,J:. ~~ r"L-lS.iJ, La ~)~ ll.'ls,;r ~ ~l <oj"                                       ~ (Sri

      (19)~; w~.; JJ" r"L..A' ~~ j~j~' 4,j~, I.tL..oah 'Jl..u;- Jplj j..i.aJI i~l ~j
                                                     .o~ ~ ~ ~, uJJu, ;j~1 ...,5.Jr ~ ",.ill ~I ~                                  J \..l.tJ.:>Wj
      "'l-'.) ,;,l.S:,..} ... ..t..cJ'" ..:-J, 4"....~1 .t.J-J' o..L. vI '-'~:, r':i l I..L. ~I.:r l,w ~\.f..AI' ~,u.,-JI .;fJ,
      ..,,"".; ~ ""', -"" »,;-.; 01S" on\.> 0;"""'" y ..... -..J_ 0,.,.,''; 0'-)' '"" ~J oy..>' cr
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      .j U-o\; i~ OF ~i .i..-ol....A,h ........Lih 4b" ..:..,.l:-lko....l, uJJu J;-a ..Ii J,....."s~ (l_ill ...... l:S" ~~,) Iool,i,




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      ..l.t.l..h ~\...Il'i, i",..J1 .,;.o~, .ll,   ....A.A:J" ,WI ....,.J)~ 1.0 j.! ~.JJ1..:i Jr    .j" 4.';"   ;s. IN..rJI ..:.o~"sl t:.l J:ov
                                                                                                                           ·O~i.:.tlf...a!I.:r




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•         ~ ~.iJ1 ..:,..LAh rL-llI lJ"!' r ~}~ ~ ':>4 ~1 ~l 4s ,)~\
          ""I.:! rL..iH ;-1JI, rL_JIl r\l:;\
          jAJ..:.t..rfl'..,J' »-"J ~'J L,P:.Jl~' YJ ul ..~~, ~ c=S~?";-; ~ U:!i i...,,;!..l.a.!
                                                                                                     "".iJ' .l.,fW, rU r WI :;,"'" J
                                                 .:r .l.:a! ..,.J ..,;~ ~JJU ,./,Jo/;' Jp .:J.J..f:--1 ~llJl "..u1', r.u~ ~! ~

          J,",," f."J,sJ ';".J~I ,;-)li f.'~ L-U:i' ~ ,U; .vl ...U:---l1 .Ia...,.;J1 ,; J."..eo '-'~ ~ rWI i)U ~

                                                                                                                            .i.iJ~ ji.,.J

          ""';\5.J* #'-' ~ ~.rJ1 ~.jS' #'J ..... WWl ;loJl i~ ~ is? r-'Il ~~ j...4.; ~l r.1".J
                                         . i? J ~~.r ~~ J1'u t..lS"'1 \.t ~11J.a,J ~"l ~ 4S"rJ 4.i"J,t...j1 ~J rUt

          ..,J! .),~l j,~l..:.:)ul ~ .i"a;:Il, ~\ ~ ~;...L..Il'p rl.....1H..:,,~ ..;.I...flO ji~' ~\.i.:.o
                        11 ~~ rls,:.... .;5"1 J.,! wl.,Uo Yo 1Ji" .,.I-ill ~l ...L.)l y.u, IJ":J,s .;s- .Li\il\ ~1 .:,.,~
          ,)1,;,,,.1.....

                                                                       .~\ ,ljj U,a.il ,;;a ~ ;;"j.s.      .;s J....')l; .:>1 J! ~ l.u.J
          IJ-ll ,IJ' ~ ~.u".....J,....J ~~,y c~, ~J f.1Jil ~~ ~ Uj)~ IJ!l.aJ                            '1' ~I..:.o~~, oWJ
          4..l.o r,} .?~J ~'jJ ;-'!'-'" ~ t~ iJ.?:'o"J ~~J 30.:r ?1.,:j1S'~ ~'cl' ~W\ JJ o.:.~ ~.b.J,
                                         ~\ "';,a.... .,;,.! ..:.o"i~1 U-         .:r--, J?l J! tJi' i.u.J ~\ i~J ~ ~
          ":".r#~,J ...W1~ ~ I.. l.i..Ao J \.f.Ail,. ~,.;J ~\ 4.1.~1 J""'"~.)! Jl.i.;! 4':j ~ -4..LJ\ tt.,;.:\ ...~
          .i.,ioJ;r I.p;.J i.:'J':'+-Al1 ':"'l.".w ~l u~ ..>J...Q; ~m ,l,;,'iJ iJ~ ..;r- ,",,)~"il Jp 4.,l~1 ..:.o'JAI1
                                                                                                  J ..:.0'+':-"," ..:.Jr:J ~~
          ~':'l.u-W'.:r . .:...,j\,),r-i!u,.:r up::..J1 J.rJ''':''~ J')6-':J\";"'Ji.:>1 "J! ulS:..Jl

                                                                       .41~ Js J.rJI r-A,)J ~.liJ ~\Jj .LA.! ( Js) '-'..bo(
                                                                    -4-=..1\ ~J
                                                               .......}I..,-}I4\., _
                            .JiuJ1 ~\.J.J...lJ (~y   ..; ~ ~J ~ ...r.r=-',J ~.i""J ~.l.ll. ol.iI\ ~J..-i ..,lo,Lli I
                                   .J~"J r ~1 ow.~.. ~~!~.u ~ rjl ,'ol-... y,l" )1.o.>:'1 ........y. r            Js' ~l ~I \.ii



•                                                                ~'J J'LP), J>.--
                                                                 ~l 4-.i uj~l ..;;1......)

                                                               ~Pl~.r-.a:Jj )1.v,J1 t l )
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                                                                                                                English

                                                                                                                              Statistics   and



                                                                     [News] The Occupation imposes a curfew on two villages south of Nablus
                                                          ~ The Occupation detains a news crew norlh of [text cut off]
                                                                                            If .1'~alO I .\1 Ll\hltln   t
                                          I,


                                                      •       Ali 10unir Ja'ara
                                                      •       AI·Qassam Fighter
                                                      •       01-29-2004

                                                      Biogr.lphy of the Martyr        Martyr Statement Martyr Photos                  Martyr Video
                                                                                   AI-Qassam Martyr: Ali Moumr Ja'am
                                                                                  Retaliator against AI-Zaytoun Massacre
           IThc Oasis of Martyrs]
                                                      AI-Qassam - Special:




•
           Search the Oasis of Martyrs                When we were Iudy to reach Omar Bin AI·Khattab Mosque, in downtown Bethlehem, the
           Name of Martyr                             Cradle of Christ was groaning under the burden of the Zionist invasion. On the day
           Search                                     following Ali Ja'ara's operation in Jerusalem, the hoards of new Tartar were surrounding
                                                      Palestinian villages, cities and camps with more than thirty tanks. and tens of military units
                                                      were stationed at its entrance.
           Martyrs' Memory
                                                      We were unable to pass into the city through Asyoun Road, or even through Wadi AJ·Nar
           The Kind Hearted and Noble Mannered
                                                      Road. Our way through Tal/ou' Village east of Hebron was far with double transportation.
                                                      With only road pitfalls and constant terror as companions, we went up and down
                                                      mountains, until we felt the land sway under our feet moving from one city to another and
                                •    Hilrnmam Taha
                                                      from one roadblock to anOlher.
                                     AI-Sha'cr
                                                                                         His birth and early years
                                •    Al-Qassam        He surprised everyone... this quiet hero ... the kind young man ... and the patient preacher
                                     fighter
                                                      was able to break the security barracks of the Zionists and penetrate their strongholds. He
                                •    01-27-2007       carried the message of AI-Qassmn on his body and placed it in front of Sharon's home. He
                                                      was like swift lightening (Ali Mounir Youssef 1a'ara), born in Al·Urub Camp, 9 Ion away
                                                      from Hebron on 1/30/1979. He was a suffering brother, carrying the Palestinian burden.
           Mailing List                               He studied until the ninth grade. and then went to work. Two years after the advent of the
                                                      Palcstinian Authority he joined the Palestinian Police Force, where he had been working
           Subscription                               for the last 6 years. He used to go to work in the morning at the Palestinian Police Force,
                                                      and return at night to his home at Aida Refugee Camp, on the northern part of Bethlehem
                                                      City.
                                                      His molhcr (Umm Ali) said that she had attempted two engagements for him, but there was
                                                      no luck. He cared for our feelings and walked with us, but his spirit was soaring at another
                                                      place.
                                                                                          The Ascetic Preacher
                                                      Umm Ali says that he didn't keep anything to himself even if he liked it. and wouldn't keep
                                                      a penny in his pocket if he knew that anyone needed it. He often gave his money to the
                                                      needy when he needed it most.
                                                      Umm Ali adds that he constantly preached the word of God, and if he called anyone on the
       ~       EXHIBIT                                phone he "auld ask, "How an: prayers?", and when he saw me sitting in front of the

       i~Q~\(\'\~l\(\ \q
                                                      television he would tell me, "Mother, this is not good for you. Keep your eyes on lhe
                                                      television and your heart with God ... why nOl remember God and praise him?" As for the




•      i 12.\~ \ID 5(                                 martyr's ~istcrs, lhey wore the veil like pigeons and said that Ali called them to wear the
                                                      veil whenever he saw anyone of them, and they remember that he bought the religious
                                                      COSlumc for them and told them thaI life is not a substitute for the afterlife. They swore to
                                                      follow his advice and adhere to this veil. Umrn Ali sa s thal he reached to lhem and ave



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                                             them lessons in religion, manners, and mannerisms, and did not hesitate 10 help olhers. If he
                                             saw a disabled person or someone needy slanding at the side of the road, he would help
                                             him.
                                                                             Always prayed al the mosque
                                             Ali was beloved by all, and he conslantly prayed and praised God. He only prayed at the
                                             mosque, and Umm Ali said rnat he went to pray at times of Zionist bombing. and during
                                             confrontations with the occupation soldiers. I used to try 10 stop him fearing for his life, but
                                             he would say, I will go to pray and will not be slopped. If I'm destined to die. death will not
                                             come early. nor will it be delayed.
                                             He used to pray "lstikhara" [asking guidance from God] before anything he wanted to do.
                                             and his heart was attached to mosques as if they were a part of him. His aunt Sara said that
                                             she saw him one week before his martyrdom at his grandmother's funeral where he
                                             conveyed his condolences and asked her whether she had joined the university or not. She
                                             says he lived his last minutes in front of her praying.
                                             Sara says that every person has his own personal way of expressing his love for his country.
                                             and he expressed his love in the way he liked.
                                             His sister (Ola) says he was very kind and extremely tender. He was never seen indignant
                                             or angry except for God, and he led his life in a way to satisfy his God and his conscience.
                                             His sister, Feryal. sajd that she had seen her brother. Ali. the first night following his
                                             martyrdom and asked him, "Are you a martyr Ali?" He answered. "Yes, J am a martyr."
                                                                                    Thl.: LasllI.lorTh:nts
                                             Umm Ali said that was accustomed to kissing her hand and asking for her approval, which
                                             is what he did on the evening of Wednesday 1128fl004. He was fasting and ate breakfast at
                                             home. His sister (Ola) said that he asked her to give him (an aroount of seed), and at dawn
                                             on Thursday, he woke up at four in the morning, ate Sohour, and hurried out to pray at the
                                             mosque. He then returned home, got dressed. and left early, contrary to habit. She said that
                                             Ali did not act in any way suspicious. but was very normal instead.
                                             Sara said that she felt pride and joy when she heard that the martyr who blew himself up in
                                             Jerusalem cily was her nephew, pride in that he was a martyr and a hero at the same lime,
                                             and joy because he became a martyr as he had always wanted.
                                             His mother said that he promised his grandmother to wake her up for the dawn prayer, but
                                             he didn't. and that he always ad\'ised her to use the words she ullers to pray to God and say
                                             good things.
                                                                                   A Family of Fighters
                                             Although everyone is aware that the Ja'ara family is one of the most steadfast fighting
                                             families in AI-Urub and Aida Camp, and despite its long history of struggle, no one in it
                                             expected Ali to attempt what be did. Howe\'er, Sara says that Ali made the family more
                                             proud and honored. He is the nephew of the banished fighter, Jehad Ja'ara, who was
                                             surrounded by the occupation authorities with tens of fighters inside the Church of the
                                             Nativity in April (2002), and who suffered a serious injury in his foot, with his wound
                                             developing gangrene during the siege. He was then banished to Cyprus and then to
                                             Germany where he remains still now. Sara hopes thatlhe media will reopen his case with
                                             his banished brothers and bring it to the forefront of the news. She wonders why the world
                                             has forgonen them and turned their page, and why no one speaks of them anymore. She
                                             adds that Ali was hUrl by his uncle's banishment, and he was affected by every humane
                                             situation.
                                             His roother says that he was greally pained by the AI-Zaytoun massacre in Gaza, and it is
                                             no surprise that he carried out this operation in retaliation for it.
                                             He was pained by the blood of every martyr who fell in Palestine, especially the massacres
                                             committed in Gaza, Nablus, and Jenin.
                                                                                    Sharon Staggering
                                             The Gaza Street operation in occupied Jerusalem added a new type of tactic and strategy to
                                             AI-Qassam's operations record. In every operation, there is a new plan. faces change, and
                                             the mission succeeds. The same applies to Ali la'ara. He was a quiet policeman from a
                                             family known for its fighting hjstory and affiliation wiLh the Falah Movement. Perhaps
                                             Lhere was another objective for the operation, which was (0 unify the fighting ranks with
                                             blood and unity, exactly as it launched Reem Al-Rayashi, the brave daughter of AI-
                                             Qassam, who participated in her brave operation with the AI·Aqsa Troops of the Fatah
                                             Movement. None of the Ja'ara family knows exactly what happened. but they have felt
                                             more pride in that giant who erupted and shattered the legend of the enemy, penetrated his
                                             separating wall, his fortified forts. and his weak Shabak force. He stood in bus no. (19) in
                                             exactly the same quarters where Sharon. who committed the massacres, lives, and then
                                             blew himself up.
                                             BUI the Zionist analysts undermined the importance of that matter and considered that it
                                             was a coincidence for this operation to ha\'e taken place at a place close to the house, and to
                                             throw sand in the eyes. news sources said thaI Sharon was at the cow ranch he owns in the
                                             south of Palestine.



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                                                 Before that, AI-Qassam Brigades succeeded in reaching Sharon's house. and the AI-Quds
                                                 cell of AI-Qassam managed to plant an explosive device in a fast food shop close to
                                                 Sharon's house almost a year and a half ago, which exploded and wounded many Zionists.
                                                                                      AI-Qassam Confirms
                                                 In a statement by AI-Qassam that was issued with the confirmation the Palestinian people
                                                 are accustomed to, it stated that Ali la'am is the silent son of AI-Qassam, who only spoke
                                                 in blood, and confirmed that the operation targeted the house of the terrorist Sharon, and
                                                 that is he is not far from AI-Qassarn's revenge. Al-Qassam issued its statement shortly after
                                                 the Fatah Movement claimed responsibility for the martyr and the operation. However, the
                                                 written and recorded will of the martyr, and the photos that show hjrn wearing an Al-
                                                 Qassam symbol around his head, stating in the recorded tape that he carried out an
                                                 operation in retaliation for martyrs, Nader AI-Jawarish, Alaa Ayad, and Mowaffaq
                                                 Badawna [state otherwise].
                                                 On Friday, a Spokesman of the Fatah Movement called the AI-Manar Satellite Channel and
                                                 apologized for the movement's claiming responsibility for the operation, apologized to Al-
                                                 Qassam Brigades, and denied any link between the Fatah Movement and the operation,
                                                 which was also confirmed by a Fatah Movement spokesman in Gaza.
                                                                                       Invasion of the City
                                                 From the first moment, Al-Qassam's prints were clear on the operation with respect to the
                                                 planning and execution, where the first lines pointed to the operations of the martyr, leader
                                                 Ali Alan who sent Al-Qassam manyr, Na'el Abou Helel, more than a year ago, the
                                                 similarities between the two operations were obvious, which indicates that the students of
                                                 Ali Alan are the ones behind the operation.
                                                 Minutes after the operation, the terrorist Sharon met with a group of ministers and decided
                                                 to invade the city of Bethlehem to find out who was behind the operation and determine his
                                                 identity. At 3 AM, more than 30 tanks and armored vehicles invaded Aida Refugee Camp,
                                                 congregated in Bethlehem, AI-Khedr Town. and Taqu' Town to the east, and arrested
                                                 Palestinians.
                                                 Prior to the invasion of the city, a warning was directed to the elements of the Palestinian
                                                 Police to vacate their posts. which indeed took place, and then the Zionist forces
                                                 surrounded the home of the martyr, Ali Ja'ara. At the same time, the youth of the camp
                                                 confronted the Zionist forces to prevent them from doing that. There were confront..ations in




•
                                                 the place, bUI the occupation forces blew up the two story house, where (Ali) was supposed
                                                 10 live in one of those twO levels after his marriage. The house and all its contents were
                                                 destroyed.
                                                                                        The Martyr's Will
                                                                       In the Name of God. the Merciful. the Compassionate
                                                   (Fight them and Allah WIll tonure them at your hands. defeat them nnd grant you victory
                                                           over them. and heallhe hearts of heliever~) God Almighty spoke the truth
                                                 I, the living martyr "Ali Mounir Youssef Ja'ara "Abou Mohamed," carry out my mission
                                                 seeking Almighty God's approval, and tell lowly Sharon:
                                                 We will continue to write in blood and fire
                                                                                                       We will continue with bullets and anger
                                                 Jerusalem in the heart is a searing longing
                                                                                             And the fire of the pieces of our body its firewood
                                                 As AI-Qassam calls to battle
                                                                                               The call to Jihad took over the realm of anguish

                                                 In the name of martyr Engineer Yehia Ayyash's Group, this operation is in retaliation for
                                                 the daily massacres in Gaza, Jenin al-Qassam, and Nablus Jabal Al-Nar.
                                                 We, of the AI-Qassam Brigades, will be as you are accustomed to us. We will break down
                                                 the forts of the sons of Zion everywhere and at all times, defending Jerusalem and Al-Aqsa
                                                 ... and for our cause ... and you to get your freedom as did the martyrs before me ... I hope
                                                 that my blood was before yours, but it is fate.
                                                 Perhaps this tape is being broadcasted now when J'm between your hands; what a joy to
                                                 join you.
                                                 AI-Qassam Brigades will never surrender, never surrender, never surrender to the status
                                                 quo. It answered with strength. and will answer violently, and by all means available, God
                                                 willing. to defend itself, its nation, its homeland, its leaders, and its holy places.
                                                 The battle has not ended yet. It continues because the blood series has not SlOpped, and it
                                                 will not stop until Sharon stops the assassinations, destruction of homes. and invasions.
                                                 I tell the lowly pig Sharon and his followers ... they will never feel safe, and the soldiers of
                                                 Al-Qassam and {he soldiers of Yehia Ayyash will burn green and dry under his feet and




•
                                                 those of his soldiers and his settlers.                     I
                                                 And if he continues with spilling blood and assassinations, we will continue with the
                                                 martyr operations. and every Zionist minister, with Sharon in the lead. a target for AJ-
                                                 Qassam soldiers.



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                                                    An eye for an eye. a tooth for a tooth, and he who slarts takes (he blame.
                                                    I dedicate this martyr operation to lhe souls of the martyr heroes:
                                                    Martyr Hero I Ali Alan
                                                    Martyr Hero I Alaa Ayyad
                                                    Martyr Hero I Mowaffaq Bedawna
                                                    Martyr Hero I Nader AI-Jawarish

                                                    J will take my revenge but for god and reHgion
                                                                                                      And continue with my religion without doubt
                                                    Either (0 victory over people
                                                                                                                  Or to God wilh the immortals
                                                    In the aolt: of God. lIle Merciful, the Compassionate
                                                    (Do not think of those killed for God as dead. They are alive and well wil.h lheir God,
                                                    rejoicing in the bounty God bestowed on them, rejoicing in those who ha'le not joined after
                                                    them, but for fear for them, and they are not sad) God Almighty spoke me lrUth
                                                    Goodbye my beloved, my brothers, and all my friends ... and be fighters,
                                                    God is Great... God is Great... God is Great

                                                                                    Ezzeldeen AI-Qassam Brigades
                                                                                     Martyr Yehia A)'yash Group

                                                    NOleil
                                                    To Sharon and the Ismell people. expect earth 'haJ,.mg and cruel eltplosions that will
                                                    shaJ,.e the ZiOnist entity. II will be a bInd day for Israel in which it will not be ahle to count
                                                    lIS bodi~ ...

       :; News and reports :: Martyrs Oasis ;: AI-Qassam prisoners :: Enemy press :: Video :: Audio :: Statistics and numbers ::
       Battles and operations :: Qassami industries
       Books and publications :: Inlerviews:: Articles :: Military statements:: Military reports :: Photo album :: AI-Qassam Forum




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              EXHIBIT 219 TO DECLARATION OF VALERIE SCHUSTER
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      Front Cover
      Top: Indian fire brigade officials and bystanders look toward the Taj Mahal Palace hotel in Mumbai, India, on 29
      November 2008, as smoke and flames billow out from a section of the building during a four-day assault on India’s
      financial capital. (AFP, Indranil Mukherjee)
      Bottom Left: South Korean protesters hold placards during the anti-al-Qa‘ida rally outside the Foreign Ministry in
      Seoul on 19 March 2009 after a suicide bomber attacked a South Korean delegation, just days after a bombing at a
      historic tourist site killed four South Koreans. (AFP, Kim Jae-Hwan)
      Bottom Center: An image from a security camera at the Ritz-Carlton Hotel in Jakarta, Indonesia, shows an
      alleged suicide bomber walking with luggage in the lobby on 17 July 2009, minutes before a deadly blast. Indonesian
      police announced that the suicide bomber was a member of Jemaah Islamiya. (AFP, Indonesian TV ONE)
      Bottom Right: Onlookers stand at the site of a massive truck bomb that was detonated on 25 August 2009 in
      Kandahar, Afghanistan. The attack killed 43 civilians, wounded another 65 people, almost all civilians, brought down
      buildings, trapped people under rubble, and destroyed homes and shops. (AFP, Hamed Zalmy)

      Back Cover
      Pakistani volunteers move an injured person to the hospital after a car bomb blast outside a cinema in Peshawar,
      Pakistan, on 22 May 2009. The explosion in the congested marketplace killed at least three people and wounded
      70 others. (AFP, Tariq Mahmood)
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     Spelling of Arabic Names and Terms
     While there is no universally accepted transliteration of Arabic names and terms, this edition of
     the Counterterrorism Calendar adheres to a transliteration system that is generally used throughout
     the US Government. In this system, the letters “u” and “a” are preferred over “o” and “e.”
     For example, the name of the al-Qa‘ida operative who was detained on 1 March 2003 is Khalid
     Shaykh Muhammad, not Sheikh Mohammed. We have retained, however, the spellings used on
     the Rewards for Justice and FBI Web pages; these are designed for easy recognition and therefore
     do not strictly conform to these rules.

     Islamic Calendar and Holiday Observance
     The Islamic calendar is based on the movement and observation of the moon. The Islamic
     year contains 12 months, none of which can exceed 30 days. Each month starts when the lunar
     crescent is first seen after a new moon. Because 12 lunar months multiplied by 29.53 days equals
     354.36 days, the Islamic calendar will always be approximately 11 days shorter than the Western,
     or Gregorian, calendar. For example, 1 Muharram, the first day of Islamic year 1432 (known in
     the West by the Latin term Anno Hegirae, or A.H.), falls on 8 December 2010; in A.H. 1433,
     1 Muharram falls on 27 November 2011. As explained in the footnotes of this calendar, holidays
     begin the sundown of the previous day. Because of lunar observation and differences in time zones,
     the observance of Islamic holidays may vary from region to region.

     Map Boundaries
     Boundary representation is not necessarily authoritative.
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              The US National Counterterrorism Center presents the 2010 edition of the
           Counterterrorism (CT) Calendar. This edition, like others since the Calendar
           was first published in daily planner format in 2003, contains many features across
           the full range of terrorism-related topics: terrorist groups, wanted terrorists, and
           technical pages on various threat-related issues. The Calendar marks dates according
           to the Gregorian and Islamic calendars, and contains significant dates in terrorism
           history as well as dates that terrorists may believe are important if planning attacks
           to commemorate particular events.
              The CT Calendar is designed as a ready reference guide for law-enforcement,
           intelligence, military and security personnel, contingency planners, or simply citizens
           concerned by terrorist threats. The CT Calendar is oriented primarily to readers in the
           United States, but we hope it will also be useful for citizens of other countries. Readers
           are invited to visit the interactive version of the calendar at http://www.nctc.gov.
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        2010                       8443                       January
      1987, Lebanon: Jesse Turner, Alan Steen, Robert Polhill, Mithileshwar Singh kidnapped in Beirut       Sunday
                                                                                                              24
                                                                                                               8 Safar
      1993, US: Mir Amal Kansi kills two and wounds three outside CIA Headquarters in McLean, Virginia     Monday
                                                                                                              25
                                                                                                               9 Safar

                                                                                                           Tuesday
                                                                                                              26
                                                                                                              10 Safar
      2003, Afghanistan: Armed militants attack UN convoy, kill two security ofﬁcer escorts
      2002, Israel: Fatah female suicide bomber kills one and wounds more than 150 in Jerusalem
                                                                                                         Wednesday
                                                                                                              27
                                                                                                              11 Safar

                                                                                                          Thursday
                                                                                                              28
                                                                                                              12 Safar
      2008, Pakistan: Abu Layth al-Libi, al-Qa‘ida senior military commander and spokesperson, killed
      2004, Israel: Al-Aqsa Martyrs Brigade bus bomb in Jerusalem kills 11, wounds 50
                                                                                                             Friday
                                                                                                              29
                                                                                                              13 Safar

                                                                                                           Saturday
                                                                                                              30
                                                                                                              14 Safar



      www.nctc.gov                                                                                                 13
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                         EXHIBIT A
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                                BRIAN MICHAEL JENKINS

      Brian Michael Jenkins initiated the RAND Corporation’s research program on
      international terrorism in 1972. He currently serves as Senior Advisor to the
      President of RAND. From 1989 to 1998, Mr. Jenkins was the Deputy Chairman
      of Kroll Associates, an international investigative and consulting firm. Before
      that, he was Chairman of RAND’s Political Science Department from 1986 to
      1989 and from 1972 to 1989, he also directed RAND’s research on political
      violence.

      Mr. Jenkins has a B.A. in Fine Arts and a Masters Degree in History, both from
      UCLA. He studied at the University of Guanajuato in Mexico and in the
      Department of Humanities at the University of San Carlos in Guatemala where
      he was a Fulbright Fellow and recipient of a second fellowship from the
      Organization of American States.

      Commissioned in the infantry at the age of 19, Mr. Jenkins became a paratrooper
      and ultimately a captain in the Green Berets. He is a decorated combat veteran
      having served in the Seventh Special Forces Group in the Dominican Republic
      during the American intervention, and later as a member of the Fifth Special
      Forces Group in Vietnam (1966-1967). He returned to Vietnam on a special
      assignment in 1968 to serve as a member of the Long Range Planning Task
      Group; he remained with the Group until the end of 1969 receiving the
      Department of the Army's highest award for his service. Mr. Jenkins returned to
      Vietnam on third special assignment in 1971.

      In 1983, Mr. Jenkins served as an advisor to the Long Commission, convened to
      examine the circumstances and response to the bombing of the U.S. Marine
      Barracks in Lebanon. In 1984, he assisted the Inman Panel in looking at the
      security of American diplomatic facilities abroad and in 1985-86, he served as a
      member of the Committee of the Embassy of the Future, which established new
      guidelines for the construction of U.S. diplomatic posts. In 1989, Mr. Jenkins
      served as an advisor to the national commission established to review terrorist
      threats following the bombing of PanAm 103. In 1993, Mr. Jenkins served as a
      member of the team contracted by the New Jersey-New York Port Authority to
      review threats and develop new security measures for the World Trade Center
      following the February bombing.

      In 1996, President Clinton appointed Mr. Jenkins to be a member of the White
      House Commission on Aviation Safety and Security. From 1999-2000, he
      served as an advisor to the National Commission on Terrorism and since 2000,
      he has served as a member of the U.S. Comptroller General's Advisory Board.
      Mr. Jenkins also is the Director of the National Transportation Security Center at
      the Mineta Transportation Institute, and since 1997 has directed the institute's
      continuing research on protecting surface transportation against terrorist attacks.
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      Mr. Jenkins serves as a Special Advisor to the International Chamber of
      Commerce and a member of the advisory board of the ICC’s investigative arm,
      the Commercial Crime Services. Over the years, Mr. Jenkins also has served as
      a consultant to or carried out assignments for a number of government agencies
      including the Departments of State, Defense, and Homeland Security and the
      Nuclear Regulatory Commission. As part of its international project to create a
      global strategy to combat terrorism, the Club of Madrid in 2004 appointed Mr.
      Jenkins to lead the international working group on the role of intelligence.

      A large portion of Jenkins work has addressed the role of intelligence in
      combating terrorism. He has written about the organization of intelligence
      collection, international cooperation, constraints on domestic collection, and
      methods of analysis.

      Jenkins also has addressed the threat of nuclear terrorism. He wrote his first
      essay on the topic “Will Terrorists Go Nuclear?” in 1975. From 1976 to the late
      1980s, Jenkins directed a research effort on behalf of Sandia Laboratories and
      the Department of Energy, examining potential threats to U.S. nuclear programs.
      DOE officials later indicated that this research formed the basis for the
      department’s security planning. Jenkins also led RAND’s work on the behavioral
      analysis of communicated nuclear threats, which later became a component of
      the DOE’s credibility assessment procedures. Following 9/11, Jenkins returned
      to the topic of deterring non-state actors with weapons of mass destruction.

      Mr. Jenkins is the author of International Terrorism: A New Mode of Conflict, the
      editor and co-author of Terrorism and Personal Protection, co-editor and co-
      author of Aviation Terrorism and Security, and a co-author of The Fall of South
      Vietnam. His book Unconquerable Nation: Knowing Our Enemy, Strengthening
      Ourselves was published in 2006. A second volume is forthcoming. His latest
      book, Will Terrorists Go Nuclear? was published in September 2008. He is also
      the author of over 200 articles, book chapters, and published research reports on
      conflict and crime.
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                          EXHIBIT B
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              EXHIBIT 222 TO DECLARATION OF VALERIE SCHUSTER
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                            Expert Report
                                       Of
                              Shaul Naim

                              shaulnaim1@gmail.com



           Weiss v. National Westminster Bank, 05 CV 4622 (CPS)(MDG)
          Applebaum v. National Westminster Bank, 07 CV 916 (CPS)(MDG)




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                                                        Expert Report

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             I.      PROFESSIONAL BACKGROUND AND QUALIFICATIONS

      My full nam e is Shaul Nai m. I received a B.A. from the Faculty of Law at Hebrew
      University in Jerusalem in 1976, and a year later was ad mitted to p ractice law and
      became a member of the Israel Bar Association. Between 1975-77, I jo ined the police as
      a student-policem an, and then spent a year in terning at s everal Jeru salem law f irms.
      Beginning in late 1977 and continuing through 1985, I joined the police force and served
      as a police prosecutor in Jerusalem , handling traffic cases, crim inal cas es, and juv enile
      affairs. During that time, I underwent a six-month police officers’ training course, and in
      1985, took a Comm and and Control Course. In 1986, I was appointed head of the
      Litigation Bureau in Jerusalem, at the rank of Superintendent, placing me in charge of all
      criminal an d traf fic-related lawsu its in the Je rusalem Distric t. Five years late r, my
      position was redef ined as head of the Jerus alem District’s Litigation Branch, and I was
      given the rank of Chief Superintendent, while also inf ormally serv ing as the Distric t’s
      Legal Coun sel. During tha t tim e I gained familiarity with the types of docum ents and
      reports generated, and received by, my office, and the m anner in which such m aterials
      were generated/received, retained, and retrieved as necessary.

      In 1998, I was appointed the Jerusalem District’s Investigation Depa rtment Officer, and
      continued to serve as the District’s Legal Counsel (until the year 2000), working at times
      with the District Attorney, though I was not prosecuting cases as I did between 1977 and
      1985. As the District’s Investigations Depa         rtment Officer, I was in charge of all
      investigations and laws uits in the District. I also supervised the Forensic Science unit,
      which gathered and exam ined all evidence fr om crim e sc enes, including fingerprints,
      blood, instrum ents of the crim e, etc. Som e of the other units that were directly
      subordinate to m e were the Fraud Squad, the Suits Unit, and the Intelligence Desk. The
      Fraud Squad dealt with cases of fraud. The Suits Unit consisted of lawyers who handled
      the prosecution of crimes with the District Attorney. The Intelligence Desk took the
      information obtained from investigation f iles, spoke with suspects, and gathered
      intelligence to assist in the investigation of other cases.

      I also was the professio nal in ch arge of i nvestigations of the “E thnic Minorities’ Unit”.
      The Ethnic Minorities Unit worked together with the Is raeli Security Agency (“ISA ”) in
      handling threats and crimes carried out by terrorists, criminals and ethnic minorities. The
      Ethnic Minorities Unit focuse d particularly on crim es i nvolving Arabs, including terror
      attacks and inciden ts in East Jerusalem . The Ethnic Minorities Unit was com prised of
      Arabic-speakers, including Arab-Israelis.

      Regarding the lev el of professional subordi nating, each of the un its I have d escribed
      above has a commander. For instance, the Central Squad (“Ya mar”) oversees the Ethnic
      Minorities’ Unit. The Investigations          Department commander is professionally
      responsible for the police investigators, in cluding guiding, instructing and directing the
      investigators, and is responsible for appointing teams for different criminal cases.

      In 2004, I becam e the Comm ander in charge of a ll investigations and intelligence of the
      Jerusalem District, which included investigat ions, inte lligence, f raud, forensic science


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      and litigation. I retired from the police in 2006 with a ra nk of Comm ander, and then
      began private practice as a lawyer.

      Throughout the course o f my career, I have b een familiar with categories of docum ents
      and reports and other item s that have been generated or collected by law enforcem ent
      entities, and the m anner in which th ose materials are g enerated, collected, retained, and
      retrieved.

      In the course of m y s ervice with the Police, I was prof essionally involved in m any
      lawsuits, of ten workin g with the Distric t Attorn ey. I was directly in charg         e of
      investigating complex cases involving murder and other serious crimes. By virtue of m y
      position as the District’s Investigation and Intelligence Department Officer, I handled the
      investigations following the many terror attacks that occurre d in the District throughout
      the Second Intifada (20 00-2005). For each attack that occu rred in Jerusalem during this
      time, I was in charge of the investigation. T ypically, I would arrive at the scene of the
      attack, and give orders to pol ice investigators ga thering ev idence. I would also sp eak
      with the IS A to collaborate and coordinate regarding inform ation learned. I w ould
      continue to direct the investigation in orde r so that I and th e Police cou ld obtain a full
      “picture” of the attack. I also regularly worked with the Institute of Forensic Medicine in
      Abu Kabir in identifying bodies. Additionally, as part of my job I rou tinely met with the
      General Commander of the Jerusalem police to discuss the terrorist investigation.

      I have vast experience with terrorism investig ations, and, as part of my professional
      responsibilities, regularly evaluated interrogations,         confessions, police and ISA
      investigations and interviews , as well as court testim        ony. As noted above, that
      experience has m ade me very f amiliar with the documents that ar e collected, generated,
      and retained in connection with the i          nvestigation, and prosecution and crim       inal
      sentencing processes. I have paid close attention to the co ntents, appearance, patterns
      and distin ctive characteris tics of docum ents generated, collected, m aintained, and
      retrieved in various police and court f iles with r espect to ter rorist a ttack investigatio ns,
      prosecutions, and sentencings. My work has also required me to gain familiarity with the
      types of records, reports, statem ents, and othe r information that deta ils: the activ ities of
      offices, departm ents, agencies and courts involved in te rrorism investig ations and
      prosecutions. I am also familiar with the types of information observed and recorded by
      these offices, departm ents, agencies, and cour ts (because they are usually oblig ated as a
      legal m atter to docum ent and report such in formation), including in particular being
      familiar with the types of f actual f indings r esulting f rom terrorism inves tigations.
      Furthermore, I am familiar with the routin e activities of law enf orcement, prosecutorial,
      and court agencies in connection with te rrorism investigations, prosecutions, and
      sentencings, and am usually able to determine whether it was the regular practice of such
      entity to ge nerate, co llect, and /or mainta in such m emorandum, repor t, r ecord, or ot her
      information.

      As a result, I have m any years of e xperience in determining whether a docum ent that I
      am reviewing constitutes an accu rate and au thentic document collected or generated by
      law enforcem ent, a prosecutor, or a cou rt (referred t o her ein coll ectively as “Law



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      Enforcement”), and am also fam iliar w ith the process es used by Law Enforcem ent
      entities in generating or collecting such materials, and how s uch documents are retained.
      In analyzing certain documents in this case, I have applied my knowledge and experience
      of both Israeli Law Enforcem ent processes generally, and Israeli Law Enforcem ent’s
      document management practices specifically, to opine on whether certain materials do, in
      fact, appear to be authentic and reliable.

      I am being compensated by Plaintiffs in these cases according to an hourly billable rate of
      $275.00. I confirm that I have no previous professional or pe rsonal connection or
      relationship with any of the par ties or witn esses in these cases th at would preclude m y
      giving impartial evidence. I have not written any publications over the past 10 years, and
      have tes tified one time (by depo sition in th e com panion Strauss and Wolf Cr edit
      Lyonnais cases) as an expert in the last four years.


                            II.    SUMMARY OF EXPERT REPORT

      This Expert Report:

             1. Describes the standards, practices,       techniques and procedures used by Law
             Enforcement in Israel to c onduct investigations of terro rist attacks and prosecute
             and sentence the alleged perpetrators;

             2. Describes the types of documents generated, retained, and retrievable by Israeli
             Law Enforcem ent. These include docum ents seized and held by Israeli law
             enforcement, confessions or witness statements collected by law enforcement, and
             other docum ents (such as reports, m         emorandum, indictm ents, com plaints and
             other filings) that ar e generated by law enf orcement, including civil an d military
             prosecutors;

             3. Identifies relevant Israeli laws con       cerning crim inal jurisdiction, evidence
             gathering, confessions, indictm ents, hearin g protocols, and ve rdicts, that govern
             these investigations and prosecutions;




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              4. Reviews police and court files, and th eir contents, concerning certain attack s
              (the “Attack Files”)1;

              5. Provides an opinion, based on my professi onal experience, whether the Attack
              Files constitute or contain authentic r ecords collected, generated, and maintained
              by Israeli Law Enforcement, including Israeli courts.

      During m y career with the Isra eli police, I was physically present and involved in the
      investigation of certain of the attacks discussed in this Report. Specifically, the following
      Attack Files listed in Section IV      are att acks where I was person ally invo lved in
      investigating the matter:

             The attack in the Hebrew University in Jerusalem, on July 31, 2002
             The attack in Jerusalem on Bus 6 on May 18, 2003
             The attack in Jaffa Street, Jerusalem, Bus 14A, on June 11, 2003
             The attack in Jerusalem, Bus 2, on August 19, 2003
             The attack in Café Hillel, in Emek Refa’im Street in Jerusalem, on September 9,
              2003
             The attack in Jerusalem, Bus 19, on January 29, 2004

      In addition, though I was not pe rsonally involved in the inve stigation of the following
      attacks, I reviewed and have conducted exte nsive research on the following attacks in
      order to ascertain whether m y opinion rega rding the au thenticity of the docum ents
      contained in the f ollowing Attac k Files li sted in Section IV        of this Report is
      commensurate with my professional experience:

             March 27, 2002 - Park Hotel Bombing, Netanya

      1
        Although Section s III o f this Report discuss es generally ho w Israeli law enforce ment
      and courts collect and retain m aterials, and thus create “attack files” pertinent to each
      terrorist attack, as us ed in th is Report, the term “Attack F ile” is no t intended to sug gest
      that docum ents lis ted in the Appendix for each individual attack constitute a particular
      Israeli court, prosecutor, law enf orcement agency, or m ilitary official’s complete file of
      documents that such en tity ha s gen erated, colle cted, ar chived and/or c atalogued f or a
      given attack. Instead, as used in this Repor t, the phras e “Attack File ” is an inte rnal
      reference fo r the co llection of docum ents of each attack in the Report f or which I am
      opining that such docum ents appear, in m y professional opinion, to be authentic records
      maintained by Israeli Law Enf orcement (including police officers, prosecutors, courts, or
      military officials), depending on where the relevant document(s) were maintained.




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            May 7, 2002 - Sheffield Club Bombing, Rishon Letzion
            January 29, 2003 - Shooting Attack on Route 60
            March 5, 2003 - Bus No. 37 Bombing, Haifa
            March 7, 2003 - Shooting in Kiryat Arba
            April 30, 2003 - Mike’s Place Bombing, Tel Aviv
            June 20, 2003 - Shooting Attack on “Route 60”
            October 22, 2003 - Tel Romeda Shooting in Hebron
            September 24, 2004 - Mortar attack in Neve Dekalim in Gaza

      In each case, whether it was an attac k I wa s personally f amiliar with as a n investigating
      officer, or an attack where I had n ot persona lly been invo lved in the investigation but
      nevertheless reviewed independently, in orde r to consider whether the docum ents set
      forth in Section IV of this Report are authentic, in addition to my professional experience
      and knowledge of law enforcem ent proces ses (including docum ent m anagement and
      retention processes), I reviewed, where available, the following items:

            the Israeli indictments submitted against the alleged perpetrators;
            hearing protocols from both Jerusalem and Tel-Aviv Distric t Courts and Military
             courts;
            the police investigation files, including confessions (including confessions m ade
             to ISA and police investigat ors) by certain terrorists who planned and executed
             the attacks;
            the verdicts and the sentencing of vari     ous terrorists who were convicted of
             involvement in the relevant attacks;
            prison interviews that were given by certain terrorists;
            the Expert Report of Evan Kohlm         ann regarding certain Ha mas claim s of
             responsibility;
            the report issued by the ISA;
            websites that published the occurrence of the attack;
            the video footage of the suicide bombers;
            publications in Israeli and foreign media; and
            interviews with investigators.

      I conclude that in m y profe ssional opinion, in each of the above cases, all of the
      documents for each A ttack File listed in m y Appendix are authen tic records of Is raeli
      Law Enforcem ent (including Israeli judicial agencies and offices). In m aking this
      determination, I relied on m y three decades o f experienc e in workin g in the po lice
      investigation f ield with thes e typ es of docum ents on a da ily b asis to ensure th at the
      documents were authentic, official records.




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          III.    HOW ISRAEL INVESTIGATES AND TRIES TERRORISM SUSPECTS

      A.         Israeli Legal System

      The Israeli legal system is largely based on laws and regulations adopted from British and
      American law. In terrorism cases, whether in c ivil or military court, the proceedings are
      conducted before a three-judge panel. 2 The State is repres ented by a prosecuto r, who
      prepares and then submits the indictment to the court. The defendant can hire an attorney
      or ask that one be appointed for him or her, and every defendant is given a presum ption
      of innocence and a right against self-incrimination.

      B.         The Role of the ISA

      Terrorism in Israel dep arts from “ordinary ” or “comm on” crim e, and even o rganized
      crime, in several im portant procedural aspect s. The ISA is the organization in charge of
      thwarting te rror a ttacks and tr ying to uncover terror cells. 3 W hen a terro rist attack
      occurs, th e police sup ervise the c rime scene in coordina tion with the I SA, but it is the
      ISA that makes arrests and conducts the initial suspect interviews that become part of the
      investigation file. In many re spects, the ISA functions like the American FBI, but unlike
      the FBI, it d oes not inve stigate any other type of crim e but those relating to ter rorism of
      all kinds.

      When a terror attack is comm itted, the ISA d eals with: in th e case of a suicide bombing,
      identifying the bom ber, the org anization he was af filiated with and h is dispatchers, and
      determining whether other terrorists were dispatched at the same time to perpetrate other
      attacks. The ISA also     searches for any other information th         at m ight help the
      investigation, such as search ing the terror ist’s addres s, identif ying his relatives and
      family, etc.




      2
       According to the Israel Courts Law (Section 37a), the district court deliberates in a p anel of three judges
      with res pect to m ore severe crim inal offe nces, in other wo rds, o ffences of seri ous cri me – an of fence
      punishable by death or imprisonment for 10 years or more. A panel of three judges is appointed due to the
      complexity of the case and the seve rity of the action – for exam ple, cases such as m urder, ra pe, vi olent
      robbery – as w ell as in o rder to p revent mistakes. In the case of terro rist attacks, whic h in essence are
      murders with a terrorist backdrop, there will always be a panel of three judges, whether at the military court
      or civil court (district).

      3
        The General Security Servi ces (G SS) La w defines th e authority of the ISA, an d, inter a lia, d etermines
      that th e ISA is th e in stitute resp onsible for t hwarting t errorist activ ity, as well as the in terrogation of
      terrorists. See Sections 7(a), 7(b)(1), 8(T)(d) at: http://shabak.gov.il/about/yoamash/pages/law.aspx.



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      C.       The Role of the Police4

      The police arrive at the scene of the terrorist attack; close off the area; keep citizens away
      to prevent their being injured from other possible ex plosive devices or ambushes; help to
      evacuate victim s; and collect evidence fr          om eyewitnesses that is gath       ered b y
      investigators, reviewed by an officer, and include d as part of the attack file later given to
      the prosecutor. In the case of a bombing, the f irst people who enter the scene are the
      police sappers from the bom b squad unit, whose aim is to search for m ore explosive
      devices, check the kind of explosive m aterial used, and gather forensic evidence relating
      to the explo sives used. Then the Forens ic Science Laboratory officers take over and
      document the scene and gather foren sic evidence.5 Simultaneously, investigators are sent
      to all the h ospitals to c ollect sta tements f rom the surviv ing victim s and their f amilies.
      Investigators are also se nt to the Ins titute of Forensic Medicine in Abu Kabir to ide ntify
      the bodies.

      At the scene of the terrorist attack a Fr ont Command Post (FCP-”Chapak”) is set up,
      headed by the District Comm ander. Likewise, an FCP of the Police Investigations
      Department (“Achak”) is established at the police headquarters, where all the information
      from the scene is gathered.

      The Achak commander has m any roles after a terror attack, including responsibility for
      the investigation process: arriving at the scene of the attack , sending investigating teams
      (that were appointed in advan ce) to investigate the injured parties where helpful, sending
      some investigation tea ms to the Institu te of Forensic M edicine in Abu Kabir – who
      cooperate with the investigators for the purpos e of identifying thos e killed – and setting
      up “Chapak Achak” in the headquarters for collecting all the data that relates to the terror
      attack.

      After ensuring there are no booby traps in the ar ea of the scene of the attack, the Achak
      orders its people – the crim inal identifying investigators – to enter the scene of the attack
      and document it by video photos and stills that , after being developed, become part of the

      4
        The police operate accordi ng to the la ws of t he Stat e of Israel a nd the police ordi nances which define
      police authority, including rules th e police follow when investigating regular criminal offences and acts o f
      terror. Authorities include the Police Ordinance (New Version) 5731 – 1971, Second Chapter: Organization
      of Duties and Authorities and Chapter Three dealing with the duties of the police. The Israeli Police handle
      prevention a nd det ection of offe nces, ap prehension an d pr osecution of offenders, the safeke eping o f
      prisoners, and maintaining the public order and safety of people and property. The practice of investigating
      a scene where an act of te rror took place was acquired over the years in li ght of all of the terrorist acts that
      occurred in the country. It differs from the practice use d in the scene of a criminal offence, due to t he fact
      that no rmally an act of terror is a m ultiple v ictim ev ent, where m any casu alties and wounded are being
      treated. Obviously, t he p olice i n a ny e vent ope rate acc ording t o standards, procedures an d protocols
      dictated by t he l aw and by i nternal pol ice or ders and protocols (acc ording t o t he af orementioned Po lice
      Ordinance).

      5
       For example, despite the intense heat and pressure caused by the detonation of a suicide belt, police have
      sometimes recove red i dentifying i tems fro m t he body o f a bom ber or have been a ble t o det ermine t he
      disguise used (e.g., Israeli army uniform, ultra-orthodox Hasidic dress).



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      Attack File. In add ition, the c riminal identifying investigators take blood samples from
      the corpses (including the terrorist’s corp se). Then, the blood        samples are sent to
      laboratories to de termine the id entity of the terrorists, and with th e he lp of the Z akas’
      staff (which identifies the bodies), the bodies and organs are taken to Abu Kabir, where
      they are ex amined by doctors who prepare re ports that are given to the police to be
      included in the police’s file . Where possible, the body parts of the terrorist are separated
      from the victim rem ains and taken by separate am bulance to Abu Kabir. The police
      findings pertaining to the physic al scene of the a ttack are docum ented at the scene and
      then included within the police’s file for the attack.

      The ISA and Achak rem ain in contact regarding intelligence inform ation as to the
      terrorist and his cohorts. As different media sites are advertising different declarations of
      terror organizations taking re sponsibility for the attack, and other m edia is show ing
      suicide terrorists seen reading their wills before departing for their m ission, the Chapak
      Achak is exam ining those statem ents and public ations for reliability and credibility. All
      of the statem ents, videos, and other intelligen ce also is given to the police, and b ecomes
      part of the police’s file for the attack.

      D.       The Role of Police Investigators

      As stated previously, IS A officers conduct the initial investigations of people suspected
      of terrorist activity. During     their investigation, the IS A drafts a protocol of the
      investigation,6 after which the suspects are transferred to the custody of the po lice. The
      police investigators are then required to advise the suspect that he or she is not obligated
      to say anything; that anything he or she says m ay be used as evidence in court; and that
      the suspect has the right to remain silent and consult a lawyer.

      The activity of the interrogator emanates from the Judges Law and Regulations. The duty
      to advise the suspect of his rights was adopted as an obligatory judici al ruling from the
      “Judges Regulations” – a co llection of regulations com piled under English Law. 7 The

      6
        The ISA interrogator’s protocol is in fact a type of unofficial memorandum, usually not sent to the police,
      which constitutes a su mmary and brief of the interrogation. These memoranda are used for the rest of the
      interrogation, in order to compare and contrast the suspects’ versions so as to verify them and t o confront
      the suspects with discrepancies. T hese protocols (memoranda) do not serve as testimony in the court and
      are no t part of th e Attack File o r ev idence o f th e case . At tim es the content of the se m emoranda are
      delivered to a police investigator that is tak ing a formal statement. This formal statement may constitute a
      statement o r co nfession to be u sed du ring th e d eliberation in cou rt or th e m ilitary co urt. Th e ISA
      interrogator’s work is carried out according to their own internal procedures.
      7
       The only reference in criminal law to the warning of a su spect is lo cated in Section 28 to the Criminal
      Procedure Law (Enforcement Authorities – Arrests), 5756 – 1996:

               28. Hearing the detainee
               (a) The supervising officer shall not make a decision regarding the arrest of a person, the
               continuation of a pe rson’s arrest or release by way of bail, and the type of bail, amount
               and c onditions shall not be determined, un less the a foresaid pe rson first receive d a n
               opportunity to spea k, a fter t he aforesaid person was wa rned that he or she was n ot
               obligated to say anything of self-incriminatory nature, and anything said by the aforesaid


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      Israeli judicial ruling adopt ed the Judges Regulations as                “guiding provisions” for the
      police.8

      Following the advisem ent of rights, the po lice assess the likelihood of a confession, and
      determine whether the suspect should rem ain in custody. 9 In the re alm of terroris t
      attacks, the Ethnic Min orities Unit typica lly investigates and handles this step. Their
      expertise is necessary b ecause the confession must be read back to each suspect, often in
      Arabic, and the suspe ct must be ask ed if they understand, and then sign the docum ent at
      the end. If a confession is given, the police investigator asks questions sufficient enough
      to prepare a report, and then types the confe ssion, usually w ith 1-2 copies m ade and the
      original maintained in the court in which the matter proceeds as part of the file if the case
      continues. Otherwise, the or iginal copy usually stays with the police. Copies of the
      confession are obta ined, including in this c ase, by subm itting a f ormal request with a
      power of attorney directed to the court, or the police if they saved a co py as well. The
      confessions usually are videotaped and photographed, and document those present during
      the process.

      Everything the investigators do is supervised by their overseeing o fficer, and during my
      time with the Jerusalem police, I regularly oversaw the work of investigators. All of their
      written wor k is in cluded in the po lice’s f ile f or the attac k. At the sam e tim e as a
      confession is being elicited, th e police continue to collect evidence, prepare their file and
      refer the c ase to the p rosecution (Prosecutor’s Office or M ilitary Prosecution). Usually,
      most cases are sent to the Office of Mi        litary Prosecution, though there are a few
                                                             10
      exceptional cases sent to the civil district court.       For example, Abas El-Said, th      e
      mastermind of the Park Hotel attack, was brou ght before the Tel Aviv District Court,
      whereas the members of his terrorist cell were brought before a military court.




               person may be used agai nst him or her as evi dence, and that his or he r refusal to ans wer
               questions may reinforce any evidence against him or her.
      8
       In th is regard, it is im portant to note th at th e Military Ju dicial Law, 5715 - 1955, explicitly ad opted
      provisions on this subject from the Judges Regulations. With regard to the right to an atto rney, Section 32
      of the Criminal Procedure Law (Enforcement Authorities – Arrests), 5756 – 1996, specifies to the detainee
      his or her rights, including the right to have a notice delivered regarding his or her arrest to a member of kin
      and to an attorney, and his or her right to meet with an attorney. Sections 34-36 regulate the subject of the
      detainee’s right to meet with an attorney, with careful attention paid to the meetings with an attorney in the
      case of security-related offences.

      9
        The E vidence Or dinance ( New Version), 57 31-1971, regulates the s ubject of th e admissibility of a
      suspect’s confession, and determines that the con fession has to be of the suspect’s free will (Section 12(a)
      to the Evidence Ordinance).

      10
         The legal advisor to the government and attorney general decide which cases shall be brought before a
      civil court and not a military one. Terrorists living in the West Bank or Gaza who carry out terror attacks in
      Israel are usually b rought before a m ilitary co urthouse near th eir home. In certain ou tstanding cases,
      usually for leaders such as Abas El-Said, terrorists are brought before a civil court.



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      The decis ion of which cases will g o to which court (m ilitary or civil) is de termined as
      follows: When the of fense is comm itted inside the Palestinian terr itories, the indic tment
      is submitted to th e military court. W hen the o ffense is co mmitted inside Israel pr oper,
      the indictment is submitted either to the military court or a district court depending on the
      terrorist’s involvement.11

      E.         Standards For Proceeding to Indictment

      After the ev idence is co llected, the investigators and their superiors review the m aterial,
      and when they reach the conclusion that          there is enough eviden ce to establish an
      indictment, the inves tigators send their en tire original file to the distric t attorney (in the
                                                       12
      event that a civil court was decided upon)          or to a m ilitary cour thouse so that the
      prosecutor can review the police’s files and prepare an indictment against the defendants
      within the period of th eir d etainment. Th e p rosecutor d etermines if the ev idence is
      sufficient to indict the defendant, in which case the prosecution will commence, unless he
      decides not to prosecute on the grounds of l ack of public interest, which requires the
      authorization of the District Attorney and       the police officer serv ing as head of the
      prosecution unit.13

      The indictment, which must satisfy the “b eyond a reasonable doubt” standard in both
      civil and military court, is pr epared by the prosecutor based on the evidence in the file,
      and submitted by the prosecutor to the relevant court. The Court m aintains the o riginal
      copy of the indictment and provides copies upon a formal request similar to the procedure
      followed for obtaining copies of a confession. The defendant’s attorney also is given the
      right and opportunity to copy the file to assist in their defense.

      Upon the submission of an indictment, the court the indictment was submitted can order
      the arrest of the defendant, who will be held until the end of the le gal proceedings, if i t
      finds one of the following: (1) reasonable grounds to fear that releasing the defendant or
      failing to apprehend him m ay disrupt the cour t proceedings, lead to avoidance of the
      proceedings or a sen tence, or lead to the disappearance o f property, influence ov er a
      witness, or harm to any othe r evidence; (2) reasonable grounds to fear that the defendant
      may pose a risk to the safety of another in dividual, or the public safety or national
      security; or (3) the defendant is accused of   an offence punishable by death or life in




      11
        Th e Palestinian territo ries are lo cated in th e West Bank an d Gaza Strip . In th e territories, th e
      administrators of the population are the Palestinian Authority, however Israel is r esponsible for all th at is
      security relate d. Karnei Shom ron and Beitar Ilit ar e Jewish settle ments within the West Bank and Gaza
      areas. Palestinians who carry out attacks against Jews in the territories, or who leave those areas in order to
      carry out attacks within the State of Israel, are normally tried in a military courthouse in the territories.

      12
           Criminal Procedure Law (Combined Version), 5742 – 1982, Section 60(a).

      13
           Criminal Procedure Law (Combined Version), 5742 – 1982, Section 62(a).



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      prison, a security-related offence, certain drug offenses, domestic violence, or an offence
      perpetrated with severe violence or cruelty or with the use of a weapon.14

      F. Trial

      The procedures for trial are defined in the Criminal Procedure Law (Combined Version),
      5742 – 1982. The trial at the m ilitary courthouse takes place in front of a panel of three
      judges, the same as with the civil court. The defendant hires a defense attorney, and if he
      cannot afford one, a defense attorney is appoi nted for him by the S tate. The trial begins
      with the re ading of the indic tments, to whic h the defendant confesses or denies. In the
      event that he confesses, a judgm ent is given a nd then the sentence is delivered after each
      party brings forth evidence with regard to the punishment.

      If the defendant denies culpability for the claims, the trial opens, witnesses are brought on
      behalf of the prosecution, and then witnesses are brought on behalf of the defendant. The
      defendant is of course entitle d to testify. At the end of th e defense testimony, each party
      summarizes its argum ents and, following deliber ations, the court delivers its verdict of
      acquittal or conviction d epending on whether the prosecution has proven guilt b eyond a
      reasonable doubt. If the defendant is convicte d, each side presents argu ment with regard
      to what the punishm ent should be, and follo wing the argum ents the court sentences the
      defendant. The entire trial is recorded by vi deo, and in the case of a defendant who does
      not speak Hebrew, every word is translated for him or her during the proceedings.

      When a terrorist attack was involved, normally the court sentences a convicted terrorist to
      a life senten ce for each civilian killed as a re sult of an attack. For example if 30 people
      were killed, as in the Park Hotel bom bing, th en the court gives 30 life sentences. The
      verdicts, a long with any written s entences, are created and m aintained by the cou rt in
      which the matter took place.

      G.         Maintaining the Files

      Upon the completion of the trial, th e court in which the trial took place m aintains in their
      archives th e orig inal co py of the entire file for that p rosecution. Th e court’s file will
      include the portion prov ided by the polic e, an d will also include the indictm ent, c ourt
      protocols, verdict, and other docum ents ge nerated during the prosecution. The c ourt’s
      file, in m y experience, may be requested w ith a legitim ate purpose given for needing to
      review and/or copy the documents.

      The police m aintain their files for the attack as well, though it is not always com plete.
      While the court gets all of the police doc uments, the police som etimes do not always
      obtain all of the records generated during th e prosecution and court proceedings. T hus
      the only file guaranteed to be complete is the one maintained by the court. Nonetheless, a
      copy of the police’s file m ay be requested throu gh the offic er in charge of investigators.

      14
           Criminal Procedure Law (Enforcement Authorities – Arrests), 5756 – 1996, Sections 21(a), 21(a)(4).



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      As I used to hold this position, requests were often m ade to me for copies of the file, and
      I would have my assistant handle these requests.


             IV.   FILES REVIEWED RELATED TO EACH RELEVANT ATTACK

      (References to the attached Appendix are indicated below as “Naim XXXXXX-X”)


              March 27, 2002 – Park Hotel Bombing, Netanya

      Exhibit A:     Memorandum #3 dated July 22, 2002, written by a Druze investigator
                     named Lutuf Mari, to his commander, the chief investigator for Shomron
                     (Samaria, or the northern west bank), containing recollections of his
                     interrogation of Abas al-Said on May 12, 2002 (Naim 000053-55)
      Exhibit B:     Abas al- Said’s statement to the police re the attack. Given to the
                     investigator, Lutuf Mari, on May 12 and 13, 2002. (Naim 000056-70)
      Exhibit C:     Memorandum #1 of Abas al-Said’s investigating officer, Lutuf Mari
                     (Naim 000071)
      Exhibit D:     Abas al-Said’s Court Ruling (Naim 000072-155)
      Exhibit E:     Mu’amar Shahruri’s first statement to the police re attack (Naim 000156-
                     175)
      Exhibit F:     Mu’amar Shahruri’s second statement to the police re attack (Naim
                     000176-184)
      Exhibit G:     Mu’amar Shahruri’s Indictment (Naim 000185-202)
      Exhibit H:     Fathi Raja Ahmad Khasib’s first statement to the police (Naim 000203-
                     215)
      Exhibit I:     Fathi Raja Ahmad Khasib’s Indictment (Naim 000216-232)
      Exhibit J:     Naser Sami Abd al-Razeq Yataima’s first statement to the police (Naim
                     000233-236)
      Exhibit K:     Naser Sami Abd al-Razeq Yataima’s second statement to the police
                     (Naim 000237-241)
      Exhibit L:     Naser Sami Abd al-Razeq Yataima’s third statement to the police (Naim
                     000242-244)
      Exhibit M:     Naser Sami Abd al-Razeq Yataima’s Indictment (Naim 000245-262)
      Exhibit N:     Muhanad Talal Mansur Sharim’s first statement to the police (Naim
                     000263-278)
      Exhibit O:     Muhanad Talal Mansur Sharim’s second statement to the police (Naim
                     000279-291)
      Exhibit P:     Muhanad Talal Mansur Sharim’s third statement to the police (Naim
                     000292-308)
      Exhibit Q:     Muhanad Talal Mansur Sharim’s Indictment (Naim 000309-327)
      Exhibit R:     Court Ruling of Fathi Khasib, Mu’amar Shahruri, Muhanad Talal Mansur
                     Sharim and Naser Sami Abd al-Razeq Yataima (Naim 000328-349)
      Exhibit S:     Tariq Zidan’s first statement to the police (Naim 000350-364)
      Exhibit T:     Tariq Zidan’s second statement to the police (Naim 000365-373)



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      Exhibit U:  Tariq Zidan’s third statement to the police (Naim 000374-377)
      Exhibit V:  Nadil Qalaq’s first statement to the police (Naim 000378-382)
      Exhibit W:  Nadil Qalaq’s second statement to the police (Naim 000383-390)
      Exhibit X:  Nadil Qalaq’s third statement to the police (Naim 000391-394)
      Exhibit Y:  Ahmad Jayusi’s Revised Indictment (Naim 000395-416)
      Exhibit Z:  Sentencing of attack accomplices (Naim 000417-419)
      Exhibit AA: Letter f rom Milita ry Pro secutor to R onen Fam ily concern ing the Verd ict
                  of those involved in the attack. (Naim 002246)
      Exhibit BB: Letter from Military Prosecutor to the Ben Aroya Fam ily c oncerning the
                  sentencing of those involved in the attack. (Naim 002247)
      Exhibit CC: Court Ruling of Ahmad Jayusi concerning his involvement in the
                  bombing. (Naim 002248-2267)
      Exhibit DD: Naser Yataima’s Court Record. (Naim 002268-2351)
      Exhibit EE: Fathi Khatib’s Court Record. (Naim 002352-2490)
      Exhibit FF: Muhanad Sharim’s Court Record. (Naim 002491-2555)
      Exhibit GG: Abas al-Said – Verdict. (Naim 002556-2762)
      Exhibit HH: Abas al-Said – Revised Indictment. (Naim 002763-2764)
      Exhibit II: Abas al-Said – Indictment. (Naim 002765)
      Exhibit JJ: Translation into Hebrew of Fathi Khatib’s 1st Statement. (Naim 002766-
                  2778)



            May 7, 2002 – Sheffield Club Bombing, Rishon Letzion

      Exhibit A:    Abdalla Barghuthi’s Indictment (Naim 000420-462)
      Exhibit B:    Abdalla Barghuthi’s Court Ruling (Naim 000463)
      Exhibit C:    Abdalla Barghuthi’s Sentencing (Naim 000464-471)
      Exhibit D:    Muhammad Hasan Arman’s Indictment (Naim 000472-502)
      Exhibit E:    Yusuf Abdalla Nimer Anjas’s Indictment (Naim 000503) (This is page 2
                    of a four-page document, which appears in full in Hebrew University’s
                    Exhibit F: Naim 000639-642)
      Exhibit F:    Muhammad Arman’s and Walid Anjas’s Sentencing (Naim 000504-515)
      Exhibit G:    Sentencing of the accused in the Hebrew University and Sheffield Club
                    bombings (Naim 000516-543)
      Exhibit H:    A handwritten statement in Arabic (08/22/2003) by Wisam al-Abasi, in
                    which he confesses to executing several terror attacks, including this one.
                    (Naim 001382-83)
      Exhibit I:    Statement #1 to the police (08/19/2002) by Wisam al-Abasi, in which he
                    describes the Sheffield Club terror attack. (Naim 001384-94)
      Exhibit J:    Statement to the police (08/21/2002) by Wael Kasem (Naim 001395-
                    1401)
      Exhibit K:    Statement #2 to the police (08/21/2002) by Wisam al-Abasi (Naim
                    001402-07)
      Exhibit L:    Second Statement to the police (08/22/2002) by Wisam al-Abasi (Naim
                    001408-13)



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      Exhibit M:      A two-page handwritten statement to the police, written in Arabic by Wael
                      Kasem, in which there are details of the terror attacks he executed. (Naim
                      001414-15)
      Exhibit N:      Statements to the police by Muhammad Uda (A “Siluan” cell member):
                      (duplicate of Hebrew University’s exhibit L) (Naim 001416-31):
                      1) Handwritten statement in Arabic - 08/19/2002
                      2) Statement #1 to the police - 08/19/2002
                      3) Statement #2 to the police - 08/26/2002
      Exhibit O:      Statements to the police by Alaa Abasi (A “Siluan” cell member) (Naim
                      001432-48):
       1)                8/19/2002
       2)                8/26/2002
       3)                1/9/2002
                      + Two handwritten statements and their Hebrew translation:
       1)                8/18/2002
      2)                 8/26/2002
      Exhibit P:      Statements to the police by Abdalla Barguthi, in which he admits to
                      manufacturing the explosive device and explosive belt used in the attack
                      (Naim 001449-92):
       1)                3/12/2002
       2)                3/13/2002
       3)                3/30/2002
       4)                5/12/2002
       5)                5/15/2002
      6)                 5/22/2002
      Exhibit Q:      Muhammad Hasan Ahmad Arman’s Court File. (Naim 002779-2863)
      Exhibit R:      Yusuf Anjas’s Court File. (Naim 002864-2879)



               July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem

      Exhibit A:      Muhammad Hasan Arman’s Indictment (Naim 000544-574) (Duplicate of
                      Sheffield Bombing Exhibit D)
      Exhibit B:      Muhammad Hasan Arman’s and Walid Abd al-Aziz Anjas’s Sentencing
                      (Naim 000575-586) (Duplicate of Sheffield Bombing Exhibit F)
      Exhibit C:      Abdallah Barghuthi’s Indictment (Naim 000587-629) (Duplicate of
                      Sheffield Bombing Exhibit A and of Ben Yehuda Exhibit A)
      Exhibit D:      Abdallah Barghuthi’s Court Ruling (Naim 000630) (Duplicate of
                      Sheffield Bombing Exhibit B)
      Exhibit E:      Abdallah Barghuthi’s Verdict (Naim 000631-638) (Duplicate of Sheffield
                      Bombing Exhibit C)
      Exhibit F:      Yusuf Abdalla Nimer Anjas’s Indictment (Naim 000639-642) (Duplicate
                      of Sheffield Bombing Exhibit E)




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      Exhibit G:   Verdict of the accused in the Hebrew University and Sheffield Club
                   bombings (Naim 000643-670) (Duplicate of Sheffield Bombing Exhibit
                   G)
      Exhibit H:   Handwritten statem ent by W ael Qasem ( 08/21/2002) (+Hebrew
                   translation), in which ad mits to perpetrating the Hebrew University attack
                   as well as other attacks. (Naim 001493-96)
      Exhibit I:   Statements to the police by Muhammad Uda (A “Siluan” cell member):
                   (duplicate of Sheffield’s exhibit N) (Naim 001497-1512)
                   1) Handwritten statement in Arabic - 08/19/2002
                   2) Statement #1 to the police - 08/19/2002
                   3) Statement #2 to the police - 08/26/2002
      Exhibit J:   Statements to the police by Muhamed Arman from (Naim 001513-74):
                   08/21/2002
                   08/26/2002
                   09/05/2002
                   09/20/2002
                   09/22/2002
                   09/26/2002 (the 3-page statement is missing page #2)
                   09/26/2002 (second statement that was made the same day)
                   10/2/2002
      See also:    Sheffield Bombing Exhibit G: Indictm ent and verdict from the J erusalem
                   District Court, against Wael Qasem (head of the “Siluan” cell) and his cell
                   members.
                   Sheffield Bombing Exhibit Q: Mu hammad Hasan Ahmad Arman’s Court
                   File.
                   Sheffield Bombing Exhibit R: Yusuf Anjas’s Court File.



            January 29, 2003 – Shooting Attack on Route 60

      Exhibit A:   Jaser Ismail Musa Barghuthi’s Revised Indictment (Naim 000671-708)
                   (duplicate of the Route 60 – June 2003 Attack, exhibit C)
      Exhibit B:   Muayyad Shikri Abd al-Hamid Hamad’s Sentencing (Naim 000709-721)
      Exhibit C:   Khaled Abd al-Mua’z Zein al-Din Omar’s Revised Indictment
                   (Naim 000722-745) (duplicate of the Route 60 – June 2003 Attack,
                   exhibit E.)
      Exhibit D:   Khaled Abd al-Mua’z Zein al-Din Omar’s statement #1 (12/24/2003) to
                   the police (Naim 000746-769) (duplicate of the Route 60 – June 2003
                   Attack, exhibit F.)
      Exhibit E:   Khaled Abd al-Mua’z Zein al-Din Omar’s statement #2 to the police
                   (12/31/2003) (Naim 000770-786) (duplicate of the Route 60 – June 2003
                   Attack, exhibit G.)
      Exhibit F:   Police confirmation of documentation of damage done to property
                   (Naim 000787).




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      Exhibit G:   Revised Indictment from the Military Court against Ahmad Mustafa Salah
                   Hamed (Na’jar) (duplicate of the Route 60 – June 2003 Attack, exhibit A.)
                   (Naim 001575-93)
      Exhibit H:   Statement to the police by Ahm       ad Mustafa Salah Ham ed (Najar)
                   (12/30/2003) and a m emorandum following an ISA investigation of Najar
                   (12/21/2003). (Naim 001594-1611)
      Exhibit I:   Statements to the police by Jaser Barghuthi, from (Naim 001612-35):
                   12/22/2003
                   01/18/2004 11:00 a.m
                   01/18/2004 19:55 p.m.
                   01/22/2004
                   01/29/2004
      Exhibit J:   Statements (including handwritten statements in which Omar confessed
                   and lead the police to a weapons’ hideout) to the police by Khaled Omar
                   from (Naim 001636-79):
                   12/24/2003
                   12/31/2003
                   01/05/2004
                   01/06/2004
      Exhibit K:   Statements to the police by Rab’i Khalifa (Naim 001680-86):
                   12/20/2003
                   01/11/2004
      Exhibit L:   Statements made to the police (12/23/2003, 12/24/2003, 12/28/2003,
                   12/31/2003) by Farah Hamed. (Naim 001687-1709)
      Exhibit M:   Statement made to the police by Majdi N’asan (Naim 001710-24):
      12/17/2003
                   12/31/2003
      Exhibit N:   An ISA m       emorandum (01/04/2003) following Mahm       ud Saa d’s
                   investigation. (Naim 001725-30)
      Exhibit O:   Statements to the police by Morad Barghuthi (Naim 001731-53):
                   12/21/2003
                   12/25/2003
                   12/28/2003
                   12/29/2003 (first at 10:45am, second at 1:30pm)
      Exhibit P:   Statements to the police by Nimer Hamida (Naim 001754-78):
                   12/22/2003
                   12/25/2003 (also includes a handwritten statement)
      Exhibit Q:   Statements to the police by Yasser Hamed (Naim 001779-89):
                   12/28/2003
                   12/31/2003 (two statements made the same day)
      Exhibit R:   Statements made to the police by Ahmad Khaled Daud Hamed (Naim
                   001790-1802):
                   12/28/2003
                   12/31/2003
                   01/01/2004
                   01/15/2004



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      Exhibit S:  Verdict f rom the Shomron Mil itary Court against Ahmad Mustafa Salah
                  Hamed. (Naim 001803-12)
      Exhibit T:  Sentencing of Ahmad Mustafa Salah Hamed. (Naim 001813-16)
      Exhibit U:  Statement to the police by Hisham Hijazi (02/10/2004); ISA memoranda
                  following his investigation on 12/21/2003, 12/22/2003, 12/23/2003,
                  12/29/2003, 01/04/2004 (two investigations), 01/05/2004 (two
                  investigations), 01/06/2004 (two investigation) and 01/07/2004. (Naim
                  001817-53)
      Exhibit V:  Hisham Abd al-Qader Ibrahim Hijazi’s Revised Indictment. (Naim
                  002880-2908)
      Exhibit W:  Yaser Hasan Muhammad Hamad’s Revised Indictment. (Naim 002909-
                  2926)
      Exhibit X:  Ahmad Khaled Dawud Hamed’s Revised Indictment. (Naim 002927-
                  2938)
      Exhibit Y:  Hisham Abd al-Qader Ibrahim Hijazi’s Verdict. (Naim 002939-2940)
      Exhibit Z:  Hisham Abd al-Qader Ibrahim Hijazi’s Sentencing. (Naim 002941-2949)
      Exhibit AA: Jaser Isma’il Musa al-Barghuthi’s Verdict. (Naim 002950-2969)
      Exhibit BB: Khaled Abd al-Mua’z Zein al-Din’s Verdict. (Naim 002970-2972)
      Exhibit CC: Yaser Hasan Muhammad Hamad’s Sentencing. (Naim 002973-2975)
      Exhibit DD: Mua’yed Shukri Hamed’s Conviction and Arrest Order. (Naim 002976-
                  2988)
      Exhibit EE: Murad Walid Khaled Barghuthi’s Sentencing. (Naim 002989-2992)
      Exhibit FF: Ahmad Khaled Dawud Hamed’s Verdict and Sentencing. (Naim 002993-
                  3020)
      Exhibit GG: Ballistic Reports Pertaining to the Different Attacks that the Cell
                  Committed. (Naim 003021-3065)
      Exhibit HH: Weapons Caught in Silwad and al-Mazra’a al-Sharqiya. (Naim 003066-
                  3081)
      Exhibit II: Hisham Abd al-Qader’s Interrogation by the ISA on December 20th.
                  (Naim 003082-3092)
      Exhibit JJ: Judea and Samaria’s Military Court Spokesperson Office’s Announcement
                  on Jaser Isma’il Musa al-Barghuthi and Murad Walid Khaled Barghuthi’s
                  Sentencing. (Naim 003093)
      Exhibit KK: Judea and Samaria’s Military Court Spokesperson Office’s Announcement
                  on Mua’yed Shukri Abd al-Hamid Hamed’s Sentencing. (Naim 003094)
      Exhibit LL: Mua’yed Shukri Abd al-Hamid Hamed – Revised Indictment. (Naim
                  003095-3112)
      Exhibit MM: Khaled Abd al-Muaz Zin al-Din Omar – Revised Indictment. (Naim
                  003113-3136)
      See also:   Route 60 – June Attack, Exhibit B: Ahmad Khaled Dawud Hamed’s
                  Indictment (Naim 001018-1019).
                  Route 60 – June Attack, Exhibit D: Jaser Isma’il Musa al-Barghuthi’s
                  Sentence (Naim 001058-1070).




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              March 5, 2003 – Haifa Bus #37 Bombing

      Exhibit A:       Indictment against Faadi Muhamed Ibrahim Jo’aba (Naim 000788-798)
      Exhibit B:       Indictment against Munir Ben-Farid Rajbi (Naim 000799-802)
      Exhibit C:       Verdict rejecting appeal filed by Munir Rajbi (Naim 000803-808)
      Exhibit D:       Sentence against Munir Rajbi (Naim 000809-814)
      Exhibit E:       Sentence against Maed Wael Taleb Abu Sharakh (Naim 000815-823)
      Exhibit F:       Sentencing arguments against Maed Wael Taleb Abu Sharakh
                       (Naim 000824-825)
      Exhibit G:       Verdict against Fadi Muhamed Ibrahim Jo’aba (Naim 000826-828)
      Exhibit H:       Muadh Wael Taleb Abu Sharakh Indictment. (Naim 003137-3147)
      Exhibit I:       Fadi Muhammad Ibrahim al-Ju’ba – Court Record. (Naim 003148-3273)
      Exhibit J:       Muadh Wael Taleb Abu Sharakh – Court Record. (Naim 003274-3433)



              March 7, 2003 – Shooting in Kiryat Arba

      Exhibit A:       Revised Indictment against Abdalla Ahmad Mahmud Abu Sif
                       (Naim 000829-837)



              April 30, 2003 – Mike’s Place Bombing, Tel Aviv

      Exhibit A:       Dr. Arian Davidson’s report on the perpetrators’ DNA (Naim 000838-842)
      Exhibit B:       Dr. Chen Kugel’s forensic pathology report on Asef Muhammad Hanif’s
                       body (Naim 000843-847)
      Exhibit C:       Dr. Yehuda Hess’s forensic pathology report on Omar Khan Sharif’s body
      (Naim                   000848-853)
      Exhibit D:       Passport stamps of Asef Muhammad Hanif and Omar Khan Sharif
      (Naim                   000854-860)
      Exhibit E:       Police Wanted Poster and copies of passports of Asef Muhammad Hanif
                       and Omar Khan Sharif (Naim 000861-863)
      Exhibit F:       ISA detailed report on Palestinian suicide bombers (Naim 000864-948)
      Exhibit G:       Summary of the Police’s investigation file (09/03/2003). (Naim 001854-
                       63)
      Exhibit H:       Mike’s Place investigation file, including documents sent to the Scotland
                       Yard to get more information regarding the two terrorists, who were
                       British citizens, and testimony gathered of victims and eyewitnesses who
                       were present at the attack.15 (Naim 003434-3976).



      15
        Th is in cludes th e testi mony of IDF sold iers who enco untered th e terrorists en tering th rough th e
      “Allenby” Bridge and “Erez” Checkpoint.



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            May 18, 2003 – Commuter Bus Bombing, Jerusalem

      Exhibit A:   Amjad Taher Salah Arfa’s Indictment (Naim 003977-3979)
      Exhibit B:   Ramzi Walid Salah Arfa’s Indictment (Naim 003980-3983)
      Exhibit C:   Samer Abd al-Sami’ Ahmed Atrash’s Revised Indictment (Naim 003984-
                   3994)
      Exhibit D:   Samer Abd al-Sami’ Ahmed Atrash’s Court Record (Naim 003995-4040)
      Exhibit E:   Samer Abd al-Sami’ Ahmed Atrash’s Verdict (Naim 004041)
      Exhibit F:   Samer Abd al-Sami’ Ahmed Atrash’s Sentencing (Naim 004042-4045)
      Exhibit G:   Basel Muhammad Shafiq al-Qawasmeh’s Indictment (Naim 004046-4047)
      Exhibit H:   Basel Muhammad Shafiq al-Qawasmeh’s Conviction (Naim 004048-
                   4050)
      Exhibit I:   Muhammad N’saim ‘Isa Dawud Abu Sneina’s Interrogation (Naim
                   004051-4058)
      Exhibit J:   Steven Averbach’s July 29, 2003 Police Statement (Naim 004059-4060)



            June 11, 2003 - Jaffa Road Bus 14A Bombing, Jerusalem.

      Exhibit A:   Umar Salah Muhammad Sharif’s Indictment (Naim 000949-964)
      Exhibit B:   Umar Salah Muhammad Sharif’s Court Ruling (Naim 000965-966)
      Exhibit C:   Umar Salah Muhammad Sharif’s Sentencing (Naim 000967-970)
      Exhibit D:   Statements to the police by Bilal Sublaban (Naim 000971-991)
                   06/25/2003 (summary in Hebrew; and Handwritten in Arabic)
                   07/02/2003 (Hebrew and Handwritten in Arabic)
      Exhibit E:   Statement to the police by Amer Nasr A-Din (07/15/2003 – Hebrew and
                   Arabic) (Naim 000992-998)
      Exhibit F:   Omar Salah Muhammad Sharif – Full Court File: (Naim 004061-4129)



            June 20, 2003 – Shooting Attack on Route 60

      Exhibit A:   Ahmad Mustafa Saleh Hamed’s (Najar) Revised Indictment (Naim
                   000999-1017) (duplicate of the Route 60 – January Attack, exhibit G.)
      Exhibit B:   Ahmad Khaled Dawud Hamed’s Indictment (Naim 001018-1019)
                   (duplicate of the Route 60 – January Attack, exhibit W).
      Exhibit C:   Jaser Isma’il Musa al-Barghuthi’s Revised Indictment (Naim 001020-
                   1057) (duplicate of the Route 60 – January Attack, exhibit A)
      Exhibit D:   Jaser Isma’il Musa al-Barghuthi’s Sentence (Naim 001058-1070)
                   (duplicate of the Route 60 – January Attack, exhibit X).
      Exhibit E:   Khaled Abd al-Mua’z Zein al-Din Omar’s Revised Indictment
                   (Naim 001071-1094) (duplicate of the Route 60 – January Attack, exhibit
                   C).




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      Exhibit F:   Khaled Abd al-Mua’z Zein al-Din Omar’s statement #1 to the police
                   (Naim 001095-1118) (duplicate of the Route 60 – January Attack, exhibit
                   D.)
      Exhibit G:   Khaled Abd al-Mua’z Zein al-Din Omar’s statement #2 to the police
                   (Naim 001119-1135) (duplicate of the Route 60 – January Attack, exhibit
                   E.)
      See also     Route 60 – January 29, 2003 Attack, Exhibits B, H-U, V-MM



            August 19, 2003 – Bombing of Bus #2, Jerusalem

      Exhibit A:   Nasim Rashed Abd al-Wudud Za’tari’s Indictment (Naim 001136-1151)
      Exhibit B:   Majdi Barakat Abd al-Ghafer Za’tari’s Indictment (Naim 001152-1165)
      Exhibit C:   Abdallah Adnan Yihya Sharbati’s Indictment (Naim 001166-1176)
      Exhibit D:   Jalal Jamal Hilmi Yaghmur’s Indictment (Naim 001177-1181)
      Exhibit E:   Ramzi Walid Salah Arfa’s Indictment (Naim 001182-1185)
      Exhibit F:   Amjad Taher Salah Arfa’s Indictment (Naim 001186-1188)
      Exhibit G:   Abdallah Adnan Yihya Sharbati’s Court Record (Naim 004130-4215)
      Exhibit H:   Nasim Rashed Abd al-Wudud Za’tari’s Court Record (Naim 004216-
                   4298)
      Exhibit I:   Jalal Jamal Hilmi Yaghmur’s Court Record (Naim 004299-4398)
      Exhibit J:   Majdi Barakat Abd al-Ghafer Za’tari’s Court Record. (Naim 004399-
                   4475)
      Exhibit K:   Police confirmation document for damage caused to property as a result of
                   an act of terror - Hannah Nathansen. (Naim 004476)
      Exhibit L:   Police confirmation document for damage caused to property as a result of
                   an act of terror - Shoshana Nathansen. (Naim 004477)
      Exhibit M:   Police confirmation document for damage caused to property as a result of
                   an act of terror - Judith Nathansen. (Naim 004478)
      Exhibit N:   Police confirmation document for damage caused to property as a result of
                   an act of terror - Matanya Nathansen. (Naim 004479)
      Exhibit O:   Police confirmation document for damage caused to property as a result of
                   an act of terror - Moshe Strauss. (Naim 004480)



            September 9, 2003 – Bombing at Café Hillel in Jerusalem

      Exhibit A    Indictment against Salah Subahi Daud Musa (Naim 001189-1196)
      Exhibit B    Verdict against Salah Subahi Daud Dar Musa (Naim 001197-1201)
      Exhibit C    Verdict against Ahmad Abid and Nael Abid (Naim 001202-1212)
      Exhibit D    Statement to the Police by Muhammad Anati – 10/17/2004 (Naim 001213-
                   1217)
      Exhibit E    ISA Memorandum following the interrogation of Nael Abid – 10/13/2004
                   (Naim 001218-1223)


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      Exhibit F     Revised indictment against Ahmad Abid and Nael Abid (Naim 001224-
                    1227)
      Exhibit G     Revised indictment against Abdul Aziz (Ben Muhamad) Amru
                    (Naim 001228-1230)
      Exhibit H     Statement to the police (10/10/2004) by Ahmad Abid (Naim 001231-34)
      Exhibit I     Statement to the police (10/14/2004) by Ahmad Abid (Naim 001235-38)
      Exhibit J     Statement to the police (10/28/2004) by Ahmad Abid (Naim 001239-41)
      Exhibit K     Statement to the police (09/26/2004) by Ahmad Abid (Naim 001242-49)
      Exhibit L     Revised indictment against Jamal Othman Muhammad Abu Salim
      (Naim                001250-1253)
      Exhibit M     Revised indictment against Muhamad Latif Ahmad Balut
      (Naim                001254-1264)
      Exhibit N     Indictment against Ibrahim Muhammad Yunes Dar Musa (Naim 001265-
                    75
      Exhibit O     Indictment against Marry Subahi Juvadat Abu Saida (Naim 001276-86)
      Exhibit P     Indictment against Fuaz Machmud Ali Na’atzer (Naim 001287-95)
      Exhibit Q     Statement (09/26/2004) made to the police by Nael Abid (Naim 001864-
                    68)
      Exhibit R     Statements made by Muhammad Anati to the Police. (Naim 001869-73)
      Exhibit S     Fahmi Izz al-Din – Appeal to the Supreme Court. (Naim 004481-4484)
      Exhibit T     Abd al-Aziz Amru – Appeal to the Supreme Court. (Supreme Court File
                    no. 2005/06) (Naim 004485-4494)
      Exhibit U     Abd al-Aziz Amru – Verdict. (Naim 004495-4497)
      Exhibit V     Abd al-Aziz Amru – Sentencing. (Naim 004498-4500)
      Exhibit W     Fawaz Mahmud Ali Naser – Appeal. (Naim 004501-4504)
      Exhibit X     Abd al-Aziz Muhammad Amru – Court Ruling, Verdict, Appeal. (Naim
                    004505-4520)
      Exhibit Y     Ibrahim Muhammad Yunas Dar Musa – Sentencing after Appeal. (Naim
                    004521-4524)
      Exhibit Z     Bahij Bader – Court File. (W_S097190 - W_S097201) (Naim 004525-
                    4536)



            October 22, 2003 - Tel Romeda Shooting Attack

      The police station in     Hebron opened an investigatio      n, gathered evidence, and
      documented the s cene. The terrorist’s co rpse was transferred for an au topsy at the Abu
      Kabir, Institute of Forensic Medicine, a nd both the weapon and bullets used by the
      terrorists were transferred to the Forensic Department National Headquarters. I reviewed
      the witness statements for the attack (Naim 001874-97).

      I also reviewed:
      Exhibit A      Indictment of Bashar Hafez Awf Zaheda. (W_S007529 - W_S007532)
      Exhibit B      Indictment of Bahaa Muha mmad Fadel Awf Zaheda. (W_S007533 -
      W_S007539)



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            January 29, 2004 – Jerusalem Bus # 19 Bombing

      Exhibit A:    Indictment against Ahmad Salah Ahmad Salah (Naim 001296-307)
      Exhibit B:    Indictment against Ali Muhamed Hamed Abu Alail (Naim 001308-27)
      Exhibit C:    Indictment against Abdel El Rachman (Zahher) Joseph Abdel El Rachman
                    Mikaded (Naim 001328-42)
      Exhibit D:    Indictment against Muhammad Issa Muhammad Maali (Naim 001343-56)
      Exhibit E:    Indictment against Ali Muhammad Hamed Abu Halil (Naim 001357-73)
      Exhibit F:    Hilmi Abd al-Karim Muhammad Hamash’s Indictment. (Naim 004537-
                    4546)
      Exhibit G:    Ahmad Salah Ahmad Salah Abu Ghadab’s Indictment. (Naim 004547-
                    4563)
      Exhibit H:    Nofal Jihad Nofal Adawin’s Court Record. (Naim 004564-4678)
      Exhibit I:    The Court’s Decision to deny Nashash’s Appeal on his Sentencing. (Naim
                    004679-4680)
      Exhibit J:    The Court’s Reasoning behind Nashash’s Verdict. (Naim 004681-4683)
      Exhibit K:    Ahmad Salah’s Verdict and Sentencing. (Naim 004684-4685)
      Exhibit L:    Firas Adawin’s Interrogation. (Naim 004686-4703)
      Exhibit M:    Mahmoud Azia’s Interrogation. (Naim 004704-4709)



            September 24, 2004 – Mortar Strike in Neve Dekalim

      Following the m ortar attack from the G aza Strip towards Neve Dekalim , a polic e
      investigation was opened at Erez police sta tion: P.A File 3640/04, during which evidence
      was collected from witnesses residents, in cluding testim ony from a rescue doctor from
      Gaza, and a police report that I reviewed (Exhibit A - Naim 001374-1381) was generated.
      The investigation revealed a vi deotape that appe ars to b e f rom Ham as, with im ages of
      three terrorists masked in uniform, shooting the mortars, one of which hit Neve Dekalim .
      The individuals have not been found nor prosecuted.




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              EXHIBIT 223 TO DECLARATION OF VALERIE SCHUSTER
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    1    NAIM                                               1    NAIM
    2 authentic. When I say it's authentic, I               2 remember it's in Tel Aviv.
    3 express what I thought was what the document          3 Q. What's the name of the officer
    4 looked like when I saw them.                          4 in the special investigations unit you spoke
    5    INTERPRETER BEYLER: When the                       5 to?
    6 documents were authentic when I saw                   6 A. His name is Dudi Bar. He was a
    7 them.                                                 7 major and he was promoted to chief
    8 A. I wrote I read many documents                      8 superintendent in the police.
    9 and many indictments for many years and when          9 Q. Did you know him before you
   10 I received the documents, they appeared -- on        10 spoke with him in connection with this case?
   11 the face they appeared to be authentic.              11 A. Not personally even though I
   12 Q. From whom did you receive these                   12 heard about him and I heard his name. When
   13 documents?                                           13 you are in the police, you get to know
   14 A. I received them -- I received                     14 officers. He was the head of the fraud
   15 some of them from the plaintiff from the             15 division. When I met him, he was the head of
   16 lawyers, from the plaintiffs' lawyers and            16 the investigative unit.
   17 also I personally found them myself.                 17 Q. All of the Mike's Place
   18 Q. And the ones that you found                       18 documents listed on page 8 of Exhibit 2 you
   19 yourself, where did you find them?                   19 received from Dudi Bar?
   20 A. At least three cases that I                       20    MR. SHALOV: Objection to form.
   21 found I found them, I copied them in the             21 You can answer.
   22 police station.                                      22 A. No. Dudi Bar does not
   23 Q. What three documents are those?                   23 distribute documents. I photocopied the
   24 A. I am talking about the terror                     24 documents which the head of the investigative
   25 attack in Mike's Place.                              25 unit authorized me to copy in Tel Aviv and


                                                 Page 14                                                  Page 16

    1    NAIM                                               1    NAIM
    2    MR. SHALOV: Note my objection                      2 his name is Meir Cohen and he's the chief
    3 to the form of the question.                          3 superintendent.
    4 Q. What documents are the ones --                     4 Q. In Tel Aviv?
    5 let me go back. You said at least --                  5 A. In Tel Aviv. I do not remember
    6 A. I can continue?                                    6 100 percent if I photocopied all the
    7 Q. The question is --                                 7 documents or I was given some of the
    8 A. I'm not done, please. You                          8 documents, but what's important is that I
    9 asked and I want to reply.                            9 spoke with him about the case after I read
   10 Q. I wanted to make sure you                         10 the material so we trade forces what I
   11 remembered the question?                             11 already knew and it reinforced the
   12 A. I tried to. Mike's Place and                      12 information I already knew.
   13 then two more cases, one in Kiriyat Arba and         13 Q. From reading the documents?
   14 Tel Romeda.                                          14 A. From reading the documents,
   15 Q. In your report you identify --                    15 from talking to him, and from seeing many
   16 let's look at your supplemental report. You          16 things related to the terror attack. In this
   17 identify documents relating to Mike's Place.         17 case I remember it well. I did not always
   18 Did you find all of these documents in the           18 have all the confessions on video, but here
   19 police station?                                      19 in this case there were two British Muslims
   20 A. As far as I remember, yes. I                      20 who came here to Arab countries in order to
   21 also spoke with the officer who was                  21 do the terror attack and they were
   22 responsible on the special investigation             22 interviewed before the attack in Gaza and
   23 unit.                                                23 they came and told why they are going to do
   24 Q. What police station was that?                     24 the terrorist attack so in terms of the
   25 A. In Tel Aviv. As far as I                          25 material and the information, everything went


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    1    NAIM                                               1    NAIM
    2 together in an excellent way for me.                  2 I photocopied all the case, all the material
    3 Q. You also said that the other                       3 in the case.
    4 matters for which you got documents from              4 Q. Did you photocopy documents
    5 police stations were relating to the Tel              5 other than the one document you identify on
    6 Romeda attack and Neve Dekalim attack,                6 page 8 of your report?
    7 correct?                                              7 A. I'm not sure what you mean.
    8    MR. SHALOV: Shaul, I have to                       8 Q. You identify on page 8 one
    9 caution you again to wait until Mr.                   9 document relating to Kiriyat Arba. I'm asking
   10 Friedman's questions are translated                  10 you whether there were other documents that
   11 from English into Hebrew so just wait                11 you photocopied?
   12 for that process to be completed                     12 A. On page 8?
   13 before you answer even though you                    13 Q. On page 8 you identify one
   14 understand to some extent what Mr.                   14 document pertaining to the Kiriyat Arba
   15 Friedman is asking you.                              15 attack. I believe you just testified that
   16 Q. Let me put the question again.                    16 you were permitted to photocopy all the
   17 You said the two other matters for which you         17 material in the case at the file at the
   18 obtained the documents that you identified           18 police station. My question is is that
   19 other than from plaintiffs' counsel but              19 right, did you photocopy more documents than
   20 rather at police stations pertain to the Tel         20 the one that's identified here?
   21 Romeda attack and the Neve Dekalim attack,           21    MR. SHALOV: Objection to form.
   22 correct?                                             22 You can answer.
   23 A. No, I said Tel Romeda and I                       23 A. In general?
   24 said Kiriyat Arba.                                   24 Q. Yes.
   25 Q. My mistake, I apologize.                          25 A. Yes.


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    1    NAIM                                               1    NAIM
    2 Q. The documents relating to Tel                      2 Q. Where are those documents today
    3 Romeda are the ones identified on page 11 of          3 that you photocopied?
    4 your report supplemental report?                      4 A. Some of them I have, for
    5 A. Yes.                                               5 example, I took most of the indictments, most
    6 Q. The ones relating to Kiriyat                       6 of the military indictments who went in front
    7 Arba is the one document identified on page 8         7 of a military court.
    8 of your supplemental report, correct, the top         8 Q. Mr. Naim, are you talking about
    9 of page 8, I'm sorry?                                 9 the Kiriyat Arba attack because that's all
   10 A. Yes.                                              10 I'm asking about so let me go back because I
   11 Q. Tell me how did you get this                      11 think you misunderstood my question.
   12 document related to Kiriyat Arba?                    12 A. Okay.
   13 A. I called because I was in the                     13 Q. You've identified in your
   14 police for many years and it was easier for          14 report one document relating to Kiriyat Arba.
   15 me to communicate and speak directly with the        15 You said earlier that you copied the
   16 officers of the investigations who were              16 documents plural that were in the file. I'm
   17 responsible for the investigations. Some of          17 asking where those documents -- those other
   18 them worked with me together previously in           18 documents that you photocopied that are not
   19 Jerusalem and they got promoted and received         19 this one Exhibit A for Kiriyat Arba, where
   20 different roles among which Ben Moshe who is         20 are those today?
   21 the chief investigator and the information           21    MR. SHALOV: Objection to form.
   22 officer for the Hebron station I sent him a          22 You can answer.
   23 formal request to photocopy so it would not          23 A. If we're talking about Kiriyat
   24 be like he's doing me a favor and he                 24 Arba I received the material, the Kiriyat
   25 authorized that I photocopy the material and         25 Arba material. What I did, I went to the


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    1     NAIM                                               1    NAIM
    2 Place and afterwards I spoke with Meir Cohen.          2 correct?
    3 In Hebron I spoke with -- I spoke with a               3 A. In principal, yes, but don't
    4 large number of officers and nobody refused            4 forget by myself I also received many
    5 to give me the material.                               5 indictments doubly so I can double check.
    6 Q. Let me go back to my question                       6 Q. What do you mean by double
    7 because it was much narrower and I would ask           7 check?
    8 that you focus on my question and answer my            8 A. In more than was necessary,
    9 question. Did you make a formal request with           9 more than was necessary. I went to the
   10 respect to Kiriyat Arba and if so, who did            10 military court in Ofer and after I prepared
   11 you address it to?                                    11 the list of all the indictments in the
   12 A. I said before and I will say                       12 military files that were taking place against
   13 again I requested a formal request and in             13 all the terrorists in a number of attacks I
   14 parenthesis I did not want any favors from            14 wanted to see how it happened there
   15 the chief investigative unit of the Hebron            15 technically and I received from them most of
   16 station. His name is Yakov Ben Moshe and the          16 the indictments that I already had after they
   17 title is chief superintendent.                        17 stamped that it conforms to the original and
   18 Q. Did you make a formal request                      18 this I say that it was beyond what was
   19 with respect to Tel Romeda?                           19 necessary.
   20     MR. SHALOV: Objection to form.                    20 Q. Of the documents you list in
   21 Not sure what you mean by formal                      21 your supplemental report for the attacks
   22 request.                                              22 other than Kiriyat Arba, Tel Romeda and
   23 Q. Did you make a written request?                    23 Mike's Place, can you tell by looking at your
   24 A. Yes.                                               24 report which documents you double checked and
   25 Q. Did you make a written request                     25 which you did not?


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    1    NAIM                                                1    NAIM
    2 with respect to Mike's Place?                          2    MR. SHALOV: Do you want him to
    3 A. Mike's Place as far as I                            3 go through the whole report?
    4 remember I did request -- it's possible that           4    MR. FRIEDMAN: I'm asking
    5 the material was received directly by the              5 whether he's able to tell me that as a
    6 plaintiff, but I had the material when I               6 matter of principal and then we can go
    7 spoke with the head of the investigation.              7 to specifics.
    8 Q. I just want to go back and make                     8 A. I can tell you this. I read
    9 sure I'm clear. I believe you testified                9 all the material and it was a lot of
   10 earlier that the documents identified in your         10 material. I took all the material that
   11 supplemental report you received from                 11 included military indictments and I only
   12 plaintiffs' counsel except for the documents          12 wrote the case number of the military court
   13 related to Mike's Place, Tel Romeda and               13 in Judea and there's a military court in
   14 Kiriyat Arba you obtained those yourself; is          14 Samaria. I had a list of maybe 40 case
   15 that correct?                                         15 numbers. I have it at home. I did not bring
   16    MR. SHALOV: Objection to form.                     16 it with me. I went and I requested from the
   17 A. I want to say clearly so that I                    17 secretary of the military court the whole
   18 will not make a mistake and I won't mislead           18 list of all the files and give me the whole
   19 you. As far as Tel Romeda and Kiriyat Arba,           19 file.
   20 I personally presented a formal request and I         20    I sat down with a clerk, a
   21 received answers. As far as Mike's Place is           21 judge clerk in front of her computer and she
   22 concerned, I'm not sure if I received or I'm          22 typed most of the list, but not all of it.
   23 not sure. I don't want to guarantee.                  23 She had a problem in the computer. Some she
   24 Q. The rest of the documents you                      24 didn't know the codes to get the indictment
   25 received from plaintiffs' counsel; is that            25 out, but what she took out about 30 and I


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   MOSES STRAUSS, et al. VS.          8490                                   SHAUL NAIM
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    1    NAIM                                                    1    NAIM
    2    THE VIDEOGRAPHER: This is tape                          2 cases?
    3 two of the deposition of Mr. Shaul                         3 A. Prosecutor's file?
    4 Naim. We are now on the record. The                        4 Q. Did you go to any prosecutor's
    5 time is 11:10 a.m., October 6, 2010.                       5 office to look at any prosecutor files?
    6 Q. Mr. Naim, before the break you                          6 A. I did not go there, but I
    7 said that I think you used the phrase any                  7 talked to prosecutors who handle these cases.
    8 interested party can apply to the police or a              8 Q. You made requests to look at
    9 court to get access to documents.                          9 police files in some instances and court
   10    MR. SHALOV: Objection to form.                         10 files in some instances, correct?
   11 Q. Are these files open to the                            11    MR. SHALOV: Objection to form.
   12 general public or does one have to show that              12 A. I submitted requests to
   13 they meet certain criteria to get these                   13 photocopy files to the heads of the
   14 files?                                                    14 investigative divisions either in their
   15 A. A person has to meet certain                           15 region or the district where the attacks took
   16 criteria in order to photocopy a file.                    16 place.
   17 Q. What are those criteria?                               17 Q. Also to courts where court
   18 A. I'll give you an example. If                           18 cases related to the attacks took place,
   19 there is a conflict between a husband and                 19 correct?
   20 wife in a civil case, the husband stands a                20    MR. SHALOV: Objection to form.
   21 civil trial, the wife has all the rights to               21 A. I prepared such requests. I
   22 know what is going on in the trial and at the             22 received the verdicts from the courts through
   23 end of the trial if she wants to file a                   23 the plaintiffs' attorneys, the verdicts of
   24 lawsuit she can ask for this file either from             24 the courts.
   25 the police or from the court.                             25 Q. Just to make sure I'm clear,


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    1    NAIM                                                    1    NAIM
    2 Q. Can you give me any other                               2 Mr. Naim, the only requests you made were of
    3 examples of the criteria one has to meet in                3 -- the only requests made for access to files
    4 order to get access to these files?                        4 were requests to police authorities, not to
    5 A. A file in a vehicle accident,                           5 courts?
    6 car accident, the victim is allowed to                     6 A. I prepared requests to courts
    7 photocopy through his attorneys the police                 7 as well, however, I did not receive any
    8 file in order to sue the insurance company or              8 answers from the courts, from the court
    9 the person who caused this accident. This is               9 clerks, but I received the materials from my
   10 what is referred to as an interested party.               10 attorneys and therefore I did not pressure
   11 Q. Who decides whether a person                           11 them.
   12 making a request to see police or court files             12 Q. So just to make sure I'm clear,
   13 qualifies as an interested party to have                  13 the only authorities to which you made
   14 access?                                                   14 requests and received responses and were
   15 A. In a criminal case, criminal                           15 granted access were police authorities,
   16 police case either the district or the                    16 correct?
   17 regional head of the investigative unit and               17    MR. SHALOV: Objection to form.
   18 in the court file it's the court clerk.                   18 You can answer.
   19 Q. Did you consult any prosecutor                         19 A. Yes.
   20 files in the course of your work in these                 20 Q. So those police authorities
   21 cases?                                                    21 accepted you as an interested party permitted
   22    MR. SHALOV: Objection to the                           22 to have access to these files, correct?
   23 word consult. Answer if you can.                          23    MR. SHALOV: Objection to form.
   24 Q. Did you look at any prosecutor                         24 Asks for speculation.
   25 files in the course of your work in these                 25 A. Yes.


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    1    NAIM                                                    1    NAIM
    2 Q. When you made these requests,                           2 representative on my behalf.
    3 did you believe you were an interested party               3 Q. Who is --
    4 entitled to look at these files?                           4 A. After I coordinated it with the
    5 A. Absolutely.                                             5 police officer.
    6 Q. What was your basis for                                 6 Q. Who is that person?
    7 believing that to be, in other words, what                 7 A. Somebody who was working with
    8 made you an interested party in your view?                 8 me.
    9 A. If I or the attorneys I work                            9 Q. Were you physically present
   10 with represent the victims and they intend to             10 when the photocopying took place?
   11 file a lawsuit against anybody they consider              11 A. No.
   12 fit hence they have the right and they are                12 Q. Did the photocopying take place
   13 considered an interested party.                           13 on the same day as your review?
   14 Q. New topic. The photocopying                            14    MR. SHALOV: Objection to form.
   15 that was done of materials from police files              15 A. Yes.
   16 for you, who physically did that                          16 Q. So is it fair to say you looked
   17 photocopying?                                             17 at the files you were shown, you selected
   18 A. Who photocopied it, the law                            18 certain documents for photocopying and then
   19 offices I work with work with various                     19 you had your assistant photocopy them right
   20 entities and they saw to making the copies.               20 on that same day?
   21 Q. I'm not sure I understand. You                         21 A. What happens is that the
   22 have testified that you were given access to              22 district attorney's office or the police or
   23 certain files from police authorities. Where              23 whoever gives you the documents that you have
   24 physically did you look at those files, at                24 the right to copy. They don't give you
   25 the police stations themselves?                           25 internal correspondence of the investigators,


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    1     NAIM                                                   1    NAIM
    2     MR. SHALOV: Objection to form.                         2 for example, that's not allowed.
    3 You can answer.                                            3 Q. I'm focusing on what you
    4 A. Inside the police station, for                          4 actually did, I'm not talking about general
    5 example, in Hebron after I submitted the                   5 practice. Let's take it step by step. How
    6 request they took out the files, we                        6 many police stations did you go to to look at
    7 photocopied them, then I returned to my                    7 documents?
    8 office and read them.                                      8 A. In order to copy them?
    9 Q. That was an example of how the                          9 Q. To look at them and to copy
   10 procedure worked at each police station that              10 them?
   11 you went to, correct?                                     11 A. I said I went to the Tel Aviv
   12 A. How the procedure works because                        12 district where I saw Dudi Bar, the head of
   13 it's so to this day.                                      13 the special investigations team.
   14 Q. Who did the photocopying, a                            14 Q. What other police stations --
   15 police employee or you?                                   15 A. I didn't go to Hebron -- just a
   16 A. Usually when you come to                               16 moment, but the file was photocopied for me
   17 photocopy something there are photocopy                   17 in Hebron. I talked to the special
   18 machines at the police station and you do the             18 investigations officer and he gave me the
   19 photocopying.                                             19 permission to copy the file.
   20 Q. I'm not asking about usual                             20 Q. But the copying was done by the
   21 practice, I'm asking with respect to the                  21 police official and mailed to you?
   22 documents that you got from police stations               22 A. It was given to me by hand
   23 that you looked at at police stations,                    23 after it was photocopied.
   24 physically who photocopied those?                         24 Q. Other than the Tel Aviv
   25 A. My representative, a                                   25 district and the Hebron station, are there


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    1    NAIM                                                   1    NAIM
    2 any other police offices from which you                   2 who knows the procedures of what is allowed
    3 received documents?                                       3 to be given and what is not allowed to be
    4 A. No.                                                    4 given to a person, to an attorney, to an
    5 Q. The documents from the Tel Aviv                        5 interested party.
    6 district, you were shown certain files,                   6 Q. So that person decided which of
    7 correct?                                                  7 the documents related to the Mike's Place
    8 A. No.                                                    8 attack you were permitted to see?
    9 Q. Tell me how it worked?                                 9 A. Yes.
   10 A. At the Tel Aviv district I sent                       10 Q. The other police station from
   11 a request to the investigation division head             11 which you got documents or the other police
   12 to photocopy files relating to Tel Aviv                  12 office from which you got documents was
   13 attacks which is what we're talking about,               13 Hebron, right?
   14 the Mike's Place attack.                                 14 A. Correct.
   15 Q. Just the one attack?                                  15 Q. What attack or attacks did
   16 A. Yes. I received a permit to                           16 those documents relate to?
   17 make the copies and I sent my people, I                  17 A. Two attacks, Kiriyat Arba and
   18 received the material and afterwards I had a             18 Tel Romeda.
   19 conversation with the head of investigation              19 Q. And you made a written request
   20 unit himself after I had the material before             20 for documents?
   21 me.                                                      21    MR. SHALOV: From this police
   22 Q. That's Dudi Bar?                                      22 station?
   23 A. Correct.                                              23    MR. FRIEDMAN: Yes.
   24 Q. What did you discuss with Dudi                        24 A. Yes, you asked me before and I
   25 Bar?                                                     25 answered yes.


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    1    NAIM                                                   1    NAIM
    2 A. Actually I discussed with him                          2 Q. And you received documents hand
    3 the entire file. Correction the entire case.              3 delivered to you from the police station?
    4 The Scottland Yard became involved because                4    MR. SHALOV: Objection to form.
    5 there were also British citizens involved.                5 A. That's right.
    6 Q. You said you sent your people                          6 Q. The decision as to which
    7 to make copies. Are those people employed by              7 documents you were given concerning those two
    8 your law office?                                          8 attacks was made by the police officer in
    9 A. No, various people with whom I                         9 charge of deciding what you could have,
   10 work from time to time.                                  10 correct?
   11 Q. Who are they?                                         11    MR. SHALOV: Objection.
   12 A. I can give you names. If I                            12 A. Correct.
   13 give you a name, will it tell you something?             13 Q. Just to make sure I'm clear
   14 One of them his name is Meir.                            14 from the documents you received from the Tel
   15 Q. These are people who work for                         15 Aviv district concerning the Mike's Place
   16 you?                                                     16 attack you made a written request for those
   17 A. Occasionally. Not on a                                17 as well?
   18 permanent basis.                                         18    MR. SHALOV: Objection to form.
   19 Q. Who made the decision as to                           19 A. Yes.
   20 what documents you were permitted to have                20 Q. Do you have at your offices
   21 from the Tel Aviv district?                              21 copies of those written requests?
   22 A. There is a permit in principal                        22 A. I believe so.
   23 that I received from the head of                         23 Q. Other than the documents you
   24 investigation division in Tel Aviv and there             24 received from the Tel Aviv district and the
   25 is the person in charge of the police archive            25 documents you received from the Hebron


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    1    NAIM                                               1    NAIM
    2 police, all of the other documents identified         2 just stop there and then I'll finish my
    3 in your supplemental report you received from         3 question.
    4 plaintiffs' counsel?                                  4    MR. SHALOV: Objection to form
    5    MR. SHALOV: Objection to form.                     5 to the extent it mischaracterizes his
    6 Asked and answered multiple times.                    6 testimony.
    7 Answer again.                                         7 Q. Did you check the documents
    8 A. That's right.                                      8 that you received from plaintiffs' counsel
    9 Q. Focusing on the documents that                     9 against documents that you got from any other
   10 you received from plaintiffs' counsel, what          10 source?
   11 if anything did you do to determine the              11    MR. SHALOV: Objection to form.
   12 authenticity of those documents?                     12 You can answer.
   13    MR. SHALOV: That's a very open                    13 A. What do you mean by other
   14 ended question. If you are prepared                  14 sources, do you mean from the press, you mean
   15 for a lengthy answer, that's fine.                   15 from personal knowledge, what do you mean?
   16    MR. FRIEDMAN: Let me try to                       16 Q. I mean did you compare the
   17 narrow it down.                                      17 documents that you received from plaintiffs'
   18 Q. Did you go to any police                          18 counsel against any other versions of those
   19 offices to check the documents you got from          19 documents?
   20 plaintiffs' counsel against documents at             20 A. I already responded to it, but
   21 police offices?                                      21 some of the documents I received indictments
   22 A. No.                                               22 which came from the plaintiffs' counsel I
   23 Q. Did you go to any courts to                       23 compared them with the indictments found in
   24 check the documents you got from plaintiffs'         24 the military court where the trials took
   25 counsel against documents in court files?            25 place and I saw that it was completely


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    1    NAIM                                               1    NAIM
    2 A. No.                                                2 consistent.
    3 Q. Did you go to any prosecutor's                     3 Q. I'm confused, Mr. Naim, because
    4 offices in order to check the documents you           4 you told me you did not go to any courts a
    5 got from plaintiffs' counsel against                  5 few moments ago, but now you're telling me
    6 documents in prosecutor's files?                      6 you compared this with the indictments with
    7 A. No.                                                7 documents in military courts?
    8 Q. Looking at the universe of                         8    MR. SHALOV: Objection to form.
    9 documents you received from plaintiffs'               9 Mischaracterizes his testimony. You
   10 counsel, did you check those documents               10 can answer.
   11 against other versions of those same                 11 A. Right, maybe I did not explain
   12 documents from anywhere?                             12 myself correctly, however, regarding my last
   13    MR. SHALOV: Objection to form.                    13 sentence I meant -- when I said no, I meant
   14 A. I don't understand the                            14 the civil court, not the military court.
   15 question.                                            15 Q. So you did go to military
   16    MR. FRIEDMAN: Let me rephrase                     16 courts and you compared indictments that you
   17 the question so the record is clear.                 17 received from plaintiffs' counsel with
   18 Q. You've told me you did not                        18 indictments in the files in the military
   19 check these documents against documents in           19 courts, correct?
   20 police files, you didn't check these                 20 A. That's right.
   21 documents against documents in court files,          21 Q. With respect to what attacks
   22 you didn't check these documents against             22 did you do that?
   23 documents in prosecutor's files and by these         23    MR. SHALOV: Can he refer to
   24 documents I'm referring to the documents you         24 his exhibit?
   25 received from plaintiffs' counsel. Let me            25    MR. FRIEDMAN: He can look at

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    1    NAIM                                                1    NAIM
    2 anything.                                              2 8.
    3    MR. SHALOV: Take your time.                         3 Q. Right and where is Line 6?
    4 A. From what I'm looking at the                        4 A. Line 2 that we said -- let's
    5 list.                                                  5 leave 6 aside for a moment. Line 2. Line
    6 Q. On Exhibit 2?                                       6 19. I really don't see Line 6 here, but I
    7 A. I'm looking at the supplement                       7 know I encountered it during the examination.
    8 and I see all the attacks and I see that the           8 Maybe while I was checking everything I
    9 files that I -- the indictments that I                 9 encountered it so I took it.
   10 received from the plaintiffs' counsel I               10 Q. Let's go to page 3 of the
   11 checked in the military courts. Not only the          11 supplemental report. Which military court
   12 indictments, also the verdicts and the                12 did you go to?
   13 sentences.                                            13 A. I went to the Ofer military
   14 Q. Okay.                                              14 court.
   15 A. So I double checked the                            15 Q. How did you get access to its
   16 military court, the indictment, the verdict           16 files?
   17 and the sentence of the attack on Ben Yehuda.         17 A. The military files?
   18    MR. SHALOV: You asked him                          18 Q. Yes.
   19 which attacks.                                        19 A. I went there. I introduced
   20 Q. Why don't you first list the                       20 myself as somebody who handles attack files.
   21 attacks and then we'll go back and talk about         21 I said I needed to compare indictments,
   22 the documents so why don't you tell me which          22 sentences and the verdicts that I had in my
   23 attacks?                                              23 possession and they issued those verdicts for
   24 A. So I'm saying I checked the                        24 me with certification that they were
   25 attacks on Ben Yehuda and the indictments and         25 consistent with the original.


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    1    NAIM                                                1    NAIM
    2 the sentences. I did not find everything,              2 Q. Did you attach those
    3 but I found a large portion of it. Park                3 certifications to either of your reports?
    4 Hotel, for example, the entire verdict and             4 A. No, I said I had done it only
    5 sentence of the co-defendants I found there,           5 above and beyond what was required and
    6 the four co-defendants of the leader, right.           6 therefore I did not touch them.
    7 I checked it regarding Sheffield Club.                 7 Q. Does the public have access to
    8 Sheffield Club the indictment which again is           8 military court files or is it limited to
    9 the same for Ben Yehuda and Sheffield Club             9 interested parties as you said earlier for
   10 regarding Barghuthi, but I checked it. I              10 other files?
   11 checked the indictment on Route 60, the first         11 A. I believe it's only for an
   12 one and also the second one. One occurred in          12 interested party.
   13 January and one occurred in June. I also              13 Q. The basis on which you believed
   14 checked the indictment on Line 14A. I also            14 you were an interested party with respect to
   15 checked the indictment -- actually several            15 the military courts is the same as the basis
   16 indictments of Sbarro's.                              16 you told me earlier for the police files?
   17 Q. The Sbarro attack is not listed                    17    MR. SHALOV: Objection to form.
   18 here?                                                 18 A. I believe so.
   19 A. Correct.                                           19 Q. Now looking at the description
   20 Q. Where is Line 14A, I cannot                        20 in your supplemental report of Exhibits A
   21 find that one?                                        21 through C for the Ben Yehuda bombings, which
   22 A. Just a second. I'll finish and                     22 of these did you check against copies in the
   23 then I'll refer you. Line 6 is here.                  23 court files?
   24 Q. What page is that on?                              24    MR. SHALOV: Objection to form.
   25 A. It's here. Oh, 14 is on page                       25 A. Regarding Ben Yehuda I said I


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    1    NAIM                                                1    NAIM
    2 Q. Let's go to the next Route 60                       2 A. A.
    3 shooting attack of June 2, 2003 which has              3    INTERPRETER KOHN: Interpreter's
    4 exhibits listed on pages 8 through 10 of your          4 mistake, that was A, not E.
    5 supplemental report. What military court did           5 A. B, Abu Halil, C, and E. I'm
    6 you go to for these documents?                         6 not sure regarding D, but these I remember
    7 A. Again, I went to the same court                     7 receiving. I had the materials relating to
    8 which is the Judea court in the Ofer camp.             8 bus line 19 at my office and then I compared
    9 Q. That was the same visit as for                      9 them.
   10 the other attacks?                                    10 Q. The documents you were shown by
   11 A. That's right.                                      11 the military courts all corresponded to
   12 Q. Which of the documents listed                      12 documents that you had already -- for which
   13 here on pages 8 through 10 were you shown?            13 you already had copies?
   14 A. What I see here is A, B, E.                        14    MR. SHALOV: Objection. You
   15 That's what I remember. I photocopied a               15 can answer.
   16 portion of them.                                      16 A. A large portion of the
   17 Q. Let's go to the next one you                       17 documents that I had I received them also
   18 identified on page 10, the bus line number 2          18 from the military court and I compared them.
   19 attack. What military court did you go to             19 Q. Okay so --
   20 for documents relating to that attack?                20 A. I received some from the court
   21 A. I went to the military court in                    21 that I did not have among my own materials
   22 Judea.                                                22 and there were also some -- there was some
   23 Q. The Ofer court?                                    23 that I didn't have and I received from them.
   24 A. Correct.                                           24 Q. On that same visit to the Ofer
   25 Q. The same visit as for the other                    25 camp?


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    1     NAIM                                               1    NAIM
    2 attacks?                                               2 A. I spent several hours there.
    3 A. Correct.                                            3 Q. Are any of those documents that
    4 Q. Which of these documents were                       4 you received at the Ofer camp for which you
    5 you shown?                                             5 did not previously have copies, are any of
    6 A. To the best of my recollection                      6 those identified in your supplemental report?
    7 I was shown and I also received A, D and F.            7 A. No.
    8 It's possible the others as well, but I                8 Q. What was your basis for not
    9 remember them less. These I really remember,           9 including those documents in your
   10 but I would have to see it.                           10 supplemental report?
   11 Q. Last let's go to the other                         11 A. I don't understand your
   12 attack you identified as one for which you            12 question.
   13 went to a military court, the bus 19 bombing          13 Q. You said you received documents
   14 on pages 11 and 12.                                   14 from the military court that you did not
   15 A. I went to the Judea military                       15 identify in your supplemental report and I'm
   16 court in Ofer.                                        16 asking what was your basis for deciding not
   17 Q. The same visit as you described                    17 to include those documents in your report?
   18 earlier?                                              18 A. I went to the military court
   19 A. Right.                                             19 after I prepared the report and therefore I
   20 Q. Which of these documents were                      20 did not include it.
   21 you shown?                                            21 Q. Going back to the Tel Aviv
   22 A. I was shown the indictments of                     22 district, did you receive any documents from
   23 Ahmad Salah Ahmad Salah, that's his name              23 the Tel Aviv district that you did not
   24 twice, that's E.                                      24 identify in your report?
   25 Q. That's Exhibit A?                                  25 A. No.


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    1     NAIM                                                 1    NAIM
    2 A. I did not go through the whole                        2 answered it for me.
    3 list of all the documents. I have to see                 3 Q. Look at the last sentence on
    4 what's there, what I remember and what I                 4 page 12.
    5 don't remember.                                          5    MR. SHALOV: Before you answer,
    6 Q. Is there any source from which                        6 can I read the prior question to make
    7 you received the documents to which you refer            7 sure of the accuracy of my
    8 other than plaintiffs' counsel, the Tel Aviv             8 certification.
    9 district police, the Hebron district police              9    MR. FRIEDMAN: Yes.
   10 or the Ofer military court, is there any                10    MR. SHALOV: I just want to
   11 other source?                                           11 make clear that we understand each
   12 A. No.                                                  12 other and that this agreement about
   13     MR. FRIEDMAN: This is as much                       13 what he's referring to --
   14 a question for plaintiffs' counsel as                   14    MR. FRIEDMAN: Let me take
   15 it is for Mr. Naim, but I think I                       15 another shot at it, Lee and Steve. I
   16 understand the intent of his                            16 think that I'm -- that what is being
   17 conclusion, but let me ask you the                      17 said here is that whereas in his
   18 conclusion on page 12 references                        18 original report he expressed an
   19 Section 4, but there is no Section 4                    19 authenticity opinion with respect to
   20 in the supplemental report. Am I to                     20 the documents listed in Section 4, we
   21 understand that he's giving this                        21 are now substituting the documents
   22 authenticity opinion with respect to                    22 listed on pages 3 through 12 of the
   23 the revised version of documents that                   23 supplemental report for what was
   24 was previously in Section 4 of the                      24 previously listed in 4.
   25 original report, the revised version                    25    MR. SHALOV: I think that's

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    1    NAIM                                                  1    NAIM
    2 being pages 3 through 12 of the                          2 correct. I think one way to interpret
    3 supplemental report, in other words,                     3 this is simply to delete the reference
    4 does what's listed on pages 3 through                    4 to Section 4 in this conclusion and
    5 12 substitute for what was previously                    5 simply say all of the documents
    6 in Section 4 of the authenticity                         6 referenced herein.
    7 opinion? That's how I understand this                    7    MR. FRIEDMAN: Okay.
    8 and I just want to confirm this.                         8    MR. SHALOV: And attached
    9    MR. SHALOV: Why don't we take                         9 hereto, I don't think there are any
   10 a look at the reports, Larry, and do                    10 documents attached hereto, but all the
   11 our best to respond to your inquiry.                    11 documents referenced herein appear to
   12    MR. FRIEDMAN: Then I'll ask                          12 be authentic.
   13 the witness.                                            13 Q. Look at the last sentence of
   14 Q. Mr. Naim, do you see the                             14 page 12 and read that to yourself. Are you
   15 conclusion on page 12 of your report,                   15 referring here only to the documents that you
   16 supplemental report?                                    16 saw in Ofer?
   17 A. Yes.                                                 17 A. In the last sentence?
   18 Q. This refers to the documents                         18 Q. Yes.
   19 referenced in Section 4, do you see that in             19 A. No.
   20 your conclusion?                                        20 Q. Are you referring to more than
   21    MR. SHALOV: I think we can cut                       21 those documents?
   22 through this and confirm your                           22 A. Only to the documents that
   23 observation is correct.                                 23 appear in the attachment.
   24    MR. FRIEDMAN: I withdraw my                          24 Q. You are referring to all of the
   25 question because your counsel has                       25 documents on pages 3 through 12?


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   MOSES STRAUSS, et al. VS.          8497                                   SHAUL NAIM
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    1    NAIM                                               1    NAIM
    2 A. Yes.                                               2 A. Yes.
    3 Q. How do you know that those                         3 Q. Are you currently an employee
    4 documents are maintained in court files if            4 of any Israeli civilian court?
    5 you did not see the court files?                      5 A. Employee in the court?
    6 A. I know indictments. I was                          6 Q. Yes.
    7 myself a prosecutor for many years. I                 7 A. No.
    8 prepared hundreds of indictments. I had met           8 Q. Are you currently an employee
    9 over 30 lawyers who prepared indictments and          9 of any military court in Israel?
   10 I personally would check them, at least the          10 A. No.
   11 new ones. I read the sentencings --                  11 Q. Have you ever been an employee
   12 verdicts. I saw materials. I read                    12 in a civilian court or a military court?
   13 testimonies taken by some of my investigators        13 A. No.
   14 and I spoke with those investigators who took        14 Q. You are currently a lawyer in
   15 the testimonies and I spoke with                     15 private practice, correct?
   16 investigators who transported -- who took            16 A. Correct.
   17 defendants to hiding places for weapons and          17 Q. That was your employment when
   18 so forth. I understand how an indictment has         18 you signed your original and supplemental
   19 to be formulated so when I read the material         19 reports, correct?
   20 and I see an indictment and it appears on the        20 A. Correct.
   21 face of it as authentic because I know it.           21 Q. At the end of this last
   22 Q. Are you currently --                              22 sentence on page 12 you refer to the records
   23    MR. SHALOV: I would                               23 as being obtained upon a formal request to
   24 respectfully ask that you let him                    24 the respective court. Are you referring
   25 answer the question. I think he had                  25 there to a request made by what you described


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    1    NAIM                                               1    NAIM
    2 more to answer based on the open ended                2 earlier as an interested party?
    3 nature of the question. I think it                    3 A. The requests made for materials
    4 requires a lengthy response so please                 4 were by an interested party.
    5 don't cut him off.                                    5 Q. The court records you are
    6    MR. FRIEDMAN: Maybe with that                      6 referring to are not available to anyone in
    7 coaching, yes, but I looked at the                    7 the public? In order to have a request
    8 witness and I think he was done with                  8 granted you have to establish that you are to
    9 his answer.                                           9 use your term an interested party, correct?
   10 Q. Were you done with your answer?                   10    MR. SHALOV: Objectionable.
   11 A. If you interrupt me and you                       11 A. Part of the materials in my
   12 continue, I will not force an answer. I have         12 possession any citizen can get them on the
   13 a lot to say.                                        13 internet. Some of the material you need to
   14 Q. Did I interrupt you?                              14 be an interested party to receive testimonies
   15 A. It's all right.                                   15 and so on.
   16 Q. Okay. Did you have anything                       16 Q. What materials described in
   17 more to say in response to my last question?         17 your report can any citizen get on the
   18 A. I wanted to say that after 30                     18 internet?
   19 years as a prosecutor in the police and              19 A. Court rulings are published on
   20 responsible for investigations and management        20 legal sites, transcripts, citizens can
   21 of investigation yourself, you can know when         21 receive them especially lawyers who go on to
   22 you read material if you read authentic              22 these legal sites. Testimonies and other
   23 material or not otherwise it's as if the 30          23 police materials are related to interested
   24 years did not exist.                                 24 party.
   25 Q. Have you finished your answer?                    25 Q. Are limited to interested


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    1      NAIM                                                 1    NAIM
    2   the sentencing or the court ruling and I also           2 from the police a year or two after, I don't
    3   see the indictments, a list of testimonies              3 remember exactly.
    4   that were given to investigators on given               4 Q. When did you retire?
    5   dates so I have no doubt that they exist                5 A. Four years ago, but this was
    6   therefore I noted them. Unfortunately for me            6 about two years ago more or less. He told me
    7   to get them physically I was not able to do             7 a law firm is looking for somebody with your
    8   that therefore because I was unable to get              8 background.
    9   them physically I excluded them.                        9 Q. What is that police officer's
   10      MR. FRIEDMAN: Why don't we                          10 name?
   11   break for lunch and try to come back                   11 A. I'm not sure whether -- I'm not
   12   at a quarter to two.                                   12 sure he would want me to divulge his name,
   13      THE VIDEOGRAPHER: We are now                        13 but I don't think it's important.
   14   off the record. The time is 1:02 p.m.,                 14 Q. Will you tell me his name?
   15   October 6, 2010.                                       15 A. If you insist I will.
   16      (Luncheon recess taken at 1:02                      16 Q. Please do.
   17   p.m.)                                                  17 A. His name is Hezi Leder,
   18                                                          18 brigadier general. He retired.
   19                                                          19 Q. Was he retired when you spoke
   20                                                          20 to him about this subject?
   21                                                          21 A. Yes.
   22                                                          22 Q. Did he tell you how he knew
   23                                                          23 that there were lawyers who were looking for
   24                                                          24 someone with your background?
   25                                                          25    MR. SHALOV: Objection to form.

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    1    NAIM                                                   1    NAIM
    2 AFTERNOON SESSION                                         2 A. That's what I said before
    3    (Time Noted: 1:54 p.m.)                                3 didn't I?
    4                                                           4 Q. Did he tell you how he knew
    5 S H A U L N A I M, resumed and testified                  5 that?
    6 as follows:                                               6 A. I did not ask for any
    7                                                           7 superfluous detail and he did not tell me.
    8 CONTINUED EXAMINATION                                     8 Q. With what service was he a
    9    BY MR. FRIEDMAN:                                       9 brigadier general?
   10    THE VIDEOGRAPHER: We are now                          10 A. He was the head of intelligence
   11 back on the record. The time is 1:54                     11 for the Israeli police.
   12 p.m., October 6, 2010.                                   12 Q. For which -- in Hebrew what
   13    MR. FRIEDMAN: Good afternoon.                         13 Israeli police agency are you referring to?
   14 I presume if I would ask Mr. Naim what                   14 A. I don't understand the
   15 he was told as to where plaintiffs                       15 question.
   16 obtained the documents that they gave                    16 Q. Are you referring to Shin Bet?
   17 to him about which he testified this                     17 A. Regarding whom?
   18 morning you will direct him not to                       18 Q. The agency that Mr. Leder was a
   19 answer?                                                  19 brigadier general in?
   20    MR. SHALOV: That would be                             20 A. I said the head of intelligence
   21 correct.                                                 21 in the Israeli police headquarters, that's
   22 Q. How did you first become                              22 what I said.
   23 involved in these lawsuits?                              23 Q. Where is that office?
   24 A. A senior police officer                               24 A. In Jerusalem.
   25 contacted me. It was shortly after I retired             25 Q. What happened next that brought


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    1    NAIM                                                  1    NAIM
    2 you to be appearing in this case after your              2 A. I met Gary in Tel Aviv several
    3 conversation with Mr. Leder?                             3 times. I met with Dudi Bar in Tel Aviv. I
    4 A. Representatives from the law                          4 also met with Gary in other places such as
    5 firm contacted me. I met with them. We                   5 Modiyin. It's a Shilat intersection close to
    6 talked and that's how I started working.                 6 there.
    7 Q. Give me please the names of the                       7 Q. Where is your office located?
    8 lawyers who contacted you?                               8 A. In Jerusalem.
    9    MR. SHALOV: You can identify                          9 Q. Have you described to me all
   10 the names.                                              10 the travel that is reflected here?
   11 A. Gary Osen.                                           11 A. As much as I can remember at
   12 Q. Any others?                                          12 this moment.
   13 A. In the first few months it was                       13 Q. How did you travel to the Ofer
   14 Gary Osen.                                              14 military court?
   15 Q. Was it someone else after that?                      15 A. In a vehicle.
   16 A. Yes.                                                 16 Q. Is that travel time reflected
   17 Q. Who is that?                                         17 in these invoices?
   18 A. There was Stephen Schwartz who                       18 A. No.
   19 is sitting with us and there is an attorney             19    MR. FRIEDMAN: I'm going to ask
   20 by the name of Joel Israel like Israel the              20 the reporter to mark as Naim Exhibit 4
   21 country.                                                21 documents that bear the production
   22 Q. I know Joel. Anyone else?                            22 number Naim 2230 through 37 which we
   23    MR. SHALOV: Do you want the                          23 were told are Mr. Naim's time sheets.
   24 name of every plaintiff's lawyer he                     24    (Naim Exhibit 4, Time Sheets,
   25 was ever contacted about this case?                     25 Bates labeled Naim 2230 through 2237,


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    1    NAIM                                                  1    NAIM
    2    MR. FRIEDMAN: Who else he met                         2 marked for Identification.)
    3 with.                                                    3 Q. Is this the universe of your
    4 A. No, I haven't met Joel, I only                        4 time sheets for your work on these cases?
    5 talked to him.                                           5    MR. SHALOV: Objection to form.
    6    MR. FRIEDMAN: Let me ask the                          6    MR. FRIEDMAN: Let me rephrase
    7 reporter to mark --                                      7 the question.
    8 A. I only met with -- okay.                              8 Q. Are these your time sheets for
    9 Q. With Gary and Stephen?                                9 your work on these cases?
   10 A. Yes.                                                 10 A. Yes, to the best of my
   11    MR. FRIEDMAN: Let me ask the                         11 recollection, yes.
   12 reporter to mark as Naim Exhibit 3                      12 Q. Look at the first page. Do you
   13 documents bearing the Naim production                   13 see on the first page you refer to a meeting
   14 numbers 2226 through 9.                                 14 with Dudi Bar Kuli and then a meeting with
   15    (Naim Exhibit 3, Invoices,                           15 Brian?
   16 Bates labeled Naim 2226 through 2229,                   16 A. Dudi Bar Kuli?
   17 marked for Identification.)                             17 Q. Let me withdraw that question.
   18 Q. Looking at Exhibit 3, are these                      18 You refer to a meeting that you had with Dudi
   19 all of the invoices that you have submitted             19 Bar, correct, on the first page?
   20 to plaintiffs' counsel in these cases?                  20 A. Yes, it says travel to Tel Aviv
   21 A. Yes, to the best of my                               21 to meet a potential witness superintendent
   22 recollection, yes.                                      22 Dudi Bar.
   23 Q. These invoices reflect a total                       23 Q. Is that the same Dudi Bar you
   24 of 20 hours of travel. What travel are you              24 spoke about this morning?
   25 referring to in these invoices?                         25 A. Yes.


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    1    NAIM                                                1    NAIM
    2 Q. Why did you describe him here                       2 Brian.
    3 as a potential witness?                                3 Q. Who is Brian?
    4 A. First of all, I went to him to                      4    MR. SHALOV: Let's wait one
    5 talk about the case when he was the head of            5 second. One for the translation and
    6 the investigation division. Later on I                 6 two for Clara to translate this entry
    7 marked for myself a few people who could be            7 for me so I understand what it says in
    8 considered as witnesses some time in the               8 English. If we could just wait one
    9 future as needed.                                      9 second, I would appreciate it.
   10 Q. Is Dudi Bar still with the Tel                     10 Q. Who is Brian?
   11 Aviv police?                                          11 A. Brian is a guy who works with
   12 A. Yes.                                               12 Gary.
   13 Q. What did you speak with Dudi                       13 Q. Do you know his last name?
   14 Bar about at this meeting that's described on         14 A. If I remember correctly it's
   15 this page?                                            15 something complicated, Finkelstein or
   16    MR. SHALOV: Mr. Naim, I just                       16 Funkelstein.
   17 have to ask you, I'm assuming that                    17 Q. Do you understand him to be one
   18 there were no plaintiffs' lawyers                     18 of plaintiffs' lawyers?
   19 present at this initial meeting with                  19 A. No.
   20 Mr. Bar; is that correct?                             20 Q. What did you talk with Brian
   21    THE WITNESS: Correct.                              21 about?
   22    MR. SHALOV: Proceed.                               22    MR. SHALOV: Mr. Naim, I just
   23 Q. Tell me what you said to him                       23 want to make sure that when you were
   24 and what he said to you?                              24 talking to Brian there were no
   25 A. I did a lot of operations                          25 representatives from plaintiffs'


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    1    NAIM                                                1    NAIM
    2 regarding these files or these cases and               2 counsel there; is that correct?
    3 among other things in this meeting I wanted            3    THE WITNESS: Correct.
    4 to hear first hand what exactly -- I mean              4    MR. SHALOV: You can answer.
    5 what he could tell me, what he could add to            5 A. You asked whether Brian was an
    6 my knowledge and several questions that arose          6 attorney I said no, not to the best of my
    7 through my review of the material I wanted to          7 knowledge.
    8 ask him, I wanted to know about.                       8 Q. What did you and Brian talk
    9 Q. That was with respect to the                        9 about?
   10 Mike's Place attack, right?                           10 A. I talked more to Gary, not to
   11 A. Correct.                                           11 Brian.
   12 Q. Did you rely on anything he                        12 Q. But what did you talk to Brian
   13 told you for purposes of your report?                 13 about?
   14    MR. SHALOV: Objection to form.                     14    MR. SHALOV: Mr. Naim, I just
   15 You can answer.                                       15 need to clear something up because I'm
   16 A. No.                                                16 not sure I understand completely.
   17 Q. This also refers to a meeting                      17 This meeting that's referenced in your
   18 with Brian?                                           18 time sheets that Mr. Friedman is
   19 A. What do you mean meeting with                      19 asking you about, was Mr. Osen present
   20 Brian?                                                20 when you were speaking to Brian?
   21 Q. Doesn't this refer to a meeting                    21    THE WITNESS: As far as I
   22 with someone named Brian in June 2009 on the          22 remember, yes, however I didn't write
   23 first page, it's under item two, is it Ryan           23 it down so I'm not sure.
   24 or Brian?                                             24    MR. SHALOV: Let's be clear so
   25 A. Afterwards a meeting with                          25 we all understand that this meeting


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    1    NAIM                                                     1     NAIM
    2 A. In principal in English, but                             2 number of criminal cases.
    3 also in Hebrew.                                             3 Q. Involving what types of crimes?
    4 Q. Have you ever read the                                   4 A. Especially light criminal
    5 transcript of any other witnesses deposition                5 cases, not so serious offenses because this
    6 in these cases?                                             6 is from clear position that I still have not
    7 A. No.                                                      7 done the switch.
    8 Q. Do you know Arieh Spitzen?                               8 Q. I don't understand.
    9 A. I heard the name, but I don't                            9 A. I dealt with heavy offenders in
   10 know him.                                                  10 addition to terrorists, murderers and other
   11 Q. Where did you hear the name?                            11 violators on the other side so internally
   12 A. In my conversation with my                              12 it's hard for me today to defend the
   13 lawyers I heard the name.                                  13 murderers and the crime families.
   14 Q. Have you ever met him?                                  14 Q. Have you ever represented a
   15 A. If I saw him it was in random.                          15 client before a military court in the
   16 I don't connect between the name and the face              16 occupied territories?
   17 so I don't think so.                                       17 A. Yes.
   18 Q. Have you ever met Ronny Shaked?                         18 Q. Tell me about that?
   19 A. Personally I did not meet him,                          19     MR. SHALOV: Larry and Mr.
   20 but I know who he is.                                      20 Naim, I just want to interject if
   21 Q. How do you know who he is?                              21 there is any privilege or
   22 A. He's a reporter for the Yediot                          22 confidentiality between you and a
   23 Aharonot.                                                  23 client that would forbid you from
   24 Q. Have you ever met Emanuel                               24 disclosing your representation of that
   25 Gross?                                                     25 client or clients, then you should not


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    1    NAIM                                                     1    NAIM
    2 A. No.                                                      2 feel compelled to disclose that
    3 Q. Have you ever met Alex Stein?                            3 information to Mr. Friedman. If you
    4 A. No.                                                      4 have no concerns about confidentiality
    5 Q. Have you ever met Matthew                                5 or privilege, you can answer the
    6 Levitt?                                                     6 question.
    7 A. No.                                                      7 A. I can answer the question
    8 Q. Do you expect to testify as a                            8 because it was a simple matter. I
    9 fact witness in these cases?                                9 represented somebody who was caught with a
   10    MR. SHALOV: Objection to form.                          10 fraudulent identity card and legal residency,
   11 A. No.                                                     11 attempt for legal residency in Israel --
   12 Q. You're a licensed lawyer in                             12 attempt for illegal entry into Israel. I
   13 Israel?                                                    13 thought it would be a civil matter in front
   14 A. Yes.                                                    14 of the magistrate court, but it turned out
   15 Q. You're a solo practitioner, you                         15 that he went to the military court in Ofer so
   16 have your own legal practice?                              16 that's where I appeared. I sat there for a
   17 A. Yes.                                                    17 few hours and I heard the proceedings there.
   18 Q. Are there any other lawyers in                          18 Q. Did you represent this client
   19 your office or is it just you?                             19 before the military court?
   20 A. Just me.                                                20 A. Yes, it was in front of a
   21 Q. Is there any particular area of                         21 military judge.
   22 law that you practice?                                     22 Q. When was this?
   23 A. I retired four years ago. I                             23 A. A few months ago.
   24 started working about two years later. I                   24 Q. What was the outcome of the
   25 deal in particular with traffic law and small              25 case?


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    1    NAIM                                               1    NAIM
    2 A. It was a plea bargain.                             2 IDF?
    3 Q. With a conviction pursuant to a                    3 A. It's obligatory.
    4 plea bargain?                                         4 Q. When did you serve in the IDF?
    5 A. Yes, he received a slight                          5 A. I served three years, three
    6 penalty punishment.                                   6 full years from '68 to '71. First I was in
    7 Q. When you were in government                        7 Golani infantry and then I was moved to
    8 service, did you -- were you involved with            8 intelligence.
    9 any cases before the military courts in the           9 Q. Are you currently a reservist?
   10 occupied territories?                                10 A. First I was in the reserves
   11 A. When you say involved, what do                    11 after the military, but once you are part of
   12 you mean?                                            12 the police force in general they give up on
   13 Q. Did you prosecute any cases in                    13 you. There are agreements with the military.
   14 the military courts?                                 14 Q. Since you left the military,
   15 A. No.                                               15 have you been enrolled in the reserves?
   16 Q. What if anything was your                         16    THE INTERPRETER: He wants me to
   17 involvement with any cases before the                17 tell you he's too old.
   18 military courts while you were in government         18 Q. Please take a look at Exhibit
   19 service?                                             19 1, your first report. On page 4 of your
   20 A. I will explain. Professionally                    20 first report in the first full paragraph you
   21 I was responsible for minorities who                 21 wrote as follows: by virtue of my position as
   22 investigated -- ethic minorities units, they         22 the district's investigation and intelligence
   23 investigated suspects and many cases that            23 department officer I handled many terror
   24 were investigated were transferred to a              24 attacks that occurred in the district
   25 military court. It was decided that because          25 throughout the second intifada, 2000-2005.


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    1    NAIM                                               1    NAIM
    2 of the terrorist attacks took place in the            2 For each attack that occurred in Jerusalem
    3 center of -- in Judea Samaria because some of         3 during this time I was in charge of the
    4 the cases of the terrorist attacks took place         4 investigation, arriving at the scene and
    5 there, they brought the cases to that                 5 giving orders to police investigators
    6 particular area. I would receive a report on          6 gathering evidence, speaking with the ISA to
    7 these cases and it would go to the court in           7 collaborate on information learned and
    8 Judea Samaria and more than once I would              8 continuing to direct the investigation to
    9 receive as an officer the indictment of the           9 obtain a full picture of the attack. Do you
   10 military court and I would follow the results        10 see that?
   11 and I would receive regular reports on the           11 A. Yes.
   12 files so when I received the military                12 Q. To what extent if any were you
   13 indictments I would know what it was about.          13 involved in investigating who perpetrated the
   14 Q. That was during the period 1998                   14 attack?
   15 to 2000 when you were the Jerusalem district         15 A. I was involved from A to Z
   16 investigation department officer?                    16 including who perpetrated the attack.
   17 A. Until 2006 -- from 1998 to                        17 Q. Did you ever interrogate any
   18 2006.                                                18 suspects?
   19 Q. Other than what you just said,                    19 A. Do you mean suspects in
   20 did you have any other involvement with cases        20 terrorist attacks?
   21 before the military courts in the occupied           21 Q. Suspects in attacks during the
   22 territories during that period?                      22 second intifada?
   23 A. No, it's separate military                        23 A. I will explain myself.
   24 legal system.                                        24 Whomever investigates terror suspects in the
   25 Q. Have you ever served in the                       25 first investigation is the Israeli


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    1    NAIM                                                 1    NAIM
    2 nature of your involvement in the Hebrew                2 Q. And what he's entitled to see
    3 University attack equally applicable to your            3 at all, correct?
    4 involvement in this bus 14A attack?                     4 A. Yes. Also the regulations of
    5 A. That's right.                                        5 the attorney general talk about the right to
    6 Q. I take it you never spoke to                         6 review. It's called the right to review.
    7 anyone accused of involvement in the attack;            7 Q. You referred first to police
    8 is that right?                                          8 ordinances and regulations on this subject.
    9 A. Correct.                                             9 Can you identify them with any greater
   10 Q. I take it you did not                               10 specificity than that?
   11 personally create any documents related to             11 A. Let's get organized. Paragraph
   12 the investigation of this attack?                      12 74 of the law of the criminal or penal
   13 A. Right.                                              13 procedure gives permission to a defendant or
   14 Q. Was a report submitted to the                       14 his attorney to copy material after he's
   15 commander concerning the investigation of              15 indicted, not before. Now regarding
   16 this attack, that is of the same nature as             16 complainants and an interested party, it's
   17 the report you described with respect to the           17 not this paragraph, it's in the guidelines of
   18 Hebrew University attack?                              18 the attorney general and the internal police
   19 A. Right.                                              19 guidelines. It's called the headquarters
   20 Q. If I wanted to I could not get                      20 procedures.
   21 a copy of that report, correct?                        21 Q. Are the headquarters procedures
   22 A. That's right because these are                      22 a public document?
   23 internal reports.                                      23 A. Basically when a person wants
   24 Q. And you have not seen this                          24 to receive material or obtain material and he
   25 report since you left the police, correct?             25 is refused it and he's denied access, he can


                                                  Page 170                                                  Page 172

    1    NAIM                                                 1    NAIM
    2 A. The truth is I didn't see the                        2 ask the police or the state for the
    3 contents, but I visited my office after I               3 procedures in order to rebut the procedures.
    4 retired and I visited the person who took my            4 Q. In that circumstance are the
    5 place and I saw those binders attack on bus             5 procedures made available to the requesting
    6 number 2, attack such and such. This                    6 party?
    7 reminded me of forgotten old times.                     7 A. Yes.
    8 Q. But you did not look at the                          8 Q. How could I get a copy of those
    9 specific report after you left the police?              9 if I wanted to get a copy?
   10 A. No.                                                 10 A. You submit an application to
   11 Q. Remember you testified this                         11 the legal advisor -- legal advisor for the
   12 morning about the concept of interested                12 police and you ask him for the procedure
   13 parties who were entitled to have access to            13 because you are being denied at the local
   14 police files?                                          14 police station and they will provide it to
   15    MR. SHALOV: Objection to form.                      15 you, otherwise you may file an appeal with
   16 A. Right.                                              16 the Supreme Court as an appeal to the Supreme
   17 Q. Is the concept that you                             17 Court.
   18 described of only interested parties being             18 Q. Is there any other way to get a
   19 given access to these police files, is that            19 copy of the procedures by which -- or the
   20 recorded in any statute or regulation?                 20 guidelines by which the police decide who
   21 A. Yes, it doesn't come out of                         21 gets access to what?
   22 thin air, it comes from police ordinances and          22 A. You mean independently to
   23 regulations that establish who is an                   23 obtain these guidelines independently?
   24 interested party and when and what he's                24 Q. Yes.
   25 entitled to photocopy.                                 25 A. I don't want to make a


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    1    NAIM                                                1    NAIM
    2 commitment and test my memory, it's possible           2 that deal with right to review.
    3 that you can obtain some of the materials not          3 Q. Police files?
    4 everything through the internet.                       4 A. Yes.
    5 Q. By the materials you are not                        5 Q. And you believe that if I ask
    6 referring to the contents of the police file,          6 in the right place I should be able to get
    7 you are referring to the guidelines according          7 copies of all of these, correct?
    8 to which access is decided?                            8    MR. SHALOV: Objection to form.
    9 A. I meant the guidelines.                             9    MR. FRIEDMAN: Let me withdraw
   10 Q. You also referred to guidelines                    10 that question.
   11 of the attorney general on this subject?              11 Q. You believe that if I pursue
   12 A. Yes.                                               12 the avenues that you described to me I should
   13 Q. How could I get access to                          13 be able to get copies of all those, correct?
   14 those?                                                14    MR. SHALOV: Objection to form.
   15 A. I think that you can get the                       15 A. If you meet the criteria as an
   16 attorney general's guidelines without any             16 eligible party as it is described in the
   17 problems. They are contained in a booklet.            17 guidelines.
   18 If my memory is correct, I remember it from           18 Q. I'm not asking about getting
   19 before I left the police and everybody can            19 the files themselves, I'm asking about how I
   20 get it.                                               20 could get copies of the guidelines to learn
   21 Q. Is there any other body of                         21 what the guidelines are?
   22 regulations or rules other than what you just         22 A. I believe that some of the
   23 described that applies to who can get access          23 documents I talked about you can get as a
   24 to police files and under what circumstances          24 result of an application with an explanation
   25 apart from also Section 74 of the penal law?          25 why you need them.


                                                 Page 174                                                   Page 176

    1    NAIM                                                1     NAIM
    2 A. I said police ordinances, there                     2 Q. Is that true with respect to
    3 are also guidelines of the investigations              3 the attorney general's guidelines?
    4 division that explain how to do all these              4 A. To the best of my recollection
    5 things, how to obtain materials.                       5 there is no problem with the attorney
    6 Q. Where can I get those?                              6 general's guidelines.
    7 A. Through the national                                7 Q. Those are publicly available?
    8 headquarters.                                          8 A. It's publicized, yes. The rest
    9 Q. Of the police?                                      9 I'm not sure about. The rest of them are a
   10 A. Headquarters.                                      10 little more problematic.
   11 Q. So you have described so far                       11 Q. So the rest of them you don't
   12 paragraph 74 of the penal law which applies           12 know whether they are publicly available or
   13 to the defendant and his attorney?                    13 not?
   14 A. The right to review.                               14 A. I'm not sure, correct.
   15 Q. You have described the                             15 Q. For the rest of them you might
   16 headquarters procedures or the police                 16 have to make an application to justify
   17 ordinances that govern this subject. You              17 getting copies of the regulations that govern
   18 described the guidelines of the investigation         18 whether you can get copies of underlying
   19 division, and you have described the attorney         19 police files?
   20 general guidelines. Is there any other body           20 A. Correct.
   21 of law or regulations that you're aware of            21 Q. Let's turn to court files.
   22 that governs who can get access to what from          22 Let's talk about civilian court files and
   23 police files?                                         23 military court files. Access to civilian
   24 A. To the best of my recollections                    24 court files is limited to defendants and
   25 these are the guidelines and the regulations          25 interested parties?


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    1    NAIM                                                 1    NAIM
    2 A. Correct.                                             2 the occupied territories?
    3 Q. What are the rules that --                           3 A. That's right.
    4 withdrawn. Where could I find the rules that            4 Q. I'd like you to turn your
    5 govern the ability of interested parties to             5 attention now to the next bullet point in
    6 get access to civilian court files?                     6 this list on page 5 of Exhibit 1, the attack
    7 A. You are asking where are the                         7 on egged bus number 2. Were you involved in
    8 regulations?                                            8 the investigation of that attack?
    9 Q. Yes.                                                 9 A. I was.
   10 A. I think that in every clerk's                       10    MR. SHALOV: Didn't we already
   11 office of every courthouse there are                   11 do that one?
   12 regulations of the court director which lists          12    MR. FRIEDMAN: No.
   13 who can receive copies of a transcript,                13 Q. Was the nature of your
   14 files.                                                 14 involvement the same as what you described
   15 Q. Do they differ from court to                        15 for the Hebrew University attack and the bus
   16 court?                                                 16 14A attack?
   17 A. No, these are joint                                 17 A. Right.
   18 regulations. The court director manages all            18 Q. And you did not speak to any
   19 the courts.                                            19 suspects or persons accused of involvement in
   20 Q. Turning to military courts and                      20 that attack, correct?
   21 specifically the military courts in the                21 A. Correct.
   22 occupied territories, not the military courts          22 Q. You did not create any
   23 that adjudicate soldier offenses, are there            23 documents relating to the investigation of
   24 -- how can I find the rules and regulations            24 that attack, correct?
   25 that govern who can get what from the files            25 A. Correct.


                                                  Page 178                                                 Page 180

    1    NAIM                                                 1    NAIM
    2 of military courts in the occupied                      2 Q. And was there a report sent to
    3 territories?                                            3 the commander with respect to the
    4 A. The courts in the occupied                           4 investigation of this attack that was similar
    5 territories operate according to the security           5 in nature of the reports you described for
    6 legislation in the territories. They have               6 the other attacks?
    7 procedures including procedures of the right            7 A. Right.
    8 to copy and photocopying.                               8 Q. And you have not seen that
    9 Q. And also looking at?                                 9 report since you left the police?
   10 A. Review of course and                                10 A. Right.
   11 photocopying and as I said a few hours ago             11 Q. That's an internal police
   12 more and more they are going -- procedurally           12 report to which someone such as I could not
   13 they are going more and more in the way of             13 get access, correct?
   14 the Israeli civilian court.                            14 A. I believe that even I cannot
   15 Q. If I wanted to see those                            15 gain access.
   16 regulations, where could I find them?                  16 Q. So none of these reports that
   17 A. The IDF has so-called chief                         17 go to the commander, none of them is
   18 military prosecutor and there is a chief               18 available to the public?
   19 justice of the military court that's in                19 A. That's right because they are
   20 charge of all the judges procedurally. I               20 internal.
   21 think that between these two entities you can          21 Q. None of these reports would be
   22 find the procedures. I'm not sure, but I               22 available even to interested parties,
   23 believe so.                                            23 correct?
   24 Q. You believe the procedures are                      24 A. No, because they are not
   25 common across all of the military courts in            25 connected with the evidence based on which an


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    1     NAIM                                                1    NAIM
    2 not charged with causing the death of the               2 court. The name Nofal rings a bell. This
    3 nine or 11 people that were killed in the               3 happened recently.
    4 attack on bus line 19. He also has attempted            4 Q. When you went to the Ofer
    5 -- attempts of causing death in other events,           5 court?
    6 but regarding this particular event he was              6 A. Yes.
    7 accused with not preventing a crime therefore           7 Q. Why did you do that?
    8 it's very possible since his participation is           8 A. I don't know. I'm not sure. I
    9 relatively small I don't really remember him,           9 would just have to see the documents so I
   10 but I definitely remember the people who did           10 don't know.
   11 perpetrate this attack of bus line number 19.          11 Q. You went to the Ofer camp in
   12 Q. So you don't --                                     12 order to check documents that you had cited
   13 A. Like for example, Rahman Makdad                     13 in your reports, correct?
   14 who is mentioned here item 28, like Muhammad           14 A. I said above and beyond the
   15 Allah that's also mentioned in 28, and these           15 requirements I went to do it.
   16 are the heads of the gang that perpetrated             16 Q. But the documents you were
   17 the attack on bus line number 19. He was the           17 looking to check were documents that you had
   18 smaller link and relatively marginal compared          18 identified in your reports, correct?
   19 with the others.                                       19    MR. SHALOV: Objection to form.
   20 Q. Okay.                                               20 A. Correct, but she brought out
   21 Q. You don't remember having seen                      21 even more for me. Maybe by mistake she gave
   22 this before?                                           22 me this particular indictment without me
   23     MR. SHALOV: Objection to form.                     23 asking for it, but for some reason I recall
   24 A. I don't remember. It's                              24 this name.
   25 possible I have seen it.                               25 Q. Are you a notary?


                                                  Page 190                                                 Page 192

    1    NAIM                                                 1    NAIM
    2 Q. You do not identify this in                          2 A. No.
    3 either of your reports, correct?                        3 Q. Have you ever been a member of
    4 A. If I did not include it, it's                        4 the secretariat of any Israeli court?
    5 because as I said he was marginal, that's why           5 A. No.
    6 I did not include him.                                  6 Q. You were not an Israeli civil
    7 Q. But you did not include it in                        7 servant at the time you signed your reports,
    8 your reports?                                           8 right?
    9 A. Possibly.                                            9 A. Correct.
   10    MR. SHALOV: We will confirm                         10 Q. Did you personally make
   11 for plaintiffs that that document is                   11 photocopies of any of the documents attached
   12 not referenced in his reports.                         12 to your reports from documents that were in
   13 A. There was a question whether we                     13 police or court files?
   14 agree or we consent, I'm just checking my              14    MR. SHALOV: I object. I don't
   15 English.                                               15 understand the question. If you can
   16 Q. How do you pronounce this man's                     16 understand it, go ahead and answer it.
   17 name?                                                  17 A. What did you ask, whether I
   18 A. I didn't want to hurt you.                          18 physically copied them myself?
   19 Adawin.                                                19 Q. Yes.
   20 Q. Did you ever see Mr. Adawin's                       20 A. No.
   21 conviction in connection with the bus 19               21    MR. FRIEDMAN: Why don't we
   22 attack?                                                22 stop there for the day.
   23    MR. SHALOV: Objection to form.                      23    THE VIDEOGRAPHER: This
   24 A. If my recollection is correct,                      24 concludes the deposition. We are off
   25 I photocopied Nofal's indictment in the Ofer           25 the record. The time is 5:58 p.m.,


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              EXHIBIT 224 TO DECLARATION OF VALERIE SCHUSTER
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                                                                                             April 14, 2011



                   SUPPLEMENTAL REBUTTAL REPORT OF MOSHE AZOULAY


   I submit this supplement to my rebuttal report dated March 3, 2011 (the “Rebuttal Report”) in
   the lawsuits captioned Weiss, et al. v. National Westminster Bank Plc (Case No. 05-cv-4622
   (DLI)(MDG)) and Applebaum, et al. v. National Westminster Bank Plc (Case No. 07-cv-916
   (DLI)(MDG)), which I understand are pending in the U.S. District Court for the Eastern District
   of New York. This supplement updates the status of requests I have made to Israeli civilian and
   military judicial and law enforcement authorities to review records they maintain regarding
   certain attacks at issue in these cases, as presented on pages 110-114 of my Rebuttal Report.

   A.         My requests for perusal of Israeli and military court files

              For the purpose of this report and especially in order to evaluate Naim’s opinion
              regarding the level of accessibility of the public to the files issued by Israeli courts and by
              military courts in the Occupied Territories, I prepared and submitted requests for perusal
              of several files as described at pages 110-111 in the Rebuttal Report.

   1.1        The status of the requests

              The following information describes recent developments pertaining to the status of the
              requests since I signed my rebuttal report.

              1.1.1   The request before the Supreme Court

                      •    On March 3, 2011 I received a copy of a request of the State Advocacy to the
                           Supreme Court to postpone the response to my perusal request until March 30.
                           That postponing request was coordinated with me by phone and I gave my
                           consent to it. 1

              1.1.2   The request before the Tel Aviv District Court




   1
       A copy of the postponing request is attached as Annex D18
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                    •   On March 3, 2011 I conducted a phone conversation with the main office of
                        the State Advocacy in Jerusalem in order to verify whether they would
                        respond to this request as well. They proposed to send a copy of the request
                        and the decision of the Tel Aviv District Court directly to Rachel Matar Adv.,
                        who handles the appeal before the Supreme Court on behalf of the State.
                        Accordingly, I submitted the request and the decision to her. 2

                    •   By the end of March 2011, I received a phone call from an assistant of Adv.
                        Rachel Matar who informed me that they received my request but I still need
                        to apply to the Supreme Court and they will submit their response to my
                        application only after the Supreme Court asks them to do so.

           1.1.3    The request before the Jerusalem District Court

                    •   On March 21, 2011 I submitted to a legal services company an order to locate
                        the file and to coordinate with me the date of perusal and photocopying the
                        file. 3

                    •   On March 28, 2011 I perused and copied the Jerusalem district court file SC
                        776.04. The process of perusal, the findings in that file and my conclusions
                        regarding Naim’s reports are detailed in Section B below.

           1.1.4    The request before the Haifa District Court

                    •   On March 21, 2011 I submitted to a legal services company an order to locate
                        the file and to coordinate with me the date of perusal and photocopying the
                        file. 4 As of the date of signing this supplemental report, the file is not
                        available for my perusal.

       B. The perusal of the court file SC 776.04 regarding the September 9, 2003 attack

       1.1 The perusal process

           In order to receive the file for perusing and copying, I had to follow the following
           process before the court secretariat:



   2
     A copy of the correspondence is attached as Annex D19
   3
     A copy of the order is attached as Annex D20
   4
     A copy of the order is attached as Annex D21

                                                             2
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              1.1.1   I was requested to present the decision that allowed the perusal.

              1.1.2   I was requested to identify myself as the lawyer who submitted the request for
                      perusal.

              1.1.3   The secretary verified my identity and the decision with the court’s
                      records.

              1.1.4   I was requested to sign a declaration and a commitment not to take any
                      document out of the file and not to take the file out of the court hall.

              1.1.5   I received the file only after completing this entire procedure.

         1.2 The findings in the court’s file

              The court’s file contained the following documents: 5

              1.2.1   The court’s file actually contains two separate files. One is the “main” file
                      and the second contains several documents, including arrest motions,
                      subpoenas and a copy of the indictment.

              1.2.2   The main file contains the following documents:

                      •    The original indictment
                      •    A revised indictment
                      •    Hearing records
                      •    Plea bargain
                      •    Legal summary of the prosecution and the defendants
                      •    The verdict
                      •    The sentence


         1.3 Findings and conclusions regarding the Naim Reports

              1.3.1   The court’s file does not contain any Police statements made by any of the
                      defendants nor any ISA memorandum, as Naim listed on pages 22-23 of his
                      Report as part of the “Attack File” maintained by Israeli law enforcement and
                      Israeli courts.

              1.3.2   The findings in the court’s file contradict several of Naim’s statements:

                      In paragraph G on page 13 of his primary report, Naim inaccurately stated
                      that: “the court gets all of the police documents . . . .” At the same paragraph,


   5
       The complete file is attached as Annex D22

                                                        3
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                 Naim inaccurately stated: “thus the only file guaranteed to be complete is the
                 one maintained by the court.”

                 As detailed above, I found no police file, statement or interrogation in the
                 court’s file, which according to Naim is the only “Attack File” guaranteed to
                 be complete.

         1.3.3   Moreover, after reviewing the complete court file, I noticed that there were
                 some privileged documents that were mentioned in the court record dated
                 February 24, 2005 [Annex D22, p. 40], but that were not found in the court
                 file.

                 In that hearing, the prosecutor is recorded as saying that: “The file contains
                 privileged materials that we [the prosecution] intended to issue a privilege
                 certificate for. The defendant’s counsel is aware of that.”

                 Regarding the fact that no privileged documents were found in the file, I may
                 conclude that these materials were taken out of the file by the prosecution, and
                 I was not able to peruse or copy them.

         1.3.4   In paragraph 4 of section II of Naim’s primary report, Naim explained that he
                 was asked by the plaintiffs to: “Review police and court files, and their
                 contents, concerning certain attacks (the ‘Attack Files’)” [emphasis added].

                 On the same page, Naim also stated that: “During my career with the Israeli
                 police, I was physically present and involved in the investigation of certain of
                 the attacks discussed in this Report.”

                 Naim stated that the Attack File for the September 9, 2003 attack listed in
                 Section IV of his report was one in which he was personally involved in
                 investigating the matter.

                 Naim referred in his reports to only two of the documents I found in the court
                 file: the revised indictment [Exhibit F of Naim’s Supplemental Report] and
                 the verdict [Exhibit C of Naim’s Supplemental Report]. On the other hand,
                 Naim referred to several other documents that were not found in the court’s
                 file [Naim Exhibits E (an ISA memorandum), Exhibits H-K (police
                 interrogations) and Exhibit Q (a statement of Na’al Abid [Ubeid] to the
                 police)].

                 These findings lead to one of two possible conclusions.

                    •   Naim did not review the court file, or




                                                   4
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                      *He decided to exclude from his reports certain documents found in the
                       court file, and include in his reports other documents he received from
                       other sources.

                 Any of the conclusions above call into question the statement of Naim that he
                 reviewed the relevant court file for the September 9, 2003 attack.




  Dated: April 14, 2011
         7 Rival St.
         Tel Aviv, Israel                                                       ..........



                                                                         Moshe Azoulay
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                                             [handwritten:] (1 )

           Shaul Nairn, Esq.
•          Hahayal 54/5, Jerusalem     Cellular: 050-5839030 Fax: 025323733
                                                                                            April 26, 2009

           Investigations and Intelligence Department Officer, [handwritten] Jerusalem Region
           Deputy Commander Shimon Gabai
           By fax: XX-XXXXXXX

           Dear Sir:

            Re: Request to view and photocopy the investigation file on the Silwan Gang (Court Case
                       PH [Serious Crime] 5071102, State of Israel v. Wael Qasem et al.)


           I would like you to allow me or someone on my behalf to view and/or photocopy all the relevant
           material in the investigation file on the Silwan Gang for the following reasons:

           1. A number of large civil claims are being pursued in the United States against Hamas.

           2. These claims are being pursued by a number of American as well as Israeli attorneys.

           3. The claims are against a number of banks in the United States that are holding money
              deposited by the Hamas organization.



•          4. The aim of the claimants is to remove this money from the banks and transfer it to the
              families ofthe dead and injured Americans and Israelis who were the victims of attacks that·
              took place in Israel between 2000 and 2005.

           5. I am the representative and power of attorney for an American Law Office (the authorizing
              power of attorney is attached).

           6. Because the claimants are an "interested party" in the case and also because under the
              Freedom of Information Law they are entitled to copies of the relevant material, I would
              therefore ask you to authorize this and to notify me as to when and where I can come in order
              to photocopy this material.



           Yours sincerely,
           [Signature]
           Shaul Naim, Esq. power of attorney for the claimants




                                                                                                     •       EXHIBIT ~

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                                       [logo:] Ready to protect - Proud to serve



•       Headquarters
        Bureau
                            Region Jerusalem
                            K      Investigations &
                                                   -Non-classified-



                                   Intelligence
                              May 6, 2009
         Telephone:                XX-XXXXXXX
         Fax:                      XX-XXXXXXX
         Investigations & Intelligence 843/09


           To
           Shaul Nairn, Esq.                                                   [handwritten:]
           Fax: 5323722                                                        [illegible]

           Dear Sir,


                       Re: Request to view and photocopy the investigation fIle - Silwan Gang




•
           1.      I hereby acknowledge receipt of your letter dated April 26, 2009.

           2.      Your request has been considered and it has been ascertained that the files that are
                   the subject of your letter are being dealt with in the Ofer Court by the head of the
                   military claims bureau - Yael.

           [handwritten:] [illegible]
           5884242




                Yours faithfully,

                Shimon Gabai, Deputy Commander

                Investigations and Intelligence Officer Jerusalem Region

                                                               c.c. Deputy Chief Criminal Division, Central Office




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    Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 239 of 288 PageID #:
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           Shaul Nairn, Esq.
•          Hahayal 54/5, Jerusalem     Cellular: 050-5839030 Fax: 025323733
                                                                                             April 26, 2009
            [handwritten] To Captain Meital Zrihan [?] Fax: XX-XXXXXXX

           Investigations and Intelligence Department Officer, Jerusalem Region
           Deputy Commander Shimon Gabai
           By fax: 02-5391 [handwritten:]611

           Dear Sir:

            Re: Request to view and photocopy the investigation file on the Silwan Gang (Court Case
                       PH [Serious Crime) 5071102, State of Israel v. Wael Qasem et at)


           I would like you to allow me or someone on my behalf to view and/or photocopy all the relevant
           material in the investigation file on the Silwan Gang for the following reasons:

           1. A number of large civil claims are being pursued in the United States against Hamas.

           2. These claims are being pursued by a number of American as well as Israeli attorneys.




•
           3. The claims are against a number of banks in the United States that are holding money
              deposited by the Hamas organization.

           4. The aim of the claimants is to remove this money from the banks and transfer it to the
              families of the dead and injured Americans and Israelis who were the victims of attacks that
              took place in Israel between 2000 and 2005.

           5. I am the representative and power of attorney for an American Law Office (the authorizing
              power of attorney is attached).

           6. Because the claimants are an "interested party" in the case and also because under the
              Freedom of Information Law they are entitled to copies of the relevant material, I would
              therefore ask you to authorize this and to notify me as to when and where I can come in order
              to photocopy this material.



           Yours sincerely,

           Shaul Naim, Esq. power of attorney for the claimants

            [stamp:] Shaul Nairn, Advocate
                   License No. 8501




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    Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 240 of 288 PageID #:
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           Shaul Nairn, Esq.
•          Rahayal 54/5, Jerusalem      Cellular: 050-5839030 Fax: 025323733
                                                                                                 April 26, 2009


           hivestigations and Intelligence Department Officer, [handwritten:] Jerusalem Region
           Deputy Commander Shimon Gabai
           By fax: 02-539l[handwritten:]611

           Dear Sir:

            Re: Request to view and photocopy the investigation file on the Silwan Gang (Court Case
                      . PH [Serious Crime] 5071102, State of Israel v. Wael Qasem et al.)


           I would like you to allow me or someone on my behalf to view and/or photocopy all the relevant
           material in the investigation file on the Silwan Gang for the following reasons:

           1. A number of large civil claims are being pursued in the United States against Ramas.

           2.   These claims are being pursued by a number of American as well as Israeli attorneys.

           3.   The claims are against a number of banks in the United States that are holding money
                deposited by the Ramas organization.



•          4.



           5.
                The aim of the claimants is to remove this money from the banks and transfer it to the
                families of the dead and injured Americans and Israelis who were the victims of attacks that
                took place in Israel between 2000 and 2005.

                I am the representative and power of attorney for an American Law Office (the authorizing
                power of attorney is attached).

           6.   Because the claimants are an "interested party" in the case and also because under the
                Freedom of Information Law they are entitled to copies of the relevant material, I would
                therefore ask you to authorize this and to notify me as to when and where I can come in order
                to photocopy this material.


           Yours sincerely,

           Shaul Nairn, Esq. power of attorney for the claimants

                                                [handwritten:]
           [signature]                          To the secretariat of the district court - criminal division

            [stamp:] Shaul Nairn, Advocate As the power of attorney of the victims in these operations and as
                   License No. 8501        the representative of a law office in the United States that is
                                           claiming [illegible] and the money held by banks in the United




•
                                           States, I would like to photocopy all the relevant material in the
                                           serious crimes case 5071102, Sate ofIsrael v. Wael Qasem et al.
                                           by representatives of [illegible]

                                                With thanks
                                                                                                       June 22, 2009
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    Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 241 of 288 PageID #:
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                                    [handwritten:] (5)

           Shaul Nairn, Attorney
•          Hahayal 54/5, Jerusalem      Cellular: 050-5839030 Fax: 025323733



           Deputy Commander Avi Manzur, Advocate
           Investigations and Intelligence Department Officer,
           Central Region
           By fax:


           Dear Colleague,

            Re: Request to view and photocopy the file on the terrorist attack on the park Hotel, Netanya on
                                                  March 27,2002


           I would like you to allow me or someone on my behalf to view and/or photocopy all the relevant
           material in the above investigation file (I don't know the file number) for the following reasons:

           1. A number of large civil claims are being pursued in the United States against Hamas.

           2. These claims are being pursued by a number of American as well as Israeli attorneys.




•
           3. The claims are against a number of banks in the United States that are holding money
                deposited by the Hamas organization or others on their behalf.

           4. The aim of the claimants is to remove this money from the banks and transfer it to the
              families of the dead and injured Americans and Israelis who were the victims of attacks that
              took place in Israel between 2000 and 2005.

           5. I am the representative and power of attorney for an American Law Office (the authorizing
              power of attorney is attached).

           6.   Since the claimants are an "interested party" in the case and since also under the Freedom of
                Information Law they are entitled to copies of the relevant material, I would therefore ask
                you to authorize this and to notify me as to when and where I can come in order to photocopy
                this material.



           Yours sincerely,
           [signature]                                                                        06/25/09
           Shaul Naim, advocate
           Power of attorney for the claimants


           [signature]



•           [stamp:] Shaul Nairn, Advocate
                   License No. 8501


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    Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 242 of 288 PageID #:
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          [handwritten document]
          By fax: 02-99694661                         (6)
                                                                                                    [illegible]
          To                                                              [illegible]
          Deputy Commander Yaakov Ben Moshe
          Investigations and Intelligence Department Officer, Hebron Region


          Re: Photocopying of material from [illegible] (I don't have a number) and serious crime file (I
          don't have a number) - shooting attack in Tel Romeida on October 22,2002 and shooting attack
          on March 7, 2003 in Kiryat Arba.

           [redacted]

           I would like to photocopy the evidence [illegible] and/or all other relevant information (including:
           photographs, tapes, disks etc.) for the following reasons:

           1. A number of large civil claims are being pursued in the United States against Hamas.

           2. These claims are being pursued by a number of American as well as Israeli attorneys.

           3. The claims are against a number of banks in the United States that are holding money
              deposited by the Hamas organization or others on their behalf.




•          4. The aim of the claimants is to remove this money from the banks and transfer it to the
              families of the dead and injured Americans and Israelis who were the victims of attacks that
              took place in Israel between 2000 and 2005.

           5. I am the representative and power of attorney for an American Law Office.

           6. Because the claimants are an interested party in the case and also because under the Freedom
              of Information Law they are entitled to copies of the relevant material, I would like your
              authorization to photocopy the material [illegible].

           7. Please notify me as to when I can come or someone on my behalf in order to photocopy this
              material.




            [signature]
             [stamp:] Shaul Nairn, Advocate                                                          July 2,2009
                    License No. 8501




•                                                                                                Naim002243
    Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 243 of 288 PageID #:
                                          8530
                                          [handwritten:](7)

          .Shaul Nairn, Esq.
•          Hahaya154/5, Jerusalem      -Cellular: 050-5839030 Fax: 025323733


           To
           Deputy Commander Avi Manzur, Esq.
           fuvestigations and futelligence Department Officer
           Central Region
           By fax:


           Dear Sir:

              Re: Request to view and photocopy the file on the March 27.2002 attack on the Park Hotel,
                                                      Netanya


           I would like you to allow me or someone on my behalf to view and!or photocopy all the relevant
           material in the above investigation file (I do not know the file number) for the following reasons:

           1. A number of large civil claims are being pursued in the United States against Hamas.

           2. These claims are being pursued by a number of American as well as Israeli attorneys.




•
           3. The claims, are against a number of banks in the United States that are holding money
              deposited by the Hamas organization or others on their behalf.

           4. The aim of the claimants is to remove this money from the banks and transfer it to the
              families of the dead and injured Americans and Israelis who were the victims of attacks that
              took place in Israel between 2000 and 2005.

           5. I am the representative and power of attorney for an American Law Office (the authorizing
              power of attorney is attached).

           6. Because the claimants are an "interested party" in the case and also because under the
              Freedom of fuformation Law they are entitled to copies of the relevant material, I would
              therefore like your authorization to photocopy the file on the attack on the Park Hotel and for
              you to notify me as to when and where I can come in order to photocopy the file.



           Yours sincerely,

           [signature]
           Shaul Nairn, Esq. and power of attorney for the claimants


           [signature]



•
                                                                                            June 25, 2009
             [stamp:] Shaul Nairn, Advocate      [handwritten:] [illegible]
                    License No. 8501


                                                                                                Naim002244
     Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 244 of 288 PageID #:
            [handwritten:] To Brian XX-XXXXXXX 8531 (8)

                                                   [handwritten:] XX-XXXXXXX
             Shaul Nairn, Esq.
•            Hahayal 54/5, Jerusalem     Cellular: 050-5839030 Fax: 025323733


                                                                                               April 26, 2009
             Investigations and Intelligence Department Officer Tel Aviv Region
             Deputy Commander Itamar Omeisi
             By fax:


             Dear Sir:

             Re: Request to view and photocopy the serious crimes file (Tel Aviv) 1147/02, State of Israel
                                           v. Abas ben Muhmad el Said
                                           [handwritten:] File No.9161/03

             I would like you to allow me or someone on my behalf to view and/or photocopy all the relevant
             material in the above investigation file for the following reasons:

             1. A number of large civil claims are being pursued in the United States against Hamas.

             2. These claims are being pursued by a number of American as well as Israeli attorneys.

             3. The claims are against a number of banks in the United States that are holding money



•
XX-XXXXXXX
                deposited by the Hamas organization or others on their behalf.

             4. The aim of the claimants is to remove this money from the banks and transfer it to the
                families of the dead and injured Americans and Israelis who were the victims of attacks that
                took place in Israel between 2000 and 2005.

              5.      I am the representative and power of attorney for an American Law Office (the
              authorizing power of attorney is attached).

             6. Because the claimants are an " interested party" in the case and also because under the
                Freedom of Information Law they are entitled to copies of the relevant material.

                 I would therefore like you to authorize this and to notify me as to when and where I can come
                 in order to photocopy the file.
                                                                          9/6/03
                                                     [handwritten:]      30.04.03                            [illegible]
                                                     [illegible]                                            XX-XXXXXXX     ')


             Yours sincerely,                        Authorize photocopying of the file
                                                     for attorney Shaul Naim. Please
             [signature]                             arrange a time with him [illegible]
             Shaul Nairn, Esq.                       [signature]                              [illegible]
             Power of attorney for the claimants     [stamp:] Meir Cohen, Deputy
                                                     Commander




•
             [signature]                     [illegible]
              [stamp:] Shaul Nairn, Attorney
                     License No. 8501

                                                                                               Naim002245
    Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 245 of 288 PageID #:
               [handwritten:] XX-XXXXXXX
                                          8532[handwritten:] (9)
              [illegible]

              Shaul Nairn, Esq.


•             Hahayal 54/5, Jerusalem



              To
                                                Cellular: 050-5839030 Fax: 025323733




              Investigations and Intelligence Department Officer Tel Aviv Region
                                                                                                April 26, 2009




              Deputy Commander Itamar Omeisi
              By fax: [handwritten:] XX-XXXXXXX (Fax/Tel XX-XXXXXXX)


              Dear Sir:

                   Re: Request to view and photocopy the serious crimes file (Tel Aviv) 1147/02, State of
                                           Israel v. Abas bin Muhmad el Sayed



              I would like you to allow me or someone on my behalf to view and/or photocopy all the
              relevant material in the above investigation file for the following reasons:

               1. A number of large civil claims are being pursued in the United States against Hamas.

              2. These claims are being pursued by a number of American as well as Israeli attorneys.

              3. The claims are against a number of banks in the United States that are holding money



•
                 deposited by the Hamas organization.

              4. The aim of the claimants is to remove this money from the banks and transfer it to the
                 families of the dead and injured Americans and Israelis who were the victims of attacks
                 that took place in Israel between 2000 and 2005.

              5. I am the representative and power of attorney for an American Law Office (the
                 authorizing power of attorney is attached).

              6.     Because the claimants are an "interested party" in the case and also because under the
                     Freedom of Information Law they are entitled to copies of the relevant material.

                     I would like you to authorize this and notify me as to when and where I can come in order
                     to photocopy this material.

                                  [illegible]

              y ours sincere~y,

              Shaul Nairn, Esq.

              Power of attorney for the claimants


              [signature]




•
                [stamp:] Shaul Nairn, Attorney
                       License No. 8501



                                                                                                Naim002246
     Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 246 of 288 PageID #:
                                           8533




      •
a.ANSPERFECT
         ALBANY
      AMSTERDAM
         ATLANTA
          AUSTIN
      BARCELONA
          BERLIN
         BOGOTA
         BOSTON
                      City ofNew York, State ofNew York, County of New York
        BRUSSELS
      CHARLOTTE
        CHICAGO
       CLEVELAND
       COLUMBUS
          DALLAS
          DENVER      I, Joe Zelasko, hereby certify that the document ''Naim002238 - Naim002246" is, to the
           DUMI
                      best ofmy knowledge and belief, a true and accurate translation from Hebrew into
          DUBLIN
     DUESSELDORF
                      English.
       FRANKFURT
          GENEVA
      HONG KONG
        HOUSTON
           IRVINE
         LONDON
•     LOS ANGELES
            LYON
      MEXICO CITY
           MIAMI      Sworn to before me this
           MILAN      December 3, 2010
     MINNEAPOLIS
       MONTREAL
          MUNICH
        NEW YORK
            PARIS
     PHILADELPHIA
         PHOENIX
        PORTLAND
          PRAGUE
         RESEARCH
    TRIANGLE PARK
        SAN DIEGO
    SAN FRANCISCO
         SAN JOSE
          SEATTLE
                                   -»   'K'"
       SINGAPORE
                      Stamp, Notary Public                                                       --
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        STUTTGART
          SYDNEY
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         TORONTO
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Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 247 of 288 PageID #:
                                      8534



              EXHIBIT 226 TO DECLARATION OF VALERIE SCHUSTER
1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 248 of 288 Pag
                                 8535

                     TZVI WEISS, et al. VS.
               NATIONAL WESTMINSTER BANK, PLC



                                   SHAUL NAIM
                                   May 26, 2011




             To open files, click on the desired file type in bookmark on left.
 For quick saving or searching multiple files, click attachments tab (or paperclip) on left.
         For best viewing/searching, use Adobe Reader/Acrobat ver. 9 or higher
                                    (www.adobe.com).
Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 249 of 288 PageID #:
   TZVI WEISS, et al. VS.             8536                                   SHAUL NAIM
   NATIONAL WESTMINSTER BANK, PLC                                                                        May 26, 2011
                                                    Page 17                                                   Page 19

    1    NAIM                                                  1    NAIM
    2 attacks.                                                 2 latitude as we can but on a non-waiver basis.
    3    MR. FRIEDMAN: Aaron, you previously                   3    MS. ECKSTUT: Sure.
    4 represented -- or plaintiffs previously                  4    MR. GLATTER: Thanks.
    5 represented to us that Mr. Naim is only                  5 Q. Can you tell me what consulting work you
    6 expressing an opinion on the authenticity of             6 did for plaintiffs relating to the 15 attacks in
    7 the documents attached to his report. Are                7 this case?
    8 you proffering him for any other opinions?               8    MR. SCHLANGER: When you say, just for
    9    MR. SCHLANGER: No.                                    9 clarification, "the 15 attacks," are you
   10    MR. GLATTER: I think that there -- for               10 saying that are in his report or in his
   11 what it's worth, there may be a semantical              11 agreement?
   12 confusion here.                                         12    MS. ECKSTUT: That are in his report.
   13    MR. FRIEDMAN: I understand.                          13 A. Can you repeat? I didn't hear the
   14 Q. Mr. Naim, have you performed any work                14 question.
   15 for plaintiffs in these cases, other than the           15 Q. Can you please tell me what consulting
   16 preparation of your report in the CL cases or the       16 work you did for plaintiffs relating to the 15
   17 NatWest cases?                                          17 attacks in your report?
   18 A. What do you mean by "other work"?                    18 A. There were questions that the
   19 Q. Did you do any other projects or written             19 plaintiffs' attorneys asked me. It might have
   20 reports, or anything?                                   20 been material pertaining to some of the attacks.
   21    MR. SCHLANGER: Objection to form.                    21 Maybe finding people that could help with lawsuit.
   22 A. I did not write any other reports.                   22 And coordinating all kinds of thing. It's a --
   23 Q. Did you perform any consulting work for              23 all kinds of things. It's routine.
   24 plaintiffs?                                             24 Q. And that was only for the Arab Bank
   25    MR. SCHLANGER: On a non-waiver basis                 25 cases?


                                                    Page 18                                                   Page 20

    1     NAIM                                                 1    NAIM
    2 I'll allow the witness to answer the question            2    MR. SCHLANGER: Object to the form.
    3 yes or no.                                               3 A. No. I'm talking in general.
    4 A. Yes.                                                  4 Q. Did you spend more time working on these
    5     MS. ECKSTUT: Will you allow him to tell              5 consulting -- working on consulting than you did
    6 the subject matter?                                      6 on your expert reports, on drafting your expert
    7     MR. GLATTER: I think we have to take it              7 reports?
    8 question by question. There is a work                    8    MR. SCHLANGER: Objection to form.
    9 product issue to the extent that Mr. Naim may            9 A. I didn't do a balance -- balance sheet
   10 perform consulting -- I'll represent to you,            10 of the time of the things that I did. Whenever it
   11 just so that there's -- we are not playing              11 was needed, I did.
   12 games, that Mr. Naim has done consultancy               12 Q. Okay. Can you give me a general idea,
   13 work with plaintiffs' counsel in the Arab               13 estimate?
   14 Bank case, which there's an overlap of                  14    MR. SCHLANGER: Objection to form.
   15 plaintiffs. I'll even represent to you, on a            15 A. I haven't done it yet.
   16 non-waiver basis, that that involves some               16 Q. You haven't done the estimate yet or the
   17 collection of materials.                                17 work yet?
   18     MS. ECKSTUT: Okay.                                  18 A. I haven't done the estimate, and I
   19     MR. GLATTER: To the extent that they                19 haven't done the work.
   20 relate to attacks in this case, you can go --           20 Q. And you're referring to the work in the
   21 we'll pursue that, but you can understand the           21 NatWest cases or the Arab Bank cases?
   22 delicacy in terms of trying to respect a work           22 A. I'm talking in general. I haven't done
   23 product protection volume line.                         23 it either in NatWest or Arab Bank.
   24     So we'll take it question by question,              24 Q. So the consulting work you described to
   25 and again, try to give you the -- as much               25 us earlier, that's work that you haven't already


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Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 250 of 288 PageID #:
   TZVI WEISS, et al. VS.             8537                                   SHAUL NAIM
   NATIONAL WESTMINSTER BANK, PLC                                                                      May 26, 2011
                                                 Page 21                                                   Page 23

    1    NAIM                                               1    NAIM
    2 done, or have you done it?                            2    MS. ECKSTUT: Right. As far as I can
    3    MR. SCHLANGER: Objection to form.                  3 tell, there are only two days of work on
    4 A. I haven't done all the work. I've done             4 Exhibit 5.
    5 it up -- as of until I came here. And I haven't       5 A. That's right. That's right. After I
    6 done the estimate. I sent something, so they'll       6 sent this in, I continued working, doing work on
    7 have something in their hand.                         7 the new deposition.
    8 Q. So you mean you haven't finished?                  8 Q. Okay. But my question is before
    9 A. The estimate of the time and the hours             9 December 2010.
   10 and the work, not yet.                               10 A. Before December 2010? Before I sent
   11    (Time sheet bearing Bates number Naim             11 this in, indicating Exhibit 5?
   12 4716 was marked Naim Exhibit 5 for                   12 Q. Did you perform any work on the CL or
   13 identification, as of this date.)                    13 NatWest cases in October or November of -- of
   14    (Translation of time sheet bearing Bates          14 2010?
   15 number Naim 4716 was marked Naim Exhibit 5 A         15 A. No, October or November of 2010?
   16 for identification, as of this date.)                16 Q. Right.
   17 Q. Okay. I'm going to hand you what the              17 A. Don't understand. I don't want to -- I
   18 court reporter has marked as Exhibit 5 and 5 A,      18 don't understand what you are trying to ask me
   19 document Bates-stamped Naim 4716, and a certified    19 this question.
   20 translation.                                         20 Q. Okay. I wanted to know -- you were
   21 A. Yes, this is.                                     21 deposed in the CL cases in the beginning of
   22 Q. This is a time sheet for the work you             22 October 2010, correct?
   23 performed in December 2010?                          23 A. Correct.
   24 A. Right. As of the date when I sent it              24 Q. Okay. And the work that you performed,
   25 in, that was -- these were the hours, but these      25 reflected in this time sheet, was for work you did


                                                 Page 22                                                   Page 24

    1    NAIM                                               1    NAIM
    2 are not all the hours.                                2 on December 27 and 28, 2010; is that right?
    3 Q. You worked more hours before December              3 A. Correct.
    4 2010?                                                 4 Q. I'm asking you whether you performed any
    5 A. On the first, in expert opinion?                   5 work related to your CL or NatWest reports between
    6 Q. Yes, on either the CL or NatWest                   6 October 7, which was the last day of your
    7 opinions.                                             7 deposition, and December 27, which is the first
    8 A. The first expert opinion before the                8 day of the work reflected on this invoice -- I
    9 first deposition I sent in, and it was very many      9 mean time sheet?
   10 hours.                                               10 A. Not to the best of my recollection.
   11 Q. Okay. Did you perform any work for                11 Q. Okay. Did you perform any work for
   12 these cases, either the NatWest cases or the CL      12 these cases after December 28, 2010?
   13 cases, between your deposition on October 6 and 7    13 A. Yes.
   14 and the work you indicated on that time sheet?       14 Q. Okay. And did you draft any time sheets
   15    THE INTERPRETER: Until now?                       15 reflecting that work?
   16    MS. ECKSTUT: No.                                  16 A. I have jotted them down, but I haven't
   17    THE INTERPRETER: Until October?                   17 edited them, and I haven't sent them.
   18    MS. ECKSTUT: December 2010.                       18 Q. You haven't sent them to plaintiffs?
   19 A. You're asking whether I performed                 19 A. No, I haven't.
   20 additional work between that and this?               20 Q. But you have them in your files?
   21 Q. Between the deposition and December               21    MR. SCHLANGER: Objection to form.
   22 2010.                                                22 A. I have it in my records.
   23    MR. SCHLANGER: Just for clarification,            23    RQ       MS. ECKSTUT: Okay. And we'll request
   24 I assume you mean other than what's reflected        24 those in a letter later.
   25 on Exhibit 5, correct?                               25    MR. SCHLANGER: We'll take it under

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Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 251 of 288 PageID #:
   TZVI WEISS, et al. VS.             8538                                   SHAUL NAIM
   NATIONAL WESTMINSTER BANK, PLC                                                                        May 26, 2011
                                                     Page 45                                                  Page 47

    1    NAIM                                                   1    NAIM
    2 Mr. Tariq Zidan, Exhibit U. Mr. Nadil Qalaq,              2 prosecutor does not have to submit all the
    3 Exhibit V.                                                3 documents that he has in the prosecutor's office,
    4    THE INTERPRETER: What was the other                    4 or the police.
    5 name?                                                     5    If that's what I wrote, it's just a
    6 Q. Nadil Qalaq. Mr. Abas al-Said,                         6 mistake in my formulation, but that's not what I
    7 Exhibit GG. Why didn't you include court records          7 meant.
    8 for them?                                                 8 Q. Are you referring to the sentence where
    9 A. Okay. Abas al-Said is the leader of the                9 you write, "Thus, the only file guaranteed to be
   10 group, the terrorist group, that perpetrated the         10 complete is the one maintained by the court," at
   11 Park Hotel attack. He was tried in civilian court        11 the bottom of page 13?
   12 in Tel Aviv, the district court. He's -- he's            12 A. Yes.
   13 testified as a witness against his people, against       13 Q. Okay. Please turn to page 17 of your
   14 the four members of his group. Maybe that will           14 NatWest report.
   15 explain it. By the way, they, Tamimi and Shakhur,        15 A. This one?
   16 were witnesses against him in district court.            16 Q. Exhibit 1. And actually, if you turn to
   17    Here in the military court they brought               17 page 19, Exhibits V through MM, for the shooting
   18 his -- they brought his verdict from the district        18 on Route 60 attack on January 29, 2003, were not
   19 court, from the civilian court. Therefore, so            19 included in your CL reports, correct?
   20 that you're not confused, you can see -- in the          20 A. I'll check.
   21 military court you can see as witnesses against          21    (The witness read.)
   22 him, his partners. They -- during the trial they         22 A. Correct.
   23 testified against him, but --                            23 Q. When did you first obtain these
   24    THE INTERPRETER: The interpreter got                  24 documents?
   25 confused.                                                25 A. I received these documents from the


                                                     Page 46                                                  Page 48

    1    NAIM                                                   1    NAIM
    2 A. -- in the -- the military court he was                 2 plaintiffs' attorneys.
    3 supposed to testify against them, but he did not          3 Q. What, if anything, did you do to verify
    4 testify against them, so they submitted all the           4 whether they were authentic?
    5 materials that he talked about to the police.             5 A. Yes. What I did was that I compared the
    6    MS. ECKSTUT: Take a break.                             6 large number of the indictments with the ones in
    7    THE VIDEOGRAPHER: Is everyone off the                  7 the possession of the military court.
    8 record? This is the end of Tape 1. We are                 8 Q. Did you compare anything other than the
    9 off the record at 11:39 a.m.                              9 indictments against documents in the military
   10    (A recess was taken.)                                 10 court?
   11    THE VIDEOGRAPHER: This is Tape                        11 A. No. It's mostly the documents that are
   12 Number 2. We are now on the record at                    12 talking about the indictment, the verdict, and the
   13    11:55 a.m.                                            13 sentence.
   14 Q. Mr. Naim, please turn to pages 17                     14 Q. So you compared indictments, verdicts,
   15 through 19 of your NatWest report.                       15 and sentences against documents maintained by the
   16 A. Before that I would like to make a                    16 military court?
   17 clarification. On page 13 in Exhibit 1 I wrote           17 A. I compared the documents that I received
   18 that the court keeps in its possession, in its           18 from the plaintiffs' attorney pertaining to the
   19 file, all the -- all the documents and the records       19 indictments, verdicts, and sentences with the ones
   20 that are there. And I wanted to clarify that I           20 maintained at the military court.
   21 meant that the court keeps only the records that         21 Q. What do you mean by "pertaining"?
   22 were submitted by the prosecutor.                        22 A. No. The indictment, the verdict, and
   23    Of course if the defendant or the                     23 the sentence I had, I compared that to what was at
   24 defendants plead guilty, then they -- that's how         24 the military court.
   25 the case ends, they get convicted, and the               25 Q. Did you receive any documents relating


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Case 1:05-cv-04622-DLI-RML Document 267-16 Filed 03/22/12 Page 252 of 288 PageID #:
   TZVI WEISS, et al. VS.             8539                                   SHAUL NAIM
   NATIONAL WESTMINSTER BANK, PLC                                                                      May 26, 2011
                                                  Page 73                                                   Page 75

    1    NAIM                                                1    NAIM
    2 region, et cetera, and Hebron, whatever I see.         2 granted.
    3    Some of the answers I received, I was               3 Q. Did you believe that it was necessary to
    4 referred to the military court, and therefore, I       4 include these descriptions of the U.S. lawsuits to
    5 went there. And these are the records. These are       5 get the information you were requesting?
    6 my requests.                                           6    MR. SCHLANGER: Objection to form.
    7 Q. Is it fair to say you included in these             7 A. In my opinion, it was important to
    8 requests what you thought you needed to include in     8 indicate these things.
    9 order for the requests to be granted?                  9 Q. And Naim 2238 is a request to the
   10    MR. SCHLANGER: Objection to form.                  10 Jerusalem police office requesting the
   11 A. I did not understand your question.                11 investigation file related to the Silwan gang, or
   12 Q. Is it fair to say that you included in             12 the Silwan cell?
   13 these requests in front of you the information you    13    (Discussion off the record.)
   14 thought you needed to include in order for the        14 Q. This is a request to the Jerusalem
   15 requests to be granted?                               15 police office requesting the investigation file
   16 A. I sent a request with specification of             16 related to the Silwan gang?
   17 what I needed, what I wanted. For some of them I      17 A. This request?
   18 received responses. For some I did not.               18 Q. Naim 2238.
   19 Q. Why did you include the information                19 A. In this request I asked to review the
   20 about these cases that you included?                  20 file related to the Silwan gang, correct.
   21 A. I don't understand the question.                   21 Q. And in paragraph Number 1, you say, "A
   22 Q. Why did you provide information about              22 large number of civil claims are being pursued in
   23 the cases in these requests?                          23 the United States against Hamas."
   24    MR. SCHLANGER: Objection.                          24 A. That's correct, I indicated that.
   25 Q. The cases in the U.S.                              25 Q. Where did you get this information?


                                                  Page 74                                                   Page 76

    1    NAIM                                                1    NAIM
    2    MR. SCHLANGER: Objection to form.                   2 A. It's publicized. It's not confidential
    3 A. I still don't understand.                           3 information. Everybody knows it.
    4 Q. Okay. Why did you include Items                     4 Q. You're referring to the NatWest and
    5 Number 1 through 4 in these requests, information      5 Credit Lyonnais lawsuits?
    6 contained in Items Number 1 through 4?                 6    MR. SCHLANGER: Objection to form.
    7    MR. SCHLANGER: Objection to form.                   7 A. I -- I meant all the lawsuits.
    8 A. What I see Number 1 is, I'm asking to               8 Q. What other lawsuits?
    9 review and photocopy files, the file in the Silwan     9 A. All -- all -- there are lawsuits in the
   10 case. That's Number 1.                                10 United States against banks by the families of the
   11 Q. I'm sorry, Mr. Naim, I'm referring to              11 people who were killed and injured.
   12 paragraphs Number 1 through 4 in the document         12 Q. So you're referring to the lawsuits
   13 Bates-stamped Naim 2238.                              13 against NatWest, Credit Lyonnais, and Arab Bank?
   14    THE INTERPRETER: Interpreter's mistake.            14    MR. SCHLANGER: Objection to form.
   15 A. 238 at the end, right, so?                         15 A. Mainly, but not only.
   16 Q. The information in paragraphs 1 through            16 Q. And what's the basis for your statement
   17 4, why did you include that in these requests?        17 in paragraph Number 1?
   18 A. So they would -- so that they would have           18 A. What do you mean?
   19 the entire picture.                                   19 Q. Where did you get this information? I
   20 Q. Fair to say you included this                      20 mean, why --
   21 information because you thought it was what you       21    MR. SCHLANGER: Objection. Asked and
   22 needed to include in order for your request to be     22 answered already.
   23 granted?                                              23 Q. You can answer.
   24    MR. SCHLANGER: Objection to form.                  24 A. First of all, I knew about the lawsuits,
   25 A. I submitted the request so it would be             25 and secondly, I also knew it from the plaintiffs.


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              EXHIBIT 227 TO DECLARATION OF VALERIE SCHUSTER
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                            Expert Report
                                       Of
                              Shaul Naim

                              shaulnaim1@gmail.com



               Strauss v. Crédit Lyonnais, S.A. 06 CV 702 (CPS)(MDG)
                Wolf v. Crédit Lyonnais, S.A. 07 CV 914 (CPS)(MDG)




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                                                        Expert Report

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             I.      PROFESSIONAL BACKGROUND AND QUALIFICATIONS

      My full name is Shaul Naim. I received a B.A. from the Faculty of Law at Hebrew
      University in Jerusalem in 1976, and a year later was admitted to practice law and
      became a member of the Israel Bar Association. Between the years 1975-77, I joined the
      police as a student-policeman, and then spent a year interning at several Jerusalem law
      firms. Beginning in late 1977 and continuing through 1985, I joined the police force and
      served as a police prosecutor in Jerusalem, handling traffic cases, criminal cases, and
      juvenile affairs. During that time, I underwent a six-month police officers’ training
      course, and in 1985, took a Command and Control Course. In 1986, I was appointed
      head of the Litigation Bureau in Jerusalem, and in that position my rank was
      Superintendent, placing me in charge of all criminal and traffic-related lawsuits in the
      Jerusalem District. Five years later, my position was redefined as head of the Jerusalem
      District’s Litigation Branch, and I was given the rank of Chief Superintendent while also
      informally serving as the District’s Legal Counsel. During that time I gained familiarity
      with the types of documents and reports generated by my office, and the manner in which
      such materials were generated, retained, and retrieved as necessary

      In 1998, I was appointed as the Jerusalem District’s Investigation Department Officer,
      and continued to serve as the District’s Legal Counsel (until the year 2000), working at
      times with the District Attorney though I was not prosecuting cases as I did between 1977
      and 1985. As the District’s Investigations Department Officer, I was in charge of all
      investigations and lawsuits in the District, and also supervised the Forensic Science unit,
      which gathered and examined all evidence from crime scenes, including fingerprints,
      blood, instruments of the crime, etc. Some of the other units which were directly
      subordinate to me were Fraud Squad, Suits, and the Intelligence Desk. The Intelligence
      Desk took the information they got from investigation files, spoke with suspects, and
      gathered intelligence to assist in the investigation of other cases. The Fraud Squad dealt
      with cases of fraud, and the Suits unit consisted of lawyers handling the prosecution of
      crimes with the District Attorney.

      I also was the professional in charge of investigations of the “Ethnic Minorities’ Unit”,
      which worked together with the Israeli Security Agency (“ISA”) in handling threats and
      crimes carried out by terrorists, criminals and ethnic minorities. They focused
      particularly on crimes involving Arabs, including terror attacks and incidents in East
      Jerusalem, and that squad consists of Arabic-speakers, including Arab-Israelis.

      Regarding the level of professional subordinating, each of these units has a commander,
      for instance the Central Squad (“Yamar”) oversees the Ethnic Minorities’ Unit. The
      Investigation Department commander is professionally responsible for the police
      investigators, including guiding and instructing and directing the investigators, and is
      responsible for appointing teams for different criminal cases.

      In 2004, I became the Commander in charge of all investigations and intelligence of the
      Jerusalem district, which included investigations, intelligence, fraud, forensic science and
      litigation. I retired from the police in 2006 with a rank of Commander and then began


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      private practice as a lawyer. Throughout the course of my career, I have been familiar
      with categories of documents and reports and other items that have been generated or
      collected by law enforcement entities, and the manner in which those materials are
      generated, collected, retained, and retrieved.

      In the course of my service with the Police, I was professionally involved in many
      lawsuits, often working with the District Attorney, and I was directly in charge of
      investigating complex cases involving murder and other serious crimes. By virtue of my
      position as the District’s Investigation and Intelligence Department Officer, I handled the
      many terror attacks that occurred in the District throughout the Second Intifada (2000-
      2005). For each attack that occurred in Jerusalem during this time, I was in charge of the
      investigation, arriving at the scene and giving orders to police investigators gathering
      evidence, speaking with the ISA to collaborate on information learned, and continuing to
      direct the investigation to obtain a full “picture” of the attack. I also regularly worked
      with the Institute of Forensic Medicine in Abu Kabir in identifying bodies, and as part of
      my job, met with the General Commander of the Jerusalem police to discuss the terrorist
      investigation.

      I have vast experience with terrorism investigations, and regularly evaluated
      interrogations, confessions, police and ISA investigations and interviews, and court
      testimony as part of my job, and, as noted above, am familiar with the documents that are
      collected, generated, and retained in connection with that process. As a result, I have
      many years of experience in determining whether a document that I am reviewing
      constitutes an accurate and authentic document collected or generated by law
      enforcement, and am also familiar with the processes used by law enforcement entities in
      generating or collecting such materials, and how such documents are retained. In
      analyzing certain documents in this case, I have applied my knowledge and experience of
      both Israeli law enforcement processes generally, and Israeli law enforcement’s
      document management practices specifically, to opine on whether certain materials do, in
      fact, appear to be authentic and reliable.

      I am being compensated by Plaintiffs in these cases according to an hourly billable rate of
      $275.00. I confirm that I have no previous professional or personal connection or
      relationship with any of the parties or witnesses in this case that would preclude my
      giving impartial evidence. I have not written any publications over the past 10 years, and
      have not testified (at trial or by deposition) as an expert in the last four years.


                            II.     SUMMARY OF EXPERT REPORT

      I was asked by the Plaintiffs to:

             1. Describe the standards, practices, techniques and procedures used by law
             enforcement in Israel to conduct investigations of terrorist attacks and prosecute
             the alleged perpetrators;


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             2. Describe the types of documents generated, retained, and retrievable by Israeli
             law enforcement. These include documents seized and held by Israeli law
             enforcement, confessions or witness statements collected by law enforcement, and
             other documents (such as reports, memorandum, indictments, complaints and
             other filings) that are generated by law enforcement, including civil and military
             prosecutors;

             3. Identify relevant Israeli laws concerning criminal jurisdiction, evidence
             gathering, confessions, indictments, hearing protocols, and verdicts, that govern
             these investigations and prosecutions;

             4. Review police and court files, and their contents, concerning certain attacks
             (the “Attack Files”);

             5. Provide an opinion based on my professional experience whether the Attack
             Files appear to be or contain authentic records collected, generated, and
             maintained by Israeli law enforcement and Israeli courts.

      I was physically present and involved in the investigation of the following relevant
      attacks during my service with the Israeli police, and have reviewed the Attack Files for
      each case:

         •   The attack on Ben Yehuda, December 1, 2001
         •   The attack in the Hebrew University in Jerusalem, on July 31, 2002
         •   The attack in Jaffa Street, Jerusalem, Bus 14A, on June 11, 2003.
         •   The attack in Jerusalem, Bus 2, on August 19, 2003.
         •   The attack in Café Hillel, in Emek Refa’im Street in Jerusalem, on September 9,
             2003.
         •   The attack in Jerusalem, Bus 19, on January 29, 2004.

      In addition, though I was not personally involved in the investigation of the following
      attacks, I reviewed and have conducted extensive research on the following relevant
      Attack Files in order to ascertain whether my opinion regarding the authenticity of their
      contents is commensurate with my professional experience:

         •   March 27, 2002 - Park Hotel Bombing, Netanya.
         •   May 7, 2002 - Sheffield Club Bombing, Rishon Letzion.
         •   January 29, 2003 - Shooting Attack on Route 60.
         •   March 5, 2003 - Bus No. 37 Bombing, Haifa, Israel.


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         •   March 7, 2003 - Shooting in Kiryat Arba.
         •   April 30, 2003 - Mike’s Place Bombing, Tel Aviv.
         •   June 20, 2003 – Shooting Attack on “Route 60”.
         •   October 22, 2003 – Tel Romeda Shooting in Hebron.
         •   September 24, 2004 – Mortar attack in Neve Dekalim in Gaza.

      In each case, whether it was an Attack File I was personally familiar with as an
      investigating officer, or those that I reviewed independently, in order to consider whether
      the documents in the Attack Files were authentic, in addition to my professional
      experience and knowledge of law enforcement processes (including document
      management and retention processes) I reviewed where available the following items:

         •   the Israeli indictments submitted against the alleged perpetrators;
         •   hearing protocols from both Jerusalem and Tel-Aviv District Courts and Military
             courts;
         •   the police investigation files, including confessions (including confessions made
             to ISA and police investigators) by certain terrorists who planned and executed
             the attacks;
         •   the verdicts and the sentencing of various terrorists who were convicted of
             involvement in the relevant attacks;
         •   prison interviews that were given by certain terrorists;
         •   the Expert Report of Evan Kohlmann regarding Hamas claims of responsibility;
         •   the report issued by the Israeli Security Agency (“ISA”);
         •   websites that published the occurrence of the attack;
         •   the video footage of the suicide bombers;
         •   publications in Israeli and foreign media; and
         •   interviews with investigators.

      I conclude that in my professional opinion, in each of the above cases, all of the
      documents, as described later in this report with regards to each attack, are authentic
      records of Israeli law enforcement and judicial agencies and offices. In making this
      determination, I relied on my three decades of experience in working in the police
      investigation field with these types of documents on a daily basis to ensure that the
      documents were authentic, official records.




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          III.    HOW ISRAEL INVESTIGATES AND TRIES TERRORISM SUSPECTS

      A.         Israeli Legal System

      The Israeli legal system is largely based on laws and regulations adopted from British and
      American law. In terrorism cases, whether in civil or military court, the proceedings are
      before a three-judge panel.1 The State is represented by a prosecutor, who prepares and
      then submits the indictment to the court. The defendant can hire an attorney or ask that
      one be appointed for him or her, and every defendant is given a presumption of innocence
      and a right against self-incrimination.

      B.         The Role of the ISA

      Terrorism in Israel departs from “ordinary” or “common” crime, and even organized
      crime, in several important procedural aspects. The ISA is the organization in charge of
      thwarting terror attacks and trying to uncover terror cells.2 When a terrorist attack
      occurs, the police supervise the crime scene in coordination with the ISA, but it is the
      ISA that makes arrests and conducts the initial suspect interviews that become part of the
      investigation file. In many respects, the ISA functions like the American FBI, but unlike
      the FBI, it does not investigate any other type of crime but those relating to terrorism of
      all kinds.

      When a terror attack is committed, the ISA deals with: in the case of a suicide bombing,
      identifying the bomber and the organization he was affiliated with; identifying the
      bomber’s dispatchers; and determining whether other terrorists were dispatched at the
      same time to perpetrate other attacks. The ISA also searches for any other information
      that might help the investigation, such as searching the terrorist’s address, identifying his
      relatives and family, etc.




      1
        According to the Israel Courts Law (Section 37a), the district court deliberates in a panel of three judges
      with respect to more severe criminal offences, in other words, offences of serious crime – an offence
      punishable by death or imprisonment for 10 years or more. A panel of three judges is appointed due to the
      complexity of the case and the severity of the action, as well as in order to prevent mistakes. This includes,
      for example, cases such as murder, rape, violent robbery, etc. In the case of terrorist attacks, which in
      essence are murders with a terrorist backdrop, there will always be a panel of three judges, whether at the
      military court or civil court (district).

      2
        The General Security Services (GSS) Law defines the authority of the ISA, and, inter alia, determines
      that the ISA is the institute responsible for thwarting terrorist activity, as well as the interrogation of
      terrorists. See Sections 7(a), 7(b)(1), 8(T)(d) at: http://shabak.gov.il/about/yoamash/pages/law.aspx.



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      C.       The Role of the Police3

      The police arrive at the scene of the terrorist attack; close off the area; keep citizens away
      to prevent them from being injured from other possible explosive devices or ambushes;
      help in evacuating victims; and collect evidence from eyewitnesses, which is gathered by
      investigators, reviewed by an officer, and included as part of the Attack File later given to
      the prosecutor. In the case of a bombing, the first people who enter the scene are the
      police sappers from the bomb squad unit, whose aim is to search for more explosive
      devices, check the kind of explosive material used, and gather forensic evidence relating
      to the explosives used. Then the Forensic Science Laboratory officers take over and
      document the scene and gather forensic evidence.4 Simultaneously, investigators are sent
      to all the hospitals to collect statements from the surviving victims and their families.
      Investigators are also sent to the Institute of Forensic Medicine in Abu Kabir to identify
      the bodies.

      At the scene of the terrorist attack a Front Command Post (FCP-”Chapak”) is set up,
      headed by the District Commander. Likewise, an FCP of the Police Investigations
      Department (“Achak”) is established at the police headquarters, where all the information
      from the scene is gathered.

      The Achak commander after a terror attack has many roles, including the responsibility
      for the investigation process: arriving at the scene of the attack, sending investigating
      teams (that were appointed in advance) to investigate the injured parties where helpful,
      sending some investigation teams to the Institute of Forensic Medicine in Abu Kabir –
      who cooperate together with the investigators for the purpose of identifying those killed,
      and setting up “Chapak Achak” in the headquarters for collecting all the data that relates
      to the terror attack.

      After ensuring there are no booby traps in the area of the scene of the attack, the Achak
      orders its people - the criminal identifying investigators – to enter the scene of the attack
      and document it by video photos and stills that, after being developed, become part of the

      3
        The police operate according to the laws of the State of Israel and the police ordinances which define
      police authority, including rules the police follow when investigating regular criminal offences and acts of
      terror. Authorities include the Police Ordinance (New Version) 5731 – 1971, Second Chapter: Organization
      of Duties and Authorities and Chapter Three dealing with the duties of the police. The Israeli Police handle
      prevention and detection of offences, apprehension and prosecution of offenders, the safekeeping of
      prisoners, and the maintaining of public order and safety of people and property. The practice of
      investigating a scene where an act of terror took place was acquired over the years in light of all of the
      terrorist acts that occurred in the country. It differs from the practice used in the scene of a criminal
      offence, due to the fact that normally with regard to an act of terror it is a multiple victim event, where
      many casualties and wounded are being treated. Obviously, the police in any event operate according to
      standards, procedures and protocols dictated by the law and by internal police orders and protocols
      (according to the Police Ordinance abovementioned).

      4
       For example, despite the intense heat and pressure caused by the detonation of a suicide belt, police have
      sometimes recovered identifying items from the body of a bomber or have been able to determine the
      disguise used (e.g., Israeli army uniform, ultra-orthodox Hasidic dress).



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      Attack File. In addition, the criminal identifying investigators take blood samples from
      the corpses (including the terrorist’s corpse). Then, the blood samples are sent to
      laboratories to determine the identity of the terrorists, and with the help of the Zakas’
      staff (which identifies the bodies), the bodies and organs are taken to Abu Kabir, where
      they are examined by doctors who prepare reports that are given to the police to be
      included in the Attack File. Where possible, the body parts of the terrorist are separated
      from the victim remains and taken by separate ambulance to Abu Kabir. The police
      findings pertaining to the physical scene of the attack are documented at the scene and
      then included within the Attack File.

      The ISA and Achak remain in contact regarding intelligence information as to the
      terrorist and his cohorts. As different media sites are advertising different declarations of
      terror organizations taking responsibility for the attack, and other media is showing
      suicide terrorists seen reading their wills before departing for their mission, the Chapak
      Achak is examining those statements and publications for reliability and credibility. All
      of the statements, videos, and other intelligence also is given to the police, and becomes
      part of the Attack File.

      D.       The Role of Police Investigators

      As stated previously, ISA officers conduct the initial investigations of people suspected
      of terrorist activity. During their investigation, the ISA drafts a protocol of the
      investigation,5 after which the suspects are transferred to the custody of the police. The
      police investigators are then required to advise the suspect that he or she is not obligated
      to say anything; that anything he or she says may be used as evidence in court; and that
      the suspect has the right to remain silent and consult a lawyer.

      The activity of the interrogator emanates from the Judges Law and Regulations. The duty
      to advise the suspect as to his rights was adopted as an obligatory judicial ruling from the
      “Judges Regulations” – a collection of regulations compiled under English Law.6 The

      5
        The ISA interrogator’s protocol is in fact a type of unofficial memorandum, usually not sent to the police,
      which constitutes a summary and brief of the interrogation. These memoranda are used for the rest of the
      interrogation, in order to compare and contrast the suspects’ versions so as to verify them and to confront
      the suspects with discrepancies. These protocols (memoranda) do not serve as testimony in the court and
      are not part of the Attack File or evidence of the case. At times the content of these memoranda are
      delivered to a police investigator that is taking a formal statement. This formal statement may constitute a
      statement or confession to be used during the deliberation in court or the military court. The ISA
      interrogator’s work is carried out according to their own internal procedures.
      6
       The only reference in criminal law to the warning of a suspect is located in Section 28 to the Criminal
      Procedure Law (Enforcement Authorities – Arrests), 5756 – 1996:

               28. Hearing the detainee
               (a) The supervising officer shall not make a decision regarding the arrest of a person, the
               continuation of a person’s arrest or release by way of bail, and the type of bail, amount and
               conditions shall not be determined, unless the aforesaid person first received an opportunity to
               speak, after the aforesaid person was warned that he or she was not obligated to say anything of
               self-incriminatory nature, and anything said by the aforesaid person may be used against him or


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      Israeli judicial ruling adopted the Judges Regulations as “guiding provisions” for the
      police.7

      Following the advisement of rights, the police then assess the likelihood of a confession,
      and determine whether the suspect should remain in custody.8 In the realm of terrorist
      attacks, the Ethnic Minorities Unit typically investigates and handles this step. Their
      expertise is necessary because the confession must be read back to each suspect, often in
      Arabic, and the suspect must be asked if they understand and then to sign the document at
      the end. If a confession is given, the police investigator asks questions sufficient enough
      to prepare a report, and then types the confession, usually with 1-2 copies made and the
      original maintained in the court in which the matter proceeds as part of the Attack File if
      the case proceeds. Otherwise, the original usually stays with the police. Copies of the
      confession are obtained, including in this case, by submitting a formal request with a
      power of attorney directed to the court, or the police if they saved a copy as well. The
      confessions usually are videotaped and photographed, and document those present during
      the process.

      Everything the investigators do is supervised by their officer, and during my time with
      the Jerusalem police, I regularly oversaw the work of investigators. All of their written
      work is included in the Attack File. At the same time as a confession is being elicited,
      the police continue to collect evidence, prepare the Attack File and refer it to the
      prosecution (Prosecutor’s Office or Military Prosecution). Usually, most cases are sent to
      the Office of Military Prosecution, though there are a few exceptional cases sent to the
      civil district court.9 For example, Abas El-Said, the mastermind of the Park Hotel attack,
      was brought before the Tel Aviv District Court, whereas the members of his outfit were
      brought before a military court. The decision of which cases will go to which court
      (military or civil) is determined as follows: When the offense is committed inside the
      Palestinian territories, the indictment is submitted to the military court. When the offense

               her as evidence, and that his or her refusal to answer questions may reinforce any evidence against
               him or her.
      7
        In this regard, it is important to note that the Military Judicial Law, 5715 - 1955, explicitly adopted
      provisions on this subject from the Judges Regulations. With regard to the right to an attorney, Section 32
      of the Criminal Procedure Law (Enforcement Authorities – Arrests), 5756 – 1996, specifies to the detainee
      his or her rights, including the right to have a notice delivered regarding his or her arrest to a member of kin
      and to an attorney, and his or her right to meet with an attorney. Sections 34-36 regulate the subject of the
      detainee’s right to meet with an attorney, with careful attention paid to the meetings with an attorney in the
      case of security-related offences.

      8
        The Evidence Ordinance (New Version), 5731-1971, regulates the subject of the admissibility of a
      suspect’s confession, and determines that the confession has to be of the suspect’s free will (Section 12(a)
      to the Evidence Ordinance).

      9
        The legal advisor to the government and attorney general decide which cases shall be brought before a
      civil court and not a military one. Terrorists living in the West Bank or Gaza who carry out terror attacks in
      Israel are usually brought before a military courthouse near their home. In certain outstanding cases,
      usually for leaders such as Abas El-Said, terrorists are brought before a civil court.



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      is committed inside Israel proper, the indictment is submitted either to the military court
      or a district court depending on the terrorist’s involvement.10

      E.         Standards For Proceeding to Indictment

      After the evidence is collected, the investigators and their superiors review the material
      and when they reach the conclusion that there is enough evidence to establish an
      indictment, the investigators send to the district attorney (in the event that a civil court
      was decided upon)11 or to a military courthouse the entire original Attack File so that the
      prosecutor can review it and prepare an indictment against the defendants within the
      period of their detainment. The prosecutor determines if the evidence is sufficient to
      indict the defendant, in which case the prosecution will commence unless he decides not
      to prosecute on the grounds of lack of public interest, which requires the authorization of
      the District Attorney and the police officer serving as head of the prosecution unit.12

      The indictment, which must satisfy the “beyond a reasonable doubt” standard in both
      civil and military court, is prepared by the prosecutor based on the evidence in the file,
      and submitted by the prosecutor to the relevant court, who maintains the original in the
      Attack File and provides copies upon a formal request similar to the procedure followed
      for obtaining copies of a confession. The defendant’s attorney also is given the right and
      opportunity to copy the Attack File to assist in their defense.

      Upon the submission of an indictment, the court where the indictment was submitted can
      order the arrest of the defendant, who will be held until the end of the legal proceedings,
      if it finds one of the following: (1) reasonable grounds to fear that releasing the defendant
      or failing to apprehend him may disrupt the court proceedings, lead to avoidance of the
      proceedings or a sentence, or lead to the disappearance of property, influence over a
      witness, or harm to any other evidence; (2) reasonable grounds to fear that the defendant
      may pose a risk to the safety of another individual, or the public safety or national
      security; or (3) the defendant is accused of an offence punishable by death or life in
      prison, a security-related offence, certain drug offenses, domestic violence, or an offence
      perpetrated with severe violence or cruelty or with the use of a weapon.13




      10
         The Palestinian territories are located in the West Bank and Gaza Strip. In the territories, the
      administrators of the population are the Palestinian Authority, however Israel is responsible for all that is
      security related. Karnei Shomron and Beitar Ilit are Jewish settlements within the West Bank and Gaza
      areas. Palestinians who carry out attacks against Jews in the territories, or who leave those areas in order to
      carry out attacks within the State of Israel, are normally tried in a military courthouse in the territories.

      11
           Criminal Procedure Law (Combined Version), 5742 – 1982, Section 60(a).

      12
           Criminal Procedure Law (Combined Version), 5742 – 1982, Section 62(a).

      13
           Criminal Procedure Law (Enforcement Authorities – Arrests), 5756 – 1996, Sections 21(a), 21(a)(4).



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      F.     Trial

      The procedures for trial are defined in the Criminal Procedure Law (Combined Version),
      5742 – 1982. The trial at the military courthouse takes place in front of a panel of three
      judges, the same as with the civil court. The defendant hires a defense attorney, and if he
      cannot afford one, a defense attorney is appointed for him by the State. The trial begins
      with the reading of the indictments, to which the defendant confesses or denies. In the
      event that he confesses, a judgment is given and then the sentence is delivered after each
      party brings forth evidence with regard to the punishment.

      If the defendant denies culpability for the claims, the trial opens, witnesses are brought on
      behalf of the prosecution, and then witnesses are brought on behalf of the defendant. The
      defendant is of course entitled to testify. At the end of the defense testimony, each party
      summarizes its arguments and, following deliberations, the court delivers its verdict of
      acquittal or conviction depending on whether the prosecution has proven guilt beyond a
      reasonable doubt. If the defendant is convicted, each side presents argument with regard
      to what the punishment should be, and following the arguments the court sentences the
      defendant. The entire trial is recorded by video, and in the case of a defendant who does
      not speak Hebrew, every word is translated for him or her during the proceedings.

      When a terrorist attack was involved, normally the court sentences a convicted terrorist to
      a life sentence for each civilian killed as a result of an attack. For example if 30 people
      were killed, as in the Park Hotel bombing, then the court gives 30 life sentences. The
      verdicts, along with any written sentences, are created and maintained by the court in
      which the matter took place.

      G.     Maintaining the Attack Files

      Upon the completion of the trial, the court in which the trial took place maintains in their
      archives the original copy of the entire Attack File, including the portion of the file
      provided by the police as well as the indictment, court protocols, verdict, and other
      documents generated during the prosecution. The Attack File, in my experience, may be
      requested with a legitimate purpose given for needing to review and/or copy the
      documents.

      The police maintain the Attack File as well, though it is not always complete. While the
      court gets all of the police documents, the police sometimes do not always obtain all of
      the records generated during the prosecution and court proceedings, and thus the only
      Attack File guaranteed to be complete is that maintained by the court. Nonetheless, a
      copy of the police’s Attack File may be requested through the officer in charge of
      investigators. As I used to hold this position, requests were often made to me for copies
      of the file, and I would have my assistant handle these requests.




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             IV.   FILES REVIEWED RELATED TO EACH RELEVANT ATTACK

      In investigating these terror attacks, the Attack Files I reviewed contained the following
      official documents and information I collected, read and reviewed are as follows:
      (* = documents to be provided subsequent to this report)
      (references to the attached Appendix are indicated below as “Naim XXXXXX-X”)

         •     December 1, 2001 – Ben Yehuda bombings

      Exhibit A:     Abdalla Barghuthi’s Indictment (Naim 000001-43)
      Exhibit B:     Abdalla Barghuthi’s Court Ruling (Naim 000044)
      Exhibit C:     Abdalla Barghuthi’s Sentencing (Naim 000045-52)

         •     March 27, 2002 – Park Hotel Bombing, Netanya

      Exhibit A:   Protocol of a page written by Abas al-Said (Naim 000053-55)
      Exhibit B:   Abas al- Said’s announcement re the attack (Naim 000056-70)
      Exhibit C:   Protocol concerning Abas al- Said’s investigation (Naim 000071)
      Exhibit D:   Abas al-Said’s Court Ruling (Naim 000072-155)
      Exhibit E:   Mu’amar Shahruri’s first confession re attack (Naim 000156-175)
      Exhibit F:   Mu’amar Shahruri’s second confession re attack (Naim 000176-184)
      Exhibit G:   Mu’amar Shahruri’s Indictment (Naim 000185-202)
      Exhibit H:   Fathi Raja Ahmad Khasib’s first confession (Naim 000203-215)
      Exhibit I:   Fathi Raja Ahmad Khasib’s Indictment (Naim 000216-232)
      Exhibit J:   Naser Sami Abd al-Razeq Yataima’s first confession (Naim 000233-236)
      Exhibit K:   Naser Sami Abd al-Razeq Yataima’s second confession
                   (Naim 000237-241)
      Exhibit L:   Naser Sami Abd al-Razeq Yataima’s third confession (Naim 000242-244)
      Exhibit M:   Naser Sami Abd al-Razeq Yataima’s Indictment (Naim 000245-262)
      Exhibit N:   Muhanad Talal Mansur Sharim’s first confession (Naim 000263-278)
      Exhibit O:   Muhanad Talal Mansur Sharim’s second confession (Naim 000279-291)
      Exhibit P:   Muhanad Talal Mansur Sharim’s third confession (Naim 000292-308)
      Exhibit Q:   Muhanad Talal Mansur Sharim’s Indictment (Naim 000309-327)
      Exhibit R:   Court Ruling of Fathi Khasib, Mu’amar Shahruri, Muhanad Talal Mansur
                   Sharim and Naser Sami Abd al-Razeq Yataima (Naim 000328-349)
      Exhibit S:   Tariq Zidan’s first confession (Naim 000350-364)
      Exhibit T:   Tariq Zidan’s second confession (Naim 000365-373)
      Exhibit U:   Tariq Zidan’s third confession (Naim 000374-377)
      Exhibit V:   Nadil Qalaq’s first confession (Naim 000378-382)
      Exhibit W:   Nadil Qalaq’s second confession (Naim 000383-390)
      Exhibit X:   Nadil Qalaq’s third confession (Naim 000391-394)
      Exhibit Y:   Ahmad Jayusi’s Revised Indictment (Naim 000395-416)
      Exhibit Z:   Sentencing of attack accomplices (Naim 000417-419)
      *Exhibit AA: Abas al- Said Indictment
      *Exhibit BB: Abas al-Said Confession


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      *Exhibit CC: Ahmad Jayusi Confession


         •   May 7, 2002 – Sheffield Club Bombing, Rishon Letzion

      Exhibit A:    Abdalla Barghuthi’s Indictment (Naim 000420-462)
      Exhibit B:    Abdalla Barghuthi’s Court Ruling (Naim 000463)
      Exhibit C:    Abdalla Barghuthi’s Sentencing (Naim 000464-471)
      Exhibit D:    Muhammad Hasan Arman’s Indictment (Naim 000472-502)
      Exhibit E:    Yusuf Abdalla Nimer Anjas’s Indictment (Naim 000503)
      Exhibit F:    Muhammad Arman’s and Walid Anjas’s Sentencing (Naim 000504-515(
      Exhibit G:    Sentencing of the accused in the Hebrew University and Sheffield Club
                    bombings (Naim 000516-543)
      *Exhibit H:   A written report in Arabic, (08/22/2003) by Va’sem El Abas, in which he
                    confesses to executing several terror attacks, including this one
      *Exhibit I:   A Confession (08/19/2002) made to the police, by Va’sem Abas, in which
                    he describes the Sheffield Club terror attack
      *Exhibit J:   Confession (08/21/2002) made to the police by Vael Kasem
      *Exhibit K:   Confession (08/21/2002) made to the police by Vasem Abissi
      *Exhibit L:   Second Confession (08/22/2002) made to the police by Vasem Abissi
      *Exhibit M:   A two-page letter, written in Arabic, by Vael Kasem, in which there are
                    the details of the terror attacks he executed
      *Exhibit N:   Confession (08/19/2002) made to the police by Muhamad Uda (A
                    “Siluan” cell member)
      *Exhibit O:   Confessions (08/17/2003, 08/18/2003), made to the police by Alaa Abass
                    (A “Siluan” cell member)
      *Exhibit P:   A one page letter in Arabic, written by Machmud Elabassi, in which he
                    describes the terror attacks in which he was involved
      *Exhibit Q:   Confession (03/13/2002) made to the police by Abdalla Barguthi, in which
                    he admits to manufacturing the explosive device and explosive belt used
                    in this attack


         •   July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem

      Exhibit A:    Muhammad Hasan Arman’s Indictment (Naim 000544-574)
      Exhibit B:    Muhammad Hasan Arman’s and Walid Abd al-Aziz Anjas’s Verdict
                    (Naim 000575-586)
      Exhibit C:    Abdallah Barghuthi’s Indictment (Naim 000587-629)
      Exhibit D:    Abdallah Barghuthi’s Court Ruling (Naim 000630)
      Exhibit E:    Abdallah Barghuthi’s Verdict (Naim 000631-638)
      Exhibit F:    Yusuf Abdalla Nimer Anjas’s Indictment (Naim 000639-642)
      Exhibit G:    Verdict of the accused in the Hebrew University and Sheffield Club
                    bombings (Naim 000643-670)
      *Exhibit I:   Indictment and verdict from the Jerusalem District Court, against Va’el
                    Kaasem (head of the “Siluan” cell) and his cell members


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      *Exhibit J:   Confession (08/21/2002) made to the police by Va’el Kaasem
      *Exhibit K:   Two letters written in Arabic in which Kaasem admits to perpetrating the
                    Hebrew University attack as well as others
      *Exhibit L:   Confessions (08/19/2002, 08/26/2002) made to the police, and a letter in
                    Arabic language written by Muhamad Uda (08/26/2002), in which he
                    admits to putting the explosives in Hebrew University
      *Exhibit M:   Confessions (08/26/2002, 09/05/2002, 09/20/2002, 09/22/2002,
                    10/21/2002) made to the police by Muhamed Arman
      *Exhibit N:   Letter (09/20/2002) written by Muhamed Arman in which he admits
                    participating in the Hebrew University attack


         •   January 29, 2003 – Shooting Attack on Route 60

      Exhibit A:    Jaser Ismail Musa Barghuthi’s Indictment (Naim 000671-708)
      Exhibit B:    Jaser Ismail Musa Barghuthi’s Sentencing (Naim 000709-721)
      Exhibit C:    Khaled Abd al-Mua’z Zein al-Din Omar’s Revised Indictment
                    (Naim 000722-745)
      Exhibit D:    Khaled Abd al-Mua’z Zein al-Din Omar’s confession (1) (Naim 000746-
                    769)
      Exhibit E:    Khaled Abd al-Mua’z Zein al-Din Omar’s confession (2) (Naim 000770-
                    786)
      Exhibit F:    Police confirmation of documentation of damage done to property
                    (Naim 000787)
      *Exhibit G:   Indictment from Military Court against Achmad Matztafa Zalach Hamed
                    (Na’jar)
      *Exhibit H:   Confessions (12/21/2003) made to the ISA by Achmad Matztafa Zalach
                    Hamed (Na’jar)
      *Exhibit I:   Confessions (12/22/2003, 01/18/2004 11:00 a.m., 01/18/2004 19:55 p.m.,
                    01/22/2004), made to the police by Jaser Barghuthi
      *Exhibit J:   Confessions made to the police by Haled Omar (12/24/2003, 12/31/2003,
                    01/06/2004)
      *Exhibit K:   A protocol (12/21/2003) made by the ISA
      *Exhibit L:   Confession made to the police (12/20/2003), by Ravia Halifa
      *Exhibit M:   Confessions made to the police (12/23/2003, 12/24/2003, 12/28/2003,
                    12/31/2003) by Perach Hamed
      *Exhibit N:   Confessions made to the police by Magdi Naasan (12/17/2003,
                    12/31/2003)
      *Exhibit O:   A protocol (01/04/2003) made to the ISA by Machmud Saad
      *Exhibit P:   Confession made to the police (12/21/2003), by Morad Barghuthi
      *Exhibit Q:   Confession made to the police (12/22/2003), by Nimar Hamida
      *Exhibit R:   Confession made to the police (12/28/2003), by Yasser Hamed
      *Exhibit S:   Confessions made to the police (12/28/2003, 12/29/2003, 12/31/2003,
                    01/01/2004) by Achmad Hamed
      *Exhibit T:   Indictments and Verdicts from the Shomron Military Court against the
                    Achmad Mustafa Tzalach Hamed cell members



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         •   March 5, 2003 – Haifa Bus #37 Bombing

      Exhibit A:    Indictment against Faadi Muhamed Ibrahim Joaba (Naim 000788-798)
      Exhibit B:    Indictment against Munir Ben-Farid Ragbi (Naim 000799-802)
      Exhibit C:    Verdict rejecting appeal filed by Munir Ragbi (Naim 000803-808)
      Exhibit D:    Sentence against Munir Ragbi (Naim 000809-814)
      Exhibit E:    Sentence against Maaed Vael Taleb Abu Sharach (Naim 000815-823)
      Exhibit F:    Sentencing arguments against Maaed Vael Taleb Abu Sharach
                    (Naim 000824-825)
      Exhibit G:    Verdict against Faadi Muhamed Ibrahim Joaba (Naim 000826-828)
      *Exhibit H:   Indictment submitted to the Military Court against Maaed Vael Abu
                    Sarach
      *Exhibit I:   Investigation of police into Munir Ragbi
      *Exhibit J:   Indictment against Ismail Rajbi
      *Exhibit K:   Verdict and Sentence against Ismail Rajbi


         •   March 7, 2003 – Shooting in Kiryat Arba

      Exhibit A:    Amended Indictment of Abdalla Achmad Machmud Abu Sif
                    (Naim 000829-837)
      *Exhibit B: Verdict and Sentence of Abdalla Achmad Machmud Abu Sif
      *Exhibit C: Confessions of Abdalla Achmad Machmud Abu Sif (05/15/2003,
      05/18/2003, 05/29/2003)
      *Exhibit D: Confession of Abed Allah al-Qader Qawasmeh
      *Exhibit E: Confession of Jamil Zacri Salaiima
      *Exhibit F: Confession of Basel Shaafik Qawasmeh


         •   April 30, 2003 – Mike’s Place Bombing, Tel Aviv

      Exhibit A:    Dr. Arian Davidson’s report on the perpetrators’ DNA (Naim 000838-842)
      Exhibit B:    Dr. Chen Kugel’s forensic pathology report on Asef Muhammad Hanif’s
                    body (Naim 000843-847)
      Exhibit C:    Dr. Yehuda Hess’s forensic pathology report on Omar Khan Sharif’s body
                    (Naim 000848-853)
      Exhibit D:    Passport stamps of Asef Muhammad Hanif and Omar Khan Sharif
                    (Naim 000854-860)
      Exhibit E:    Police Wanted Poster and copies of passports of Asef Muhammad Hanif
                    and Omar Khan Sharif (Naim 000861-863)
      Exhibit F:    Shabak detailed report on Palestinian suicide bombers (Naim 000864-948)
      *Exhibit G:   Investigation file conducted by the police investigation team (09/03/2003)




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      *Exhibit H:     The investigation file, including documents sent to the Scotland Yard to
                      get more information regarding the two terrorists, who were British
                      citizens
      *Exhibit I:     Testimony gathered of victims and eyewitnesses who were present at the
                      attack14


           •   June 11, 2003 - Jaffa Road Bus 14A Bombing, Jerusalem.

      Exhibit A:      Umar Salah Muhammad Sharif’s Indictment (Naim 000949-964)
      Exhibit B:      Umar Salah Muhammad Sharif’s Court Ruling (Naim 000965-966)
      Exhibit C:      Umar Salah Muhammad Sharif’s Sentencing (Naim 000967-970)
      Exhibit D:      Bilal Yusuf Rateb Sub Leban’s Interrogation (Naim 000971-991)
      Exhibit E:      Amer Basem Yusuf Naser al-Din’s Interrogation (Naim 000992-998)
      *Exhibit F:     Umar Salah Muhammad Sharif’s Confessions
      *Exhibit G:     Confessions made to the police (06/25/2003, 07/02/2003) by Balal
                      Subelban
      *Exhibit H:     Confession made to the police (07/15/2003) by Amer Naatzer A-din


           •   June 20, 2003 – Shooting Attack on Route 60

      Exhibit A:      Ahmad Mustafa Saleh al-Najar’s Indictment (Naim 000999-1017)
      Exhibit B:      Ahmad Khaled Dawud Hamed’s Indictment (Naim 001018-1019)
      Exhibit C:      Jaser Isma’il Musa al-Barghuthi’s Indictment (Naim 001020-1057)
      Exhibit D:      Jaser Isma’il Musa al-Barghuthi’s Sentence (Naim 001058-1070)
      Exhibit E:      Khaled Abd al-Mua’z Zein al-Din Omar’s Revised Indictment
                      (Naim 001071-1094)
      Exhibit F:      Khaled Abd al-Mua’z Zein al-Din Omar’s confession (1) (Naim 001095-
                      1118)
      Exhibit G:      Khaled Abd al-Mua’z Zein al-Din Omar’s confession (2) (Naim 001119-
                      1135)
      *Exhibit H:     Confessions (12/21/2003) made to the ISA investigator by Ahmad
                      Mustafa Zalach Hamed (Na’jar)
      *Exhibit I:     Confessions (12/17/2003, 12/23/2003, 12/24/2003, 12/28/2003,
                      12/31/2003) made to the police investigators by Farech Hamed
      *Exhibit J:     Confessions (12/28/2003, 12/31/2003) made to the police by Ahmad
                      Khaled Dawud Hamed
      *Exhibit K:     Confessions made to the police by Haled Omar (12/24/2003, 12/31/2003,
                      01/06/2004)
      *Exhibit L:     Confessions made to the police by Yasser Hamed (12/28/2003,
                      12/31/2003)


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        This includes the testimony of IDF soldiers who encountered the terrorists entering through the
      “Allenby” Bridge and “Erez “ Checkpoint.



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      *Exhibit M:   Indictments and Verdicts from the Shomron Military Court against cell
                    members mentioned above


         •   August 19, 2003 – Bombing of Bus #2, Jerusalem

      Exhibit A:    Nasim Rashed Abd al-Wudud Za’tari’s Indictment (Naim 001136-1151)
      Exhibit B:    Majdi Barakat Abd al-Ghafer Za’tari’s Indictment (Naim 001152-1165)
      Exhibit C:    Abdallah Adnan Yihya Sharbati’s Indictment (Naim 001166-1176)
      Exhibit D:    Jalal Jamal Hilmi Yaghmur’s Indictment (Naim 001177-1181)
      Exhibit E:    Ramzi Walid Salah Arfa’s Indictment (Naim 001182-1185)
      Exhibit F:    Amjad Taher Salah Arfa’s Indictment (Naim 001186-1188)
      *Exhibit G:   Verdict and sentence against Abdallah Adnan Yihya Sharbati.
      *Exhibit H:   Confession (09/15/2003, 10/01/2003) made by Sharbati
      *Exhibit I:   Written report made by Sharbati regarding the sequence of events and a
                    drafting of the terror attack area
      *Exhibit J:   Report made to the investigators describing the terror attack scene, by
                    Sharbati and Majdi Barakat Abd al-Ghafer Za’tari
      *Exhibit K:   Video cassettes and pictures which document the terror attack scene
      *Exhibit L:   Confessions (03/15/2003, 09/14/2003, 10/01/2003) made to the police by
                    Nasim Rashed Abd al-Wudud Za’tari
      *Exhibit M:   Confessions (09/14/2003, 09/15/2003, 09/30/2003) made to the police by
                    Majdi Barakat Abd al-Ghafer Za’tari
      *Exhibit N:   Verdict and sentence in military court against Majdi Barakat Abd al-
                    Ghafer Za’tari
      *Exhibit O:   Verdict and sentence in military court against Nasim Rashed Abd al-
                    Wudud Za’tari
      *Exhibit P:   Confessions (12/28/2003) made to the police, by Ramzi Arfa


         •   September 9, 2003 – Bombing at Café Hillel in Jerusalem

      Exhibit A     Indictment against Tzalach Tzubachi Daud Mussa (Naim 001189-1196)
      Exhibit B     Verdict against Tzalach Tzubachi Daud Dir Mussa (Naim 001197-1201)
      Exhibit C     Verdict against Achmad Ben Muhamad Abbid and Naa’el Ben Sallamma
                    Abbid (Naim 001202-1212)
      Exhibit D     Police Interview of Muhamad Anati (Naim 001213-1217)
      Exhibit E     Police Interview of Nael Abid (Naim 001218-1223)
      Exhibit F     Amended indictment against Achmad Ben Muhamad Abbid and Naa’el
                    Ben Sallamma Abbid (Naim 001224-1227)
      Exhibit G     Amended indictment against Abdul Aziz (Ben Muhamad) Amru
                    (Naim 001228-1230)
      Exhibit H     Confession to police (10/10/2004) by Achmad Abbid (Naim 001231-34)
      Exhibit I     Confession to police (10/14/2004) by Achmad Abbid (Naim 001235-38)
      Exhibit J     Confession to police (10/28/2004) by Achmad Abbid (Naim 001239-41)
      Exhibit K     Confession to police (09/26/2004) by Achmad Abbid (Naim 001242-49)


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      Exhibit L     Amended indictment against Gamal Othman Muhamad Abu Salim
                    (Naim 001250-1253)
      Exhibit M     Amended indictment against Muhamad Latif Achmad Balut
                    (Naim 001254-1264)
      Exhibit N     Indictment against Ibrahim Muhamad Yunes Dir Mussa (Naim 001265-75
      Exhibit O     Indictment against Marry Tzubachi Juvadat Abu Saida (Naim 001276-86)
      Exhibit P     Indictment against Fuaz Machmud Ali Na’atzer (Naim 001287-95)
      *Exhibit Q    Confession (09/26/2004) made to the police by Nael Abid
      *Exhibit R    Indictment submitted to the military Court against Jammel Othman
                    Muhamad Abu Salim
      *Exhibit S    Confession (10/14/2003, 10/18/2003) made to the police by Jammel
                    Othman Muhamad Abu Salim
      *Exhibit T    Confession (09/19/2004, 09/26/2004, 10/11/2004) made to the police by
                    Ibrahim Muhamad Yunes Dir Mussa


         •   October 22, 2003 - Tel Romeda Shooting Attack

      The police station in Hebron opened an investigation, gathered evidence, and
      documented the scene. The terrorist’s corpse was transferred for an autopsy at the Abu
      Kabir, Institute of Forensic Medicine, and both the weapon and bullets used by the
      terrorists were transferred to the Forensic Department National Headquarters. Because
      the terrorist died while executing the attack, no one was prosecuted in court and the
      police investigation file was closed. I reviewed the witness statements for the attack.


         •   January 29, 2004 – Jerusalem Bus # 19 Bombing

      Exhibit A:    Indictment against Achmad Tzalach Achmad Tzalach (Naim 001296-307)
      Exhibit B:    Indictment against Ali Muhamed Hamed Abu Alail (Naim 001308-27)
      Exhibit C:    Indictment against Abdel El Rachman (Zahher) Joseph Abdel El Rachman
                    Mikaded (Naim 001328-42)
      Exhibit D:    Indictment against Muhamad Issa Muhamad Maali (Naim 001343-56)
      Exhibit E:    Indictment against Ali Muhamad Hamed Abu Halil (Naim 001357-73)
      *Exhibit F:   Verdict and Sentence against Ali Muhamad Hamed Abu Halil
      *Exhibit G:   Confessions made to the police (03/06/2004, 03/08/2004, 03/09/2004,
                    03/11/2004, 03/28/2004, 03/29/2004) by Ali Muhamad Hamed Abu Halil
      *Exhibit H:   Verdict and Sentence against Muhamad Issa Muhamad Maali
      *Exhibit I:   Confessions made to the police (03/30/2004, 04/15/2004) by Muhamad
                    Issa Muhamad Maali
      *Exhibit J:   Verdict and Sentence against Achmad Tzalach Achmad Tzalach
      *Exhibit K:   Confessions made to the police by Achmad Tzalach Achmad Tzalach
      *Exhibit L:   Verdict and Sentence against Abdel El Rachman (Zahher) Joseph Abdel
                    El Rachman
      *Exhibit M:   Confessions made to the police (03/07/2004, 03/08/2004, 03/09/2004,
                    03/24/2004) by Abdel El Rachman (Zahher) Joseph Abdel El Rachman


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              EXHIBIT 228 TO DECLARATION OF VALERIE SCHUSTER
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               Supplemental Expert Report
                                       Of
                              Shaul Naim
               Strauss v. Crédit Lyonnais, S.A. 06 CV 702 (CPS)(MDG)
                Wolf v. Crédit Lyonnais, S.A. 07 CV 914 (CPS)(MDG)




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      I am providing the below supplemental Appendix of Documents (the “Supplement”) to
      supplement the Appendix I prepared as part of my December 10, 2009 report (the
      “Report”). By way of explanation I edited the final version of the Report in English.
      Though I reviewed the Report (including its Appendix) before signing it, shortly after it
      was issued, I realized that it contained some inadvertent errors with respect to certain
      documents listed in the Appendix, which this Supplement updates. I also realized that
      certain terms used in the Report may not communicate a concept with the degree of
      precision that I intended to convey in the Report, and thus this Supplement clarifies and
      explains such terminology. This Supplement also amends the Report’s translation of
      certain individuals’ names, to again avoid confusion, and assist in ensuring that all
      documents referenced in the Report’s Appendix are characterized accurately.

      Accompanying this Supplement are copies of certain documents that were initially
      accompanied by an “asterisk” in the Report. After the Report was finalized, I realized
      that some of the documents listed in the Report’s Appendix were duplicates of other
      documents. Accordingly, this Supplement corrects and harmonizes duplicative
      documents. By way of example, this Supplement harmonizes those documents
      associated with the two “Route 60” shootings in January and June 2003.

      I also realized after the Report was issued that certain of the documents identified with an
      asterisk in the Appendix were not documents that I had a chance to review and opine
      upon, but instead were documents that I believed I possessed. They were in fact
      documents that, in my professional experience, I believed had been generated or collected
      by the relevant Israeli entities, and I was seeking to confirm if such was the case, obtain
      or otherwise review copies, and opine upon them. Having realized shortly after its
      issuance that the Report’s Appendix inadvertently, but incorrectly, cited certain materials
      that I have not yet reviewed, this Supplement corrects the list so that it provides a
      complete list of all documents that I reviewed and provided to counsel for the Plaintiffs.
      I reserve the right to further supplement the Report if additional documents, including but
      not limited to any documents in the Report’s original Appendix which were incorrectly
      identified as falling within the scope of my opinions, come to my attention.

      Finally, this Supplement clarifies and further explains the Report’s reference to the term
      “Attack File”. Although Sections II and III of the Report discuss generally how Israeli
      law enforcement and courts collect and retain materials, and thus create “attack files”
      pertinent to each terrorist attack, as used in the Report, the term “Attack File” was and is
      not intended to suggest that documents listed in the Appendix for each individual attack
      constitute an Israeli court, prosecutor, law enforcement agency, or military official’s
      complete file of documents that such entity has generated, collected, archived and/or
      catalogued for a given attack. As used in the Report, the phrase “Attack File” simply is
      my internal reference for the collection of documents of each attack in the Report for
      which I am opining that such documents appear, in my professional opinion, to be
      authentic records maintained by Israeli law enforcement, prosecutors, courts, or military
      officials, depending on where the relevant document(s) were maintained.




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              FILES REVIEWED RELATED TO EACH RELEVANT ATTACK
      (references to the attached Appendix are indicated below as “Naim XXXXXX-X”)

         •   December 1, 2001 – Ben Yehuda bombings

      Exhibit A:   Abdalla Barghuthi’s Indictment. This document includes charges
                   concerning Sheffield Club, Hebrew University, and three other terror
                   attacks not relevant here (Sbarro's Pizza, Moment Cafe, and the shooting
                   of Bus #4 in Tel Aviv). (Naim 000001-43) This document, and the next
                   two (exhibits B and C), are duplicates of the Sheffield Club Bombing
                   Exhibits A-C and Hebrew University Cafeteria Bombing Exhibits C-E.
      Exhibit B:   Abdalla Barghuthi’s Court Ruling (Naim 000044)
      Exhibit C:   Abdalla Barghuthi’s Sentencing (Naim 000045-52)

         •   March 27, 2002 – Park Hotel Bombing, Netanya

      Exhibit A:   Memorandum #3 dated July 22, 2002, written by a Druze investigator
                   named Lutuf Mari, to his commander, the chief investigator for Shomron
                   (Samaria, or the northern west bank), containing recollections of his
                   interrogation of Abas al-Said on May 12, 2002 (Naim 000053-55)
      Exhibit B:   Abas al- Said’s statement to the police re the attack. Given to the
                   investigator, Lutuf Mari, on May 12 and 13, 2002. (Naim 000056-70)
      Exhibit C:   Memorandum #1 of Abas al-Said’s investigating officer, Lutuf Mari
                   (Naim 000071)
      Exhibit D:   Abas al-Said’s Court Ruling (Naim 000072-155)
      Exhibit E:   Mu’amar Shahruri’s first statement to the police re attack (Naim 000156-
                   175)
      Exhibit F:   Mu’amar Shahruri’s second statement to the police re attack (Naim
                   000176-184)
      Exhibit G:   Mu’amar Shahruri’s Indictment (Naim 000185-202)
      Exhibit H:   Fathi Raja Ahmad Khasib’s first statement to the police (Naim 000203-
                   215)
      Exhibit I:   Fathi Raja Ahmad Khasib’s Indictment (Naim 000216-232)
      Exhibit J:   Naser Sami Abd al-Razeq Yataima’s first statement to the police (Naim
                   000233-236)
      Exhibit K:   Naser Sami Abd al-Razeq Yataima’s second statement to the police
                   (Naim 000237-241)
      Exhibit L:   Naser Sami Abd al-Razeq Yataima’s third statement to the police (Naim
                   000242-244)
      Exhibit M:   Naser Sami Abd al-Razeq Yataima’s Indictment (Naim 000245-262)
      Exhibit N:   Muhanad Talal Mansur Sharim’s first statement to the police (Naim
                   000263-278)
      Exhibit O:   Muhanad Talal Mansur Sharim’s second statement to the police (Naim
                   000279-291)
      Exhibit P:   Muhanad Talal Mansur Sharim’s third statement to the police (Naim
                   000292-308)


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      Exhibit Q:   Muhanad Talal Mansur Sharim’s Indictment (Naim 000309-327)
      Exhibit R:   Court Ruling of Fathi Khasib, Mu’amar Shahruri, Muhanad Talal Mansur
                   Sharim and Naser Sami Abd al-Razeq Yataima (Naim 000328-349)
      Exhibit S:   Tariq Zidan’s first statement to the police (Naim 000350-364)
      Exhibit T:   Tariq Zidan’s second statement to the police (Naim 000365-373)
      Exhibit U:   Tariq Zidan’s third statement to the police (Naim 000374-377)
      Exhibit V:   Nadil Qalaq’s first statement to the police (Naim 000378-382)
      Exhibit W:   Nadil Qalaq’s second statement to the police (Naim 000383-390)
      Exhibit X:   Nadil Qalaq’s third statement to the police (Naim 000391-394)
      Exhibit Y:   Ahmad Jayusi’s Revised Indictment (Naim 000395-416)
      Exhibit Z:   Sentencing of attack accomplices (Naim 000417-419)

         •   May 7, 2002 – Sheffield Club Bombing, Rishon Letzion

      Exhibit A:   Abdalla Barghuthi’s Indictment (Naim 000420-462)
      Exhibit B:   Abdalla Barghuthi’s Court Ruling (Naim 000463)
      Exhibit C:   Abdalla Barghuthi’s Sentencing (Naim 000464-471)
      Exhibit D:   Muhammad Hasan Arman’s Indictment (Naim 000472-502)
      Exhibit E:   Yusuf Abdalla Nimer Anjas’s Indictment (Naim 000503) (This is page 2
                   of a four-page document, which appears in full in Hebrew University’s
                   Exhibit F: Naim 000639-642)
      Exhibit F:   Muhammad Arman’s and Walid Anjas’s Sentencing (Naim 000504-515)
      Exhibit G:   Sentencing of the accused in the Hebrew University and Sheffield Club
                   bombings (Naim 000516-543)
      Exhibit H:   A handwritten statement in Arabic (08/22/2003) by Wisam al-Abasi, in
                   which he confesses to executing several terror attacks, including this one.
                   (Naim 001382-83)
      Exhibit I:   Statement #1 to the police (08/19/2002) by Wisam al-Abasi, in which he
                   describes the Sheffield Club terror attack. (Naim 001384-94)
      Exhibit J:   Statement to the police (08/21/2002) by Wael Kasem (Naim 001395-
                   1401)
      Exhibit K:   Statement #2 to the police (08/21/2002) by Wisam al-Abasi (Naim
                   001402-07)
      Exhibit L:   Second Statement to the police (08/22/2002) by Wisam al-Abasi (Naim
                   001408-13)
      Exhibit M:   A two-page handwritten statement to the police, written in Arabic by Wael
                   Kasem, in which there are details of the terror attacks he executed. (Naim
                   001414-15)
      Exhibit N:   Statements to the police by Muhammad Uda (A “Siluan” cell member):
                   (duplicate of Hebrew University’s exhibit L) (Naim 001416-31):
                   1) Handwritten statement in Arabic - 08/19/2002
                   2) Statement #1 to the police - 08/19/2002
                   3) Statement #2 to the police - 08/26/2002
      Exhibit O:   Statements to the police by Alaa Abasi (A “Siluan” cell member) (Naim
                   001432-48):
                   1) 8/19/2002



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                   2) 8/26/2002
                   3) 1/9/2002
                   + Two handwritten statements and their Hebrew translation:
                   1) 8/18/2002
                   2) 8/26/2002
      Exhibit P:   Statements to the police by Abdalla Barguthi, in which he admits to
                   manufacturing the explosive device and explosive belt used in the attack
                   (Naim 001449-92):
                   1) 3/12/2002
                   2) 3/13/2002
                   3) 3/30/2002
                   4) 5/12/2002
                   5) 5/15/2002
                   6) 5/22/2002

         •   July 31, 2002 – Hebrew University Cafeteria Bombing, Jerusalem

      Exhibit A:   Muhammad Hasan Arman’s Indictment (Naim 000544-574) (Duplicate of
                   Sheffield Bombing Exhibit D)
      Exhibit B:   Muhammad Hasan Arman’s and Walid Abd al-Aziz Anjas’s Sentencing
                   (Naim 000575-586) (Duplicate of Sheffield Bombing Exhibit F)
      Exhibit C:   Abdallah Barghuthi’s Indictment (Naim 000587-629) (Duplicate of
                   Sheffield Bombing Exhibit A and of Ben Yehuda Exhibit A)
      Exhibit D:   Abdallah Barghuthi’s Court Ruling (Naim 000630) (Duplicate of
                   Sheffield Bombing Exhibit B)
      Exhibit E:   Abdallah Barghuthi’s Verdict (Naim 000631-638) (Duplicate of Sheffield
                   Bombing Exhibit C)
      Exhibit F:   Yusuf Abdalla Nimer Anjas’s Indictment (Naim 000639-642) (Duplicate
                   of Sheffield Bombing Exhibit E)
      Exhibit G:   Verdict of the accused in the Hebrew University and Sheffield Club
                   bombings (Naim 000643-670) (Duplicate of Sheffield Bombing Exhibit
                   G)
      Exhibit H:   Handwritten statement by Wael Qasem (08/21/2002) (+Hebrew
                   translation), in which admits to perpetrating the Hebrew University attack
                   as well as other attacks. (Naim 001493-96)
      Exhibit I:   Statements to the police by Muhammad Uda (A “Siluan” cell member):
                   (duplicate of Sheffield’s exhibit N) (Naim 001497-1512)
                   1) Handwritten statement in Arabic - 08/19/2002
                   2) Statement #1 to the police - 08/19/2002
                   3) Statement #2 to the police - 08/26/2002
      Exhibit J:   Statements to the police by Muhamed Arman from (Naim 001513-74):
                   08/21/2002
                   08/26/2002
                   09/05/2002
                   09/20/2002
                   09/22/2002



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                   09/26/2002 (the 3-page statement is missing page #2)
                   09/26/2002 (second statement that was made the same day)
                   10/2/2002
      See also:    Sheffield Bombing Exhibit G: Indictment and verdict from the Jerusalem
                   District Court, against Wael Qasem (head of the “Siluan” cell) and his cell
                   members.

         •   January 29, 2003 – Shooting Attack on Route 60

      Exhibit A:   Jaser Ismail Musa Barghuthi’s Revised Indictment (Naim 000671-708)
                   (duplicate of the Route 60 – June 2003 Attack, exhibit C)
      Exhibit B:   Muayyad Shikri Abd al-Hamid Hamad’s Sentencing (Naim 000709-721)
      Exhibit C:   Khaled Abd al-Mua’z Zein al-Din Omar’s Revised Indictment
                   (Naim 000722-745) (duplicate of the Route 60 – June 2003 Attack,
                   exhibit E.)
      Exhibit D:   Khaled Abd al-Mua’z Zein al-Din Omar’s statement #1 (12/24/2003) to
                   the police (Naim 000746-769) (duplicate of the Route 60 – June 2003
                   Attack, exhibit F.)
      Exhibit E:   Khaled Abd al-Mua’z Zein al-Din Omar’s statement #2 to the police
                   (12/31/2003) (Naim 000770-786) (duplicate of the Route 60 – June 2003
                   Attack, exhibit G.)
      Exhibit F:   Police confirmation of documentation of damage done to property
                   (Naim 000787).
      Exhibit G:   Revised Indictment from the Military Court against Ahmad Mustafa Salah
                   Hamed (Na’jar) (duplicate of the Route 60 – June 2003 Attack, exhibit A.)
                   (Naim 001575-93)
      Exhibit H:   Statement to the police by Ahmad Mustafa Salah Hamed (Najar)
                   (12/30/2003) and a memorandum following an ISA investigation of Najar
                   (12/21/2003). (Naim 001594-1611)
      Exhibit I:   Statements to the police by Jaser Barghuthi, from (Naim 001612-35):
                   12/22/2003
                   01/18/2004 11:00 a.m
                   01/18/2004 19:55 p.m.
                   01/22/2004
                   01/29/2004
      Exhibit J:   Statements (including handwritten statements in which Omar confessed
                   and lead the police to a weapons’ hideout) to the police by Khaled Omar
                   from (Naim 001636-79):
                   12/24/2003
                   12/31/2003
                   01/05/2004
                   01/06/2004
      Exhibit K:   Statements to the police by Rab’i Khalifa (Naim 001680-86):
                   12/20/2003
                   01/11/2004




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      Exhibit L:   Statements made to the police (12/23/2003, 12/24/2003, 12/28/2003,
                   12/31/2003) by Farah Hamed. (Naim 001687-1709)
      Exhibit M:   Statement made to the police by Majdi N’asan (Naim 001710-24):
                   12/17/2003
                   12/31/2003
      Exhibit N:   An ISA memorandum (01/04/2003) following Mahmud Saad’s
                   investigation. (Naim 001725-30)
      Exhibit O:   Statements to the police by Morad Barghuthi (Naim 001731-53):
                   12/21/2003
                   12/25/2003
                   12/28/2003
                   12/29/2003 (first at 10:45am, second at 1:30pm)
      Exhibit P:   Statements to the police by Nimer Hamida (Naim 001754-78):
                   12/22/2003
                   12/25/2003 (also includes a handwritten statement)
      Exhibit Q:   Statements to the police by Yasser Hamed (Naim 001779-89):
                   12/28/2003
                   12/31/2003 (two statements made the same day)
      Exhibit R:   Statements made to the police by Ahmad Khaled Daud Hamed (Naim
                   001790-1802):
                   12/28/2003
                   12/31/2003
                   01/01/2004
                   01/15/2004
      Exhibit S:   Verdict from the Shomron Military Court against Ahmad Mustafa Salah
                   Hamed. (Naim 001803-12)
      Exhibit T:   Sentencing of Ahmad Mustafa Salah Hamed. (Naim 001813-16)
      Exhibit U    Statement to the police by Hisham Hijazi (02/10/2004); ISA memoranda
                   following his investigation on 12/21/2003, 12/22/2003, 12/23/2003,
                   12/29/2003, 01/04/2004 (two investigations), 01/05/2004 (two
                   investigations), 01/06/2004 (two investigation) and 01/07/2004. (Naim
                   001817-53)
      See also:    Route 60 – June Attack, Exhibit B: Ahmad Khaled Dawud Hamed’s
                   Indictment (Naim 001018-1019).
                   Route 60 – June Attack, Exhibit D: Jaser Isma’il Musa al-Barghuthi’s
                   Sentence (Naim 001058-1070).

         •   March 5, 2003 – Haifa Bus #37 Bombing

      Exhibit A:   Indictment against Faadi Muhamed Ibrahim Jo’aba (Naim 000788-798)
      Exhibit B:   Indictment against Munir Ben-Farid Rajbi (Naim 000799-802)
      Exhibit C:   Verdict rejecting appeal filed by Munir Rajbi (Naim 000803-808)
      Exhibit D:   Sentence against Munir Rajbi (Naim 000809-814)
      Exhibit E:   Sentence against Maed Wael Taleb Abu Sharakh (Naim 000815-823)
      Exhibit F:   Sentencing arguments against Maed Wael Taleb Abu Sharakh
                   (Naim 000824-825)



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      Exhibit G:       Verdict against Fadi Muhamed Ibrahim Jo’aba (Naim 000826-828)

          •   March 7, 2003 – Shooting in Kiryat Arba

      Exhibit A:       Revised Indictment against Abdalla Ahmad Mahmud Abu Sif
                       (Naim 000829-837)

          •   April 30, 2003 – Mike’s Place Bombing, Tel Aviv

      Exhibit A:       Dr. Arian Davidson’s report on the perpetrators’ DNA (Naim 000838-842)
      Exhibit B:       Dr. Chen Kugel’s forensic pathology report on Asef Muhammad Hanif’s
                       body (Naim 000843-847)
      Exhibit C:       Dr. Yehuda Hess’s forensic pathology report on Omar Khan Sharif’s body
                       (Naim 000848-853)
      Exhibit D:       Passport stamps of Asef Muhammad Hanif and Omar Khan Sharif
                       (Naim 000854-860)
      Exhibit E:       Police Wanted Poster and copies of passports of Asef Muhammad Hanif
                       and Omar Khan Sharif (Naim 000861-863)
      Exhibit F:       ISA detailed report on Palestinian suicide bombers (Naim 000864-948)
      Exhibit G:       Summary of the Police’s investigation file (09/03/2003). (Naim 001854-
                       63)
      Exhibit H:       The investigation file, including documents sent to the Scotland Yard to
                       get more information regarding the two terrorists, who were British
                       citizens (to be provided)
      Exhibit I:       Testimony gathered of victims and eyewitnesses who were present at the
                       attack1 (to be provided)

          •   June 11, 2003 - Jaffa Road Bus 14A Bombing, Jerusalem.

      Exhibit A:       Umar Salah Muhammad Sharif’s Indictment (Naim 000949-964)
      Exhibit B:       Umar Salah Muhammad Sharif’s Court Ruling (Naim 000965-966)
      Exhibit C:       Umar Salah Muhammad Sharif’s Sentencing (Naim 000967-970)
      Exhibit D:       Statements to the police by Bilal Sublaban (Naim 000971-991)
                       06/25/2003 (summary in Hebrew; and Handwritten in Arabic)
                       07/02/2003 (Hebrew and Handwritten in Arabic)
      Exhibit E:       Statement to the police by Amer Nasr A-Din (07/15/2003 – Hebrew and
                       Arabic) (Naim 000992-998)

          •   June 20, 2003 – Shooting Attack on Route 60

      Exhibit A:       Ahmad Mustafa Saleh Hamed’s (Najar) Revised Indictment (Naim
                       000999-1017) (duplicate of the Route 60 – January Attack, exhibit G.)


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       This includes the testimony of IDF soldiers who encountered the terrorists entering through the “Allenby”
      Bridge and “Erez” Checkpoint.



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      Exhibit B:   Ahmad Khaled Dawud Hamed’s Indictment (Naim 001018-1019)
                   (duplicate of the Route 60 – January Attack, exhibit W).
      Exhibit C:   Jaser Isma’il Musa al-Barghuthi’s Revised Indictment (Naim 001020-
                   1057) (duplicate of the Route 60 – January Attack, exhibit A)
      Exhibit D:   Jaser Isma’il Musa al-Barghuthi’s Sentence (Naim 001058-1070)
                   (duplicate of the Route 60 – January Attack, exhibit X).
      Exhibit E:   Khaled Abd al-Mua’z Zein al-Din Omar’s Revised Indictment
                   (Naim 001071-1094) (duplicate of the Route 60 – January Attack, exhibit
                   C).
      Exhibit F:   Khaled Abd al-Mua’z Zein al-Din Omar’s statement #1 to the police
                   (Naim 001095-1118) (duplicate of the Route 60 – January Attack, exhibit
                   D.)
      Exhibit G:   Khaled Abd al-Mua’z Zein al-Din Omar’s statement #2 to the police
                   (Naim 001119-1135) (duplicate of the Route 60 – January Attack, exhibit
                   E.)
      See also
                   •   Route 60 – January 29, 2003 Attack, Exhibit H: Statement to the
                       police by Ahmad Mustafa Salah Hamed (Najar) (12/30/2003) and a
                       memorandum following an ISA investigation of Najar (12/21/2003).
                   •   Route 60 – January 29, 2003 Attack, Exhibit L: Statements to the
                       police (12/23/2003, 12/24/2003, 12/28/2003, 12/31/2003) by Farah
                       Hamed.
                   •   Route 60 – January 29, 2003 Attack, Exhibit R: Statements made to
                       the police by Ahmad Khaled Daud Hamed:
                           12/28/2003
                           12/31/2003
                           01/01/2004
                           01/15/2004
                   •   Route 60 – January 29, 2003 Attack, Exhibit J: Statements (including
                       handwritten statements in which Omar confessed and lead the police to
                       a weapons’ hideout) to the police by Khaled Omar from:
                           12/24/2003
                           12/31/2003
                           01/05/2004
                           01/06/2004
                   •   Route 60 – January 29, 2003 Attack, Exhibit Q: Statements to the
                       police by Yasser Hamed (duplicate of the route 60 – June Attack,
                       exhibit L).
                           12/28/2003
                           12/31/2003 (two statements made the same day)
                   •   Route 60 – January 29, 2003 Attack, Exhibit S: Verdict from the
                       Shomron Military Court against Ahmad Mustafa Salah Hamed
                   •   Route 60 – January 29, 2003 Attack, Exhibit B: Muayyad Shikri Abd
                       al-Hamid Hamad’s Sentencing (Naim 000709-721)
                   •   Route 60 – January 29, 2003 Attack, Exhibit I: Statements to the
                       police by Jaser Barghuthi:


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                           12/22/2003
                           01/18/2004 11:00 a.m
                           01/18/2004 19:55 p.m.
                           01/22/2004
                           01/29/2004
                   •   Route 60 – January 29, 2003 Attack, Exhibit K: Statements to the
                       police by Rab’i Khalifa:
                           12/20/2003
                           01/11/2004
                   •   Route 60 – January 29, 2003 Attack, Exhibit M: Statements made to
                       the police by Majdi N’asan:
                           12/17/2003
                           12/31/2003
                   •   Route 60 – January 29, 2003 Attack, Exhibit N: An ISA memorandum
                       (01/04/2003) following Mahmud Saad’s investigation
                   •   Route 60 – January 29, 2003 Attack, Exhibit O: Statements to the
                       police by Morad Barghuthi:
                           12/21/2003
                           12/25/2003
                           12/28/2003
                           12/29/2003 (first at 10:45am, second at 1:30pm)
                   •   Route 60 – January 29, 2003 Attack, Exhibit P: Statements to the
                       police by Nimer Hamida:
                           12/22/2003
                           12/25/2003 (also includes a handwritten statement)
                   •   Route 60 – January 29, 2003 Attack, Exhibit T: Sentencing of Ahmad
                       Mustafa Salah Hamed.
                   •   Route 60 – January 29, 2003 Attack, Exhibit U: Statement to the
                       police by Hisham Hijazi (02/10/2004); ISA memorandums following
                       his investigation on 12/21/2003, 12/22/2003, 12/23/2003, 12/29/2003,
                       01/04/2004 (two investigations), 01/05/2004 (two investigations),
                       01/06/2004 (two investigation) and 01/07/2004.

         •   August 19, 2003 – Bombing of Bus #2, Jerusalem

      Exhibit A:   Nasim Rashed Abd al-Wudud Za’tari’s Indictment (Naim 001136-1151)
      Exhibit B:   Majdi Barakat Abd al-Ghafer Za’tari’s Indictment (Naim 001152-1165)
      Exhibit C:   Abdallah Adnan Yihya Sharbati’s Indictment (Naim 001166-1176)
      Exhibit D:   Jalal Jamal Hilmi Yaghmur’s Indictment (Naim 001177-1181)
      Exhibit E:   Ramzi Walid Salah Arfa’s Indictment (Naim 001182-1185)
      Exhibit F:   Amjad Taher Salah Arfa’s Indictment (Naim 001186-1188)


         •   September 9, 2003 – Bombing at Café Hillel in Jerusalem

      Exhibit A    Indictment against Salah Subahi Daud Musa (Naim 001189-1196)


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      Exhibit B     Verdict against Salah Subahi Daud Dar Musa (Naim 001197-1201)
      Exhibit C     Verdict against Ahmad Abid and Nael Abid (Naim 001202-1212)
      Exhibit D     Statement to the Police by Muhammad Anati – 10/17/2004 (Naim 001213-
                    1217)
      Exhibit E     ISA Memorandum following the interrogation of Nael Abid – 10/13/2004
                    (Naim 001218-1223)
      Exhibit F     Revised indictment against Ahmad Abid and Nael Abid (Naim 001224-
                    1227)
      Exhibit G     Revised indictment against Abdul Aziz (Ben Muhamad) Amru
                    (Naim 001228-1230)
      Exhibit H     Statement to the police (10/10/2004) by Ahmad Abid (Naim 001231-34)
      Exhibit I     Statement to the police (10/14/2004) by Ahmad Abid (Naim 001235-38)
      Exhibit J     Statement to the police (10/28/2004) by Ahmad Abid (Naim 001239-41)
      Exhibit K     Statement to the police (09/26/2004) by Ahmad Abid (Naim 001242-49)
      Exhibit L     Revised indictment against Jamal Othman Muhammad Abu Salim
                    (Naim 001250-1253)
      Exhibit M     Revised indictment against Muhamad Latif Ahmad Balut
                    (Naim 001254-1264)
      Exhibit N     Indictment against Ibrahim Muhammad Yunes Dar Musa (Naim 001265-
                    75
      Exhibit O     Indictment against Marry Subahi Juvadat Abu Saida (Naim 001276-86)
      Exhibit P     Indictment against Fuaz Machmud Ali Na’atzer (Naim 001287-95)
      Exhibit Q     Statement (09/26/2004) made to the police by Nael Abid (Naim 001864-
                    68)
      Exhibit R     Statements made by Muhammad Anati to the Police. (Naim 001869-73)

         •   October 22, 2003 - Tel Romeda Shooting Attack

      The police station in Hebron opened an investigation, gathered evidence, and
      documented the scene. The terrorist’s corpse was transferred for an autopsy at the Abu
      Kabir, Institute of Forensic Medicine, and both the weapon and bullets used by the
      terrorists were transferred to the Forensic Department National Headquarters. Because
      the terrorist died while executing the attack, no one was prosecuted in court and the
      police investigation file was closed. I reviewed the witness statements for the attack
      (Naim 001874-97).

         •   January 29, 2004 – Jerusalem Bus # 19 Bombing

      Exhibit A:    Indictment against Ahmad Salah Ahmad Salah (Naim 001296-307)
      Exhibit B:    Indictment against Ali Muhamed Hamed Abu Alail (Naim 001308-27)
      Exhibit C:    Indictment against Abdel El Rachman (Zahher) Joseph Abdel El Rachman
                    Mikaded (Naim 001328-42)
      Exhibit D:    Indictment against Muhammad Issa Muhammad Maali (Naim 001343-56)
      Exhibit E:    Indictment against Ali Muhammad Hamed Abu Halil (Naim 001357-73)




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              EXHIBIT 229 TO DECLARATION OF VALERIE SCHUSTER
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             Moshe Azoulay, Law Offices
             OWNER, 1997 - 2009

             Founder & owner, the office gives legal services to commercial and private clients in various fields, especially:
                 • Labor law – including all aspects of employer – employee relationship, litigation, contracts, employment of
                      foreign workers, unions of employers etc.
                 • Commercial law – advising & supporting the process of varied transactions between companies’
                      shareholders, land transactions, construction contractors, tax influences. Handling lawsuits (as plaintiffs or
                      defendants in the fields of the private / commercial law and in some of their criminal aspects - white collar
                      offences. Bankruptcy depts. And procedures.
                 •     Arbitration – serving as arbitrator between companies and other entities in commercial, private and family
                      disputes.
                 • Family & personal status – including inheritance & wills & trusts procedures.
                 • Foreign Employees status – Advising and representing against the state authorities. This service is done as
                      humanitarian basis on almost a cost / non profit basis.


        OTHER EXPERIENCE
                 DEFENSE & SECURITY

                 •       IDF – ARMORED & INFANTRY FORCES, MAJOR, RET. (1972 – 1978).
                 •       ISA – SPECIAL OPERATIONS, (1979 – 1988)
                 •       RESERVE SERVICE (IDF) 1979 – 1984, ( MOSSAD & ISA) 1989 – 2009

                 BUSINESS ACTIVITIES

                     •    ALUTON LTD. CEO, (1991 – 1995)
                     •    OSIRAK, CONSTRUCTION LTD.. – PARTNER & DIRECTOR, (1995 – 1998).
                     •    SHAHAM, THE ISRAELI SCREEN ACTORS ORGANIZATION, INITIATOR & CHAIRMAN, 1999 – 2005
                     •    LAWYERS FUND FOR CONTINUING EDUCATION LTD. DIRECTOR ON BEHALF OF THE MINISTER OF FINANCE,
                          (2002 – 2005)
                     •    TOPAZ GLASS LTD. EXTERNAL DIRECTOR, (2005 – 2008)
                     •    ASI - ADVANCED SECURITY INTEGRATION LTD., PARTNER & DIRECTOR (2005 – 2008).
                     •    AZCOM CONSULTANTS LTD. PARTNER & DIRECTOR (SINCE 2008)
